USCA11 Case: 18-15071      Document: 16        Date Filed: 02/15/2019   Page: 1 of 247



                                   No. 18-15071


                                       IN THE
 United States Court of Appeals for the Eleventh Circuit
                             CHRISTOPHER CANTU,
                                                       Plaintiff-Appellant,
                                          v.
                      CITY OF DOTHAN, ALABAMA, et al.
                                                       Defendant-Appellee.

                    On Appeal from the United States District Court
                         For the Middle District of Alabama
                       Civil Case No. 1:16-cv-1003-MHT-DAB

                           APPELLANT’S APPENDIX
                                Volume 1 of 1
                                 Pages 1-246


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February 15, 2019
 USCA11 Case: 18-15071                  Document: 16            Date Filed: 02/15/2019              Page: 2 of 247



                                         TABLE OF CONTENTS
                                                                                                                TAB

Docket Entries..........................................................................................................A

Complaint
    filed December 29, 2016.................................................................................1

Answer of Defendant Adrienne Woodruff
     filed March 21, 2017.....................................................................................23

Second Amended Complaint
     filed March 27, 2017.....................................................................................28

Answer of Defendant Adrienne Woodruff to Plaintiff’s Second Amended
Complaint
     filed April 6, 2017.........................................................................................29

Deposition of Adrienne Woodruff
     filed October 27, 2017...............................................................................44-3

Deposition of Adrienne Woodruff
     filed October 27, 2017...............................................................................44-4

Defendants’ Narrative Summary of Facts
     filed April 19, 2018.......................................................................................65

Report and Recommendation
     filed July 25, 2018.........................................................................................73

Memorandum Opinion and Order
    filed November 8, 2018.................................................................................82

Final Judgment
       filed November 8, 2018.................................................................................83

Plaintiff’s Notice of Appeal
       filed December 7, 2018.................................................................................84

Certificate of Service................................................................................................B
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 3 of 247




                  TAB A
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 4 of 247


                               DOCKET



Date Filed    #    Docket Text
12/29/2016    1    COMPLAINT against Greg Benton, City of Dothan,
                   Alabama, Chris Summerlin, Adrian Woodruff ( Filing fee
                   $ 400.00 receipt number 4602043582.), filed by
                   Christopher Cantu. (Attachments: # 1 Filing Fee
                   Receipt)(dmn, ) (Entered: 12/29/2016)
12/29/2016         DEMAND for Trial by Jury by Christopher Cantu. (dmn, )
                   (NO PDF, see Doc. 1 for pdf.) (Entered: 12/29/2016)
12/29/2016    2    Corporate/Conflict Disclosure Statement by Christopher
                   Cantu. (dmn, ) (Entered: 12/29/2016)
12/29/2016    3    Summons Issued as to City of Dothan, Alabama and
                   returned to counsel for personal service. (dmn, ) (Entered:
                   12/29/2016)
01/03/2017    4    ORDER REFERRING CASE to Magistrate Judge David
                   A. Baker for consideration and disposition or
                   recommendation on all pretrial matters as may be
                   appropriate. Signed by Honorable Judge Myron H.
                   Thompson on 1/3/17. (djy, ) (Entered: 01/03/2017)
01/04/2017    5    REQUEST FOR WAIVER of Service sent to Greg Benton
                   on 12/29/16 by Christopher Cantu. Waiver of Service due
                   by 1/30/2016. (Morris, William) (Entered: 01/04/2017)
01/04/2017    6    REQUEST FOR WAIVER of Service sent to Chris
                   Summerlin on 12/29/16 by Christopher Cantu. Waiver of
                   Service due by 1/30/2017. (Morris, William) (Entered:
                   01/04/2017)
01/04/2017    7    REQUEST FOR WAIVER of Service sent to Adrian
                   Woodruff on 12/29/16 by Christopher Cantu. Waiver of
                   Service due by 1/30/2017. (Morris, William) (Entered:
                   01/04/2017)
01/10/2017    8    SUMMONS Returned Executed by Christopher Cantu.
                   City of Dothan, Alabama served on 1/4/2017, answer due
                   1/25/2017. (Morris, William) (Entered: 01/10/2017)
01/24/2017    9    MOTION for More Definite Statement with Supporting
                   Brief by Greg Benton, City of Dothan, Alabama, Chris
                   Summerlin, Adrian Woodruff. (White, Freddie) (Entered:
                   01/24/2017)
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 5 of 247



01/24/2017    10   Corporate/Conflict Disclosure Statement by Adrian
                   Woodruff. (White, Freddie) (Entered: 01/24/2017)
01/24/2017    11   Corporate/Conflict Disclosure Statement by Chris
                   Summerlin. (White, Freddie) (Entered: 01/24/2017)
01/24/2017    12   Corporate/Conflict Disclosure Statement by Greg Benton.
                   (White, Freddie) (Entered: 01/24/2017)
01/24/2017    13   Corporate/Conflict Disclosure Statement by City of
                   Dothan, Alabama. (White, Freddie) (Entered: 01/24/2017)
01/24/2017         BRIEF/MEMORANDUM in Support of 9 MOTION for
                   More Definite Statement filed by Greg Benton, City of
                   Dothan, Alabama, Chris Summerlin, Adrian Woodruff.
                   (dmn, ) (NO PDF, see Doc. 9 ) (Entered: 01/27/2017)
01/26/2017    14   WAIVER OF SERVICE Returned Executed by
                   Christopher Cantu. Greg Benton waiver sent on
                   12/29/2016, answer due 2/27/2017. (Morris, William)
                   Modified on 1/30/2017 to correct dates and deadlines.
                   (dmn, ) (Entered: 01/26/2017)
01/26/2017    15   WAIVER OF SERVICE Returned Executed by
                   Christopher Cantu. Chris Summerlin waiver sent on
                   12/29/2016, answer due 2/27/2017. (Morris, William)
                   Modified on 1/30/2017 to correct dates and deadlines.
                   (dmn, ) (Entered: 01/26/2017)
01/26/2017    16   WAIVER OF SERVICE Returned Executed by
                   Christopher Cantu. Adrian Woodruff waiver sent on
                   12/29/2016, answer due 2/27/2017. (Morris, William)
                   Modified on 1/30/2017 to correct dates and deadlines.
                   (dmn, ) (Entered: 01/26/2017)
01/26/2017         Set/Reset Answer Deadlines due to wrong dates/deadlines
                   entered when waivers of service (Doc. 14 , 15 , 16 ) were
                   filed: Greg Benton 2/27/2017; Chris Summerlin
                   2/27/2017; Adrian Woodruff 2/27/2017. (dmn, ) (NO
                   PDF) (Entered: 01/30/2017)
01/26/2017         NOTICE of Docket Text Correction re Waivers of Service
                   Executed (Doc. 14 , 15 , 16 ). The referenced docket
                   entries were modified to correct the dates and deadlines to
                   reflect the mailing date as 12/29/2016 and the answer
                   deadline as 2/27/2017; the original entries contained
                   incorrect dates and deadlines. (dmn, ) (NO PDF) (Entered:
                   01/30/2017)
01/31/2017    17   ORDER: This matter is before the court on Defendant City
                   of Dothan's 9 Motion a More Definite Statement. It is
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019   Page: 6 of 247



                   ORDERED that the Plaintiff shall file response to
                   Defendant's motion by 2/14/2017. Signed by Honorable
                   Judge David A. Baker on 1/31/2017. (dmn, ) (Entered:
                   01/31/2017)
02/14/2017    18   RESPONSE to 9 MOTION for More Definite Statement
                   with Supporting Brief filed by Christopher Cantu.
                   (Sherrod, Henry) Modified on 2/15/2017 to clean up text.
                   (dmn, ) (Entered: 02/14/2017)
03/07/2017    19   ORDER that Defendant's 9 Motion for More Definite is
                   hereby denied as further set out in the order. Defendants
                   are directed to file their response to Plaintiff's complaint
                   within fourteen (14) days from the date of this Order.
                   Signed by Honorable Judge David A. Baker on 3/7/2017.
                   (dmn, ) (Entered: 03/07/2017)
03/21/2017    20   ANSWER to 1 Complaint by Greg Benton.(White,
                   Freddie) (Entered: 03/21/2017)
03/21/2017    21   ANSWER to 1 Complaint by City of Dothan,
                   Alabama.(White, Freddie) (Entered: 03/21/2017)
03/21/2017    22   ANSWER to 1 Complaint by Chris Summerlin.(White,
                   Freddie) (Entered: 03/21/2017)
03/21/2017    23   ANSWER to 1 Complaint by Adrian Woodruff.(White,
                   Freddie) (Entered: 03/21/2017)
03/22/2017    24   MOTION for Leave to File Second Amended Complaint
                   by Christopher Cantu. (Attachments: # 1 Second Amended
                   Complaint)(Sherrod, Henry) (Entered: 03/22/2017)
03/23/2017    25   ORDER: This matter is before the court on Plaintiff's 24
                   Motion for Leave to File Second Amended Complaint. To
                   the extent opposed, it is ORDERED that the Defendants
                   shall file their response to Plaintiff's motion by 4/6/2017.
                   Signed by Honorable Judge David A. Baker on 3/23/2017.
                   (dmn, ) (Entered: 03/23/2017)
03/24/2017    26   CONSENT by Greg Benton, City of Dothan, Alabama,
                   Chris Summerlin, Adrian Woodruff to 24 MOTION for
                   Leave to File Second Amended Complaint (White,
                   Freddie) Modified on 3/24/2017 to reflect actual title.
                   (dmn, ) (Entered: 03/24/2017)
03/27/2017    27   ORDER that Plaintiff's 24 Motion for Leave to File
                   Second Amended Complaint is granted to the extent that
                   Plaintiff is permitted to file an amended complaint within
                   five (5) days from the date of this Order. Defendants shall
                   file their responses to the amended complaint within
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 7 of 247



                   fourteen (14) days of the filing of the amended complaint.
                   Signed by Honorable Judge David A. Baker on 3/27/2017.
                   (dmn, ) (Entered: 03/27/2017)
03/27/2017    28   SECOND AMENDED COMPLAINT with Jury Demand
                   against Greg Benton, City of Dothan, Alabama, Chris
                   Summerlin, and Adrianne Woodruff (previously named as
                   Adrian Woodruff), filed by Christopher Cantu.(Sherrod,
                   Henry) Modified on 3/28/2017 to clean up text and reflect
                   jury demand and party name correction. (dmn, ) (Entered:
                   03/27/2017)
04/06/2017    29   ANSWER to 28 Amended Complaint, by Adrianne
                   Woodruff.(White, Freddie) (Entered: 04/06/2017)
04/06/2017    30   ANSWER to 28 Amended Complaint, by Greg
                   Benton.(White, Freddie) (Entered: 04/06/2017)
04/06/2017    31   ANSWER to 28 Amended Complaint, by City of Dothan,
                   Alabama.(White, Freddie) (Entered: 04/06/2017)
04/06/2017    32   ANSWER to 28 Amended Complaint, by Chris
                   Summerlin.(White, Freddie) (Entered: 04/06/2017)
04/19/2017    33   RULE 26(f) ORDER directing the parties to file the Rule
                   26(f) report containing the proposed discovery plan as
                   further set out in the order. Rule 26 Meeting Report due by
                   5/3/2017. Signed by Honorable Judge David A. Baker on
                   4/19/2017. (dmn, ) (Entered: 04/19/2017)
05/02/2017    34   REPORT of Rule 26(f) Planning Meeting. (White,
                   Freddie) (Entered: 05/02/2017)
05/03/2017    35   UNIFORM SCHEDULING ORDER: An on-the-record
                   Pretrial Conference is set for 9/13/2018 at 10:00 AM in
                   Montgomery, Alabama before Honorable Judge Myron H.
                   Thompson. Jury Trial set for 10/15/2018 trial term in
                   Dothan, AL before Honorable Judge Myron H. Thompson.
                   Amended Pleadings due by 11/3/2017. Discovery due by
                   3/2/2018. Motions due by 4/2/2018. Mediation Notice due
                   by 3/2/2018. Signed by Honorable Judge David A. Baker
                   on 5/3/2017. Copies furnished to calendar group,
                   AG.(dmn, ) (Entered: 05/03/2017)
06/06/2017    36   ORDER: Telephone Status Conference set for 7/11/2017
                   at 01:45 PM before Honorable Judge David A. Baker.
                   Each party must be represented by at least one attorney of
                   record, and lead counsel should attend if possible. Counsel
                   are directed to call 334-954-3275 and use passcode
                   246860# to join the telephone conference. Counsel should
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019    Page: 8 of 247



                   be prepared to discuss all aspects of this case including
                   pending motions, if any. It is ORDERED that for all future
                   motions in this case, the parties are to confer in good faith
                   to resolve any disputes, to stipulate to points of agreement
                   and narrow any remaining issues, and to indicate whether
                   the motion is opposed or agreed to. Responses to motions
                   shall be due fourteen days after the filing of the motion,
                   and any reply to the response within seven days of the
                   filing of the response. Counsel are reminded of the
                   continuing judicial emergency affecting this District and
                   the ability of the parties to consent to Magistrate Judge
                   jurisdiction to preside over disposition of the case. If there
                   is consent by all parties, counsel should execute and
                   submit the forms as prescribed by the Clerk of Court.
                   Signed by Honorable Judge David A. Baker on 6/6/2017.
                   Copies furnished to calendar group, ALL Mag
                   CRD's.(dmn, ) (Entered: 06/06/2017)
07/11/2017    37   Minute Entry for proceedings held before Honorable
                   Judge David A. Baker: Status Conference held on
                   7/11/2017 (PDF available for court use only). (Recording
                   Time FTR: 1:42 PM - 1:55 PM.) (war, ) (Entered:
                   07/11/2017)
10/09/2017    38   First MOTION to Compel by Christopher Cantu.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, #
                   4 Exhibit 4)(Sherrod, Henry) (Entered: 10/09/2017)
10/13/2017    39   MOTION for Order FOR TIME TO RESPOND TO
                   PLAINTIFF'S 38 MOTION TO COMPEL by Greg
                   Benton, City of Dothan, Alabama, Adrianne Woodruff.
                   (White, Freddie) Modified on 10/18/2017 to create link to
                   Doc. 38 . (dmn, ) (Entered: 10/13/2017)
10/17/2017    40   ORDER denying as moot defs' 39 Motion for Order for
                   Time to respond to Motion to Compel in light of the
                   existing schedule, as further set out in order. Signed by
                   Honorable Judge David A. Baker on 10/17/17. (djy, )
                   (Entered: 10/17/2017)
10/23/2017    41   BRIEF/MEMORANDUM in Opposition re 38 First
                   MOTION to Compel filed by Greg Benton, City of
                   Dothan, Alabama, Chris Summerlin, Adrianne Woodruff.
                   (White, Freddie) (Entered: 10/23/2017)
10/24/2017    42   REPLY BRIEF in Support of 38 First Motion to Compel
                   filed by Christopher Cantu. (Sherrod, Henry) Modified on
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019   Page: 9 of 247



                   10/25/2017 to create link to Doc. 38 . (dmn, ) (Entered:
                   10/24/2017)
10/27/2017    43   MOTION for Partial Summary Judgment and Brief in
                   Support by Christopher Cantu. (Sherrod, Henry) (Entered:
                   10/27/2017)
10/27/2017    44   Evidentiary Submission In Support of 43 Motion for
                   Partial Summary Judgment filed by Christopher Cantu.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3 -
                   Part 1, # 4 Exhibit 3 - Part 2, # 5 Exhibit 4 (Dash Camera
                   Video on DVD), # 6 Exhibit 5 (Audio Recording on USB
                   flash drive), # 7 Exhibit 6 (Audio Recording on USB flash
                   drive), # 8 Exhibit 7 (Audio Recording on USB flash
                   drive), # 9 Exhibit 8 (Video Recording on USB flash
                   drive), # 10 Exhibit 9, # 11 Exhibit 10 (Video recording on
                   USB flash drive, see Doc. 81 ) (DVD and Flash Drive
                   filed conventionally, placed in small brown envelope in
                   file in Clerk's office attached to a copy of Doc. 45 Notice
                   of Filing.)(Sherrod, Henry) Modified on 11/1/2017 to
                   include description of exhibits, text regarding location of
                   exhibits filed conventionally, and link. (dmn, ) Modified
                   on 9/6/2018 flash drive originally received on 11/1/2017
                   was blank. Flash drive has been replaced/substituted, see
                   Doc. 81 . (dmn, ) (Entered: 10/27/2017)
10/27/2017    45   NOTICE of Filing Conventionally Exhibits 4 (dash
                   camera video on DVD), 5 (Audio recording on USB flash
                   drive), 6 (Audio recording on USB flash drive), 7 (Audio
                   recording on USB flash drive), 8 (Video recording on
                   USB flash drive), and 10 (Video recording on USB flash
                   drive) re 44 Evidentiary Submission in Support of 43
                   Motion for Summary Judgment, by Christopher Cantu of
                   Filing Conventionally (Sherrod, Henry) Modified on
                   10/31/2017 to create links. (dmn, ) Modified on 11/1/2017
                   to reflect that a DVD and flash drive were filed
                   conventionally and both have been placed in a small
                   brown envelope attached to a copy of this notice in the file
                   located in the Clerk's office. (dmn, ) Modified on 9/6/2018
                   original flash drive blank; new flash drive substituted, see
                   Doc. 81 . (dmn, ) (Entered: 10/27/2017)
10/27/2017         BRIEF/MEMORANDUM in Support re 43 MOTION for
                   Partial Summary Judgment and Brief in Support filed by
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019    Page: 10 of 247



                    Christopher Cantu. (dmn, ) (NO PDF, see Doc. 43 for
                    pdf.) (Entered: 10/30/2017)
11/13/2017    46    Unopposed MOTION to Modify 35 Scheduling Order to
                    Extend Expert Disclosure Deadline by 30 Days by
                    Christopher Cantu. (Sherrod, Henry) Modified on
                    11/14/2017 to create link. (dmn, ) (Entered: 11/13/2017)
11/15/2017    47    ORDER: Upon consideration, Plaintiff's 46 Unopposed
                    Motion to Modify 35 Scheduling Order to Extend Expert
                    Disclosure Deadlines by 30 Days is hereby granted.
                    Plaintiff shall disclose his experts by 1/2/2018, and
                    Defendants shall disclose their experts by 2/5/2018. No
                    other deadlines are changed by this order. Signed by
                    Honorable Judge David A. Baker on 11/15/2017. (dmn, )
                    (Entered: 11/15/2017)
11/17/2017    48    BRIEF/MEMORANDUM in Opposition re 43 MOTION
                    for Partial Summary Judgment and Brief in Support filed
                    by Greg Benton, City of Dothan, Alabama, Chris
                    Summerlin, Adrianne Woodruff. (Attachments: # 1
                    Exhibit A, # 2 Exhibit A-1, # 3 Exhibit A-2, # 4 Exhibit
                    A-3, # 5 Exhibit A-4, # 6 Exhibit A-5, # 7 Exhibit A-6, # 8
                    Exhibit B, # 9 Exhibit B-1, # 10 Exhibit B-2)(White,
                    Freddie) (Entered: 11/17/2017)
11/21/2017    49    NOTICE of Conventional Filing of Exhibits A-5 and A-6
                    (DVD No. 1) and Exhibit B-1 (DVD No. 2) re 48
                    Brief/Memorandum in Support of 43 Motion, by Greg
                    Benton, City of Dothan, Alabama, Chris Summerlin,
                    Adrianne Woodruff. (Attachments: # 1 Exhibit A-5,
                    Grissett Cell Phone Video (DVD no. 1)), # 2 Exhibit A-6,
                    Inside Animal Shelter Video (DVD no. 1), # 3 Exhibit B-
                    1, Police Radio Traffic (DVD no. 2)) (Exhibits (2) DVDs
                    placed in small envelope attached to this document in file
                    located in Clerk's office.)(dmn, ) (Entered: 11/21/2017)
12/01/2017    50    MOTION to Modify Summary Judgment Briefing
                    Schedule by Christopher Cantu. (Sherrod, Henry)
                    (Entered: 12/01/2017)
12/01/2017    51    ORDER: This matter is before the court on Plaintiffs
                    Motion to Modify SummaryJudgment Briefing Schedule.
                    (Doc. 50 ). By the motion, Plaintiff seeks a 7-day
                    extension to file his reply brief to Defendants response to
                    motion for summary judgment. Upon consideration,
                    Plaintiffs motion (Doc. 50 ) is granted. Plaintiff shall file
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019    Page: 11 of 247



                    his reply brief by 12/8/2017. Signed by Honorable Judge
                    David A. Baker on 12/1/2017. (Entered: 12/01/2017)
12/08/2017    52    REPLY BRIEF in Support of 43 MOTION for Partial
                    Summary Judgment and Brief in Support filed by
                    Christopher Cantu. (Sherrod, Henry) Modified on
                    12/12/2017 to reflect actual title. (dmn, ) (Entered:
                    12/08/2017)
01/02/2018    53    NOTICE by Christopher Cantu Expert Witness
                    Disclosures (Sherrod, Henry) (Entered: 01/02/2018)
01/02/2018    54    NOTICE by Christopher Cantu Plaintiff's Amended
                    Expert Witness Disclosures (Attachments: # 1 Exhibit 1, #
                    2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                    Exhibit 6)(Sherrod, Henry) (Entered: 01/02/2018)
01/12/2018    55    ORDER: A telephonic Motion Hearing is set for Tuesday,
                    1/25/2018 at 11:00 AM CST before Honorable Judge
                    David A. Baker. Each party must be represented by at
                    least one attorney of record, and lead counsel should
                    attend if possible. Counsel are directed to call 334-954-
                    3275 and use passcode 246860# to join the telephone
                    conference. Counsel should be prepared to discuss all
                    aspects of this case including all pending motions. Signed
                    by Honorable Judge David A. Baker on 1/12/2018. Copies
                    furnished to calendar group, All MJ CRDs.(dmn, )
                    (Entered: 01/12/2018)
01/16/2018    56    AMENDED ORDER: A telephonic motion hearing is set
                    for Thursday, 1/25/2018 at 11:00 AM CST before
                    Honorable Judge David A. Baker. Each party must be
                    represented by at least one attorney of record, and lead
                    counsel should attend if possible. Counsel are directed to
                    call 334-954- 3275 and use passcode 246860# to join the
                    telephone conference. Counsel should be prepared to
                    discuss all aspects of this case including all pending
                    motions. Signed by Honorable Judge David A. Baker on
                    1/16/2018. Copies furnished to calendar group, All MJ
                    CRDs.(dmn, ) (Entered: 01/16/2018)
01/25/2018    57    Minute Entry for proceedings held before Honorable
                    Judge David A. Baker: Motion Hearing held on 1/25/2018
                    by telephone re 43 MOTION for Partial Summary
                    Judgment filed by Christopher Cantu, 38 First MOTION
                    to Compel filed by Christopher Cantu (PDF available for
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019   Page: 12 of 247



                    court use only). (Recording Time 10:58 - 11:45.) (jct, )
                    (Entered: 01/25/2018)
01/26/2018    58    Joint MOTION to Modify 35 Scheduling Order by Greg
                    Benton, City of Dothan, Alabama, Chris Summerlin,
                    Adrianne Woodruff, Christopher Cantu. (White, Freddie)
                    Modified on 1/29/2018 to create link and include
                    additional filer. (dmn, ) (Entered: 01/26/2018)
01/29/2018    59    ORDER that the 38 Motion to Compel is granted in part as
                    further set out in the order. All production required hereby
                    shall be produced by 2/2/2018. To the extent not granted
                    herein, the motion is denied without prejudice. Signed by
                    Honorable Judge David A. Baker on 1/29/2018. (dmn, )
                    (Entered: 01/29/2018)
01/30/2018    60    ORDER granting in part 58 Joint Motion to Modify 35
                    Scheduling Order; The Scheduling Order is modified as
                    follows: Dfts' expert witness deadline is extended to
                    3/5/2018; Discovery deadline is extended to 4/6/2018;
                    Dispositive motion deadline is extended to 4/20/2018; No
                    other dates are changed by this order; To the extent not
                    granted herein, the 58 motion is denied. Signed by
                    Honorable Judge David A. Baker on 1/30/2018. (alm, )
                    (Entered: 01/30/2018)
02/23/2018    61    ORDER: This matter comes before the Court on its own
                    initiative. The parties are ORDERED to file a joint status
                    report not later than 3/9/2018, indicatingwhether the
                    parties anticipate dispositive motions other than what has
                    been filed to date and whether the upcoming deadlines
                    regarding discovery, expert disclosures, and face-to-face
                    settlement conference will be timely met. The parties shall
                    alsoindicate whether referral to private mediation would
                    be beneficial. Signed by Honorable Judge David A. Baker
                    on 2/23/2018. (dmn, ) (Entered: 02/23/2018)
03/09/2018    62    STATUS REPORT Joint by Greg Benton, City of Dothan,
                    Alabama, Chris Summerlin, Adrianne Woodruff,
                    Christopher Cantu. (White, Freddie) Modified on 3/9/2018
                    to include additional filer. (dmn, ) (Entered: 03/09/2018)
04/19/2018    63    MOTION for Summary Judgment by Greg Benton, City of
                    Dothan, Alabama, Chris Summerlin, Adrianne Woodruff.
                    (White, Freddie) (Entered: 04/19/2018)
04/19/2018    64    BRIEF/MEMORANDUM in Support re 63 MOTION for
                    Summary Judgment filed by Greg Benton, City of Dothan,
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019   Page: 13 of 247



                    Alabama, Chris Summerlin, Adrianne Woodruff.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit A-1, # 3 Exhibit
                    B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit D-1, # 7
                    Exhibit D-2, # 8 Exhibit D-3, # 9 Exhibit D-4, # 10
                    Exhibit D-5, # 11 Exhibit D-6, # 12 Exhibit D-7, # 13
                    Exhibit E, # 14 Exhibit E-1, # 15 Exhibit E-2, # 16 Exhibit
                    F, # 17 Exhibit G, # 18 Exhibit G-1, # 19 Exhibit G-2, #
                    20 Exhibit G-3, # 21 Exhibit H, # 22 Exhibit H-Part 2, #
                    23 Exhibit H-Part 3, # 24 Exhibit I, # 25 Exhibit J, # 26
                    Exhibit K, # 27 Exhibit L, # 28 Exhibit M, # 29 Exhibit N,
                    # 30 Exhibit O, # 31 Exhibit P, # 32 Exhibit Q)(White,
                    Freddie) Modified on 4/26/2018 to include the following
                    text: USB/Drive containing Exhibits J, K, L, M, N, O, P,
                    Q placed in small brown envelope in the file attached to 67
                    Motion. (dmn, ). (Entered: 04/19/2018)
04/19/2018    65    NARRATIVE SUMMARY OF FACTS re 63 Motion and
                    64 Brief in Support filed by Greg Benton, City of Dothan,
                    Alabama, Chris Summerlin, Adrianne Woodruff. (White,
                    Freddie) Modified on 4/20/2018 to reflect actual title and
                    clean up text. (dmn, ) (Entered: 04/19/2018)
04/20/2018    66    ORDER: it is hereby ORDERED that Plf's response to the
                    63 motion shall be filed by Friday, 5/11/2018; Dfts may, if
                    they choose, file a reply to Plf's response no later than
                    Friday, 5/18/2018; further ORDERED that a motion
                    hearing in the above captioned cause is set for Thursday
                    5/24/2018, at 11:00 AM Central Time, in Courtroom 2E,
                    before Honorable Judge David A. Baker, as further set out
                    in order. Signed by Honorable Judge David A. Baker on
                    4/20/2018. (Furnished: Calendar, CB, JT, KF, WR, & WS)
                    (alm, ) (Entered: 04/20/2018)
04/25/2018    67    MOTION for Leave to File Exhibits (J, K, L, M, N, O, P,
                    Q (USB/Drive) Conventionally to 64 Brief, by Greg
                    Benton, City of Dothan, Alabama, Chris Summerlin,
                    Adrianne Woodruff. (USB/Drive placed in small brown
                    envelope in the file attached to this motion.) (dmn, )
                    Modified on 4/25/2018 to include location of usb/drive.
                    (dmn, ) (Entered: 04/25/2018)
04/26/2018    68    ORDER: This matter is before the court on Defendants
                    Motion to File Exhibits Conventionally. (Doc. 67 ). By the
                    motion, Defendants seek to file conventionally with the
                    Clerk of Court a USB flash drive containing exhibits J, K,
USCA11 Case: 18-15071   Document: 16     Date Filed: 02/15/2019    Page: 14 of 247



                    L, M, N, O, P, and Q in support of their motion for
                    summary judgment. Upon consideration, Defendants
                    motion (Doc. 67 ) is granted. Within five days of the date
                    of this order, Defendants shall submit to the Clerk a flash
                    drive containing the exhibits, along with a courtesy copy
                    of the flash drive for Chambers. Signed by Honorable
                    Judge David A. Baker on 4/26/2018. (dmn, ) (Entered:
                    04/26/2018)
05/11/2018    69    Evidentiary Submission in Opposition to Defendants' 63
                    Motion for Summary Judgment filed by Christopher
                    Cantu. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3 - Part 1, # 4 Exhibit 3 - Part 2, # 5 Exhibit 4 -
                    Part 1, # 6 Exhibit 4 - Part 2, # 7 Exhibit 5 - Part 1, # 8
                    Exhibit 5 - Part 2, # 9 Exhibit 6 - Part 1, # 10 Exhibit 6 -
                    Part 2, # 11 Exhibit 7 - Part 1, # 12 Exhibit 7 - Part 2, # 13
                    Exhibit 7 - Part 3, # 14 Exhibit 7 - Part 4, # 15 Exhibit 8 -
                    Part 1, # 16 Exhibit 8 - Part 2, # 17 Exhibit 9, # 18 Exhibit
                    10, # 19 Exhibit 11, # 20 Exhibit 12)(Sherrod, Henry)
                    Modified on 5/15/2018 to create link. (dmn, ) (Entered:
                    05/11/2018)
05/11/2018    70    RESPONSE to Motion re 63 MOTION for Summary
                    Judgment filed by Christopher Cantu. (Sherrod, Henry)
                    (Entered: 05/11/2018)
05/18/2018    71    REPLY BRIEF re 70 Response to Motion filed by Greg
                    Benton, City of Dothan, Alabama, Chris Summerlin,
                    Adrianne Woodruff. (White, Freddie) (Entered:
                    05/18/2018)
05/24/2018    72    Minute Entry for proceedings held before Honorable
                    Judge David A. Baker: Motion Hearing held on 5/24/2018
                    re 63 MOTION for Summary Judgment filed by Chris
                    Summerlin, City of Dothan, Alabama, Greg Benton,
                    Adrianne Woodruff (PDF available for court use only).
                    (Recording Time FTR: 11:03 AM - 12:10 PM.) (war, )
                    (Entered: 05/24/2018)
07/25/2018    73    REPORT AND RECOMMENDATION OF THE
                    MAGISTRATE JUDGE that: 1. Plaintiff's 43 Motion for
                    Partial Summary Judgment be denied; and 2. Defendants'
                    63 Motion for Summary Judgment on behalf of the City of
                    Dothan, Alabama; Greg Benton, and Chris Summerlin be
                    granted and final summary judgment be entered in these
                    Defendants' favor, and Defendants' Motion for Summary
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019    Page: 15 of 247



                    Judgment as to Adrienne Woodruff (Doc. 63 ) be denied.
                    Objections to R&R due by 8/8/2018. Signed by Honorable
                    Judge David A. Baker on 7/25/2018. (dmn, ) (Entered:
                    07/25/2018)
07/30/2018    74    MOTION for Extension of Time to File Objections to
                    Magistrate Judge's August 8, 2018 73 Report and
                    Recommendation by Adrianne Woodruff. (Attachments: #
                    1 Text of Proposed Order Order)(White, Freddie)
                    Modified on 7/31/2018 to clean up text, reflect actual title.
                    (dmn, ) (Entered: 07/30/2018)
07/31/2018    75    ORDER: This matter is before the Court on Defendants
                    Motion to Modify forExtension of Time to File Objections
                    to Magistrate Report and Recommendation.(Doc. 74 ).
                    Upon consideration, Defendants motion is GRANTED,
                    and it isORDERED that objections to the Report and
                    Recommendation shall be filed byAugust 15, 2018. Signed
                    by Honorable Judge David A. Baker on 7/31/2018. (dmn, )
                    (Entered: 07/31/2018)
08/15/2018    76    Case reassigned to Honorable Judge Emily C. Marks.
                    Honorable Judge Myron H. Thompson no longer assigned
                    to the case as presiding judge. (dmn, ) (Entered:
                    08/15/2018)
08/15/2018    77    Objection to re 73 REPORT AND
                    RECOMMENDATIONS re 43 MOTION for Partial
                    Summary Judgment and Brief in Support filed by
                    Christopher Cantu, 28 Amended Complaint, filed by
                    Christopher Cantu, 63 MOTION for Summary Judgment
                    filed by Chris Summer filed by Adrianne Woodruff.
                    (White, Freddie) (Entered: 08/15/2018)
08/23/2018    78    RESPONSE to Defendant's 77 Objections to 73 Report
                    and Recommendation re 43 Motion for Partial Summary
                    Judgment and Brief in Support, 28 Amended Complaint,
                    63 Motion for Summary Judgment, filed by Christopher
                    Cantu. (Sherrod, Henry) Modified on 8/24/2018 to clean
                    up text, create link. (dmn, ) (Entered: 08/23/2018)
08/27/2018    79    Joint MOTION to Modify 35 Scheduling Order by
                    Christopher Cantu, Greg Benton, City of Dothan,
                    Alabama, Chris Summerlin, Adrianne Woodruff. (Sherrod,
                    Henry) Modified on 8/28/2018 to create link and include
                    additional filers. (dmn, ) (Entered: 08/27/2018)
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019    Page: 16 of 247



08/28/2018    80    ORDER: The 79 Joint Motion to Modify Scheduling
                    Order is granted to the extent that the Pretrial Conference
                    on 9/13/2018 and the trial on 10/15/2018 are hereby
                    continued and removed from the court's calendar while the
                    District Judge has the Report and Recommendation under
                    consideration and until further order of court. It is further
                    ORDERED that all pretrial deadlines referenced in
                    sections 9, 10, 11, 13, and 15 of the Uniform Scheduling
                    Order, see Doc. 35 , are continued until further order of
                    court. Signed by Honorable Judge David A. Baker on
                    8/28/2018. Copies furnished to calendar group, WS.
                    (Deadlines terminated: Jury Trial set for 10/15/2018, Final
                    PTC set for 9/13/2018.)(dmn, ) (Entered: 08/28/2018)
09/06/2018    81    NOTICE of Conventional Filing of a USB flash drive
                    containing Exhibits 5-8 and 10 of plaintiff's 44 Evidentiary
                    Submission, substituted for the USB flash drive (blank)
                    originally received on 11/1/2017, by Christopher Cantu.
                    (Sherrod, Henry) Modified on 9/6/2018 to include
                    additional text, original flash drive received 11/1/2017 was
                    blank. The flash drive received on 9/5/2018 replaces the
                    originally submitted flash drive. Flash drive placed in a
                    small brown envelope attached to a copy of this notice in
                    the file in Clerk's office. (dmn, ) (Entered: 09/06/2018)
11/08/2018    82    MEMORANDUM OPINION AND ORDER adopting in
                    part and rejecting in part the 73 REPORT AND
                    RECOMMENDATION OF THE MAGISTRATE JUDGE
                    ; ORDERING that plf's 43 motion for partial summary
                    judgment be and is DENIED; further ORDERING that
                    defs' City of Dothan, AL, Benton, and Summerlin's 63
                    motion for summary judgment be and is GRANTED;
                    further ORDERING that def Woodruff's 77 objection is
                    SUSTAINED and that her 63 motion for summary
                    judgment be and is GRANTED. Signed by Honorable
                    Judge Emily C. Marks on 11/8/18. (djy, ) (Entered:
                    11/08/2018)
11/08/2018    83    FINAL JUDGMENT, in accordance with the order
                    entered on this date adopting in part and rejecting in part
                    the Report and Recommendation of the Magistrate Judge,
                    it is the ORDER, JUDGMENT and DECREE of the Court
                    that this case is DISMISSED with prejudice; directing the
                    Clerk to enter this document on the civil docket as a Final
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019   Page: 17 of 247



                    Judgment pursuant to Rule 58 of the FRCP. Signed by
                    Honorable Judge Emily C. Marks on 11/8/18.
                    (Attachments: # 1 civil appeals checklist)(djy, ) (Entered:
                    11/08/2018)
12/07/2018    84    NOTICE OF APPEAL by Christopher Cantu (Sherrod,
                    Henry) Modified on 12/7/2018 to Create relationship to
                    document # 82 MEMORANDUM OPINION AND
                    ORDER and 83 FINAL JUDGMENT entered on
                    11/08/2018.(ydw, ) (Entered: 12/07/2018)
12/07/2018          NOTICE of Docket Text Correction issued this date to
                    reflect that 84 Notice of Appeal, was modified on
                    12/07/2018 to Create relationship to document # 82
                    MEMORANDUM OPINION AND ORDER and 83
                    FINAL JUDGMENT entered on 11/08/2018. No PDF
                    with this docket entry. (ydw)(ydw, ) (Entered: 12/07/2018)
12/07/2018    85    Appeal Instructions sent to Attorney Henry F. (Hank)
                    Sherrod III, counsel for plaintiff CHRISTOPHER
                    CANTU, as the Administrator of the Estate of Robert Earl
                    Lawrence, re 84 Notice of Appeal. A copy of the
                    Transcript Information Form must be mailed to each court
                    reporter from whom you are requesting a transcript.
                    (Attachments: # 1 TRANSCRIPT INFORMATION
                    FORM)(ydw, ) (Entered: 12/07/2018)
12/07/2018    86    Transmission of Notice of Appeal, 73 REPORT AND
                    RECOMMENDATIONS, 77 Objection, 82
                    MEMORANDUM OPINION AND ORDER, 83 FINAL
                    JUDGMENT, and Docket Sheet to US Court of Appeals
                    re 84 Notice of Appeal. (Attachments: # 1 DOCKET
                    SHEET)(ydw, ) (Entered: 12/07/2018)
12/11/2018    87    TRANSCRIPT INFORMATION FORM by Christopher
                    Cantu (Sherrod, Henry) (Entered: 12/11/2018)
12/11/2018    88    USCA Case Number 18-15071-F for 84 Notice of Appeal
                    filed by Christopher Cantu. (dmn, ) (Entered: 12/11/2018)
12/11/2018    89    STRICKEN AS A DUPLICATE DOCKET ENTRY -
                    SEE DOCUMENT #88 FOR CORRECT ENTRY] Case
                    Number 18-15071-F for 84 Notice of Appeal filed by
                    Christopher Cantu; Notice of appeal filed by Appellant
                    Christopher Cantu on 12/07/2018. Fee Status: Fee Not
                    Paid. Awaiting Appellant's Certificate of Interested
                    Persons due on or before 12/21/2018 as to Appellant
                    Christopher Cantu. Awaiting Appellee's Certificate of
USCA11 Case: 18-15071   Document: 16    Date Filed: 02/15/2019   Page: 18 of 247



                    Interested Persons due on or before 01/04/2019 as to
                    Appellee City of Dothan, Alabama. (ydw, ) Modified on
                    12/12/2018 (ydw, ). (Entered: 12/12/2018)
12/12/2018    90    USCA Appeal Fees received $ 505.00 receipt number
                    4602051683 re 84 Notice of Appeal filed by Christopher
                    Cantu 11th Circuit Appeal No. 18-15071-F. (ydw, )
                    (Entered: 12/12/2018)
12/12/2018          Pursuant to F.R.A.P. 11(c), the Clerk of the District Court
                    for the Middle District of Alabama certifies that the record
                    is complete for purposes of this appeal re: 84 Notice of
                    Appeal, Appeal No. 18-15071-F. The entire record on
                    appeal is available electronically.(ydw, ) (Entered:
                    12/12/2018)
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 19 of 247




                    TAB 1
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 1 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 20 of 247

                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA L.                          i.
                                                                                      L. ED,
                           SOUTHERN DIVISION
                                                                    2Th BEC 2c1 A 3: 2
CHRISTOPHER CANTU, as the
Administrator of the Estate of                                        .h
Robert Earl Lawrence,                                                        K



      Plaintiff

V.                                            CASE NO. V. 19-CV- 1003
                                                   DEMAND FOR JURY TRIAL
CITY OF DOTHAN, ALABAMA,
GREG BENTON,
CHRIS SUMMERLIN, and
ADRIAN WOODRUFF,

      Defendants.

                                   COMPLAINT

      Plaintiff Christopher Cantu complains of defendants, stating as follows:

                                       Patties

      1.     Christopher Cantu is of legal age, a citizen and resident of the state of

Alabama and Geneva County, and the duly-appointed representative of the estate of

Robert Earl Lawrence.

      2.     Defendant the City of Dothan, Alabama is a municipality organized and

existing under the laws of the state of Alabama.

      3.     Defendant Greg Benton was employed by the City of Dothan as the police

chief at all times relevant to the allegations in this complaint and is a resident and

citizen of the state of Alabama. He is sued in his individual capacity.
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 2 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 21 of 247

       4.     Defendant Chris Summerlin was employed by the City of Dothan as a

police officer at all times relevant to the allegations in this complaint and is a resident

and citizen of the state of Alabama. He is sued in his individual capacity.

       5.     Defendant Adrian Woodruff was employed by the City of Dothan as a

police officer at all times relevant to the allegations in this complaint and is a resident

and citizen of the state of Alabama. She is sued in her individual capacity.

                                          Facts

       6.     On or about December 30, 2014, Lawrence was attempting to take a stray

dog to the Dothan Animal Shelter.

       7.     Shelter employees demanded that Lawrence provide a driver's license as

identification.

       8.     Lawrence provided his name but refused to provide a driver's license

based on his personal convictions and beliefs.

       9.     Shelter personnel contacted the police.

       10.    Dothan police officer Chris Summerlin was the first officer on the scene.

       11.    Lawrence again provided his name but refused to provide a driver's

license.

       12.    Sunimerlin refused to permit Lawrence to leave without providing

identification (in the form of a driver's license) and took Lawrence to the ground.

       13.    After taking Lawrence to the ground, Summerlin let Lawerence up

                                            2
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 3 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 22 of 247

without cuffing him.

          14.   After Summerlin let Lawrence up, Lawrence continued to refuse to

provide his identification, and, eventually, Summerlin told Lawrence he was under

arrest.

          15.   Lawrence put his hands up and backed away from Summerlin in order to

avoid being arrested.

          16.   Summerlin then tased Lawerence.

          17.   After Summerlin tased Lawrence, Woodruff arrived on the scene and

began assisting Summerlin.

          18.   Despite the lack of any threat of death or serious bodily harm to any

officer, Woodruff drew her weapon.

          19.   Summerlin saw Woodruff draw her weapon, had an opportunity to

intervene to protect Lawrence, but, nevertheless, failed and refused to intervene.

          20.   Woodruff then shot Lawrence in the abdomen.

          21.   Lawrence died from the gunshot wound.

          22.   The detention and arrest of Lawrence was not based on reasonable

suspicion or probable cause, as Lawrence had comniitted no crime. He was not subject

to any legal duty to provide identification.

          23.   Because the detention and arrest were unlawful, under Alabama law

Lawrence had a right to resist the arrest.

                                             3
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 4 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 23 of 247

       24.    Lawrence, who all officers knew to be unarmed, resisted the arrest but did

not assault or attempt to assault any officer. (Lawrence, who openly carries a handgun,

removed his gun and put it in his glovebox when Summerlin arrived.)

       25.    There was no basis for Woodruff to even draw her gun, let alone shoot

Lawrence.

       26.    Woodruff violated clear City policy in drawing her gun.

       27.    Woodruff violated clear City policy in discharging her gun.

       28.    Woodruff's use of deadly force was unnecessary and excessive and

resulted in Lawrence's death.

       29.    The City of Dothan regularly receives calls from citizens who make

complaints.

       30.    Many of these calls are regarding persons who have committed no crime.

       . 1. It is a routine part of the business of the City of Dothan police department

for its officers to respond to Such complaints and make contact with persons who are

the subject of the complaint.

       32.    In these routine situations, an officers's actions are restricted by clear

constitutional rules.

       33.    One of these rules only permits the officer to detain the person if "the

officer has a reasonable, articulable suspicion that criminal activity is afoot." Illinois v.

Wardlow, 528 U.S. 119, 123 (2000) (citing Terry v. Ohio, 392 U.S. 1, 30 (1968)).

                                              4
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 5 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 24 of 247

"While 'reasonable suspicion' is a less demanding standard than probable cause and

requires a showing considerably less than preponderance of the evidence, the Fourth

Amendment requires at least a minimal level of objective justification for making the

stop." Id. (citing United States v. Sokolow, 490 U.S. 1, 7 (1989)). In the absence of

reasonable suspicion justifying the stop, a person approached by an officer "need not

answer any question put to him; indeed, he may decline to listen to the questions at all

and may go on his way." Florida v. Royer, 460 U.S. 491,497-98(1983) (citing Terry,

392 U.S. at 32-33 (Harlan, J., concurring) and 34 (White, J., concurring)). An

individual "may not be detained even momentarily without reasonable, objective

grounds for doing so; and his refusal to listen or answer does not, without more,

furnish those grounds." Id. at 498 (citing United States v. Mendenhall, 446 U.S. 544,

556 (1980)).

       34.      Officers conducting traffic stops are subject to similar constitutional

restrictions.

       35.      It is highly predictable that constitutional violations will occur if officers

are not trained and supervised regarding the limits on police officers' authority to make

stops, including traffic stops.

       36.      It is highly predictable that violations of these constitutional rules will

lead to unnecessary physical confrontations, unlawful arrests (to justify the force used

by the officer), and injuries to innocent citizens who oppose police officers who violate
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 6 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 25 of 247

these constitutional rules.

       37.    Common charges used by officers in this situation are obstructing

governmental operations, disorderly conduct, and resisting arrest.

       38.    It is well known to experienced police officers and to City policymakers

that officers, without proper training and supervision regarding the limits of their

authority, are likely to violate the constitutional rules related to stops in an effort to be

"proactive" in stopping crime and under the general mantra "better safe rather than

sorry."

       39.    That is particularly true here because the City evaluated officers'

performance based in part on their statistics for contacts, arrests, and tickets, thereby

encouraging officers to be aggressive in their approaches to citizens.

       40.    In fact, the policies and practices of many police departments regarding

stops, including traffic stops, have come under scrutiny in recent years.

       41.    City policymakers knew to a moral certainty that City officers would

regularly confront the question of whether a stop was permissible.

       42.    Nevertheless, City policymakers, with deliberate indifference, failed to

take steps to insure officers were trained and supervised regarding the constitutional

limits on officers' authority in this area.

       43.    Officers were encouraged to make stops without also being reminded of

the limits on their authority to make them.
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 7 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 26 of 247

       44.   Officers were not trained regarding the limited circumstances in which it

is appropriate to arrest persons for disorderly conduct and other charges that are subject

to abuse by officers.

       45.   Officers are initially trained at a certified police academy and are

instructed regarding the constitutional rules.

       46.   Academy training, however, is followed by an extensive training program

in which field training officers teach new officers how the job is really done.

       47.   Prior to the Lawrence incident, City policymakers were aware of

numerous incidents in which citizens were subjected to unconstitutional stops,

searches, arrests, and uses of force but took no action to investigate and discipline

officers.

       48.    Press reports indicate that the City has a long history of tolerance for

misconduct by its officers, including numerous false arrests based on planted or

manufactured evidence and evidence that were covered up.

       49.   In fact, even when a high-ranking Dothan police officer, Captain Keith

Gray, complained about the false arrest of two black youths in 2012, there was no

investigation.

       50.   This very case presents a prime example, as even the obvious use of

excessive force by Woodruff was not a basis for discipline, and the City's

policymakers did not criticize Summerlin's arrest of Lawrence either.

                                            7
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 8 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 27 of 247

      51.    Summerlin and Woodruff were not disciplined because the City of Dothan

does not take violations of constitutional rights seriously even when they result in an

unnecessary death.

      52.    Despite reviewing evidence, including video recordings, clearly showing

that Lawrence's rights were violated, City policymakers determined the actions of the

officers were within policy and constitutional limits.

      53.    The City's actions regarding Lawrence are emblematic of a department

that tolerates constitutional violations and uses internal investigations as a means to

protect officers and the City from civil liability and bad publicity.

      54.    The City's failure and refusal to discipline Summerlin and Woodruff and

finding that their conduct was within City policy constitutes a ratification of

Woodruff s constitutional violations and makes the City liable for Woodruff's

constitutional violations under Monell v. Dept. of Social Services, 436 U.S. 658 (1978).

      55.    The actions of City policymakers regarding Lawrence are consistent with

and reflective of a pre-existing policy and custom of tolerance for constitutional

violations by officers, including illegal seizures, illegal searches, false arrests, and

excessive force.

      56.    Prior to the violations of Lawrence's rights, the City permitted,

encouraged, and ratified a pattern and practice of misconduct in that the City:

             a.      failed to discipline or prosecute or in any manner deal with known

                                            8
    Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 9 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 28 of 247

                     incidents of misconduct; and

              b.     refused to investigate complaints of misconduct, and, instead,
                     officially claimed such incidents were justified and proper.

       57.    Thus, prior to Lawrence's death, few, if any, officers received informal

criticism, let alone formal discipline and certainly were not terminated, for violating a

citizen's constitutional rights.

       58.    City policymakers were aware of prior incidents through use of force

reports (which are approved through the chain of command), through reports from the

City attorney's office (which prosecutes the false charges used by officers in City

court), complaints from citizens, reports from officers, and through other sources.

       59.    Through long-established practice, the City's policymakers established a

custom or policy that incidents of possible, likely, or known misconduct are not

investigated or are investigated only with an eye toward protecting the City from civil

liability, with the foreseeable result that officers believe they can get away with

violating citizens' rights.

       60.    In furtherance of this custom or policy, the City has set up a system that

discourages citizen complaints. While publishing information about other police-

related matters on its website, the City does not provide a vehicle for such complaints

or inform citizens regarding how to make such complaints on the website. The City

does not even state that it has an internal affairs officer, let alone a department
   Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 10 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 29 of 247

responsible for such investigations.

      61.     In fact, instead of reviewing incidents of possible, likely, or known

misconduct, such incidents are routinely approved through the chain of command.

      62.     Because use of force reports and internal investigations are not a matter of

public record, the number of excessive force and other incidents sanctioned by the City

is not known.

      63.     The foregoing acts, omissions, and systemic failures and deficiencies are

policies and customs of the City and caused officers to believe that constitutional

violations would be tolerated and that complaints would not be honestly or properly

investigated, with the foreseeable result that officers would violate the constitutional

rights of Lawrence and other similarly-situated citizens.

      64.     The customs and policies described above were implemented by the acts

and omissions of City policymakers, including the police chief, now retired, defendant

Greg Benton

                    Count I - 42 U.S.C. § 1983 - Excessive Force

      65.     On or about December 30, 2014, Woodruff, acting under color of law

within the meaning of 42 U.S.C. § 1983, used deadly force on Lawrence, thereby

depriving Lawrence of his rights under the Fourth and Fourteenth Amendments to the

Constitution of the United States in violation of 42 U.S.C. § 1983. Specifically, she

violated Lawrence's right to be free from excessive force.

                                            10
   Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 11 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 30 of 247

      66.     Summerlin not only precipitated the entire incident; he had an opportunity

to intervene to protect Lawrence but failed to do so.

       67.    Woodruff and Summerlin acted with malice or reckless indifference to

Lawrence's constitutional rights.

      68.     The City's policies and customs, including those regarding investigations

of citizen complaints and tolerance for constitutional violations in general, were the

moving force behind defendants' violation of Lawrence's Fourth Amendment rights.

       69.    The City's customs and policies were established by City policymakers,

including Benton.

       70.    As a result of the conduct of defendants, Lawrence was shot and killed.

             Count II- State Law - Assault and Battery/Excessive Force

       71.    On or about December 30, 2014, Woodruff shot and killed Lawrence.

       72.    Woodruff did so in violation of clear City policy regarding when deadly

force is permissible.

       73.    Summerlin not only precipitated the entire incident; he had an opportunity

to intervene to protect Lawrence but failed to do so.

       74.    The conduct of Woodruff and Summerlin was either negligent, wanton,

malicious, willful, or in bad faith.

      75.     As a result of the conduct of defendants, Lawrence was shot and killed.

       76.    To the extent the conduct of Woodruff and Summerlin was negligent or

                                           11
   Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 12 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 31 of 247

careless, the City is liable for Woodruff's conduct.

                                   Other Matters

      77.    All conditions precedent to the bringing of this suit have occurred.

                                    Relief Sought

      78.    As relief, plaintiff seeks the following:

             a.     That he be awarded such compensatory damages as a jury shall
                    determine from the evidence he is entitled to recover;

             b.     That he be awarded against the individual defendants only such
                    punitive damages as a jury shall determine from the evidence he is
                    entitled to recover;

             C.     That he be awarded prejudgment and pOstjudgment interest at
                    the highest rates allowed by law;

             d.     That he be awarded the costs of this action, his reasonable
                    attorney's fees, and his reasonable expert witness fees;

             e.    That he be awarded such other and further relief to which he is
                   justly entitled.

Dated: December 29, 2016.




                                           12
   Case 1:16-cv-01003-ECM-DAB Document 1 Filed 12/29/16 Page 13 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 32 of 247

                                           Respectfully submitted,


                                           Is Henry F. (Hank) Sherrod III
                                           Henry F. (Hank) Sherrod III
                                           No. ASB-1200-D63H
                                           HENRY F. SHERROD III, P.C.
                                           119 South Court Street
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                                           Attorneys for Plaintiff

                                    Jury Demand

     Plaintiff requests a trial by jury.
                                             \)AIU 'V31C'




                                             13
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 33 of 247




                TAB 23
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 1 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 34 of 247


           UNITED STATES DISTRICT COURT FOR THE MIDDLE
                       DISTRICT OF ALABAMA

CHRISTOPHER CANTU,                        )
                                          )
              PLAINTIFF,                  )
                                          )
v.                                        ) CIVIL ACTION NO.: 1:16-cv-1003
                                          )
CITY OF DOTHAN, ALABAMA,                  )
et al.,                                   )
                                          )
              DEFENDANT.                  )

              ANSWER OF DEFENDANT ADRIANNE WOODRUFF

      Comes now the Defendant Adrianne Woodruff in the above styled cause, by

and through the undersigned attorney and in answer to Plaintiff’s Complaint states

as follows:

                                      Parties

      1.      Defendant is without information to either admit or deny the

allegations contained in paragraph 1 of Plaintiff’s Complaint. Defendant therefore

denies said allegations.

      2.      Defendant admits the allegations contained in paragraph 2 of

Plaintiff’s Complaint.

      3.      Defendant admits the allegations contained in paragraph 3 of

Plaintiff’s Complaint.
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 2 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 35 of 247


      4.     Defendant admits the allegations contained in paragraph 4 of

Plaintiff’s Complaint.

      5.     Defendant admits the allegations contained in paragraph 5 of

Plaintiff’s Complaint.

      6.     Defendant admits Lawrence attempted to leave a dog at the Dothan

Animal Shelter.

      7.     Defendant admits employees requested to see Lawrence’s driver’s

license.

      8.     Defendant admits that Lawrence produced a document entitled,

“AFFIDAVIT OF IDENTITY” and did not produce a driver’s license. Defendant

admits Lawrence’s refusal was consistent with the convictions and beliefs of

sovereign citizens.

      9.     Defendant admits the allegations contained in paragraph 9 of

Plaintiff’s Complaint.

      10.    Defendant denies the allegations contained in paragraph 10 of

Plaintiff’s Complaint.

      11.    Defendant admits Lawrence refused to produce a driver’s license. See

Defendant’s response to paragraph no. 8, supra. Defendant denies he gave his

name to Officer Summerlin.

                                         2
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 3 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 36 of 247


      12.   Defendant denies the allegations contained in paragraph 12 of

Plaintiff’s Complaint.

      13.   Defendant denies the allegations contained in paragraph 13 of

Plaintiff’s Complaint.

      14.   Defendant denies the allegations contained in paragraph 14 of

Plaintiff’s Complaint.

      15.   Defendant denies the allegations contained in paragraph 15 of

Plaintiff’s Complaint.

      16.   Defendant denies the allegations contained in paragraph 16 of

Plaintiff’s Complaint.

      17.   Defendant denies the allegations contained in paragraph 17 of

Plaintiff’s Complaint.

      18.   Defendant denies the allegations contained in paragraph 18 of

Plaintiff’s Complaint.

      19.   Defendant denies the allegations contained in paragraph 19 of

Plaintiff’s Complaint.

      20.   Defendant admits shooting Lawrence to protect herself and other

police officers from the threat of death or serious physical harm posed by

Lawrence.

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   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 4 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 37 of 247


      21.   Defendant admits the allegations contained in paragraph 21 of

Plaintiff’s Complaint.

      22.   Defendant denies the allegations contained in paragraph 22 of

Plaintiff’s Complaint.

      23.   Defendant denies the allegations contained in paragraph 23 of

Plaintiff’s Complaint.

      24.   Defendant denies the allegations contained in paragraph 24 of

Plaintiff’s Complaint.

      25.   Defendant denies the allegations contained in paragraph 25 of

Plaintiff’s Complaint.

      26.   Defendant denies the allegations contained in paragraph 26 of

Plaintiff’s Complaint.

      27.   Defendant denies the allegations contained in paragraph 27 of

Plaintiff’s Complaint.

      28.   Defendant denies the allegations contained in paragraph 28 of

Plaintiff’s Complaint.

      29.   Defendant admits the allegations contained in paragraph 29 of

Plaintiff’s Complaint.



                                        4
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 5 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 38 of 247


      30.    Defendant admits the allegations contained in paragraph 30 of

Plaintiff’s Complaint.

      31.    Defendant admits the allegations contained in paragraph 31 of

Plaintiff’s Complaint.

      32.    Defendant denies that the circumstances she confronted with

Lawrence were routine. Defendant admits that federally protected rights of

citizens exist even in the most exigent circumstances.

      33.    Defendant denies that either Terry v. Ohio, 392 U.S. 1 (1968) or its

progeny, are limited to routine situations encountered by law enforcement.

      34.    See Defendant’s response to no. 33, supra.

      35.    Defendant denies she was not properly trained or supervised for

investigatory stops, traffic stops and arrest. Defendant further denies constitutional

violations by Dothan police officers are predictable.

      36.    Defendant denies that either she or other police officers involved with

Lawrence violated Lawrence’s constitutionally protected rights. Defendant further

denies it is highly predictable that any Dothan police officer would violate the

constitutional rights of any citizen or person, innocent or guilty.




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   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 6 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 39 of 247


      37.    Defendant admits that these are criminal offenses under the laws of

the State of Alabama. Defendant denies any abuse of these laws by Dothan police

officers.

      38.    Defendant denies that she or any other police officer involved with

Lawrence had not received proper training and supervision for their authority as

sworn police officers. Defendant admits it was well known to the Dothan City

Commission that their police officers receive proper training and supervision.

      39.    Defendant denies the allegations contained in paragraph 39 of

Plaintiff’s Complaint.

      40.    Defendant is without information to either admit or deny the

allegations contained in paragraph 40 of Plaintiff’s Complaint. Defendant

therefore denies said allegations.

      41.    Defendant admits the Dothan City Commission was certain its police

officers were properly trained in all discretionary functions of law enforcement.

Defendant denies the Commission knew the frequency of when such occasions

would arise. See Defendant’s response to no. 35, supra.

      42.    Defendant denies the allegations contained in paragraph 42 of

Plaintiff’s Complaint.




                                         6
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 7 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 40 of 247


      43.    Defendant denies the allegations contained in paragraph 43 of

Plaintiff’s Complaint.

      44.    Defendant denies the allegations contained in paragraph 44 of

Plaintiff’s Complaint.

      45.    Defendant admits she was a certified police officer at all times

materially relevant herein. Defendant further admits she received instruction in

both state and federal law related to the duties of law enforcement officers.

Defendant denies her initial law enforcement training was at the police academy.

      46.    Defendant denies there is any inconsistency in the training she

received in the police academy and that which she received from field training

officers.

      47.    Defendant denies the allegations contained in paragraph 47 of

Plaintiff’s Complaint.

      48.    Defendant is without information to either admit or deny the

allegations contained in paragraph 48 of Plaintiff’s Complaint. Defendant

therefore denies said allegations.

      49.    Defendant is without information to either admit or deny the

allegations contained in paragraph 49 of Plaintiff’s Complaint. Defendant

therefore denies said allegations.

                                          7
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 8 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 41 of 247


      50.    Defendant denies using excessive force. Defendant admits that the

Dothan City Commission did not criticize Defendant Summerlin’s arrest of

Lawrence.

      51.    Defendant admits she and officer Summerlin were not criticized or

disciplined for their actions. Defendant denies the remaining allegations in

paragraph 51.

      52.    Defendant denies the allegations contained in paragraph 52 of

Plaintiff’s Complaint.

      53.    Defendant denies the allegations contained in paragraph 53 of

Plaintiff’s Complaint.

      54.    Defendant denies the allegations contained in paragraph 54 of

Plaintiff’s Complaint.

      55.    Defendant denies the allegations contained in paragraph 55 of

Plaintiff’s Complaint.

      56.a. Defendant denies the allegations contained in paragraph 56.a of

Plaintiff’s Complaint.

      56.b. Defendant denies the allegations contained in paragraph 56.b of

Plaintiff’s Complaint.



                                         8
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 9 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 42 of 247


          57.   Defendant denies that complaints against police officers are not

investigated and disciplinary action not taken when appropriate. Defendant admits

the Dothan police department has an exemplary record for safeguarding civil

rights.

          58.   Defendant denies said allegations contained in paragraph 58 of

Plaintiff’s Complaint.

          59.   Defendant denies the allegations contained in paragraph 59 of

Plaintiff’s Complaint.

          60.   Defendant denies the allegations contained in paragraph 60 of

Plaintiff’s Complaint.

          61.   Defendant denies the allegations contained in paragraph 61 of

Plaintiff’s Complaint.

          62.   Defendant denies that either the City of Dothan or the Dothan Police

Department has ever sanctioned the use of excessive force by its police officers.

Defendant admits that Internal Affairs investigative reports are not public record.

          63.   Defendant denies the allegations contained in paragraph 63 of

Plaintiff’s Complaint.

          64.   Defendant denies the allegations contained in paragraph 64 of

Plaintiff’s Complaint.

                                            9
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 10 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 43 of 247


                                 Count I - 42 U.S.C.
                              § 1983 – Excessive Force

      65.   Defendant denies the allegations contained in paragraph 65 of

Plaintiff’s Complaint.

      66.   Defendant denies the allegations contained in paragraph 66 of

Plaintiff’s Complaint.

      67.   Defendant denies the allegations contained in paragraph 67 of

Plaintiff’s Complaint.

      68.   Defendant denies the allegations contained in paragraph 68 of

Plaintiff’s Complaint.

      69.   Defendant denies the allegations contained in paragraph 69 of

Plaintiff’s Complaint.

      70.   Defendant denies the allegations contained in paragraph 70 of

Plaintiff’s Complaint.




                               Count II – State Law –
                         Assault and Battery/Excessive Force


      71.   Defendant admits the allegations contained in paragraph 71 of

Plaintiff’s Complaint.


                                         10
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 11 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 44 of 247


      72.    Defendant denies the allegations contained in paragraph 72 of

Plaintiff’s Complaint.

      73.    Defendant denies the allegations contained in paragraph 73 of

Plaintiff’s Complaint.

      74.    Defendant denies the allegations contained in paragraph 74 of

Plaintiff’s Complaint.

      75.    Defendant denies the allegations contained in paragraph 75 of

Plaintiff’s Complaint.

      76.    Defendant denies the allegations contained in paragraph 76 of

Plaintiff’s Complaint.

      77.    Defendant is without information to either admit or deny the

allegations contained in paragraph 77 of Plaintiff’s Complaint. Defendant

therefore denies said allegations.




                                     Relief Sought

      78.    Paragraphs 78.a-78.e do not call for responses from this Defendant.

In the event this Court should determine a response is in order, those averments are

denied.



                                          11
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 12 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 45 of 247


                           AFFIRMATIVE DEFENSES

                       FIRST AFFIRMATIVE DEFENSE

      Defendant asserts that the Plaintiff’s Complaint has failed to state a claim

against this Defendant for a federal constitutional violation pursuant to 42 U.S.C. §

1983. Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1694, 85 L.Ed. 2d 1 (1985); Graham v.

Conner, 490 U.S. 386, 109 S. Ct. 1865, 104 L.Ed. 2d 443 (1989); Scott v. Harris,

550 U.S. 372, 1275 Ct. 1769, 167 L. Ed. 2d 686 (2007).


                     SECOND AFFIRMATIVE DEFENSE

      Defendant asserts the affirmative defense of the statute of limitations.


                       THIRD AFFIRMATIVE DEFENSE

      The actions of Defendant were conducted in good faith and in the actual and

reasonable belief that such actions were legal and proper under the circumstances.


                     FOURTH AFFIRMATIVE DEFENSE

      Defendant’s alleged use of force applied to Plaintiff was objectively

reasonable based on her knowledge and observations at the time of the incident.


                       FIFTH AFFIRMATIVE DEFENSE

      Defendant is immune from tort liability for her conduct during the course of

this incident pursuant to Ala.Code § 6-5-338 1975.

                                          12
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 13 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 46 of 247


                       SIXTH AFFIRMATIVE DEFENSE

       At all times material to this lawsuit Defendant was acting within her

discretionary authority as a law enforcement officer employed by the City of

Dothan and violated no clearly established federal constitutional law of which a

reasonable police officer should have known. Therefore, Defendant is entitled to

qualified immunity from suit in her individual capacity.


                     SEVENTH AFFIRMATIVE DEFENSE

       Defendant asserts that, under the circumstances that existed, this Defendant

reasonably believed it necessary to use deadly force in order to prevent injury to

herself or others.


                      EIGHTH AFFIRMATIVE DEFENSE

       Defendant asserts that the incident alleged in the Plaintiff’s Complaint was

caused in whole or in part by the negligence and carelessness of Lawrence so as to

proximately result or contribute to the alleged incident and alleged damages.


                       NINTH AFFIRMATIVE DEFENSE

       Defendant asserts that arguable reasonable suspicion existed for Defendant’s

actions.




                                          13
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 14 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 47 of 247


                        TENTH AFFIRMATIVE DEFENSE

       Defendant asserts that this Defendant used that degree of force she

reasonably believed necessary to protect herself and others and was privileged

under Alabama law to do so.


                    ELEVENTH AFFIRMATIVE DEFENSE

       Defendant acted in self-defense.


                       TWELFTH AFFIRMATIVE DEFENSE

       Defendant asserts all applicable and relevant limits on judgments and claims

against municipalities and municipal actions.


                  THIRTEENTH AFFIRMATIVE DEFENSE

       Defendant asserts the affirmative defense of municipal notice of claims

statutes.


                  FOURTEENTH AFFIRMATIVE DEFENSE

       Defendant reserves the right to amend its affirmative defenses during the

course of discovery.


       Dated this 21st day of March, 2017.




                                          14
   Case 1:16-cv-01003-ECM-DAB Document 23 Filed 03/21/17 Page 15 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 48 of 247


                                               s/F. Lenton White
                                               F. Lenton White
                                               City Attorney
                                               P.O. Box 2128
                                               Dothan, Alabama 36302
                                               Telephone (334) 615-3130
                                               Facsimile (334) 615-3139



                         CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of March, 2017, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF System and by placing

the same in the U.S. Mail postage prepaid to the following:


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HENRY F. SHERROD III, P.C.
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P.O. Box 606
Florence, Alabama 35631-0606

William S. Morris
MORRIS CARY ANDREWS TALMADGE
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3334 Ross Clark Circle
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                                                     s/F. Lenton White
                                                     Of Counsel




                                          15
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 49 of 247




                TAB 28
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 1 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 50 of 247

                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

CHRISTOPHER CANTU, as the                   )
Administrator of the Estate of              )
Robert Earl Lawrence,                       )
                                            )
      Plaintiff                             )
                                            )
v.                                          )   CASE NO. 1:16-cv-1003
                                            )
CITY OF DOTHAN, ALABAMA,                    )
GREG BENTON,                                )
CHRIS SUMMERLIN, and                        )
ADRIANNE WOODRUFF,                          )
                                            )
      Defendants.                           )

                       SECOND AMENDED COMPLAINT

      Plaintiff Christopher Cantu complains of defendants, stating as follows:

                                        Parties

      1.     Christopher Cantu is of legal age, a citizen and resident of the state of

Alabama and Houston County, and the duly-appointed representative of the estate of

Robert Earl Lawrence.

      2.     Defendant the City of Dothan, Alabama is a municipality organized and

existing under the laws of the state of Alabama.

      3.     Defendant Greg Benton was employed by the City of Dothan as the

police chief at all times relevant to the allegations in this complaint and is a resident

and citizen of the state of Alabama. He is sued in his individual capacity.
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 2 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 51 of 247

       4.     Defendant Chris Summerlin was employed by the City of Dothan as a

police officer at all times relevant to the allegations in this complaint and is a resident

and citizen of the state of Alabama. He is sued in his individual capacity.

       5.    Defendant Adrianne Woodruff was employed by the City of Dothan as

a police officer at all times relevant to the allegations in this complaint and is a

resident and citizen of the state of Alabama. She is sued in her individual capacity.

                                          Facts

       6.    On or about December 30, 2014, Lawrence was attempting to take a

stray dog to the Dothan Animal Shelter.

       7.    Shelter employees demanded that Lawrence provide a driver’s license

as identification.

       8.    Lawrence provided his name but refused to provide a driver’s license

based on his personal convictions and beliefs.

       9.    Shelter personnel contacted the police.

       10.   Dothan police officer Chris Summerlin was the first officer on the scene.

       11.   Lawrence again provided his name but refused to provide a driver’s

license.

       12.   Summerlin refused to permit Lawrence to leave without providing

identification (in the form of a driver’s license) and took Lawrence to the ground.



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   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 3 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 52 of 247

          13.   After taking Lawrence to the ground, Summerlin let Lawerence up

without cuffing him.

          14.   After Summerlin let Lawrence up, Lawrence continued to refuse to

provide his identification, and, eventually, Summerlin told Lawrence he was under

arrest.

          15.   Lawrence put his hands up and backed away from Summerlin in order

to avoid being arrested.

          16.   Summerlin then tased Lawerence.

          17.   Before Summerlin tased Lawrence, Woodruff arrived on the scene and

began assisting Summerlin.

          18.   Despite the lack of any threat of death or serious bodily harm to any

officer, Woodruff drew her weapon.

          19.   Summerlin saw Woodruff draw her weapon, had an opportunity to

intervene to protect Lawrence, but, nevertheless, failed and refused to intervene.

          20.   Woodruff then shot Lawrence in the abdomen.

          21.   Lawrence died from the gunshot wound.

          22.   The detention and arrest of Lawrence was not based on reasonable

suspicion or probable cause, as Lawrence had committed no crime. He was not

subject to any legal duty to provide identification.

          23.   Because the detention and arrest were unlawful, under Alabama law

                                           3
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 4 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 53 of 247

Lawrence had a right to resist the arrest.

      24.     Lawrence, who all officers knew to be unarmed, resisted the arrest but

did not assault or attempt to assault any officer. (Lawrence, who openly carries a

handgun, removed his gun and put it in his glovebox when Summerlin arrived.)

      25.     There was no basis for Woodruff to even draw her gun, let alone shoot

Lawrence.

      26.     Woodruff violated clear City policy in drawing her gun.

      27.     Woodruff violated clear City policy in discharging her gun.

      28.     Woodruff’s use of deadly force was unnecessary and excessive and

resulted in Lawrence’s death.

      29.     The City of Dothan regularly receives calls from citizens who make

complaints.

      30.     Many of these calls are regarding persons who have committed no crime.

      31.     It is a routine part of the business of the City of Dothan police

department for its officers to respond to such complaints and make contact with

persons who are the subject of the complaint.

      32.     In these routine situations, an officers’s actions are restricted by clear

constitutional rules.

      33.     One of these rules only permits the officer to detain the person if “the

officer has a reasonable, articulable suspicion that criminal activity is afoot.” Illinois

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   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 5 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 54 of 247

v. Wardlow, 528 U.S. 119, 123 (2000) (citing Terry v. Ohio, 392 U.S. 1, 30 (1968)).

“While ‘reasonable suspicion’ is a less demanding standard than probable cause and

requires a showing considerably less than preponderance of the evidence, the Fourth

Amendment requires at least a minimal level of objective justification for making the

stop.” Id. (citing United States v. Sokolow, 490 U.S. 1, 7 (1989)). In the absence of

reasonable suspicion justifying the stop, a person approached by an officer “need not

answer any question put to him; indeed, he may decline to listen to the questions at

all and may go on his way.” Florida v. Royer, 460 U.S. 491, 497-98 (1983) (citing

Terry, 392 U.S. at 32-33 (Harlan, J., concurring) and 34 (White, J., concurring)). An

individual “may not be detained even momentarily without reasonable, objective

grounds for doing so; and his refusal to listen or answer does not, without more,

furnish those grounds.” Id. at 498 (citing United States v. Mendenhall, 446 U.S. 544,

556 (1980)).

       34.      Officers conducting traffic stops are subject to similar constitutional

restrictions.

       35.      It is highly predictable that constitutional violations will occur if officers

are not trained and supervised regarding the limits on police officers’ authority to

make stops, including traffic stops.

       36.      It is highly predictable that violations of these constitutional rules will

lead to unnecessary physical confrontations, unlawful arrests (to justify the force used

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   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 6 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 55 of 247

by the officer), and injuries to innocent citizens who oppose police officers who

violate these constitutional rules.

      37.    Common charges used by officers in this situation are obstructing

governmental operations, disorderly conduct, and resisting arrest.

      38.    It is well known to experienced police officers and to City policymakers

that officers, without proper training and supervision regarding the limits of their

authority, are likely to violate the constitutional rules related to stops in an effort to

be “proactive” in stopping crime and under the general mantra “better safe rather than

sorry.”

      39.    That is particularly true here because the City evaluated officers’

performance based in part on their statistics for contacts, arrests, and tickets, thereby

encouraging officers to be aggressive in their approaches to citizens.

      40.    In fact, the policies and practices of many police departments regarding

stops, including traffic stops, have come under scrutiny in recent years.

      41.    City policymakers knew to a moral certainty that City officers would

regularly confront the question of whether a stop was permissible.

      42.    Nevertheless, City policymakers, with deliberate indifference, failed to

take steps to insure officers were trained and supervised regarding the constitutional

limits on officers’ authority in this area.

      43.    Officers were encouraged to make stops without also being reminded of

                                              6
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 7 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 56 of 247

the limits on their authority to make them.

      44.    Officers were not trained regarding the limited circumstances in which

it is appropriate to arrest persons for disorderly conduct and other charges that are

subject to abuse by officers.

      45.    Officers are initially trained at a certified police academy and are

instructed regarding the constitutional rules.

      46.    Academy training, however, is followed by an extensive training

program in which field training officers teach new officers how the job is really done.

      47.    Prior to the Lawrence incident, City policymakers were aware of

numerous incidents in which citizens were subjected to unconstitutional stops,

searches, arrests, and uses of force but took no action to investigate and discipline

officers.

      48.    Press reports indicate that the City has a long history of tolerance for

misconduct by its officers, including numerous false arrests based on planted or

manufactured evidence and evidence that were covered up.

      49.    In fact, even when a high-ranking Dothan police officer, Captain Keith

Gray, complained about the false arrest of two black youths in 2012, there was no

investigation.

      50.    This very case presents a prime example, as even the obvious use of

excessive force by Woodruff was not a basis for discipline, and the City’s

                                          7
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 8 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 57 of 247

policymakers did not criticize Summerlin’s arrest of Lawrence either.

      51.    Summerlin and Woodruff were not disciplined because the City of

Dothan does not take violations of constitutional rights seriously even when they

result in an unnecessary death.

      52.    Despite reviewing evidence, including video recordings, clearly showing

that Lawrence’s rights were violated, City policymakers determined the actions of the

officers were within policy and constitutional limits.

      53.    The City’s actions regarding Lawrence are emblematic of a department

that tolerates constitutional violations and uses internal investigations as a means to

protect officers and the City from civil liability and bad publicity.

      54.    The City’s failure and refusal to discipline Summerlin and Woodruff and

finding that their conduct was within City policy constitutes a ratification of

Woodruff’s constitutional violations and makes the City liable for Woodruff’s

constitutional violations under Monell v. Dept. of Social Services, 436 U.S. 658

(1978).

      55.    The actions of City policymakers regarding Lawrence are consistent with

and reflective of a pre-existing policy and custom of tolerance for constitutional

violations by officers, including illegal seizures, illegal searches, false arrests, and

excessive force.

      56.    Prior to the violations of Lawrence’s rights, the City permitted,

                                           8
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 9 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 58 of 247

encouraged, and ratified a pattern and practice of misconduct in that the City:

             a.     failed to discipline or prosecute or in any manner deal with
                    known incidents of misconduct; and

             b.     refused to investigate complaints of misconduct, and, instead,
                    officially claimed such incidents were justified and proper.

      57.    Thus, prior to Lawrence’s death, few, if any, officers received informal

criticism, let alone formal discipline and certainly were not terminated, for violating

a citizen’s constitutional rights.

      58.    City policymakers were aware of prior incidents through use of force

reports (which are approved through the chain of command), through reports from the

City attorney’s office (which prosecutes the false charges used by officers in City

court), complaints from citizens, reports from officers, and through other sources.

      59.    Through long-established practice, the City’s policymakers established

a custom or policy that incidents of possible, likely, or known misconduct are not

investigated or are investigated only with an eye toward protecting the City from civil

liability, with the foreseeable result that officers believe they can get away with

violating citizens’ rights.

      60.    In furtherance of this custom or policy, the City has set up a system that

discourages citizen complaints. While publishing information about other police-

related matters on its website, the City does not provide a vehicle for such complaints

or inform citizens regarding how to make such complaints on the website. The City

                                          9
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 10 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 59 of 247

does not even state that it has an internal affairs officer, let alone a department

responsible for such investigations.

      61.    In fact, instead of reviewing incidents of possible, likely, or known

misconduct, such incidents are routinely approved through the chain of command.

      62.    Because use of force reports and internal investigations are not a matter

of public record, the number of excessive force and other incidents sanctioned by the

City is not known.

      63.    The foregoing acts, omissions, and systemic failures and deficiencies are

policies and customs of the City and caused officers to believe that constitutional

violations would be tolerated and that complaints would not be honestly or properly

investigated, with the foreseeable result that officers would violate the constitutional

rights of Lawrence and other similarly-situated citizens.

      64.    The customs and policies described above were implemented by the acts

and omissions of City policymakers, including the police chief, now retired,

defendant Greg Benton.

                   Count I - 42 U.S.C. § 1983 - Excessive Force

      65.    On or about December 30, 2014, Woodruff, acting under color of law

within the meaning of 42 U.S.C. § 1983, used deadly force on Lawrence, thereby

depriving Lawrence of his rights under the Fourth and Fourteenth Amendments to the



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   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 11 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 60 of 247

Constitution of the United States in violation of 42 U.S.C. § 1983. Specifically, she

violated Lawrence’s right to be free from excessive force.

      66.     Summerlin not only precipitated the entire incident; he had an

opportunity to intervene to protect Lawrence but failed to do so.

      67.     Woodruff and Summerlin acted with malice or reckless indifference to

Lawrence’s constitutional rights.

      68.     The City’s policies and customs, including those regarding investigations

of citizen complaints and tolerance for constitutional violations in general, were the

moving force behind defendants’ violation of Lawrence’s Fourth Amendment rights.

      69.     The City’s customs and policies were established by City policymakers,

including Benton.

      70.     As a result of the conduct of defendants, Lawrence was shot and killed.

            Count II- State Law - Assault and Battery/Excessive Force

      71.     On or about December 30, 2014, Woodruff shot and killed Lawrence.

      72.     Woodruff did so in violation of clear City policy regarding when deadly

force is permissible.

      73.     Summerlin not only precipitated the entire incident; he had an

opportunity to intervene to protect Lawrence but failed to do so.

      74.     The conduct of Woodruff and Summerlin was either negligent, wanton,



                                          11
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 12 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 61 of 247

malicious, willful, or in bad faith.

      75.    As a result of the conduct of defendants, Lawrence was shot and killed.

      76.    To the extent the conduct of Woodruff and Summerlin was negligent or

careless, the City is liable for Woodruff’s conduct.

                                       Other Matters

      77.    All conditions precedent to the bringing of this suit have occurred.

                                       Relief Sought

      78.    As relief, plaintiff seeks the following:

             a.     That he be awarded such compensatory damages as a jury shall
                    determine from the evidence he is entitled to recover;

             b.     That he be awarded against the individual defendants only such
                    punitive damages as a jury shall determine from the evidence he
                    is entitled to recover;

             a.     That he be awarded prejudgment and postjudgment interest at the
                    highest rates allowed by law;

             b.     That he be awarded the costs of this action, his reasonable
                    attorney’s fees, and his reasonable expert witness fees;

             e.     That he be awarded such other and further relief to which he is
                    justly entitled.

Dated: March 22, 2017.




                                            12
   Case 1:16-cv-01003-ECM-DAB Document 28 Filed 03/27/17 Page 13 of 13
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 62 of 247

                                      s/ Henry F. (Hank) Sherrod III
                                      Henry F. (Hank) Sherrod III
                                      No. ASB-1200-D63H
                                      HENRY F. SHERROD III, P.C.
                                      119 South Court Street
                                      Florence, Alabama 35630
                                      Phone: 256-764-4141
                                      Fax: 877-684-0802
                                      Email: hank@alcivilrights.com

                                      Attorney for Plaintiff

                         CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2017, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to counsel of record.



                                      s/ Henry F. (Hank) Sherrod III




                                        13
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 63 of 247




                TAB 29
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 1 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 64 of 247


           UNITED STATES DISTRICT COURT FOR THE MIDDLE
                       DISTRICT OF ALABAMA

CHRISTOPHER CANTU,                       )
                                         )
             PLAINTIFF,                  )
                                         )
v.                                       ) CIVIL ACTION NO.: 1:16-cv-1003
                                         )
CITY OF DOTHAN, ALABAMA,                 )
et al.,                                  )
                                         )
             DEFENDANT.                  )

            ANSWER OF DEFENDANT ADRIANNE WOODRUFF
            TO PLAINTIFF’S SECOND AMENDED COMPLAINT

      Comes now the Defendant Adrianne Woodruff in the above styled cause, by

and through the undersigned attorney and in answer to Plaintiff’s Second Amended

Complaint states as follows:

                                      Parties

      1.     Defendant is without information to either admit or deny the

allegations contained in paragraph 1 of Plaintiff’s Second Amended Complaint.

Defendant therefore denies said allegations.

      2.     Defendant admits the allegations contained in paragraph 2 of

Plaintiff’s Second Amended Complaint.

      3.     Defendant admits the allegations contained in paragraph 3 of

Plaintiff’s Second Amended Complaint.
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 2 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 65 of 247


      4.     Defendant admits the allegations contained in paragraph 4 of

Plaintiff’s Second Amended Complaint.

      5.     Defendant admits the allegations contained in paragraph 5 of

Plaintiff’s Second Amended Complaint.

      6.     Defendant admits Lawrence attempted to leave a dog at the Dothan

Animal Shelter.

      7.     Defendant admits employees requested to see Lawrence’s driver’s

license.

      8.     Defendant admits that Lawrence produced a document entitled,

“AFFIDAVIT OF IDENTITY” and did not produce a driver’s license. Defendant

admits Lawrence’s refusal was consistent with the convictions and beliefs of

sovereign citizens.

      9.     Defendant admits the allegations contained in paragraph 9 of

Plaintiff’s Second Amended Complaint.

      10.    Defendant denies the allegations contained in paragraph 10 of

Plaintiff’s Second Amended Complaint.

      11.    Defendant admits Lawrence refused to produce a driver’s license. See

Defendant’s response to paragraph no. 8, supra. Defendant denies he gave his

name to Officer Summerlin.

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   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 3 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 66 of 247


      12.   Defendant denies the allegations contained in paragraph 12 of

Plaintiff’s Second Amended Complaint.

      13.   Defendant denies the allegations contained in paragraph 13 of

Plaintiff’s Second Amended Complaint.

      14.   Defendant denies the allegations contained in paragraph 14 of

Plaintiff’s Second Amended Complaint.

      15.   Defendant denies the allegations contained in paragraph 15 of

Plaintiff’s Second Amended Complaint.

      16.   Defendant denies the allegations contained in paragraph 16 of

Plaintiff’s Second Amended Complaint.

      17.   Defendant denies the allegations contained in paragraph 17 of

Plaintiff’s Second Amended Complaint.

      18.   Defendant denies the allegations contained in paragraph 18 of

Plaintiff’s Second Amended Complaint.

      19.   Defendant denies the allegations contained in paragraph 19 of

Plaintiff’s Second Amended Complaint.

      20.   Defendant admits shooting Lawrence to protect herself and other

police officers from the threat of death or serious physical harm posed by

Lawrence.

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   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 4 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 67 of 247


     21.   Defendant admits the allegations contained in paragraph 21 of

Plaintiff’s Second Amended Complaint.

     22.   Defendant denies the allegations contained in paragraph 22 of

Plaintiff’s Second Amended Complaint.

     23.   Defendant denies the allegations contained in paragraph 23 of

Plaintiff’s Second Amended Complaint.

     24.   Defendant denies the allegations contained in paragraph 24 of

Plaintiff’s Second Amended Complaint.

     25.   Defendant denies the allegations contained in paragraph 25 of

Plaintiff’s Second Amended Complaint.

     26.   Defendant denies the allegations contained in paragraph 26 of

Plaintiff’s Second Amended Complaint.

     27.   Defendant denies the allegations contained in paragraph 27 of

Plaintiff’s Second Amended Complaint.

     28.   Defendant denies the allegations contained in paragraph 28 of

Plaintiff’s Second Amended Complaint.

     29.   Defendant admits the allegations contained in paragraph 29 of

Plaintiff’s Second Amended Complaint.



                                        4
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 5 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 68 of 247


      30.    Defendant admits the allegations contained in paragraph 30 of

Plaintiff’s Second Amended Complaint.

      31.    Defendant admits the allegations contained in paragraph 31 of

Plaintiff’s Second Amended Complaint.

      32.    Defendant denies that the circumstances she confronted with

Lawrence were routine. Defendant admits that federally protected rights of

citizens exist even in the most exigent circumstances.

      33.    Defendant denies that either Terry v. Ohio, 392 U.S. 1 (1968) or its

progeny, are limited to routine situations encountered by law enforcement.

      34.    See Defendant’s response to no. 33, supra.

      35.    Defendant denies she was not properly trained or supervised for

investigatory stops, traffic stops and arrest. Defendant further denies constitutional

violations by Dothan police officers are predictable.

      36.    Defendant denies that either she or other police officers involved with

Lawrence violated Lawrence’s constitutionally protected rights. Defendant further

denies it is highly predictable that any Dothan police officer would violate the

constitutional rights of any citizen or person, innocent or guilty.




                                           5
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 6 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 69 of 247


      37.    Defendant admits that these are criminal offenses under the laws of

the State of Alabama. Defendant denies any abuse of these laws by Dothan police

officers.

      38.    Defendant denies that she or any other police officer involved with

Lawrence had not received proper training and supervision for their authority as

sworn police officers. Defendant admits it was well known to the Dothan City

Commission that their police officers receive proper training and supervision.

      39.    Defendant denies the allegations contained in paragraph 39 of

Plaintiff’s Second Amended Complaint.

      40.    Defendant is without information to either admit or deny the

allegations contained in paragraph 40 of Plaintiff’s Second Amended Complaint.

Defendant therefore denies said allegations.

      41.    Defendant admits the Dothan City Commission was certain its police

officers were properly trained in all discretionary functions of law enforcement.

Defendant denies the Commission knew the frequency of when such occasions

would arise. See Defendant’s response to no. 35, supra.

      42.    Defendant denies the allegations contained in paragraph 42 of

Plaintiff’s Second Amended Complaint.




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   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 7 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 70 of 247


      43.    Defendant denies the allegations contained in paragraph 43 of

Plaintiff’s Second Amended Complaint.

      44.    Defendant denies the allegations contained in paragraph 44 of

Plaintiff’s Second Amended Complaint.

      45.    Defendant admits she was a certified police officer at all times

materially relevant herein. Defendant further admits she received instruction in

both state and federal law related to the duties of law enforcement officers.

Defendant denies her initial law enforcement training was at the police academy.

      46.    Defendant denies there is any inconsistency in the training she

received in the police academy and that which she received from field training

officers.

      47.    Defendant denies the allegations contained in paragraph 47 of

Plaintiff’s Second Amended Complaint.

      48.    Defendant is without information to either admit or deny the

allegations contained in paragraph 48 of Plaintiff’s Second Amended Complaint.

Defendant therefore denies said allegations.

      49.    Defendant is without information to either admit or deny the

allegations contained in paragraph 49 of Plaintiff’s Second Amended Complaint.

Defendant therefore denies said allegations.

                                          7
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 8 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 71 of 247


      50.   Defendant denies using excessive force. Defendant admits that the

Dothan City Commission did not criticize Defendant Summerlin’s arrest of

Lawrence.

      51.   Defendant admits she and officer Summerlin were not criticized or

disciplined for their actions. Defendant denies the remaining allegations in

paragraph 51.

      52.   Defendant denies the allegations contained in paragraph 52 of

Plaintiff’s Second Amended Complaint.

      53.   Defendant denies the allegations contained in paragraph 53 of

Plaintiff’s Second Amended Complaint.

      54.   Defendant denies the allegations contained in paragraph 54 of

Plaintiff’s Second Amended Complaint.

      55.   Defendant denies the allegations contained in paragraph 55 of

Plaintiff’s Second Amended Complaint.

      56.a. Defendant denies the allegations contained in paragraph 56.a of

Plaintiff’s Second Amended Complaint.

      56.b. Defendant denies the allegations contained in paragraph 56.b of

Plaintiff’s Second Amended Complaint.



                                         8
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 9 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 72 of 247


          57.   Defendant denies that complaints against police officers are not

investigated and disciplinary action not taken when appropriate. Defendant admits

the Dothan police department has an exemplary record for safeguarding civil

rights.

          58.   Defendant denies said allegations contained in paragraph 58 of

Plaintiff’s Second Amended Complaint.

          59.   Defendant denies the allegations contained in paragraph 59 of

Plaintiff’s Second Amended Complaint.

          60.   Defendant denies the allegations contained in paragraph 60 of

Plaintiff’s Second Amended Complaint.

          61.   Defendant denies the allegations contained in paragraph 61 of

Plaintiff’s Second Amended Complaint.

          62.   Defendant denies that either the City of Dothan or the Dothan Police

Department has ever sanctioned the use of excessive force by its police officers.

Defendant admits that Internal Affairs investigative reports are not public record.

          63.   Defendant denies the allegations contained in paragraph 63 of

Plaintiff’s Second Amended Complaint.

          64.   Defendant denies the allegations contained in paragraph 64 of

Plaintiff’s Second Amended Complaint.

                                            9
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 10 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 73 of 247


                                 Count I - 42 U.S.C.
                              § 1983 – Excessive Force

      65.   Defendant denies the allegations contained in paragraph 65 of

Plaintiff’s Second Amended Complaint.

      66.   Defendant denies the allegations contained in paragraph 66 of

Plaintiff’s Second Amended Complaint.

      67.   Defendant denies the allegations contained in paragraph 67 of

Plaintiff’s Second Amended Complaint.

      68.   Defendant denies the allegations contained in paragraph 68 of

Plaintiff’s Second Amended Complaint.

      69.   Defendant denies the allegations contained in paragraph 69 of

Plaintiff’s Complaint.

      70.   Defendant denies the allegations contained in paragraph 70 of

Plaintiff’s Second Amended Complaint.




                               Count II – State Law –
                         Assault and Battery/Excessive Force


      71.   Defendant admits the allegations contained in paragraph 71 of

Plaintiff’s Second Amended Complaint.


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   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 11 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 74 of 247


      72.   Defendant denies the allegations contained in paragraph 72 of

Plaintiff’s Second Amended Complaint.

      73.   Defendant denies the allegations contained in paragraph 73 of

Plaintiff’s Second Amended Complaint.

      74.   Defendant denies the allegations contained in paragraph 74 of

Plaintiff’s Second Amended Complaint.

      75.   Defendant denies the allegations contained in paragraph 75 of

Plaintiff’s Second Amended Complaint.

      76.   Defendant denies the allegations contained in paragraph 76 of

Plaintiff’s Second Amended Complaint.

      77.   Defendant is without information to either admit or deny the

allegations contained in paragraph 77 of Plaintiff’s Second Amended Complaint.

Defendant therefore denies said allegations.




                                  Relief Sought

      78.   Paragraphs 78.a-78.e do not call for responses from this Defendant.

In the event this Court should determine a response is in order, those averments are

denied.



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   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 12 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 75 of 247


                           AFFIRMATIVE DEFENSES

                        FIRST AFFIRMATIVE DEFENSE

      Defendant asserts that the Plaintiff’s Second Amended Complaint has failed

to state a claim against this Defendant for a federal constitutional violation pursuant

to 42 U.S.C. § 1983. Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1694, 85 L.Ed. 2d 1

(1985); Graham v. Conner, 490 U.S. 386, 109 S. Ct. 1865, 104 L.Ed. 2d 443

(1989); Scott v. Harris, 550 U.S. 372, 1275 Ct. 1769, 167 L. Ed. 2d 686 (2007).


                      SECOND AFFIRMATIVE DEFENSE

      Defendant asserts the affirmative defense of the statute of limitations.


                       THIRD AFFIRMATIVE DEFENSE

      The actions of Defendant were conducted in good faith and in the actual and

reasonable belief that such actions were legal and proper under the circumstances.


                      FOURTH AFFIRMATIVE DEFENSE

      Defendant’s alleged use of force applied to Plaintiff was objectively

reasonable based on her knowledge and observations at the time of the incident.


                       FIFTH AFFIRMATIVE DEFENSE

      Defendant is immune from tort liability for her conduct during the course of

this incident pursuant to Ala.Code § 6-5-338 1975.

                                          12
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 13 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 76 of 247


                       SIXTH AFFIRMATIVE DEFENSE

       At all times material to this lawsuit Defendant was acting within her

discretionary authority as a law enforcement officer employed by the City of

Dothan and violated no clearly established federal constitutional law of which a

reasonable police officer should have known. Therefore, Defendant is entitled to

qualified immunity from suit in her individual capacity.


                     SEVENTH AFFIRMATIVE DEFENSE

       Defendant asserts that, under the circumstances that existed, this Defendant

reasonably believed it necessary to use deadly force in order to prevent injury to

herself or others.


                      EIGHTH AFFIRMATIVE DEFENSE

       Defendant asserts that the incident alleged in the Plaintiff’s Second

Amended Complaint was caused in whole or in part by the negligence and

carelessness of Lawrence so as to proximately result or contribute to the alleged

incident and alleged damages.


                       NINTH AFFIRMATIVE DEFENSE

       Defendant asserts that arguable reasonable suspicion existed for Defendant’s

actions.

                                          13
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 14 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 77 of 247


                        TENTH AFFIRMATIVE DEFENSE

       Defendant asserts that this Defendant used that degree of force she

reasonably believed necessary to protect herself and others and was privileged

under Alabama law to do so.


                    ELEVENTH AFFIRMATIVE DEFENSE

       Defendant acted in self-defense.


                       TWELFTH AFFIRMATIVE DEFENSE

       Defendant asserts all applicable and relevant limits on judgments and claims

against municipalities and municipal actions.


                  THIRTEENTH AFFIRMATIVE DEFENSE

       Defendant asserts the affirmative defense of municipal notice of claims

statutes.


                  FOURTEENTH AFFIRMATIVE DEFENSE

       Defendant reserves the right to amend its affirmative defenses during the

course of discovery.


       Dated this 6th day of April, 2017.




                                            14
   Case 1:16-cv-01003-ECM-DAB Document 29 Filed 04/06/17 Page 15 of 15
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 78 of 247


                                               s/F. Lenton White
                                               F. Lenton White
                                               City Attorney
                                               P.O. Box 2128
                                               Dothan, Alabama 36302
                                               Telephone (334) 615-3130
                                               Facsimile (334) 615-3139



                          CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of April, 2017, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF System and by placing

the same in the U.S. Mail postage prepaid to the following:


Henry F. (Hank) Sherrod, III
HENRY F. SHERROD III, P.C.
119 South Court Street
P.O. Box 606
Florence, Alabama 35631-0606

William S. Morris
MORRIS CARY ANDREWS TALMADGE
& DRIGGERS, LLC
3334 Ross Clark Circle
Dothan, Alabama 36303


                                                      s/F. Lenton White
                                                      Of Counsel




                                          15
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 79 of 247




             TAB 44-3
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 2 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 80 of 247
                                                      Page 5                                                         Rage 7
  1    A. About -- roughly, 24 and a half.                      1 ability to do your job as a police officer, if they
  2    Q. is there a particular reason you retired?             2 did?
  3    A. Medical retirement.                                   3       MR. WHITE: Object to the form.
  4   Q. What medical condition did you have that               4 A. I don't think they did. Other than-- 1
  5 required you to retire?                                     5 mean, arthritis, that slows you down a bit. I have
  6   A. Quite a few. I've had brain aneurysms. I               6 bad knees.
  7 have extensive arthritis. I have been diagnosed             7 O. Are there any physical fitness requirements
  8 with PTSD. I've got a leaky valve in my heart. I            8 for being a Dothan police officer?
  9 have seizures. That's the high points.                      9    A. Yes.
 10   Q. Did you have any of these conditions at the           10 O. How often do you have to meet them?
 11 time you shot Mr. Lawrence?                                11   A. They recently - well not long before I
 12   A. Yes.                                                  12 retired, they started doing a program. It was once
 13 Q. What conditions did you have at that time?              13 a year, but I never participated in that. It was
 14 Which, I guess, is December 30th, 2014; right?             14 brand new.
 15   A. That's correct. Exclude the PTSD, and I had 15             O. When was the last time you qualified
 16 all the others.                                            16 physically for the police job? Like, when you were
 17   0. And what caused you PTSD?                             17 tested. I'm not saying you weren't qualified. Were
 18   A. The shooting.                                         18 you required to ~
 19   Q. Are you receiving treatment for the PTSD?    19          MR. WHITE: Object to the form.
20   A. I am.                                         20 O. ~ pass any physical test?
21   0. When did you first start seeking treatment    21    A. I guess when I started. That's the last time
22 for any symptoms that you thought might be relatec 22 I tested. When I got hired.
23 to the shooting?                                   23 O. Were there any required physical fitness
                                                      Page 6                                                         Page 8
  1   A. It was maybe a month after the shooting. I             1 courses or anything that you had to do during your
  2 have a friend who's a psychiatrist. She suggested           2 time as a Dothan police officer?
  3 go see one.                                                 3   A. Yes. We had a lot of different classes that
  4   O. Who's the friend?                                      4 we went through.
  5   A. Dr. Fay Farrell.                                       5 0. Now since I don't have any your personnel or
  6   O. Fay?                                                   6 training records, I'm at a little bit of a loss to
  7   A. Yes.                                                   7 ask you questions, but I'm talking about, like,
  8   O. F-A-Y-E?                                               8 physical, like, where you took -
  9   A. F-A-Y.                                                 9 A. Takedown techniques.
 10   O. And how do you spell her last name?                   10    O. So when was the last time, you know, you
 11   A. F-A-R-R-E-L-L.                                        11 engaged in some sort of class that was oriented
 12   O. Does she currently practice psychiatry?               12 toward your physical aspects? Towards your job as a
 13   A. She is under contract with the United States          13 police officer?
 14 Army at Fort Rucker.                                       14   A. Gosh, I can't remember.
 15 O. What was the nature of your ~ like, had you             15   0. Was it years before you retired?
 16 ever had a therapist relationship with her, or was         16   A. I'm - when you say "years," I mean, it's
 17 she strictly a friend?                                     17 kind of relative.
 18   A. Just a friend.                                        18 O. I'm not trying to commit you to ~ you know,
19 O. So you had a brain aneurysm when?                        19 20- something years or even 10 years, but I'm just
20   A. I was diagnosed in the end of 2011. I have             20 asking, was it years? Had it been years?
21 two of them. They have both been repaired.                  21 A. It had been a couple years anyway. Yeah.
22 O. In December 2014, how did your medical                   22 Q. I mean, had you ~ were you operating under
23 conditions limit your abilities, you know ~ your            23 any medical restrictions in December of 2014?
[8/25/2017] Woodruff, Adrienne                                                                                    Pages 5-8
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 3 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 81 of 247
                                                          Page 9                                                          Page 11
  1    A. No.                                                       1 no, I will ~ I'm going to raise my hand. That's
  2    Q. I mean, we all get older; right?                          2 just to avoid a bunch of extra words on the
  3    A. Sure.                                                     3 transcript and that's just a cue for you to give me
  4    Q. And how old are you currently?                            4 a yes or no. Whatever you intended by your uh-huh,
  5    A. I will be 60 this fall.                                   5 or uh-uh, or whatever. Okay?
  6    Q. So does that make you 56 or 57 when this                  6   A. Yes.
  7 occurred?                                                       7 Q. And if you don't understand any of my
  8    A. In'14, three years ago, 57. I just                        8 questions I am happy to repeat them or have the
  9 turned 57.                                                      9 court reporter read them back or rephrase them, just
 10    Q. What's your date of birth?                               10 let me know. Okay?
 11    A. 11/5 of'57.                                              11 A. Thank you.
 12    Q. And your social security number?                         12 Q. Sometime today I'm going to do, I guess, some
 13    A. XXX-XX-XXXX.                                             13 questions where I'm trying to exhaust your
 14   Q. So do any of your medical and psychiatric                 14 knowledge. Sort of follow-up questions, you know,
 15 issues affect your ability to testify today?                   15 Do you remember anything else about this or about
 16    A. No.                                                      16 this. I trust you'll do your best to tell me what
 17    Q. Was there any substantial change in your                 17 you do remember; right?
 18 medical condition between December 2014 and                    18   A. Yes.
 19 September of 2015 in addition to the PTSD?                     19 Q. If we get through with this line of
 20   A. No. Just getting older.                                   20 questions, you can't remember anything else but
 21   Q. Have you applied for social security                      21 later on in the deposition you remember something
 22 disability?                                                    22 else that I'd asked you about, will you please let
 23 A. I am currently on disability.                               23 me know and fix that?

                                                         Page 10                                                          Page 12
  1   Q. Right. So there's ~ so you applied for                     1   A. Yes.
  2 social security disability?                                     2 Q. And of course, I guess, theoretically, if you
  3   A. Yes.                                                       3 read the transcript and you realize you remember
  4   Q. When did you apply for social security                     4 something that's, you know, inaccurate, you'll get
  5 disability?                                                     5 another opportunity to fix that; right?
  6 A. Let's see, it was ~ I know it was granted in                 6 A. Okay.
  7 April of 2016. I think I applied five months prior              7 Q. I expect that we will take a break every hour
  8 to that. Four or five months.                                   8 and half-ish. Sometimes less than that, maybe more
  9 Q. We've been doing pretty good so far, but                     9 if we get going. But whatever the case is, if you
 10 there's sort of some things I usually cover with               10 need a break then just let me know. I'm glad to
 11 witness, just about this process. I wanted to make             11 accommodate you. I only ask that unless it's
 12 sure I covered them with you. I think it was                   12 emergency of some kind that you give me a minute or
 13 presumed that we have the usual stipulations and               13 two to wrap up whatever I was questioning you about
 14 that's fine, except that 1 would like you to read              14 so that I get to a good stopping place. Is that
 15 and sign your deposition, which means that the court           15 okay?
 16 reporter will send Mr. White or you a copy and you             16   A. Yes, sir.
 17 will get an opportunity to read over all your                  17 Q. There are two reasons that I may interrupt
 18 answers and correct any errors; okay?                          18 you today, for sure. One is accidentally. I don't
 19   A. Okay.                                                     19 realize that you haven't finished the answer to your
 20   Q. And then the second thing is that verbal                  20 question; okay?
 21 answers are important particularly since we don't              21 A. Okay.
 22 have a videographer here. But in general ~ so if               22 Q. And if you think I've interrupted your
 23 you forget to give a verbal answer like a yes or a             23 answer, cut you off, feel free to let me know and
[8/25/2017] Woodruff, Adrienne                                                                                      Pages 9-12
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 4 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 82 of 247
                                                         Page 13                                                        Page 15
  1 I'll let you finish the answer to your question;                1 intervade your attorney-client communications ~
  2 okay?                                                           2 but any representative with The City regarding
  3   A. Okay.                                                      3 whether or not you will be indemnified if there's a
  4   Q. And the second reason - and I'll try to make               4 judgment against you? The City will pay it?
  5 this clear at the time - it may be that I want to               5        MR. WHITE: Object to the form.
  6 withdraw that question because your answer is going             6   A. I believe so.
  7 in a direction that I wasn't trying to ask about or             7 Q. Who have you had communications with about
  8 I think it's confusing, and I'm just trying to use              8 the City paying any judgment that might be entered
  9 my time better. And I'll try to let you know that               9 against you?
 10 but, you know, sometimes there is a - I think my               10 A. Well, let me - let me back up just a moment.
 11 words are communicating that I need this information           11 No, not ~ you mean ~ let me get the question. I
 12 and I'm not getting it, so clearly I need to get a             12 want to make sure I understand the question.
 13 new question out, but we'll sort through that. I'm             13   Q. Sure.
 14 just letting you know that sometimes that could                14 A. That the City would pay if -
 15 happen. Now, Mr. White has a right to object; do               15 Q. Let me ask it this way: You don't-
 16 you understand that?                                           16 usually, okay, if somebody has a claim against me or
 17   A. Yes.                                                      17 you, car accident, we have an insurance company.
 18   Q. Do you understand that unless he instructs                18 They hire a lawyer to defend us and if there's a
 19 you not to answer a question that you still go ahead           19 jury verdict against us, they pay that jury verdict
 20 and answer --                                                  20 at least up to a certain limits of the policy. And
 21   A. Yes, sir.                                                 21 then if we don't have insurance, though, then
 22   Q. Okay. Now, Mr. White is your lawyer for this              22 typically we're personally responsible for, you
 23 case; right?                                                   23 know, paying any judgment out of our own assets.
                                                         Page 14                                                        Page 16
  1    A. That's correct.                              1 Cities are ~ obviously, can be different.
  2   Q. And your defense is being handled by the Cit^ 2 Sometimes cities will ~ what's called indemnify,
  3 of Dothan; right?                                  3 pay for the judgment; sometimes they won't. So
  4   A. Yes, sir.                                     4 instead of insurance with the City paying it,
  5   Q. At any time, have you had a personal lawyer 5 typically it would be called indemnification. And
  6 for this shooting or for this case?                6 I ~ whether it's that term is used or not I'm just
  7   A. Yes, sir.                                     7 trying to find out if you - excluding your lawyer
  8   Q. And who was your personal lawyer?             8 - if you had any communications with anybody
  9   A. Pat Jones.                                    9 regarding who's going to pay any judgment that a
 10   Q. And when did Pat Jones represent you? I      10 jury might enter against you?
 11 understand he's the current DA now.               11   A. I understand the question now. And the
 12   A. He is. He was the union - police union                    12 answer is, no.
 13 lawyer. And I called him and he had very little                13 Q. Did you review any materials, factual
 14 involvement actually.                                          14 materials ~ for example, the video, police reports,
 15   Q. When did you contact him?                                 15 things like that - to prepare for the deposition
 16   A. Just a couple days after the shooting, I                  16 today?
 17 believe.                                                       17    A. Yes, sir.
18 Q. Now, do you have any insurance coverage of 18 Q. What have you reviewed?
19 any kind that would apply to any judgment that a 19 A. The dash cam, the video from inside the
20 jury might enter against you in this case?       20 shelter.
21   A. No.                                         21    Q. Okay.
22 Q. Have you discussed with the ~ any             22 A. The video that Mr. Lawrence's passenger had
23 representative for the City ~ I'm not trying to  23 I listened to audiotapes of the dispatched calls
[8/25/2017] Woodruff, Adrienne                                                                                    Pages 13-16
             Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 5 of 34
          USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 83 of 247
                                                        Page 17                                                    Page 19
  1 from the shelter for my backup, and I listened to my           1 passenger, the dispatch audio, the three — the
  2 phone calls to -                                               2 telephone conference calls you made that were
  3    Q. So audio - so what audiotapes did you listen             3 recorded, your reports. Anything else that you
  4 to?                                                            4 reviewed in preparation for your deposition?
  5    A. That was the comm center. The communication              5 A. 1 think 1 also read the reports from other
  6 center, dispatch. I listened to their dispatch as              6 people that were brought.
  7 they were dispatching me in the units out there for            7 Q. Okay. Anything else?
  8 my backup, and also the phone call that I had made             8    A. No, sir, not that 1 remember. No.
  9 to them and kept them on the line.                             9 Q. Is there anything that you - that caught
 10   Q. Now, what- what's the shelter video you                  10 your eye from your reports or your recorded
 11 looked at? What does it show?                                 11 statements that you recognized as being inaccurat^
 12 A. It shows -- it shows Mr. Lawrence coming in.               12 in any way?
 13 It shows Pat Holly, the secretary, walking back into          13        MR. WHITE: Object to the form.
 14 my office. It shows me coming out of my office. I             14    A. No, sir.
 15 believe Office Skipper is seen in there kind of               15 Q. Did you look over the use of force policy for
 16 going back and forth through-                                 16 the City of Dothan by any chance?
 17   Q. Does it have the audio?                                  17 A. Recently? No, sir.
 18   A. No, sir.                                                 18 Q. So if I'm reading this correctly, there are
 19         MR. SHERROD: Lenn, I haven't seen the                 19 basically three Use of Force reports. I'm just
 20 inside-the-shelter video.                                     20 going by -- there's a five-page report I'm going to
 21        MR. WHITE: I would have told you that if               21 mark at Plaintiff's Exhibit 1.
 22 you got it - and I'm expecting that it's probably             22         (Plaintiff's Exhibit No. 1 was marked for
 23 included -- well, it's on a separate video. But —             23         identification.)
                                                        Page 18                                                    Page 20
  1          MR. SHERROD: I mean. He's looked                      1         MR. SHERROD: Here's an extra copy for
  2 through everything. I've looked through                        2 Lenn.
  3 everything ~                                                   3 Q. Is that a report that you prepared?
  4          MR. WHITE: Well, I'm not going to                     4 A. I didn't — 1 wouldn't have typed it.
  5 dispute you, but, you know, I certainly would have             5 Q. Well, you would not have typed it? If you
  6 anticipated that it was included in the, you know,             6 look at the last page, page 5, is that your
  7 the initial disclosures and we can certainly go get            7 signature?
  8 you a copy right now and I'll get ~ Do you want to             8 A. Let me read it. Hold on. Yes, it is.
  9 call time and I'll ~                                 9 Q. Okay. And then who are all the people who
 10          MR. SHERROD: We can call time and get 10 are signed off on that report?
 11 somebody working on that. That would be great. 1 11      A. Captain Stacy Robinson, Major Steve Parrish
 12 it's on a USB key, I'll just copy it to my laptop.  12 internal affairs Sergeant Donnie Smith, and Police
 13          MR. WHITE: Well, 1 can't do that right     13 Chief Greg Benton.
 14 now. I'm going to get - I'm going to see if I can   14 Q. Now, your signature is dated when?
 15 expedite this, but however I can do it if you'll    15 A. January 8th of 2015.
 16 just give me a few minutes. I'll see what 1 can do. 16   Q. There's also a Use of Deadly Force report.
 17          MR. SHERROD: Okay. We can go off the 17 If you take a look at what I marked as Plaintiff's
 18 record now.                                                   18 Exhibit 2.
19         (Brief recess taken.)                                  19         (Plaintiff's Exhibit No. 2 was marked for
20     Q. Did you review any of your written reports?             20         identification.)
21     A. Yes.                                                    21   Q. This does not have your signature. If you'll
22 Q. So we've got the dash cam, inside-shelter                   22 look at the last page. I don't think - it says,
23 video, the video prepared by the - done by the                 23 "A. Rhodes" in type?
[8/25/2017] Woodruff, Adrienne                                                                               Pages 17-20
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 6 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 84 of 247
                                                 Page 21                                                         Page 23
  1   A. It's got my signature on the last page.            1 the report by Officer Rhodes.
  2 Q. Oh, it does. Which one is your signature?            2        (Plaintiff's Exhibit No. 3 was marked for
  3 A. The top one, officer's signature.                    3       identification.)
  4 Q. Oh, I'm looking--maybe I'm looking at the            4   Q. Did - so who are the - so his signature is
  5 wrong one. I think I — did I give you both my           5 typed in and then who are the other folks that are
  6 copies over there?                                      6 on this report?
  7 A. Use of Deadly Force report.                          7 A. Sergeant Tim Odom. Captain Todd David.
  8 Q. How many copies of that are there? I don't           8   Q. Todd David?
  9 have one for myself is what I'm realizing. I must       9   A. Yes, it looks like his signature.
 10 have printed one short.                                10   Q. And who else?
 11          MR. SHERROD: Lenn, can I have--borrow 11           A. Below that is internal affairs
 12 your copy back?                                      12 Sergeant Donnie Smith and Police Chief Greg Benton.
 13 Q. (By Mr. Sherrod) Yeah. I was looking at the 13 Q. And when are these - when is Officer
 14 wrong report. I knew your signature should be        14 Rhodes's signature dated?
 15 there, but I was looking at the next exhibit.        15   A. On December 30th of 2014.
 16 That's my fault.                                     16 Q. And when was Sergeant Odom's signature dated?
 17         MR. SHERROD: You know, listen, I've got 17 A. On December 30th, 2014.
 18 a printer and you can print three copies and I was 18 Q. Do you know why - do you recall why your
 19 printing them out last night and one time I probably 19 reports were not submitted until January 8th? At
 20 just printed one. Let's just stick - I've got a      20 least - going by Plaintiffs Exhibit 1 and 2?
 21 copy on the computer.                                21   A. No.
 22   Q. So your signature is on the Use of Deadly       22 Q. You don't recall why?
 23 Force report; right?                                 23   A. Well-

                                                 Page 22                                                         Page 24
       A. That's correct.                                   1    Q. Here's what I'm asking: Did you prepare a
       Q. Okay. And then what's the date of your            2 report on December 30th, the date of the incident?
      signature on that report?                             3 A. I'm not sure if I wrote a report that day. I
      A. It's also on January 8th, 2015 - well, yeah,       4 believe I did, but it was an offense report, an
    January 2015.                                           5 offense incident report. It was the wrong kind of
      Q. And what other signatures are on that report?      6 report. I'm not sure,
      A. Lieutenant Mike Etress, Captain                    7 Q. Where would you - let's -
  8 Stacy Robinson, internal affairs Sergeant Donnie        8    A. I'm not sure because these are the correct
  9 Smith, and Police Chief Greg Benton.                    9 reports to fill out.
 10    Q. What is -- is it Lieutenant Etress?              10    Q. So let's--after Mr. --
 11    A. Yes, sir.                                        11    A. And time may have been an issue as well.
 12    0. How do you spell his name?                       12    Q. What do you mean time?
 13    A. His last name is, E-T-R-E-S-S.                   13 A. Anytime an officer is involved in a major
 14       MR. WHITE: You may have met him this             14 incident, they have to go down and do the testing
 15 morning.                                               15 for alcohol, drug testing. And that's what I did.
 16          MR. SHERROD: I did meet him this              16 I spent time doing that.
17 morning.                                           17   Q. Well, let's-
18 Q. (By Mr. Sherrod) So what was his role           18 A. So that may have been an issue. I was pretty
19 regarding this report?                             19 exhausted after all this.
20 A. He was my direct supervisor.                    20 Q. So this incident occurred in the early
21   Q. Okay. Also I assume ~ the report I was        21 afternoon?
22 accidentally referring to - but Plaintiffs         22 A. It was approximately 12:30 p.m.
23 Exhibit 3, I'm going to show you and that would be 23 Q. And after the incident, what did you do?
[8/25/2017] Woodruff, Adrienne                                                                           Pages 21-24
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 7 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 85 of 247
                                                     Page 25                                                     Page 27
  1   A. Immediately?                                           1   was your chain of command?
  2   Q. Yeah, 1 guess I'd like you to -- 1 mean.               2     A. Mike Etress was my lieutenant; next up would
  3 obviously -                                                 3 have been Stacy Robinson, the captain; and then
  4   A. Immediately, 1 started checking Mr. Lawrence           4 Major Steve Parrish and Chief Greg Benton.
  5 in an attempt to offer some kind of first aide, but         5   Q. Did you speak with any of those persons at
  6 there was no blood visible. There was not really            6 the animal shelter that day?
  7 anything that 1 could do that 1 was trained to do.          7     A. Yes.
  8 So, 1 mean, we called for - 1 don't -- 1 think              8     Q. Who?
  9 Alan Rhodes is the one that called for the                  9     A. All of them, 1 believe.
 10 ambulance. While 1 was on the ground looking ~             10     Q. At the time of the incident, you were not
 11 checking - pulling his clothing back to see where          11   carrying a Taser; right?
 12 he had been hit.                                           12     A. That's correct.
 13    Q. So did you check the entrance and the exit           13     Q. Were you certified in it at the time?
 14 wound?                                                     14     A. Yes.
 15    A. 1 did not see the exit wound.                15   Q. When was the last time you had carried a
 16    Q. Was there an exit - 1 saw one on the autopsy 16 Taser?
 17 so --                                                      17     A. 1 always carried one when I'm on the street.
 18    A. There was an exit wound.                             18 and 1 had been at the shelter for about five years.
 19   Q. And 1 believe 1, actually, saw it in the              19   Q. Had you had any Taser training in the last
 20 video but you just —                                       20 five years prior?
 21    A. 1 didn't see the exit wound.                         21   A. Oh, yes. Yes.
 22    Q. You did check the entrance wound?                    22   Q. Like, when was the last time you had Taser
 23    A. 1 did.                                               23 training?

                                                     Page 26                                                     Page 28
  1    Q. And it was not bleeding?                              1   A. It was probably less than a year. Would have
  2    A. That's correct.                                       2 been that -- during that year.
  3    Q. Was it an open wound?                                 3   Q. Is that something that was -- people were
  4    A. It was a hole.                                        4   recertified on a yearly basis?
  5    Q. And the gun you brought me to look at today.          5     A. Yes, sir.
  6 what is the model?                                          6   0. Is there any particular reason you didn't
  7    A. Model 23 Clock. It's a smaller one.                   7 carry a Taser and only carried a gun?
  8    Q. What caliber is it?                                   8   A. 1 didn't wear a gun belt. 1 dressed
  9    A. 40 caliber.                                           9 differently.1 didn't wear a full unform. It was
 10    Q. And what ammunition were you using at the            10 just no room.
 11 time?                                                      11   Q. So how long had you been at the animal
 12    A. I'd have - what 1 was using is still in              12 shelter?
 13 there. 1 would have to check to see what it was.           13     A. Approximately five years.
 14 It's federal.                                              14     Q. And what did you do before the animal
 15    Q. Hollow point?                                        15 shelter?
 16    A. Yes.                                                 16    A. 1 was a street supervisor, patrol.
 17  Q. Any particular type of--                               17    Q. Did you have a particular rank?
 18  A. It's not a ~ nothing special. It's not like            18    A. Sergeant.
19 a Hydra-Shok or anything. It's just a hollow point.         19    Q. So did you have any officers under your
20   Q. Is that the ammo that was issued by the                20   supervision at the animal shelter?
21    department?                                              21    A. Yes.
22     A. Yes, sir.                                            22    Q. So who were the officers under your
23     Q. On the day — on December 3Gth, 2014, what 23 supervision at the animal shelter?
[8/25/2017] Woodruff, Adrienne                                                                             Pages 25 - 28
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 8 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 86 of 247
                                                         Page 29                                                         Rage 31
  1    A. Police officers were Renee Skipper. That's                1 believe, from some people who saw all or part of the
  2 the only police officer.                                        2 incident from the Humane Society or from elsewhere,
  3    Q. What other persons were under your                        3 but you don't recall being aware of any of them?
  4 supervision at the animal shelter?                              4   A. No, sir.
  5    A. Pat Holly, my secretary. Beth Fason, she was              5   Q. How long have you lived at your current
  6 a kennel worker. Robert Freeman, he was a kennel                6 residence address?
  7 worker. I also oversaw the trustees that came out               7   A. 27 years.
  8 there.                                                          8 Q. Who has lived there with you in the last
  9    Q. I think I saw a Freeman - and for some                    9 decade, if anyone?
 10 reason I think I wrote Anthony. Does he go by - is             10 A. My brother from California, Glint Woodruff,
 11 that the same guy as Broderick?                                11 and my mother who has since passed.
 12    A. I don't think so.                                        12 Q. When did she pass?
 13 Q. Or maybe I misread it. I just wrote - was                   13   A. In 2009.
 14 there more than one black guy with the last Freeman            14   Q. Have you been in a romantic relationship in
 15 that worked for you?                                           15 the last decade?
 16    A. No, sir.                                                 16        MR. WHITE: Object to the form.
 17    Q. And what did Mr. Freeman do?                             17   A. No.
 18    A. He was a kennel worker. He cleaned kennels.              18   Q. Do you have any - don't have any children?
 19    Q. Did - you supervised everybody at the animal             19   A. No.
 20 shelter then?                                                  20   Q. Don't have any ex-spouses or ~ have you ever
 21    A. Yes, I also had - I also had two animal                  21 been married before?
 22 control officers who worked the street.                        22   A. No. I've had boyfriends.
 23    Q. And who were they at that time?                          23   Q. Do you attend church anywhere?
                                                         Page 30                                                         Page 32
  1    A. Let's see, at the time, it was                            1    A. No.
  2 Stephanie Tillery and I believe Michelle Baryla was             2 Q. Have you ever attended church anywhere
  3 still there.                                                    3 locally?
  4    Q. Michelle who?                                             4    A. No.
  5    A. Baryla.                                                   5    Q. In the last five years, what have been your
  6    Q. How do you spell that?                                    6 social activities?
  7 A. B-A-R-Y-L-A. She doesn't work there anymore.                 7    A. I don't - I don't do ~ I don't do a lot. I
  8 She wasn't working that day, I don't think.                     8 go fishing. I have a motorcycle. I have a
  9    Q. At the time of ~ that Officer Rhodes arrived              9 motorcycle club and that's ~ that's about it. I
 10 on the scene ~ I haven't gone back and checked but             10 don't do anything.
 11 it was a relatively short period of time between               11   Q. So what are your ~ what have been your
 12 when he arrived, when he engaged Mr. Lawrence, and 12 hobbies in the last five years? Other than riding
 13 when you shot Mr. Lawrence. And I guess ~ who were 13 your motorcycle and fishing?
 14 you aware of that was in the immediate vicinity at 14 A. I piay with leather, I make leather bags and
 15 the time of the shooting? Other than ~             15 different things. I do beadwork, Native American
 16 Mr. Freeman's on the video. Ms. Skipper is on the              16 beadwork. I like to work on motorcycles. I have a
 17 video. Mr. Rhodes, yourself, Mr. Lawrence's                    17 lot of interests.
 18 girlfriend, the three children, is anybody else that           18 Q. What other interests do you have?
 19 you were aware of at the ~ at the time ~ that                  19 A. Making bracelets and dog collars that are
20 would have been there to see the shooting?                      20 woven out of paracord. Just building things.
21       MR. WHITE: Object to the form.                            21 Working on my house. My dogs.
22    A. No, sir.                                                  22 Q. What dogs do you have?
23     Q. Now, there are some recorded interviews, I               23 A. I have five; four of them rescue dogs. Two
[8/25/2017] Woodruff, Adrienne                                                                                   Pages 29 - 32
            Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 9 of 34
         USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 87 of 247
                                                         Page 33                                                      Page 35
  1   of them are poodles. One is a Maltese/Havanese mix,           1    Q. Do you have any — you have a brother you
  2 one is a yorkie, and the other one is a doberman.               2 mentioned?
  3    Q. Do you ever do work for other people or sell              3    A. 1 have two brothers.
  4 any of your items?                                              4    Q. So one brother is in California?
  5    A. No.                                                       5    A. As far as 1 know.
  6    Q. Do you give them away as gifts or -                       6    Q. You're not in contact with him currently?
  7    A. Yes.                                                      7    A. No.
  8    Q. So in the last five years who have been the               8    Q. And what about the other brother?
  9 people that you would say that you were closest to?             9    A. 1 don't know where he is.
 10    A. Laurie Grubbs, Sue Moring, Betty Cherry,                 10    Q. Not in contact with him either?
 11   Debbie Reed, Ron Elskinner, Steve Grubbs,                    11    A. No.
 12 Houston Adkins.                                                12    Q. So at the time of this incident were you
 13    Q. I'm sorry?                                               13 estranged from both of them?
 14    A. Houston Adkins.                                          14    A. Yes. Also 1 have a sister.
 15    Q. Anybody else?                                            15    Q. I'm sorry?
 16    A. No. That's pretty much my circle.                        16    A. 1 have a sister as well.
 17    Q. Are these people that are - are these people             17    Q. And what's your sister ~ what's her name?
 18 that are connected to each other in addition to                18    A. Allison Day.
 19   being connected to you?                                      19    Q. Are you close to her?
 20    A. Houston Adkins is Sue Moring's son-in-law.               20    A. No, sir.
 21 and Steve Grubbs is Laurie Grubbs's husband.                   21    Q. Did you have any communications with your
 22    Q. And how do you know Laurie and Steve Grubbs?             22 brothers or sister about this incident?
 23    A. 1 met Laurie at the shelter. She fosters for             23    A. No, sir.
                                                         Page 34                                                      Page 36
  1   the shelter. Takes in foster dogs.                            1    Q. Do they even know about it?
  2    Q. Is Laurie your closest friend?                            2    A. 1 don't know. Not unless somebody else told
  3    A. Yes.                                                      3 them.
  4    Q. And how do you spell Moring?                              4    Q. So how do you know Mr. Elskinner?
  5    A. M-O-R-l-N-G.                                              5    A. Ron Elskinner?
  6   Q. And how do you know Sue Moring?                            6    Q. Yeah.
  7   A. She used to work for the City in the jail. 1               7    A. He was in my motorcycle club. He is not
  8 met her there, and then she moved into my                       8 currently.
  9 neighborhood and we got reacquainted.                           9    Q. Do you still have a motorcycle club?
 10   Q. And how do you know Betty Cherry?                         10    A. Sort of. We have dwindled down. Just have a
 11   A. Her husband was a police officer in Ozark and             11   couple members.
 12 she's my dog groomer.                                          12    Q. So who are the current members?
 13   Q. Does she have a public dog grooming place?                13    A. Me and Laurie Grubbs.
 14    A. Yes, Rainbow Kennels.                                    14    Q. So what do y'all do related to the motorcycle
 15    Q. And what about Debbie Reed, how do you know              15 club?
 16 her?                                                           16   A. We ride, we go on charitable rides.
 17    A. Debbie and 1 have known each other for years.            17 primarily.
 18   When 1 lived in Columbus, Georgia, many years ago            18    Q. And what does Laurie do for a living?
 19 she played music for a band at the same bars that 1            19    A. She works for the State of Alabama.
 20 bartended at. I've known her many years, and our               20    Q. Doing what?
 21 mothers were also very good friends.                           21    A. She works at DHR.
 22   Q. So are you originally from this area?                     22    Q. What's her ~ is she a social worker or is
 23    A. Army brat.                                               23 she a ~

[8/25/2017] Woodruff, Adrienne                                                                                  Pages 33 - 36
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 10 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 88 of 247
                                                         Page 37                                                       Page 39
  1    A. She collects money from babies' daddies.                  1 help us with things. And I told my mother I loved
  2    Q. Child support?                                            2 the area, I loved Dothan and she said, "Let's go."
  3    A. Child support, yeah.                                      3 So in 1990 we sold our house and we moved here.
  4    Q. What does her - Steve - husband, Steve, do?               4    Q. And then so you and your mother moved in with
  5    A. I'm not really sure. He's under contract out              5 your brother?
  6 at Fort Rucker right now.                                       6    A. No, we bought a house and we shared the
  7    Q. So where were you born?                                   7 house.
  8    A. In Columbus, Georgia.                                     8    Q. Okay. So at some point you started working
  9    Q. And when did you first come to this area?                 9 for the police department after that?
 10    A. First time was 1984.                                     10    A. Yes.
 11   Q. And why were you here in 1984?                            11    Q. What did you do before you started working
 12 A. My brother--jobs were tight. I was living                   12 for the police department?
 13 in Columbus with my parents. Jobs were tight. He               13 A. I was working on fixing the house. Some of
 14 said, "Come on down here, there's jobs." So I moved            14 the repairs that were needed on the house and I also
 15 in with him and my sister-in-law and nephews and I             15 worked part-time at DSl.
 16 liked it.                                                      16 Q. So what led you to, you know, apply to become
 17    Q. What's his name?                                         17 a police officer?
 18    A. That's Rick Woodruff.                                    18 A. There - there was a police officer that used
 19    Q. And what's the ~ his wife's name?                        19 to come by where I worked at DSl, and he told me I
 20    A. Ex-wife.                                                 20 should apply. And he just kept on and kept on and I
 21    Q. Ex-wife?                                                 21 finally did.
 22    A. Bonnie.                                                  22    Q. So when did you and Rick have a falling out?
 23    Q. And the nephew?                                          23        MR. WHITE: Object to the form.
                                                         Page 38                                                       Page 40
  1   A. There's two nephews, Jeffrey and Jason.        1 A. When my mother got cancer.
  2 Q. And how long did you stay with them?             2 Q. So he's no longer in the area or ~
  3 A. It was about ~ it was less than a year           3   A. I don't ~ I don't know.
  4 before I got my own apartment. I was saving up      4   Q. He could be?
  5 money to get my own apartment.                      5 A. He could be but he's ~ was an engineer on
  6 Q. And where did you work then?                     6 the ships. So I ~
  7 A. At Saving Appliance.                             7 Q. Do you have any contact with any of your
  8 Q. So where did you go next?                        8 nieces or nephews?
  9 A. My father had already had several heart          9 A. Jeffrey calls me occasionally.
 10 attacks and he got sick again, and I moved back to 10 Q. Where does he live?
 11 Columbus to help them, help my parents.            11 A. I believe he's in Enterprise.
 12 Q. Okay. And what years were you in Columbus 12 Q. When was the last time you talked to Jeffrey?
 13 helping them?                                      13 A. Months and months. I talk to Bonnie more
 14    A. Gosh, I can't remember. We weren't there                 14 than I talk to him.
 15 long because they sold their house. It was on the              15    Q. So Bonnie is still in the area?
 16 market when I got back and it sold fast. And they              16   A. She's in Enterprise.
 17 moved to Arkansas and I went with them. I can't                17   Q. So on what occasions are you in communication
18 remember what year that was; maybe '85.         18 with Bonnie?
19 Q. And then what — sort of take me through your 19 A. There's not any particular occasion. One of
20 major life events until you got back to Dothan  20 us will get to thinking about the other one and
21 again.                                                          21 call.
22   A. My father passed away in 1988. My brother, 22 Q. Who are the people that you've talked to,
23 Rick, told us that if we would move here he would 23 obviously excluding your lawyer, about your PTSD

[8/25/2017] Woodruff, Adrienne                                                                                  Pages 37 - 40
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 11 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 89 of 247
                                                      Page 41                                                      Page 43
  1 related to the shooting?                                     1 case very late, but there didn't seem there was much
  2   A. Two Ray Little, he's since retired. He was              2 in the media about it; is that correct?
  3 my counselor. 1 - 1 talked to my friends.                    3 A. In the Dothan Eagle, no.
  4   Q. What friends have you talked to about it?               4 Q. Where was it ~ where was there publicity of
  5   A. Laurie, Sue, they're my support group.                  5 any kind about it if ~
  6   Q. Anyone else?                                            6 A. Well, that little podcast gave all the
  7   A. Not really, no. No.                                     7 information except they turned it into he was
  8   Q. Do you currently have a counselor?                      8 rescuing a kitten.
  9   A. No.                                                     9 Q. What podcast was this?
 10   Q. So when have you had counseling for this               10 A. 1 would have to check it on my phone. 1
 11 incident? What time period?                                 11 don't have my phone with me. But it was an
 12   A. It was a couple months afterwards when it              12 interview with somebody claiming to be
 13 started, and 1 saw Ray for probably six months or so        13 Mr. Lawrence's brother.
 14 but he retired. So 1 lost my good counselor.                14   Q. Did he make ~ this person who was
 15   Q. Is he still in the area?                               15 interviewed make threats?
 16   A. 1 don't know.                                          16 A. People that were calling in were making the
 17 Q. When did you - well, did you start seeing a              17 threats, but we had - we had threats on the phone
 18 psychiatrist?                                               18 and in e-mail form at the shelter that were ugly.
 19   A. Yes.                                                   19 Q. Did you ~ do you have any of those threats?
 20   Q. So are you ex-military?                                20 A. 1 probably have the e-mails.
 21   A. No, sir.                                               21 Q. So was any investigation done about these
 22   Q. So do you - do you have any ~ you said                 22 threats?
 23 something about going to see somebody at                    23   A. They said they couldn't trace them.
                                                      Page 42                                                      Page 44
  1 Fort Rucker, 1 thought, maybe?                               1    Q. Were the threats to your physical safety or
  2   A. Fay Farrell. She works at Fort Rucker.                  2 just, you know ~
  3   Q. So you talked to Fay Farrell about it?                  3 A. Yeah, "You need to die, you need to die for
  4   A. She's just a friend.                                    4 what you did." Those are the kind of threats I got.
  5   Q. Right. 1 was just trying to get a list of               5 Q. So do you know the identity - so how much
  6 friends you've talked to about your PTSD. When that          6 e-mails were there, roughly?
  7 label ~ just who are other friends who have                  7    A. Half a dozen.
  8 supported you, other than Laurie and Sue and                 8    Q. And how many phone calls were there?
  9 Dr. Farrell and of course your therapist Ray Little?         9    A. About the same.
 10 A. I've probably had hundreds of people come up             10 Q. Were these all in the days immediately after
 11 to me and tell me that they supported me.                   11 the shooting?
 12 Q. Why would you need support to ~                          12    A. Some of them are, like, more like a month
 13         MR. WHITE: Object to the form.                      13 later.
 14   Q. 1 mean was there - 1 didn't know - was                 14    Q. So within the first month after is when all
 15 there some issue where you were getting something           15 these calls and e-mails were?
 16 you needed ~                                                16    A. 1 would say most of them, yeah.
 17        MR. WHITE: Object to the form.                       17    Q. Well have you received any since a month
 18   A. 1 received ~ the shelter received threats.             18 after ~
 19 Galling me a murderer. There was a video broadcast          19 A. There may ~ it may have been more than a
 20 where people were talking about dragging me out on          20 month ~ but 1 haven't - as of late ~ lately 1
 21 the street and setting me on fire or hanging me.            21 have not.
 22 That's disturbing.                                          22    Q. Can we agree that all ~ whatever e-mails or
 23 Q. So was this ~ 1 mean, 1 got involved in this             23 threats there were, were within the first couple of
[8/25/2017] Woodruff, Adrienne                                                                                Pages 41 - 44
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 12 of 34
         USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 90 of 247
                                                   Page 45                                                         Page 47
  1   months?                                                 1   A. Not within the department, no.
  2     A. Yes.                                               2   Q. Nobody within the department has criticized
  3   Q. Were all of them investigated by the Dothan          3 anything you did in connection with the incident
  4 Police Department?                                        4 involved Mr. Cantu; right - excuse me.
  5   A. They were all turned over to them.             5 Mr. Lawrence.
  6   Q. And 1 assume you were informed they couldn t 6 A. Correct.
  7 trace anybody?                                      7   Q. And 1 want to be crystal clear because in all
  8   A. That was my understanding.                     8 these communications - let's go back. So probably
  9   Q. Do y'all not have caller ID on the -- the      9 too many to really have - might be difficult to get
 10 ability on the phones at the sheiter?              10 into. You talked with a bunch of people on the day
 11   A. By the time they said what they had to say it 11 of the incident including all the people in your
 12 was too late, they'd hang up.                      12 chain of command; right?
 13     Q. It was what?                                      13   A. Yes, sir.
 14     A. By the time they said what they said it was       14    Q. Approximately - according to the recording
 15 too late, they would hang up. "You're going to burn 15 on January 5th, you gave a statement to ABI agents;
 16   in hell for what you did," click.                      16 right?
 17     Q. So 1 want to be clear about what ~ were           17   A. 1 believe that was the date.
 18 the -- that wouldn't actually be a threat just to be     18   Q. On January 8th you made your written reports;
 19 fair --                                                  19 right?
 20          MR. WHITE: Object to the form.                  20   A. Yes.
 21   Q. You wouldn't consider, "You should burn in          21   Q. On May 11, you gave a recorded statement to
 22 hell," to be a threat, would you?                        22 internal affairs?
 23          MR. WHITE: Object to the form.                  23   A. Yes.

                                                   Page 46                                                         Page 48
  1     A. Yes.                                               1   Q. You understand that your chain of command has
  2     Q. You would?                                         2 reviewed all the video and audio evidence about the
  3     A. Yes.                                               3 incident; right?
  4  0. So what did you -- 1 mean, 1 assume you               4   A. 1 would assume they have.
  5 understand how people could be upset about at             5   Q. And you did not receive, like, even one word
  6 Mr. Lawrence being killed --                              6 of criticism of any kind regarding how you handled
  7        MR. WHITE: Object to the form.                     7 the incident?
  8   Q. Right?                                               8   A. No, sir.
  9   A. Not if they knew the facts.                          9   Q. Are you absolutely sure about that?
 10   Q. So let - 1 mean, let's just go ahead and            10   A. Yes, sir.
 11 knock this out. So you believe that the shooting         11   Q. Nobody said anything to you about, you know.
 12 was justified; right?                                    12 for example, your reference to Mr. Lawrence's teeth?
 13     A. Yes, sir.                                         13   A. 1 think that came up in the grand jury.
 14     Q. You have no feelings of remorse or guilt          14   Q. I'm just asking in terms of your chain of
 15   about it; right?                                       15 command, in terms of anybody - nobody criticized
 16    A. No, sir.                                           16 you for that; right?
 17    Q. You would do the same thing again; right?          17   A. No.
 18    A. Yes, sir.                                     Q. Nobody criticized you for commenting on
                                                             18
19   Q. You have been completely supported by your 19 Mr. Lawrence's lack of wealth; right?
20 chain of command regarding your actions; right? 20  A. Correct.
21     A. Yes, sir.                                          21   Q. Nobody criticized you for asking
22     Q. No one as criticized you in any respect for        22 Mr. Lawrence - or commenting about him being off
23 the shooting or killing of Mr. Lawrence; right?           23 his meds; right?

[8/25/2017] Woodruff, Adrienne                                                                             Pages 45 - 48
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 13 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 91 of 247
                                                   Page 49                                                            Page 51
  1     A. Correct. 1 don't remember if those were the        1     Q. So when did you go back to work at the animal
  2 words 1 used to him. 1 would have to listen to that       2 shelter?
  3 again.                                                    3     A. It was after 1 spoke to internal affairs. So
  4   Q. What words would you recall ~ that's how he          4 it was several months.
  5 characterized it, 1 believe, but did you —                5   Q. There's a memo that says you were placed on
  6    A. 1 asked him if he was on meds or off his            6 administrative duties the day of the incident. It's
  7 meds, but I'm not positive.                               7 Page No. 642 of the documents.
  8  Q. Did you go back to work at the shelter?               8     A. Yup, that was following - that was the day
  9    A. Yes.                                                9 after - on what date?
 10    Q. When did you go back to work?                      10   Q. It says - December 30th is the memo we have
 11    A. The next day.                                      11 here. If you want to look at it on his iPad you
 12    Q. And how long did you continue to work?             12 can.
 13    A. They pulled me out of there and put me in -        13   A. 1 didn't see it that date. It may have been
 14   at the police department.                              14 written that day, but 1 didn't see it.
 15    Q. When was that?                                     15     Q. It's number 642.
 16    A. 1 think the second day after the shooting.         16    A. 1 didn't receive it that day.
 17 The next day.                                            17   Q. In any event, you were placed on
 18    Q. So within a day or two of the shooting             18 administrative duties and after you were cleared by
 19 itself?                                                  19 internal affairs you went back to the animal
 20  A. Well, it was after they got the report from          20 shelter?
 21the psychologist.                                         21    A. Correct.
22   Q. What was the report from the psychologist?           22    Q. Roughly, when was that?
23        MR. WHITE; Object to the form.                     23    A. It was about eight months later.
                                                   Page 50                                                            Page 52
  1    A. He suggested that 1 not work at the shelter         1    Q. So this is the next page, 643, that says that
  2 for a while.                                              2 you were returned to regular duty in February. So 1
  3    Q. So this is a report he sent to your superiors       3 guess I'm - I'm -
  4 with his recommendations?                                 4   A. 1 may have been.
  5    A. Yes.                                                5   Q. So it would have been after. So to get this
  6     Q. So had you met with a psychiatrist or a            6 straight there was administrative duties, you
  7   psychologist immediately after the incident?            7 returned active duty, and then you needed to be off
  8    A. It wasn't immediate, but it was - it was a          8 because of the psychiatrist recommendation?
  9 couple weeks.                                             9   A. 1 had forgot this.
 10    Q. Who was that?                                      10   Q. And that's based - do you remember it now.
 11    A. Paskell? 1 think, Paskell [sic]. He gives          11   though?
 12 all of the testing for incoming police officers.         12    A. No.
 13    Q. So would -- when did you see Dr. Paskell?          13    Q. When we get all the records, I'm sure there
 14    A. I'm not sure of the date.                    14 will be personal records to make all this crystal
 15   Q. After he met with you, he asked for you to be 15 clear, but is it consistent with your memory that
 16 relieved of animal shelter duty?                   16 you were placed administrative duty, you came back
 17    A. Yes.                                               17 to work, and then due to the psychiatrist
 18  Q. Did he ever release you back to animal               18   recommendation you went back off of work?
19 shelter duty?                                             19    A. Correct.
20   A. 1 didn't see him again.                              20     Q. Okay. After the psychiatrist took you off,
21   Q. Did you anybody - did you ever go back to            21   did you ever go back to regular duty?
22 work at the animal shelter after that?                    22    A. Yes.
23     A. Yes.                                               23    Q. Okay. How long were you off as a result of
[8/25/2017] Woodruff, Adrienne                                                                                Pages 49 - 52
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 14 of 34
         USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 92 of 247
                                                         Page 53                                                          Page 55
  1   the psychiatrist recommendation?                              1   But 1 think they played ~ 1 know they played the
  2     A. Two weeks, 1 believe.                                    2 dash cam video. 1 don't remember whether or not
  3     Q. Do you recall that - when that would have                3 they played that one or the one from inside the
  4 been?                                                           4 shelter. I'm not sure.
  5     A. Not exactly, no, sir.                                    5     Q. What was -- did Chris Barber [sic] ask you
  6        MR. SHERROD; Why don't we - we've been                   6 any questions about it or anything?
  7 going a good bit. 1 need to plug my computer in.                7     A. While we were watching it?
  8 Let's take a break.                                             8     Q. Or after it.
  9         (Brief recess taken.)                                   9   A. No, the only questions he asked me were in
 10     Q. When was the grand jury?                                10 his official capacity as the internal affairs
 11     A. That date fails me. 1 don't know. I'm not               11 investigator.
 12 sure.                                                          12   Q. Right. And I'm just trying to find out what
 13     Q. Do you know approximately?                              13 questions did he ask you --
 14     A. Gosh, it may have been as far away as a year            14         MR. WHITE: Object to form.
 15 after. I'm not - 1 can't - 1 can't even hazard a               15   Q. -- in that meeting.
 16 guess.                                                         16   A. 1 don't remember all of them. He just asked
 17     Q. Did you testify in the grand jury?                      17 me to tell him what happened. Asked me a couple
 18     A. Idid.                                                   18 questions. 1 don't remember what they were.
 19  Q. So the teeth came up in the grand jury how?                19     Q. Was this before -- this would have been
 20 Was that a question from the grand juror or -                  20   before you wrote your report; right?
 21       MR. WHITE: Objection to the form.                        21     A. No, that was five months later.
 22  A. My comment about -                                         22     Q. 1 thought you said it was a week after.
 23  Q. You said something came up in the grand jury               23     A. That's when 1 saw the video.

                                                         Rage 54                                                         Page 56
  1   about the teeth, 1 thought.                                   1    Q. With Chris Barberree.
  2     A. Yes.                                                     2    A. And my -- and my attorney.
  3    Q. So how did it come up in the grand jury?                  3   Q. Right. So a week after and then -
  4    A. 1 believe Mr. Velesqa brought it up and asked             4   A. He didn't ask me anything then.
  5 if 1 had made any comments to him.                              5   Q. Did you look at - here's my question: Did
  6    Q. Do you know if the video was played for the               6 you look at the video before you prepared your
  7 grand jury?                                                     7 report?
  8    A. Yes, it was.                                              8    A. No. 1 don't believe -
  9    Q. Were you there when it was played?                        9    Q. Going by the time, ma'am, I'm just saying
 10    A. Yes, 1 was.                                              10   December 30th, 2014, a week later would be -
 11    Q. When was the first time you saw the video?               11    A. 1 don't think - 1 don't think - no, 1
 12    A. About a week after.                                      12 prepared the report first. If 1 remember correctly.
 13    Q. Who did you see it with?                                 13   Q. So when did you start experiencing symptoms
 14    A. My attorney and Chris Barberree of internal              14 that you would attribute to PTSD?
 15 affairs.                                                       15   A. Immediately. Immediately.
 16    Q. Did you get a copy of the video?                         16   Q. And what were those symptoms?
 17    A. Not at that point, no, sir.                              17   A. Nightmares, on edge all the time. Every time
 18    Q. When did you get a copy of the video?                    18 a car would drive down my road it would wake me up.
 19    A. When Mr. White gave me one prior to preparing            19 Every noise makes me jump. It was mainly that.
 20 for this.                                                      20 Always looking over my shoulder. Not wanting to sit
 21    Q. Do you know if the cell phone video was                  21 in a room with my back to the door. Worried about
 22 played for the grand jury?                                     22 what's going to happen, is somebody going to
 23   A. 1 don't recall if that one was played or not.             23 retaliate.

[8/25/2017] Woodruff, Adrienne                                                                                      Pages 53 - 56
            Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 15 of 34
          USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 93 of 247
                                                        Page 57                                                        Page 59
  1   Q. So, I mean, would you attribute your symptoms             1 shelter, okay. So do you know how many minutes,
  2 to fear of people doing something to you, like,                2 roughly, Mr. Lawrence was in the shelter?
  3 related more to the threats than to the incident?              3   A. Maybe three minutes.
  4   A. I have to worry about people doing things to              4   Q. And then he left the shelter; right?
  5 me, yes.                                                       5   A. Correct.
  6   Q. Right, I mean -                                           6   Q. And then you came after him; right?
  7   A. I mean, they have been threatening so -                   7   A. Correct.
  8   Q. The threats were long past though; right?                 8 Q. And then pretty much the entire audio ~
  9   A. To me I still feel threatened.                            9 strike that - are we missing recordings of what was
 10   Q. But nobody's threatening you?                            10 said outside between you and Mr. Lawrence? In other
 11   A. No, not outwardly.                                       11 words, I know we don't have recordings of what was
 12   Q. Nobody has done anything even remotely                   12 said inside the shelter; right?
 13 approaching threatening you since two months after            13 A. Right.
 14 the incident; right?                                          14 Q. And we have - between his girlfriend's video
 15   A. Trying to think when the podcast was.                    15 and the recording of your dispatch, we have nine,
 16   Q. Did - I asked you - did - so. Okay.                      16 ten minutes of audio recording of your
 17   A. I guess not.                                             17 communications with Mr. Lawrence; right?
 18   Q. The video was not released publicly; right?              18   A. Yes.
 19   A. No.                                                      19   Q. Is there - other than the audio from the
 20   Q. Do you have any sense of how it would be                 20 three minutes inside the shelter, are we - is there
21 perceived if it was?                                           21 any other communication that happened between you
22        MR. WHITE: Object to the form.                          22 and Mr. Lawrence that isn't recorded?
23    Q. Do you have any fear - let me ask you this:              23   A. We spoke, yes.
                                                        Page 58                                                        Page 60
  1 Do you have any fears of it being released publicly            1   Q. Where? When, that's not recorded? Other
  2       MR. WHITE; Object to the form.                           2 than inside the shelter?
  3    A. No.                                                      3 A. As he was leaving the front door and he
  4    Q. So how many times have you reviewed the                  4 pushed the door open. When he did, I saw a holster
  5 video?                                                         5 sticking out below his jacket, a gun holster, but I
  6    A. The dash cam?                                            6 couldn't tell if there was a gun in it --
  7   Q. Dash cam.                                                 7 Q. I'm talking about communications.
  8    A. Dozens.                                                  8   A. Well, that's -
  9   Q. Most of them recently?                     9 Q. I'm not asking you tell the story right now.
10   A. Yes.                                       10 You can tell the story later, perhaps.
11   Q. Have you watched it in slow motion?        11 A. All right. I'm not sure I understand what
12   A. Parts of it, yes.                          12 you're asking then.
13   Q. Have you watched it frame by frame?        13 Q. We have audio recordings that - between the
14   A. Parts of it, yes.                          14 girlfriend's video and the phone cail recording and
15   Q. The parts where you drew the gun, have you 15 the dash cam from Officer Rhodes that cover roughly
16 watched in slow motion and frame by frame?      16 ten minutes before the incident through the incident
17   A. Yes.                                       17 itself; right?
18   Q. Okay. Most of your communications with     18          MR. WHITE: Object to the form.
19 Mr. Lawrence are - have been recorded; right?   19 A. I heard - I heard an audio of him talking to
20        MR. WHITE: Object to the form.           20 the comm center on the radio. But, not him talking
21    A. About half of them. Yeah.                                21 to Mr. Lawrence.
22    Q. Well, so you're saying -- so how long ~ you              22 Q. Did I say - here's what I'm talking about:
23 know, I haven't looked at the video from the                   23 You and Mr. Lawrence, y'all communicated; right?
[8/25/2017] Woodruff, Adrienne                                                                                   Pages 57 - 60
              Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 16 of 34
            USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 94 of 247
                                                         Page 61                                                        Rage 63
  1    A. Yes.                                                      1 phone in his hand when we were talking.
  2    Q. What communications were there between the                2 Q. That was the same phone, as I understand it.
  3 two of you that are not recorded? Other than those              3 He handed that phone back to the girlfriend at the
  4 that took place inside the shelter and as he was                4 time of the incident.
  5 leaving?                                                        5 A. Well, actually, he handed it to me and I
  6    A. What did we talk about?                                   6 handed it her. I gave it back to her so it wouldn't
  7    Q. No.                                                       7 be broken.
  8 A. I'm still not understanding.                                 8 Q. So he handed you the phone? I'm sure that's
  9 Q. I could start the recording, but we have an                  9 on the video, I just don't remember it. But he
 10 audio recording from yoU on the phone to somebody              10 handed you the phone and you gave it to the
 11 asking for backup: right?                                      11 girlfriend?
 12    A. Right.                                                   12    A. Correct.
 13    Q. And we have a second call where you followed             13    Q. Do you recall what your communications wer^
 14 up about backup; right?                                        14 with Mr. Lawrence before the recordings start
 15    A. Yes.                                                     15 outside the building?
 16 Q. And we have a third call that goes on, I                    16 A. Between the door and when he got to his car'
 17 think, for roughly nine minutes, but I may be wrong            17 Q. Correct, if any?
 18 about the exact time, where you're on the phone and            18    A. Yes.
 19 recording your communications with Mr. Lawrence.               19 Q. Okay. So if I - and he left out the door
 20 A. The second phone call asking how far out are                20 and went to his car; right?
 21 they, that was Officer Skipper. I made two phone               21   A. Right.
 22 calls, I think.                                                22 Q. When you got there you were being recorded
23     Q. Okay. There's a call - a lengthy call where              23 right?
                                                         Page 62                                                        Page 64
  1 you record until -                                              1    A. I don't know.
  2    A. Yes.                                                      2        MR. WHITE: Object to the form.
  3    Q. -- Officer Rhodes arrives.                                3    Q. Well have you seen that recording from inside
  4    A. Yes.                                                      4 the car?
  5    0. Before that call, are there any                           5    A. Yes, but that was after - that was later.
  6 communications with Mr. Lawrence that occurred ir               6 That was taken later when he was retrieving his
  7 the - outside the building that are not recorded?               7 affidavit of identification.
  8    A. I still don't -- I'm still not following the
                                                     8 Q. Right. And so what was your communication
  9 question.                                        9 with him as he was - you know, outside the building
10   Q. Okay.                                       10 and immediately after he walked out?
11   A. You're asking if we had any communications. 11   A. I asked him if he had a gun because I saw the
12 Talking is a communication.                      12 holster when he opened the door.
13 Q. Recordings.                                   13 Q. Okay. And what did he say?
14     A. Recordings? Oh no, no, no. I recorded                    14    A. He said, "It's in the car."
15 nothing.                                                        15 Q. Okay.
16 0. Right. So I'm asking what ~ and I know I'm                   16 A. He headed for the car and he yelled at the
17 asking inartfully but we --                                     17 woman in the car, "Get the video. This is going to
18 A. He had a phone - he had a phone -- in fact 18 be a good one."
19 during the course -- yes, he had a phone but I don'1 19 Q. Okay.
20 know if - whether or not he was recording.           20 A. And I walked around to the back of the car.
21   0. I thought you said you watched that             21 Q. Okay.
22 recording?                                           22 A. To get his tag number.
23     A. I watched the one in the car, but he had the             23    Q. Okay. And you were on the phone at this
[8/25/2017] Woodruff, Adrienne                                                                                    Pages 61-64
            Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 17 of 34
          USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 95 of 247
                                                    Page 65                                                            Page 67
  1 time; right?                                               1 A. I was going to call the tag in.
  2   A. No.                                                   2 Q. Well you, in fact, have you listened to the
  3   Q. Weil, the-                                            3 recording where you did call the tag in?
  4 A. I was - I had told my secretary to call for             4         MR. WHITE: Objection. She said that was
  5 backup as I left the building.                             5 later. You're missing a whole segment of time.
  6 Q. Okay. There is a audio recording where you              6 Q. Ms. Woodruff, you went to the back - he
  7 say, "He's blocking the tag"; do you remember that?        7 didn't prevent you from getting the tag number, did
  8 A. Yup.                                                    8 he?
  9 Q. Or trying to block the tag?                             9 A. Yes, at that point, he did. He kept standing
 10   A. Yeah.                                                10 in front of it. And telling me it was private
 11   Q. Did you not - were you not on the phone              11 property and I didn't have the right to get it.
 12 calling that tag in?                                      12   0. Okay.
 13 A. I was trying to.                                       13   A. And started talking about federal codes and
 14   Q. Right. And that's recorded; right?                   14 state codes and this is a violation of his privacy
 15   A. Yes.                                                 15 rights.
16   Q. So-                                             16 0. And then what happened?
17        MR. WHITE: Object to the form.                17 A. That went on for a couple minutes. I stepped
18 Q. So as you understand it, before you got to        18 to the right, he stepped over in front, back and
19 the car and started getting his tag, the only        19 forth.
20 communication you had had outside the building with  20 Q. So you were not - you were not calling -
21 Mr. Lawrence was where you asked him if he had a gun 21   A. I was trying to get through on my phone. We
22 and he said it was in the car; right?                22 were working on portable phones at the time. Our
23 A. And he was telling me -                           23 phone system was down and I couldn't get through. I
                                                   Page 66                                                             Page 68
  1    Q. That it was going to be a good one?                  1 wanted to make sure that my secretary heard me when
  2    A. It was an unlawful detainer and I had no             2 I left out the door and told her to call for backup.
  3 right to stop him and he was citing federal codes.         3 Q. Do you know whether - okay. Let me see if I
  4 Q. And that's recorded, though; right?                     4 have this a hundred percent right.
  5    A. That's not recorded. You asked me what - if          5       He left, you asked him about the holster, he
  6 there was anything -                                       6 told you the gun was in the car; right?
  7 Q. Have you not heard the recording ~                      7   A. Correct.
  8        MR. WHITE; Object to the form. She                  8 Q. He continued on and as he was getting in the
  9 testified that the video was the second time or that       9 car he made a statement regarding her recording?
 10 that came later. So that is not the beginning of          10   A. Right.
 11 the incident--                                            11   Q. And then he sat in the car; right?
 12 Q. Here's what I'm trying to get to; okay? What 12             A. Yes.
 13 is the -- he comes out, tells you the gun is in the 13          Q. And then you went behind the car; right?
 14 car in response to your question; right?                  14 A. I was going to get the tag.
 15   A. Correct.                                             15 Q. Right. Have you looked at her video to see
16    Q. Then he goes to the car and speaks to the            16 if it, in fact, starts right there where you say he
17 girlfriend about getting the video recording; right?       17 got in to the car?
18   A. He got in the car.                           18 A. That's the second time he got in.
19   Q. He got in the car and spoke to her about     19 Q. So he got in a second time telling her to
20 recording; right?                                 20 record?
21   A. He was saying that before he got in the car. 21 A. No. That's - that's later, I believe. Oh,
22 Q. And then you went to the back of the car and 22 yes. 'Cause that's not what he said.
23 got on the phone and called the tag in?           23 Q. So you were not able - even though you
[8/25/2017] Woodruff, Adrienne                                                                               Pages 65 - 68
               Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 18 of 34
             USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 96 of 247
                                                        Page 69                                                             Page 71
  1   walked behind his car and he was not anywhere in the         1     Q. Well like to the left, to the right?
  2 way -                                                          2     A. 1 don't remember which side of the car. The
  3     A. Well, yes he was, because he immediately                3 left - yeah, the left towards the parking lot.
  4 jumped out of the car and came back over there.                4     Q. So did you take the visibility of the tag out
  5   Q. Ms. Woodruff, listen carefully. You were not              5 of your view?
  6 able to see and call in the tag when you walked back           6    A. Yes, it was at that point. So 1 had to go
  7 there?                                                         7 back and get it again.
  8     A. Correct.                                                8    Q. Well, how did - so how did that happen?
  9     Q. You could not - you could not process that              9    A. 1 got it when he was distracted.
 10 tag when - at the time you were back there when he            10   Q. How did you distract him?
 11   was sitting in the driver's seat?                           11   A. We were just talking and he kept talking
 12          MR. WHITE: Object to the form. That's                12 about codes and statutes and he makes $1,600 an hour
 13 not what she testified too. She testified that he             13 talking to people like me and 1 had no authority
 14   blocked her. He got out of the car and came back            14 over him. It was an unlawful detainer. He just
 15 and blocked her.                                              15 kept talking nonstop.
 16    A. He immediately got out of the car when he saw           16    Q. That's what he had done inside the building
 17 me walk behind the car.                                       17 too; right?
 18    Q. Right. But you got behind the car first;                18    A. That's correct.
 19 right?                                                        19    Q. He talked a lot; right?
 20    A. 1 walked back — 1 walked back there and                 20    A. Yes, sir.
 21 started trying to dial dispatch.                              21    Q. He talked about his right not to have to give
 22   Q. And you just couldn't dial dispatch?                     22 you a driver's license; right?
 23   A. Our phones were messed up. That's correct.               23    A. Any kind of identification.
                                                        Page 70                                                             Page 72
  1    Q. So is this notion that there was this time               1    Q. He talked about that you were violating your
  2 when all the phones were messed up, is this                    2 oath; right?
  3 documented anywhere?                                           3    A. Yes.
  4   A. It may be with - with our IT department.                  4   Q. So let me see if I've got it correct. In the
  5   Q. So you're saying there should be - well.                  5 animal control office there was talking; right?
  6 what was the problem calling dispatch with the tag.            6   A. Yes. Yelling.
  7 Ms. Woodruff?                                                  7   Q. He answered questions; right?
  8    A. 1 couldn't ~ first, 1 couldn't get through.              8   A. He was yelling, yes.
  9 By then he was out of the car and at the back of the           9   Q. So was it - so when was there yelling?
 10 car.                                                          10   A. When Pat Holly told him that he was from
 11    Q. So how long did he obstruct — keep you                  11   Geneva and we could not take the dog.
 12 from -                                                        12    Q. Okay. Can we agree that there was no yelling
 13    A. 1 walked away.                                          13 by him on any of the recordings that we have?
 14    Q. You walked away?                                        14        MR. WHITE: Object to the form.
 15    A. 1 walked away thinking that he would move               15  A. Oh, he's yelling.
 16 away from the car and 1 could get the tag.                    16    Q. Can we agree that when he spoke inside that
 17   Q. So you let him - you just let him block ~                17 he was speaking, roughly, the same as he is recorded
 18 keep you from getting the tag?                                18 speaking?
 19  A. No, 1 walked away thinking that he would move             19   A. Pretty - no, it escalated.
20 and 1 could get it.                                            20    Q. It got worse outside, didn't it?
 21    Q. So did - so he blocked. How —where did                  21    A. Yes.
22 you walk to?                                                   22    Q. He was calmer inside; right?
23     A. Just a few feet away from the car. But he -             23        MR. WHITE: Object to the form.
[8/25/2017] Woodruff, Adrienne                                                                                     Pages 69 - 72
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 19 of 34
         USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 97 of 247
                                                         Page 73                                                          Page 75
  1     A. Somewhat, yes. He just got worse and worse.              1    A. Initially.
  2     Q. After you followed him out there; right?                 2    Q. When you refused he left; right?
  3     A. Idid.                                                    3           MR. WHITE; Objection. She said
  4     Q. And wouldn't let him leave, right?                       4 "initially."
  5     A. Correct.                                                 5    A. No. He kept getting louder, which is why 1
  6     Q. And so even though we don't have anything                6 came out of my office.
  7 recorded inside the animal control shelter we know              7     Q. Was he ever told that. We'll take the dog
  8 that whatever happened there wasn't as bad as what              8   without you having to fill out any paperwork?
  9 was recorded outside; right?                                    9     A. He had to sign. It got -- when -- when --
 10     A. Right.                                                  10    Q. So here's --
 11     Q. Can we agree that you never told Mr. Lawrence           11    A. You -
 12 he was under arrest?                                           12    Q. Was he ever told --
 13     A. Yes.                                                    13           MR. WHITE: If you would please let her
 14     Q. In fact, you never accused him of committing            14 answer.
 15 any crime; right?                                              15    A. Let me finish. Let me finish.
 16     A. At one point he asked me if he had committed            16    Q. It's a yes or no question, Ms. Woodruff. Was
 17 a crime.                                                       17 he ever told ~
 18     Q. And you didn't tell him any crime -                     18        MR. WHITE: Let her - I'm going to
 19     A. 1 said, yes.                                            19 object. Would you read the question back, please.
 20   Q. You told him that the crime was that driving              20   Q. 1 withdraw the question. Ms. Woodruff, did
 21 without a license; right?                                      21 he ~ was he ever told anything that said. We will
 22   A. No, 1 don't - 1 don't remember telling him                22 take the dog without you signing or turning over ID
 23 that part.                                                     23 or anything?

                                                         Page 74                                                          Page 76
  1     Q. Well, that was the crime you were interested             1    A. He had to sign, no.
  2 in, wasn't it?                                                  2    Q. And that was when he took the dog and left;
  3     A. No, not only that.                                       3 right?
  4     Q. So what other crime was he committing?                   4    A. And threatened to dump it at the end of the
  5     A. Well, what he had threatened to do, which was            5 road, yes.
  6 the whole point of me following him out of the                  6    Q. Would it be - is it a crime to say - say
  7 building to begin with.                                         7 that?
  8   Q. So the possibility that he might return the                8          MR. WHITE: Object to the form.
  9 dog where he had gotten it.                                     9    Q. To say those words? To make a threat to dump
 10   A. Dump it. He said he was going to - "I'm                   10 a dog?
 11 going to dump the damn dog at the end of the road."            11    A. He's threatening to commit a crime.
 12     Q. And -                                                   12    Q. You told him that was against the law, didn't
 13     A. And then he picked -                                    13   you?
 14     Q. That's not on any of the recordings; right?             14   A. 1 said,"You can't do that. It's illegal."
 15     A. No, that's inside the building.                         15   Q. Okay. So that was information that he might
 16     Q. You don't accuse him of - let's back that               16 not have had; right?
 17 up. 1 think it does come up in the recording. So               17          MR. WHITE: Object to the form.
 18 he didn't actually dump the dog; right?                        18    A. 1 don't know.
 19     A. He never left.                                          19    0. In any event, he stated an intention to do
20      Q. He tried to turn the dog over to the animal             20 something that you thought was illegal; right?
21    shelter; right?                                              21    A. Correct.
22      A. Yes.                                                    22   Q. You informed him that that was ~ in response
23      Q. Y'all refused the dog?                                  23 you told him that was illegal; right?

[8/25/2017] Woodruff, Adrienne                                                                                    Pages 73 - 76
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 20 of 34
         USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 98 of 247
                                                           Page 77                                                           Page 79
  1    A. Correct.                                                    1 Officer Rhodes physically tried to put him In cuffs;
  2    Q. Now, do you have any understanding about                    2 right?
  3 whether, legally, you had the right to arrest him                 3   A. That was later, yes.
  4   merely for having stated that Intention to you, to              4   Q. Weil, that was the resisting arrest?
  5 dump the dog -                                                    5     A. Yes.
  6            MR. WHITE: Object to the form.                         6     Q. But we have - of course have to have a
  7    Q. - without actually dumping the dog?                         7   reason to arrest In the first place; right?
  8    A. Well, when 1 asked - at that point 1 asked                  8     A. Correct.
  9 for his Identification.                                           9     Q. Now, why Is he subject to arrest for not
 10    Q. I'm talking about dumping the dog. Can we                  10   producing a driver's license to you?
 11   agree that just because he says he's going to do               11         THE WITNESS: Do you have the code? Dci
 12 something Illegal In the future, you can't arrest                12 you have the code?
 13 him for It?                                                      13         MR. WHITE: I'll have to go--
 14    A. That's correct.                                            14     Q. (By Mr. Sherrod) 1 know the code. 1 know
 15    Q. Then you demanded his Identification; right?               15 the code.
 16    A. Correct.                                                   16           MR. WHITE: Well, 1 can go get It. 1
 17    Q. And he gave you his paperwork that was not an              17   mean, she's talking about the Alabama code that
 18 official ~                                                       18 says, upon a lawful request from a officer police
 19    A. That was far later.                                        19   officer, you know. It's lawful command plus him
 20    Q. But, eventually, he gave you only his - the                20 not ~
 21 paperwork out of his car; right?                                 21        MR. SHERROD: 1 don't need your
 22   A. Right.                                                      22 testimony. I'm --
 23    Q. And you refused to return that paperwork to                23           MR. WHITE: Well, she said code and 1
                                                           Page 78                                                           Page 80
  1   him; right?                                                     1   said 1 can get It and we can give you all of It.
  2     A. That's correct.                                            2          MR. SHERROD: 1 understand It. 1
  3     Q. Now, did he commit -- actually commit any                  3 understand.
  4 crime?                                                            4     Q. (By Mr. Sherrod) You said you're referring
  5     A. Yes.                                                       5 to an Alabama statute?
  6     Q. What?                                                      6     A. Yes.
  7     A. Through the course of It all?                              7     Q. I'm aware of two such statutes, one that
  8     Q. Yeah.                                                      8 applies to someone operating a motor vehicle and
  9   A. He failed to produce his driver's license.                   9 another that Is - doesn't. Which one are you
 10   Q. Okay.                                                       10 talking about?
 11   A. Disorderly conduct. Resisting arrest.                       11          MR. WHITE: Object to the form. You know
 12 That's a pretty good start right there.                          12 she's not going to operate any kind of mental guess
 13   Q. So the first crime was refusing to produce                  13 as to what you're familiar with. We can go get the
 14   his driver's license to you In the parking lot;                14 code and she can refer - not what you say the code
 15   right?                                                         15 Is but what the code says the code Is.
 16     A. Correct.                                                  16   Q. Ms. Woodruff, what do you understand the code
 17  Q. And then the disorderly conduct was the                      17 to require that was applicable, Ms. Woodruff, to Mr.
 18response after that In the parking lot?                           18 Lawrence?
19   A. It was him getting very close to me, up In my                19     A. I'm not sure 1 understand what you're asking.
20 face, backing me -- backing me backwards.                         20     Q. What does the code say,just roughly In
21      Q. Okay. That was the disorderly conduct?                    21   general, that you understand It to say?
22      A. Yes.                                                      22     A. That he has to comply. He has to produce his
23      Q. Do you -- and then after that, of course.                 23 Identification when asked for It. His driver's

[8/25/2017] Woodruff, Adrienne                                                                                         Pages 77 - 80
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 21 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 99 of 247
                                                        Page 81                                                        Page 83
  1 license when asked for it.                                     1 command -
  2   Q. Is that your understanding of the law?                    2 A. Obstructing governmental operations by
  3    A. Yes.                                                     3 standing in front of the tag preventing me from
  4   Q. That just anytime you want to make a citizen              4 doing my job.
  5 produce a driver's license, you can?                           5   Q. Okay. So -
  6       MR. WHITE: Object to the form.                           6   A. Yeah. That too.
  7   A. No, this was more along the lines of the                  7 Q. Now, at the time that you were getting his
  8 Terry stop. I guess it would be comparable to it.              8 tag, you were detaining him; right?
  9   Q. The statute that talks about reasonable                   9   A. Yes.
 10 suspicion or probable cause or something like that;           10 Q. So was it your expectation then that the
 11 doesn't it?                                                   11 course of events was going to be that whatever
 12    A. Yes. I believe it does.                                 12 officer came for backup at your direction would be
 13 Q. So we've got he refused to produce a driver's              13 arresting Mr. Lawrence?
 14 license, he was disorderly by getting in your face,           14         MR. WHITE: Object to the form.
 15 and then he resisted arrest with Officer Rhodes.              15 A. At which point? At the - towards the end
 16 Did he commit any other crimes in your presence that          16 when my backup got there? I felt, yes, he was
 17 day?                                                          17 going - he was going to jail.
 18         MR. WHITE: Those are listed in her                    18 Q. Did you make any decision that you - that -
 19 answers to interrogatories where she included -               19 you kept saying he was detained. You never said-
 20         MR. SHERROD: I'm just asking. Thank you               20 referenced any crime or stated that she was going to
 21 for instructing - you know, I've been trying to               21 be placed under arrest. My real question is ~
 22 ignore you Lenn -                                             22         MR. WHITE: I object to form. She
 23         MR. WHITE: It's in the interrogatories.               23 testified that she told him that yes, he had
                                                        Page 82                                                        Page 84
  1         MR. SHERROD: Yeah, but this is called a                1 committed a crime.
  2 speaking objection and it's improper and, you know,            2    Q. Okay. I don't remember--
  3 I was hoping it would stop, but I'm going the ask              3        MR. WHITE: It's on tape.
  4 you please to let the witness answer and ~                     4 Q. Let me - let me be clear. I'm not asking —
  5         MR. WHITE: I'll repeat her answers for                 5 I didn't hear the "yes" in response to that
  6 the record.                                                    6 question. It may be on the recording.
  7        MR. SHERROD: It's not proper for you to                 7    A. It is.
  8 repeat her answers. That's called coaching the                 8    Q. I don't remember hearing it. I'm not really
  9 witness.                                                       9 trying to get into that conversation. What I'm
 10        MR. WHITE: And asking the same questions               10 specifically asking--
 11 already answered is redundant.                                11         MR. WHITE: Well, I mean, I'm going to
 12 Q. (By Mr. Sherrod) Ms. Woodruff, do you                      12 object to form of the question if it
 13 contend he committed any other crime that day other           13 mischaracterizes the facts.
 14 than refusing to produce his driver's license, under          14         MR. SHERROD: I'm not trying to
 15 that code section; disorderly conduct by getting in           15 characterize any - I'm asking a completely
 16 your physical space, in your face, and resisting              16 different question. So if you quit interrupting,
 17 arrest when-                                                  17 Lenn, it will all become clear.
 18   A. Actually yes. Attempted first degree assault             18    Q. (By Mr. Sherrod) So I'm not asking you -
 19 on Officer Rhodes.                                            19          MR. WHITE: It's what we're after.
 20   Q. Okay. Any others?                                        20          MR. SHERROD: Excuse me?
 21   A. I can't think of any.                                    21          MR. WHITE: It's what we're after.
 22 Q. I mean, your lawyer was suggesting maybe                   22          MR. SHERROD: Will you please stop
 23 obstructing governmental operations by refusing your          23 interrupting me, Lenn.
[8/25/2017] Woodruff, Adrienne                                                                                 Pages 81-84
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 22 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 100 of 247
                                                      Page 85                                                         Page 87
  1           MR. WHITE: Sure.                                   1 physical person; right?
  2   Q. So I'm not asking you about that conversation           2 A. Absolutely.
  3 or what was said by you and between him. I'm asking          3 Q. You were scared; right?
  4 you, in your head if you had the intention, if you           4   A. Yes.
  5 can recall, to have the backup officer arrest                5 Q. But he didn't actually do anything,
  6 Mr. Lawrence?                                                6 objectively, other than behave in a manner that you
  7        MR. WHITE: Object to the form.                        7 didn't like, to threaten?
  8   A. I would be object- ~ I would be arresting               8          MR. WHITE: Object to the form.
  9 him. I witnessed the crimes. It would be my                  9   A. It's not a matter of whether or not ~ it's
 10 arrest.                                                     10 not that I didn't ~ he did something I didn't like.
 11   Q. But you physically were ~ I mean, you were             11 It's that he overtly kept coming toward me, yelling.
 12 afraid to try to arrest him?                                12 And that's ~ I had to keep backing up to get away
 13   A. Absolutely.                                            13 from him.
 14   Q. So you were going to count on another officer          14    Q. He came towards you to get his paperwork
 15 to do the physical work to arresting Mr. Lawrence?          15 back; right?
 16 A. To help me, yes.                                         16   A. He wasn't reaching for his paperwork.
 17 Q. I understand you were going to make the                  17   Q. He was asking for his paperwork back.
 18 decision to arrest but I ~ so was it your ~ did             18   A. He had several times asked for his paperwork
 19 you make the decision that you were going to have           19 back.
 20 Officer, Rhodes or whoever came, arrest ~                   20   Q. You were refusing to give his paperwork back?
 21 physically put Mr. Lawrence in custody?                     21   A. That's correct.
 22   A. Yes.                                                   22 Q. Well, isn't it true that you actually got
 23           MR. WHITE: Object to the form.                    23 more in his face that day than he ever got in yours?
                                                      Page 86                                                         Page 88
  1   Q. Do you recall when you made that decision?              1    A. No.
  2 A. When he was threatening and in my face.                   2    Q. Do you recall the part where you raised your
  3 Again, and again, and again I told him to get out of         3 voice and you stepped toward him on his video?
  4 my face and he kept at me in a threatening manner to         4    A. When he was in his car?
  5 me. I knew I couldn't fight him. I had to wait for           5    Q. No, when - when you're claiming that — do
  6 backup. I was stalling for my backup to get there            6 you remember the part in the video where you say
  7 so that he could be cuffed and ~                             7 that he's in your face and he says that he's six and
  8   0. So to be clear, Mr. Lawrence never threatened           8 a half feet from you; do you recall that?
  9 you by word; right?                                          9 A. That's getting too close. That's not a
 10   A. No, it was his behavior.                               10 comfort zone for a police officer.
 11   Q. He never threatened you by gestures?                   11    Q. Well, the law doesn't say that police
 12   A. He threatened to sue me already, early on.             12 officers are all just entitled to their comfort;
 13 Q. Okay. You're not claiming that he was                    13 right?
 14 subject to arrest because he threatened to sue you;         14    A. You keep a safe distance. A reactionary
 15 right?                                                      15 distance.
 16   A. No, of course not.                                     16    Q. But it's not a crime for a citizen to make
 17   Q. He never threatened your physical person;              17 you uncomfortable: right?
 18 right?                                                      18    A. No. But when they do, you take action.
 19   A. Correct.                                               19    Q. Now, during the entire incident, Mr. Lawrence
 20 Q. He never made a gesture that even hinted that            20 never made any threat to anybody's physical safety
 21 he wanted to harm your physical person?                     21 right? Verbally?
 22 A. That can be construed as yes.                            22 A. Verbally.
 23 Q. Well you considered him a threat to your                 23 Q. Verbally.
[8/25/2017] Woodruff, Adrienne                                                                                  Pages 85 - 88
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 23 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 101 of 247
                                                    Page 89                                                         Page 91
  1   A. His actions spoke loudly.                             1   A. No.
  2   Q. We can talk just verbal -- during the entire          2   Q. You didn't even warn Officer Rhodes about the
  3 incident -- even while he's in there being                 3 gun?
  4 manhandled by Officer Rhodes; right?                       4   A. No.
  5   A. 1 don't know that "manhandled" is the proper          5   Q. Didn't warn Officer Skipper about the gun?
  6 word but ~                                                 6   A. No.
  7    Q. Well, 1 mean. Officer Rhodes was                     7   Q. You just pulled and shot.
  8 substantially larger than Mr. Lawrence.                    8          MR. WHITE: Object to the form.
  9         MR. WHITE: Object to the form.                     9   A. 1 didn't even know that Officer Skipper was
 10    Q. Right?                                              10 there.
 11    A. He wasn't stronger.                                 11   Q. Was that - she wasn't -
 12    Q. How do you know that?                               12   A. She was on the sidewalk after 1 saw the
 13    A. Because Alan was losing the fight.                  13 video.
 14    Q. So did Alan tell you that?                          14   Q. Was that -
 15    A. No.                                                 15   A. She grabbed - she grabbed it.
 16    Q. Ever?                                               16   Q. Let me ask the question. Is that not her in
 17    A. No.                                                 17 the white coat -
 18    Q. Did he ever ask for your help?                      18   A. Yes.
 19    A. No, he didn't have to.                              19   Q. - that's on the video?
 20    Q. Did he ever say, I'm tired?                         20   A. Yes.
 21    A. He doesn't have to. He doesn't have to ask          21   Q. That's right there with you?
 22 for help.                                                 22   A. Yes, but 1 didn't realize it was her. My
 23    Q. Maybe he did or maybe he didn't. You know, 23 concentration was on Officer Rhodes and
                                                    Page 90                                                         Page 92
  1 I'm just asking you, yes or no, did he ever ask -          1 Mr. Lawrence.
  2 state any words that indicated he was tired?               2   Q. She - did you see - we haven't pulled the
  3    A. Officer Rhodes?                                      3 video, but my recollection is she's right there with
  4    Q. Officer Rhodes.                                      4 you with her hands on Mr. Lawrence's, you know, at
  5    A. Not until it was all over. He said he was            5 least - y'all are all right there around the Taser,
  6 exhausted.                                                 6 both of you; right?
  7   Q. Did he ever state any words indicating that           7   A. Officer Skipper grabbed the Taser.
  8 he felt like his safety was in danger?                     8   Q. And you knew she was there, right?
  9   A. He was mostly talking to Mr. Lawrence.                9   A. 1 didn't know it was her. All 1 saw was the
 10    0. Did he state --                                     10 hands out of the corner of eye. 1 had my focus on
 11    A. 1 didn't hear - 1 didn't hear that, no.             11 Officer Rhodes and -
 12    Q. He didn't state any words to you, did he?           12   Q. You knew it was somebody that was trying to
 13    A. Yeah. Yes. "Take it, take it, take it."             13 help you; right?
 14    Q. Take the shot?                                      14  A. Not necessarily.
 15    A. Yes, sir.                                           15  Q. Well, you didn't shoot them.
 16    Q. And he told you -                                   16       MR. WHITE: Object to the form.
 17    A. Take the Taser out of his hand.                     17  Q. Are you claiming you did not know that that
 18    Q. Take the Taser. So he didn't tell you to            18 was somebody trying to help you with the Taser and
 19 shoot him?                                                19 Mr. Lawrence?
 20    A. No.                                                 20   A. Correct.
 21   Q. Now, you didn't warn Mr. Lawrence that he            21   Q. So you thought that was somebody coming there
 22 would be shot if he didn't let go of the Taser;           22 to help Mr. Lawrence?
 23 right?                                                    23   A. 1 did not know.

[8/25/2017] Woodruff, Adrienne                                                                              Pages 89 - 92
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 24 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 102 of 247
                                                         Page 93                                                        Page 95
  1 Q. Well Isn't that something - would be                         1   Q. Now, the - if you pick them up both you'll
  2 important for an officer who's dealing with the                 2 feel that the training is heavier, a little heavier;
  3 situation to know whether it's two on - two now                 3 right?
  4 instead of three on one?                                        4    A. Yeah. It's a lot heavier.
  5    A. Are you asking a question or making a                     5    Q. Now, how did Mr. Lawrence - so, if I
  6 statement?                                                      6 understand correctly - I'm going by what I observe([J
  7 Q. Well, I mean, Officer, you're trained to, you                7 on the video as much as anything else. You were
  8 know, be aware of threats; right?                               8 Drive Stunning Mr. Lawrence; right?
  9    A. My biggest threat -                                       9    A. Yes.
 10    Q. Question: You're trained to be aware of                  10 Q. And that's a specific term for the use of the
 11 threats; right?                                                11 laser to inflict pain; right?
 12 A. You asked me something and then you don't let               12    A. Drive Stunning is without the cartridge
 13 me answer the question. You have to let me answer.             13 attached to the front.
 14 Q. The question is, are you trained to be - are                14    Q. Right. But it's a pain -- it's a pain --
 15 you trained to be generally aware of the other                 15    A. Pain control.
 16 threats in the area of a conflict?                             16    Q. Pain control. It does not ~ it's not the
 17    A. Yes.                                                     17 same as with the prongs; right?
 18 Q. In fact you need to know whether or not                     18    A. Correct.
 19 there's some bystander or supporter or whoever who             19    Q. When the prongs go--assuming it works - if
 20 might come and support the person you're trying to             20 it makes the correct connection then there's what's
 21 arrest; right?                                                 21 called neuromuscular incapacitation; right?
 22    A. Correct.                                                 22    A. Correct.
 23    Q. You knew that everybody around there was on              23    Q. And, you know, that means a person just can'lt
                                                         Page 94                                                        Page 96
  1 your team; right?                                               1 do anything, they're completely defenseless,
  2   A. Yes.                                                       2 essentially, for roughly five seconds; right?
  3   Q. So you knew that whoever it was that was                   3         MR. WHITE: Object to the form.
  4 there pulling on the laser, whether it was                      4 A. That's the idea, yes.
  5 Ms. Skipper or somebody else, was somebody trying to            5 Q. That's the idea. Now the prongs, probably
 6 help; right?                                                     6 because they hit on Mr. Lawrence's coat, did not
  7 A. Was probably somebody trying to help.                        7 achieve the effect, initially, when Officer Rhodes
  8 Q. You didn't have to look at them because you                  8 used it; right?
  9 knew that they were there to help you; right?                   9    A. Correct.
 10 A. I felt like that when they were grabbing the                10    Q. And - did Officer Rhodes then put his Taser
 11 laser.                                                         11 back in his holster?
 12   Q. Now, in front of you is the - I assume the                12    A. No.
 13 actual X26 that was used in this incident; is that             13    Q. Okay. Did he hand it to you?
 14 right? Or at least a similar model, the same model?            14    A. I got it. I took it from him. That's when
 15          MR. WHITE: The same Taser.                            15 he said, "take it, take it."
 16 Q. Same Taser, okay. And as I mentioned to you                 16    Q. Did he have it in his hand?
 17 before we got started, I purchased a training Taser            17    A. Yes.
 18 which has the cartridge on the end and the rubber              18    Q. Did you remove the cartridge from the end of
 19 model.                                                         19 the Taser?
20    A. Right.                                                    20    A. Yes, sir.
21 Q. Except for the cartridge on the end those are                21    Q. So you removed the cartridge in order to use
22 in the same shape; right?                                       22 it in Drive Stun mode; right?
23    A. Yes.                                                      23    A. That's correct.

[8/25/2017] Woodruff, Adrienne                                                                                   Pages 93 - 96
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 25 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 103 of 247
                                                       Page 97                                                           Page 99
  1    Q. And then did - when you used it, did you                1    Q. Did he grab - 1 mean, did he just grab your
  2 ever accidentally use it on Officer Rhodes?                   2 wrist?
  3    A. No, sir.                                                3    A. He may have. All 1 know is it was twisted
  4    Q. 1 saw a picture of some sort of mark on                 4 and he had it.
  5 Officer Rhodes. Have you seen that picture?                   5    Q. So here's what - so here's what I'm -- with
  6    A. No.                                                     6 one hand, how did he remove the Taser from your hand
  7   Q. Okay. So you don't know how he would have                7 and reposition it - so you claim that he took it.
  8 gotten that mark?                                             8 like, grabbed it from you somehow and then got his
  9    A. No.                                                     9 finger on the handle - his hand on the handle with
 10    Q. Okay.                                                  10   his finger on the trigger?
 11    A. 1 don't know what mark you're talking about.           11    A. Yes, sir.
 12    Q. Now, when Mr. Lawrence grabbed the laser, how          12    Q. And he did that while - with you ~
 13 did he grab the laser?   1 mean you were holding the         13    A. And 1 was pushing against his arm once he had
 14 Taser with your finger on the trigger; right?                14 the - once he had it in his hand.
 15    A. Yes.                                                   15    Q. Is this based on your memory?
 16    Q. And then he grabbed the barrel end of the              16    A. Yes.
 17 Taser; right?                                                17    Q. Is this - do you see this in the video?
 18    A. 1 can't remember exactly how he grabbed it,            18    A. No.
 19 but he grabbed it and he twisted it. And I'm not             19   Q. Okay. In your memory, he actually gets the
 20 even sure which way he twisted it.                           20 Taser in his hand where he can pull the trigger and
 21    Q. Right. But then he ~                                   21 cause pain to you or Mr.- or Officer Rhodes;
 22    A. But then he did it and he had control - he             22 right?
 23 gained control of it in his left hand.                       23    A. Correct.

                                                       Page 98                                                          Page 100
  1     Q. So you're claiming that he grabbed the Taser           1    Q. Do you see how with one hand it would be
  2 with what hand?                                               2 difficult to - one, to both get it away from you
  3     A. His left hand.                                         3 and then get it into a way it could be shot?
  4     Q. So did he ever touch the Taser with any hand           4    A. Do 1 think that would be difficult?
  5 other than his left hand?                                     5    Q. Yeah.
  6   A. 1 don't --1 don't recall him doing that.                 6    A. Not necessarily.
  7   Q. So when he first grabbed the Taser you were              7    Q. So this is one of the reasons 1 wanted a
  8 gripping it with your finger on the trigger; right?           8 videographer here, frankly but, you know, 1 think
  9     A. Probably -- yes, sir. As best as 1 can                 9 it - the words should make it clear. Somehow using
 10 remember.                                                    10   his left hand only you say he ripped the Taser from
 11   Q. 1 mean you've got a handle that's there, you            11   your hand -
 12 know, designed to be gripped firmly and used by              12    A. He twisted it out of my hand.
 13 police officers on the bodies of resisting suspects;         13   Q. Twisted it out your hand, then got his finger
 14   right?                                                     14 into the trigger and gripped the Taser in a
 15     A. Yes, sir.                                             15 threatening manner?
 16     Q. Did you have any problem gripping?                    16   A. He started shoving it towards Officer Rhodes.
 17     A. They're short. They're kind of hard to hang           17   Q. While gripping it in the way you would grip
 18 on to -- well, no. No.                                       18 it?
 19     Q. And so he grabbed - the barrel end was the            19    A. Yes.
20    only thing available for him to grab; right?               20    Q. So the gun -- the Taser went from you holding
21             MR. WHITE: Object to the form.                    21 it in your hand to apply it to somebody, to
22      A. Like 1 said, 1 don't remember exactly how he          22 Mr. Lawrence holding it in his hand to apply to it
23 got it.                                                       23 somebody; right?

[8/25/2017] Woodruff, Adrienne                                                                                  Pages 97 -100
            Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 26 of 34
         USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 104 of 247
                                                        Page 101                                                         Page 103
  1   A. Yes, he kept trying to grab it.                            1        MR. WHITE; Object to the form.
  2   Q. I'm going to take baby steps. Okay. You -                  2   Q. That didn't have anything to do with the
  3 you let go of the Taser, didn't you?                            3 shooting, did it?
  4   A. He twisted it out of my hand, pain                         4    A. Correct.
  5 compliance, sure. It hurt. He was twisting my                   5   Q. Your position consistently has been, you shot
  6 wrist and it hurt badly. He got the Taser away from             6 him because he had the Taser gripped with his finger
  7   me.                                                           7 on the trigger in Drive Stun mode; right?
  8   Q. You ~ as soon as you let go, you went and                  8   A. And was trying to tase Officer Rhodes.
  9 reached for your gun, didn't you?                               9   Q. And was trying to Tase Officer Rhodes?
 10   A. No, 1 was pushing his arm back that had the               10    A. Right.
 11 Taser in it.                                                   11    Q. And you shot him for that reason and that
 12     Q. You don't see that on the video either, do              12 reason only; right?
 13 you?                                                           13    A. Yes. 1 was afraid that Officer Rhodes would
 14          MR. WHITE: Object to the form.                        14   be incapacitated, which would leave me ~
 15     A. I'm not sure. You may.                                  15     Q. But, you know, that there were numerous
 16     Q. Have you gone back to the video?                        16   people there to help; right?
 17     A. Yeah, we've seen it. You may see my arm in              17    A. No, 1 don't know that.
 18 there.                                                         18     Q. You knew Officer Skipper was there in the
 19   Q. Now, did Mr. Lawrence ever apply the Taser to             19   parking lot, didn't you?
 20 you or Officer Rhodes?                                         20    A. No.
 21    A. Officer Rhodes told me afterwards that he                21    Q. You -
 22 felt the tingling down his pant leg.                           22    A. 1 didn't - 1 didn't know that those were
 23     Q. Yes, but do you know whether or not that was            23 even her hands that came in. 1 knew she was

                                                        Page 102                                                         Page 104
  1   from you ~ what you did or from what Mr. Lawrence             1 somewhere.
  2 did?                                                            2    Q. You knew you had other people in the parking
  3    A. It wasn't from what 1 did. That's not where               3 lot there available to help you, didn't you?
  4 1 tased Mr. Lawrence.                                           4    A. No, 1 didn't.
  5    Q. Well, 1 mean, you started applying the Taser              5    Q. Did you look?
  6 to Mr. Lawrence; right?                                         6   A. No, 1 was concentrating on the fight at hand.
  7    A. Right.                                                    7   Q. And during that fight did Mr. Lawrence ever
  8    Q. While Officer Rhodes had him pinned up                    8 throw a single punch?
  9 against the car; right?                                         9    A. Not at me.
 10    A. His back was against the car.                            10    Q. Did you ever see him throw a punch at Officer
 11    Q. Yeah. Had him bear-hugged pinned against the             11 Rhodes?
 12 car; right?                                                    12    A. No, 1 remember Officer Rhodes asking him at
 13    A. Right.                                                   13 one point, "Have you had enough?" And he said,"No,
 14    Q. Mr. Lawrence was unarmed; right?                         14 I'm not done."
 15    A. Right. Well, 1 didn't know.                              15   Q. Did ~ now, can we agree that what
 16    Q. You had no information that he was armed, did            16 Mr. Lawrence did was try to protect himself from
 17   you?                                                         17 getting tased by you?
 18    A. No. He said he had it in the car. 1 didn't               18         MR. WHITE; Object to the form.
 19 know if he got the gun out or not.                             19   A. 1 don't know what he was thinking.
 20   Q. So did you shoot him because you were afraid              20   Q. Well, 1 mean he was trying to push ~ the
 21 there might be ~ he might have a gun?                          21 Taser hurts; right?
 22    A. No.                                                      22    A. Sure.
 23    0. Okay. Then ~                                             23    Q. And you burned him with that Taser multiple
[8/25/2017] Woodruff, Adrienne                                                                                  Pages 101-104
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 27 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 105 of 247
                                                        Page 105                                                         Page 107
  1   times; right?                                                 1   incapacitate you in Drive Stun mode, don't you?
  2     A. 1 fired twice.                                           2   A. That's true unless you hold it there.
  3     Q. Right, but it keeps having multiple contacts             3   Q. Right. And so you were not ~ there was no
  4 so you're going - you understand that's ten seconds             4 real danger of incapacitation from ~ even if
  5 of electricity; right?                                          5 Mr. Lawrence had gotten the Taser; right?
  6     A. That's correct.                                          6   A. 1 don't know. Have you ever had your
  7     Q. And so if you ~ during that ten seconds you              7 testicles tased?
  8   push into the skin five times, the person is going            8     Q. Well, 1 mean, it's not like - assuming he
  9 to feel five jolts of pain; right?                              9   really had the Taser, y'all were defenseless; right?
 10          MR. WHITE: Object to the form.                        10    A. I'm not sure 1 understand that.
 11     A. Under ideal conditions, yes.                            11    Q. 1 mean, have you been trained to punch.
 12   Q. And so you were causing him pain, you                     12 strike?
 13 thought; right?                                                13   A. Strike with weapons not - not brawling, no.
 14     A. Correct.                                                14   Q. You haven't been trained ~ you know that if
 15     Q. And in response to your causing him pain with           15 you need hit somebody you can hit them.
 16 the Taser, he grabbed the Taser; right?                        16    A. No.
 17     A. And the Taser had no effect on him.                     17    Q. You can't? You think you would ~ your first
 18   Q. He grabbed the Taser in response to what you              18 call is to shoot them rather than use some other
 19 did; right?                                                    19 force?
 20          MR. WHITE: Object to the form.                        20    A. That's ridiculous.
 21     A. 1 don't know why he did it. 1 can't -                   21    Q. It is ridiculous. So I'm saying you can use
 22     Q. You~                                                    22 other force to ~
 23     A. ~ say what he was thinking.                             23    A. That's correct.

                                                        Page 106                                                         Page 108
  1     Q. Common sense.                                            1    Q. You could ~ you know, like, you and
  2          MR. WHITE: Object. I'm going to object.                2 Ms. Skipper together could have taken the Taser away
  3 1 mean, to make her answer based upon his mental                3 from Mr. ~
  4 operations, she said she can't.                                 4         MR. WHITE: Object to the form.
  5     Q. So you think he just might have been grabbing            5   Q. ~ Lawrence; right?
  6 the Taser ~ well, can we agree that he wouldn't                 6   A. Would've, could've. You're asking me to
  7 have an opportunity to grab the Taser if you hadn't             7 predict something that might have happened had
  8 stuck it in him?                                                8 circumstances been different. 1 can't do that. 1
  9          MR. WHITE: Object to the form.                         9 can't answer that question.
 10     A. 1 was following our protocol. 1 was trying              10   Q. Can't happen if you don't try to; right?
 11   to stop him.                                                 11       MR. WHITE: Object to the form. She
 12     Q. And you stopped him, didn't you?                        12 answered the question.
 13     A. 1 did stop him.                                         13    A. 1 can't answer that.
 14     Q. You couldn't stop him with a Taser, so you              14   Q. You didn't try to take the Taser away from
 15 stopped him with a gun; right?                                 15 Mr. Lawrence, did you?
 16     A. 1 stopped him ~ 1 shot him after he gained              16   A. 1 tried ~ he immediately tried to tase
 17 control of the Taser.                                          17 Officer Rhodes. 1 tried to push his arm away from
 18     Q. If he'd gotten control of the Taser, he would           18 Officer Rhodes.
 19   have just ~ it would have just hurt; right?                  19   Q. And then you went for your gun.
 20     A. It incapacitates you.                                   20   A. 1 couldn't hold his arm any longer.
 21     Q. It does not incapacitate ~                              21   Q. Well, did you try to get leverage, for
 22          MR. WHITE: Wait. Object ~                             22 example, you know, by putting your arm under his or
 23     Q. Ms. Woodruff, you know it doesn't                       23 using two hands?

[8/25/2017] Woodruff, Adrienne                                                                                 Pages 105-108
           Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 28 of 34
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 106 of 247
                                                           Page 109                                                      Page 111
  1    A. 1 needed one hand clear.                                     1 been an incapacitation, you could have then shot
  2    Q. Because you wanted to be able to draw your                   2 Mr. Lawrence: right?
  3 gun and shoot?                                                     3     A. 1 don't follow.
  4    A. 1 needed my hand clear in case that had                      4   Q. You could have stepped back, for example,
  5 happened, yes.      If he kept ~ continued, yes. He                5 seen what happened and shot Mr. Lawrence if
  6 escalated the force. 1 escalated the force.                        6 something actually happened; right?
  7   Q. So what would have happened, in your mind, if                 7   A. He was let go at one point and tased and his
  8 Mr. ~ Officer Rhodes had gotten tased in the                       8 response was, "Is that all you got?"
  9 testicles?                                                         9   Q. He didn't say. Please kill me, did he?
 10         MR. WHITE: Object to the form.                            10       MR. WHITE: Object to the form.
 11    A. That's an if, 1 can't say if ~ 1 ~ 1 feel                   11     A. This is ridiculous.
 12 like Officer Rhodes would have gone down.                         12     Q. No, seriously, Ms. Woodruff, he didn't say
 13    Q. You think that somebody would go down because               13 anything to indicate that, you know, that he wanted
 14 they get a Taser in the testicles?                                14 to die; right?
 15    A. 1 got a live Taser, we'll try it. 1 don't                   15     A. That's correct.
 16 know. 1 would think so. 1 would think that on such                16     Q. And he wasn't warned that this was actually a
 17 a tender body part that that would be devastating                 17   risk he was taking by resisting arrest?
 18   pain ~ pain-wise.                                               18     A. When a police officer gives you a command.
 19   Q. So if 1 kick somebody, a police officer, in                  19 it's generally acceptable to obey that command.
 20 the balls, do you get to shoot me in the head?                    20    Q. And if you don't, what?
 21         MR. WHITE: Object to the form. 1                          21     A. You don't know.
 22 instruct the witness not the answer to such a                     22     Q. You may get shot?
 23 ridiculous question.                                              23     A. Depends on the circumstances.
                                                           Page 110                                                      Page 112
  1    Q. No, seriously, if 1 ~                                        1    Q. You may get shot?
  2        MR. WHITE: I'm telling her to say no ~                      2    A. Yes, you may get shot.
  3    Q. I'm going to ask you - I'm going to ask ~                    3    Q. Can we agree that there was no ~ it was a
  4         MR. WHITE: No, you rephrase or she's not                   4   multistep process before there would have been any
  5 answering.                                                         5 incapacitation?
  6    Q. I'm going to ask somebody -                                  6        MR. WHITE: Object to the form.
  7         MR. WHITE: You rephrase ~                                  7    A. Any incapacitation on ~
  8          MR. SHERROD: lam.                                         8   Q. Well, if 1 understand correctly, your
  9          MR. WHITE: ~ Or she's not going to                        9 incapacitation theory is that ~
 10 answer.                                                           10         MR. WHITE: Object to the form.
 11    Q. (By Mr. Sherrod) So if 1 - let me ~ let's                   11   Q. Your incapacitation fear was that
 12 just take this to its full limits. Officer Woodruff.              12 Mr. Lawrence, now gripping the Taser, would ~
 13 Are you saying that if 1 get in a good - like, a                  13 despite your efforts and the assistance of Officer
 14 good hit on an officer in a fight.   Even though 1                14 Skipper ~ would be able to get that ~ and Officer
 15 don't have a gun, even though, you know, 1 haven't                15 Rhodes, he would be able to get that Taser between
 16 tried to get anybody else's gun, that you can                     16 Officer Rhodes's legs; right?
 17 execute that person?                                              17   A. He already had it there.
 18         MR. WHITE: Object to the form.                            18    Q. And that, as a result. Officer Rhodes would
 19    A. 1 don't think "execute" is a proper word.                   19 become incapacitated due to the pain to his tender
 20    Q. Shoot them?                                                 20 testicles?
 21  A. It depends on the damage that's done.                         21   A. He may drop. If he dropped ~ if he dropped
 22 Whether or not the officer has become incapacitated.              22 down, now he's giving another weapon to
 23    Q. Right. You could have waited ~ if there had                 23 Mr. Lawrence.

[8/25/2017] Woodruff, Adrienne                                                                                   Pages 109-112
             Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 29 of 34
          USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 107 of 247
                                                          Page 113                                                          Page 115
  1   Q. What weapon is that?                                         1   to finish this up and we can take a lunch break. 1
  2   A. His ~ Officer Rhodes's duty weapon.                          2 see Lenn getting his coat on.
  3   Q. That was ~ ultimately the only way you were                  3            MR. WHITE: I'm just cold.
  4 in fear of serious bodiiy injury from Mr. Lawrence                4     Q. But can we agree that it's speculative to say
  5 was if Officer Rhodes was incapacitated and then                  5 that Mr. Lawrence would have been able to cause
  6   Mr. Lawrence was unabie to get his duty weapon?                 6 enough pain to cause Officer Rhodes to drop and then
  7     A. No.                                                        7 would have been able to take advantage of that
  8   Q. Well, 1 mean, pain ~ the pain ~                              8 enough to get Officer Rhodes's duty weapon?
  9   A. During which part?                                           9     A. He could have.
 10   Q. Excuse me, the pain from a laser in Drive                   10     Q. But that's speculation; can we agree to that?
 11 Stun mode does not cause serious bodiiy injury, does             11     A. He could have.
 12 it?                                                              12     Q. Can we agree that that's speculation?
 13     A. Well, people will say that ~ people ~                     13         MR. WHITE: Object to form. She's
 14   people will say that a half a second of it hurts               14 answered. She said he could have.
 15 like heii.                                                       15     Q. Say no. Can you agree that that's
 16     Q. 1 certainiy believe that it hurts like the                16 speculative?
 17 devil. But hurting like the devil, it doesn't leave              17     A. No.
 18 any permanent injury, does it?                                   18   Q. That's the reason you feared for your life
 19    A. No, 1 don't guess it does.                                 19 because you feared that Mr. Lawrence ~ everything
 20     Q. Shooting somebody has a ~ causes serious                  20 you knew about him ~ he would get Officer Rhodes's
 21   bodiiy injury: right?                                          21 duty weapon; right?
 22    A. Yes.                                                       22        MR. WHITE: Object to the form.
 23     Q. It can cause death; right?                                23   A. Or another weapon. 1 didn't know where his
                                                          Page 114                                                          Page 116
  1    A. It can.                                                     1 gun was.
  2   Q. So the only ~ there was no risk to you or to                 2     Q. But that wasn't a rational fear, was it?
  3 Officer Rhodes or Officer Skipper of serious bodily               3            MR. WHITE: Object to the form. She said
  4 injury or death just from that laser, was there?                  4 that's what she feared.
  5    A. Wrong.                                                      5     Q. Fear is often irrational isn't it ~
  6    Q. How?                                                        6            MR. WHITE: He said he had it.
  7    A. You're talking about looking ahead. We have                 7     A. He said he had one; 1 just didn't know where
  8 to be able to anticipate.    Mr. Lawrence's actions               8 it was.
  9 did not seem rational. His statements weren't                     9     Q. Ms. Woodruff, you know it was in the car;
 10 rational. He made comments that triggered something              10   right?
 11 about a class that 1 had taken. About                            11     A. Yeah, but he had been in the car and back out
 12 sovereign citizens. When he handed me his affidavit              12 again, i didn't know if he got it.
 13 of identity, that made me pretty sure that's                     13   Q. 1 thought we already ~ are you back to ~
 14   probably what he was.                                          14 are you saying you shot him because you thought he
 15       Through my training, 1 was taught that these               15 might have a gun?
 16 people are ~ they don't recognize authority.                     16     A. No, sir.
 17 They're dangerous. They don't ~ particularly                     17     Q. Okay. So let's stick with the objective
 18 towards law enforcement.                                         18 facts that are related ~
 19    Q. You were already in fear of your life because              19            MR. WHITE: Object to the form. In the
20    you believed he was a sovereign citizen?                       20 classification it's objective fact that he ~ your
21     A. 1 felt there was a threat ~ a possible                     21   decedent, said he had a gun.
22 threat there.                                                     22     Q. Officer Woodruff?
23     Q. You were on ~ so, but ~ just going back                    23    A. Yes, sir.

[8/25/2017] Woodruff, Adrienne                                                                                       Pages 113-116
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 30 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 108 of 247
                                                       Page 117                                                         Page 119
  1    Q. We can agree that the danger, immediate                  1   We're here for you to ask questions and that's all.
  2 danger, from the Taser ~ even assuming that it was             2    Q. Ms. Woodruff?
  3 in Mr. Lawrence's hand equipped for him to fire ~              3    A. Yes, sir.
  4 was pain; right?                                               4    Q. Did you ever try to physically assist Officer
  5  A. Extreme pain.                                              5 Rhodes?
  6    Q. Yup. You were causing - Mr. Lawrence was                 6    A. Yes.
  7 surrounded by at least three officers; right?                  7    Q. How?
  8    A. 1 didn't know Renee was standing there.                  8   A. By getting ahold of an arm and pulling an arm
  9    Q. There were two there; right?                             9 out to help Officer Rhodes get his arms behind his
 10    A. There were two?                                         10 back.
 11    Q. You could have ~ you had a number of options            11    Q. Okay. And when was that in the incident?
 12 available to you In this situation with Mr. Lawrence          12    A. When Officer Rhodes and Mr. Lawrence were
 13 other than shooting him; right?                               13 against the car the first time.
 14    A. No.                                                     14    Q. Before ~
 15   Q. You could have kept fighting with him over               15    A. Yeah.
 16 the Taser; right?                                             16   Q. So at the time they're at the car before ~
 17   A. No. 1 lost that fight.                                   17 in the moments before you shot Mr. Lawrence, once
 18   Q. Right, but you could fight to get it back. 1             18 he's pinned up against the car in a bear hug by
 19 mean, he's there ~ the Taser's there to grab again;           19 Officer Rhodes, did you do anything to physically
 20 right?                                                        20 assist Officer Rhodes?
 21   A. Yes, and Officer Skipper did grab it again.              21    A. 1 tased him.
 22   Q. Right. And you could have helped grab it                 22    Q. Okay. Anything else?
 23 again; right?                                                 23    A. No.

                                                       Page 118                                                         Page 120
  1    A. 1 didn't know whose hands they were.                     1     Q. Have you been trained to apply, like, use
  2    Q. You knew it was Officer Skipper's or somebody            2 leverage, you know, on people's arms?
  3 like her to help you; right?                                   3     A. Yes.
  4   A. 1 figured it was somebody to help me. 1                   4     Q. To - to -
  5 didn't know it was Officer Skipper.                            5     A. But you have to have the whole arm to do it.
  6    Q. And so you could have worked with them to                6     Q. And if you let go of the arm then you can't;
  7 take the Taser away before shooting him; right?                7   right?
  8   A. 1 could have called in sick that day.                     8     A. Officer Rhodes had him ~ had him at the
  9   Q. You could have physically tried to assist                 9 upper arms.
 10 Officer Rhodes; right?                                        10   Q. Well that really limited what Mr. Lawrence
 11    A. 1 was. 1 did.                                           11 could possibly do; right?
 12    Q. Well, 1 mean, 1 believe all you did was apply           12   A. Yeah, it was enough to try to reach out and
 13 the Drive Stun ~                                              13 try to grab the Taser away from me repeatedly.
 14         MR. WHITE: I'm going to object to                     14   Q. The only part of Mr. Lawrence that Officer
 15 arguing and debating with the witness. You may ask            15 Rhodes didn't have under control, 1 guess, was his
 16 the question.                                                 16 lower arms?
 17         MR. SHERROD; I'm asking.                              17    A. It was just the tops of his arms. 1 think it
 18         MR. WHITE: No, you didn't ask. You told               18   was wrapped up better on Mr. Lawrence's right side
 19 her what she did.                                             19 than he was his left.
 20         MR. SHERROD: It's called                              20     Q. So basically Mr. Lawrence had his lower left
 21 cross-examination.                                            21   arm ~

 22         MR. WHITE: No, it's not. It's called                  22     A. It was free. It was free.
 23 testifying.   It's called not asking a question.              23     Q. That was free; right?
[8/25/2017] Woodruff, Adrienne                                                                                 Pages 117-120
             Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 31 of 34
          USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 109 of 247
                                                         Page 121                                                           Page 123
  1     A. Yes.                                                      1     Q. Have you seen anybody else related to your
  2     Q. And you put a Taser on him; right?                        2 trauma from this incident?
  3     A. 1 did.                                                    3     A. No.
  4   Q. And he used that free arm to grab the Taser;                4   Q. How is your, 1 guess, progress in recovering
  5 right?                                                           5 from your PTSD going?
  6     A. Yes.                                                      6   A. It was going better until this came up.
  7   Q. Officer Skipper came in to help you - help                  7     Q. Has the lawsuit exacerbated it?
  8 get the Taser away from him; right?                              8     A. Yes.
  9     A. Yes.                                                      9   Q. I'm sorry about that.
 10     Q. You then took your hand away and drew your 10                 A. Thank you.
 11   gun and shot him; right?                                      11   Q. Who was the first person that you talked to
 12     A. Yes.                                                     12 about what happened, you know, outside of the
 13         MR. WHITE: You ready?                                   13 immediate aftermath? So 1 want to ~ 1 think
 14         MR. SHERROD: This is as good a time as                  14 there's some discussion with Officer Rhodes. I'm
 15 any. It's 12:00, almost on the nose if I'm reading              15 sure there's maybe some other statements by you that
 16 my computer correct.                                            16 are recorded, maybe not. I'm sure you had brief
 17        (Lunch break taken.)                                     17 conversations with people, you know, that day on the
 18   Q. (By Mr. Sherrod) Who is the psychiatrist                   18 scene and we may go back to those. But let's just
 19 that prescribed your medication right now?                      19 say after the immediacy and all the - when was ~
20      A. John Chris Strunk.                                       20 who was the next person you talked to?       Like maybe
21      Q. And where is he?                                         21   you sat down in an office with, in a conference room
22      A. He is on Belmont. He is at                               22 with?
23 Wiregrass Wellness clinic.                                       23     A. My lawyer ~ the lawyer.
                                                         Page 122                                                           Page 124
  1     Q. And how long have you been seeing him?                    1    Q. Did somebody in your chain of command suggest
  2     A. Shortly after the incident 1 started seeing               2 that you contact a lawyer?
  3 him.                                                             3    A. No.
  4   Q. Have you seen any other psychiatrist other                  4    Q. Did anybody?
  5 than him and the police psychiatrist? That may be                5    A. Yes.
  6 the wrong characterization, but the person who                   6    Q. Who did?
  7 evaluates police officers?                                       7   A. One of the guys in the police union.
  8    A. Yes.                                                       8   Q. So at some point you contacted the police
  9     Q. Who else have you seen?                                   9 union person?
 10    A. Leona Graham.                                             10    A. Yes.
 11   Q. And when did you see her?                                  11    Q. Who was that?
 12   A. 1 saw her before 1 started seeing                          12    A. 1 think 1 contacted Chris ~ what is
 13 Chris Strunk. So it was close to right after the ~              13 Chris's ~ this is terrible. What is his last name?
 14   right after the shooting. 1 saw her first.                    14 He works traffic. 1 can't remember his last name.
 15     Q. Any other psychiatrist that you've seen?                 15   It's terrible. Two and a half years and 1 can't
 16    A. No.                                                       16 remember the guys 1 worked with.
 17     Q. Okay. So you saw the two you just named and              17    Q. He's a police officer too?
 18 then the police person who saw you once?                        18    A. Yes.
 19    A. The psychologist.                                         19    Q. So what's the union?
 20     Q. The psychologist. So you ~ two                           20    A. It is basically for things like this.
 21   psychiatrists, one psychologist, and you named your           21    Q. Is it something you have to sign up for?
 22 counselor - therapist?                                          22    A. Yes.
 23    A. Yes.                                                      23    Q. Is it FOP?

[8/25/2017] Woodruff, Adrienne                                                                                     Pages 121-124
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 32 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 110 of 247
                                                         Page 125                                                    Page 127
  1    A. No.                                                        1           MR. WHITE: I'm taking my daughter.
  2   Q. Okay. So, I mean, do you have, like, a - is                 2           MR. SHERROD: If it was where 1 lived I'd
  3 there a union contract with the City?                            3 be taking my 15-year-old. But anyway.
  4   A. Not — not with the City. Because the City                   4 A. Now we have an Ice dragon.
  5 doesn't really recognize it, I don't think.                      5 Q. An Ice dragon? Yeah, that's crazy.
  6    Q. So what benefits do you get from this union?               6      Now, so what about the castle?
  7    A. Legal assistance when needed.                              7   A. Yeah, I have a castle.
  8    Q. Do you pay a fee?                              8 Q. Does the castle have any particular
  9    A. You pay dues.                                  9 significance to you?
 10   Q. And I don't know if it's a same outfit or      10 A. No, It just goes with the dragon.
 11 not, but there's at least one where you would - you 11   Q. Do you do any role-playing games, like,
 12 might get a card and it gives you a number to       12 computer stuff?
 13 contact if you're — there's any —                   13   A. No.
 14 A. I don't remember if they gave me a card or       14 Q. World of Warcraft, anything like that?
 15 not. It's been so many years.                       15   A. No.
 16   Q. Oh, before I forget, do you have any tattoos? 16    Q. Read fantasy novels and stuff?
 17    A. Yes.                                                      17   A. No.
 18    Q. I think one -- at least one showed on the                 18   Q. Just like dragons and castles?
 19 video, but what tattoos do you have?                            19   A. Just like dragons and castles.
 20 A. I have an American flag on my right arm. I      20   Q. Good deal.
 21 have the Latin words, "auribus tenere" on my right 21   A. And I have a great white shark on my left
 22 arm. I have a dragon --                            22 forearm and I have a pirate up here.
 23 Q. Let me stop you. What do those mean, wordi23 Q. On your upper left arm?
                                                         Page 126                                                    Page 128
  1 mean?                                                            1   A. Yes.
  2   A. There's really no direct translation, but it                2   Q. What significance are those to you?
  3 is basically, living your life by your actions and               3   A. Just the sea. The ocean.
  4 not by your words.                                              4 Q. I mean, pirates are somewhat symbols of, I
  5   Q. So I think there's an English saying of some               5 guess, antiauthority, I would think.
  6 sort like, "Actions speak louder than words." This              6 A. It was just in fun. I mean, this wasn't
  7 would be akin to that?                                          7 expressing an opinion. It was just ~ just a
  8   A. It's akin to it, yes.                                       8 pirate.
  9   Q. And then you were going ~ a dragon you said?                9   Q. Well, you're obviously ~
 10   A. I have a dragon and a castle.                              10   A. I was at Panama City at one time and ~
 11   Q. And where are those?                                       11   Q. And alcohol was involved?
 12   A. On my upper right arm.                                     12   A. No.
 13   Q. And what significance are those to you?                    13 Q. No, okay. Well, any others?
 14   A. I like dragons.                                            14 A. That does it. Oh, I have Harley Davidson —
 15   Q. Don't we all. I like dragons. Do you watch                 15 I have Harley Davidson wings. It's like Harley
 16 Game of Thrones?                                                16 Davidson right back here.
 17   A. Absolutely.                                                17 Q. And how many motorcycles do you have?
 18   Q. Okay. We could probably connect on dogs and                18   A. One.
 19 Game of Thrones.                                                19   Q. And I assume it's a Harley?
 20       MR. WHITE: I'm going to Dragon Con on                     20   A. Yes.
 21 Saturday.                                                       21   Q. And what kind of Harley?
 22         MR. SHERROD. If it was here I'd be                      22   A. Softall Custom.
 23 taking my 15-year-old.                                          23   Q. I'd be lying if I said - if I really knew-
[8/25/2017] Woodruff, Adrienne                                                                               Pages 125-128
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 33 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 111 of 247
                                                    Page 129                                                         Page 131
  1 said I really knew what that meant, but Chris knows         1 problems. It was just a conglomeration of all of
  2 I bet.                                                      2 it.
  3   A. Yeah, it's Custom. Doesn't mean it was                 3       Q. So in terms of write-ups, what was the
  4 custom built. That's actually the name of the bike.         4 Facebook write-up about? Like, what did you post to
  5   Q. Gotcha. So have you been - had your                    5 Facebook?
  6 performance reviewed on a roughly annual basis since        6 A. I posted - you remember I told you the
  7 you've been a police officer?                               7 phones at the shelter were acting up that day of the
  8   A. Oh, yes.                                               8 shooting, we were having problems with our phones.
 9 Q. Were there ever any documented issues with -              9 And I made a comment about ~ I repeated something
10 I don't have your performance reviews right now.     10 that someone from IT had said on there. And I
11 Until I get them I can't really question in detail,  11 shouldn't have. It was ~ you know, it was
12 but do you recall any documented performance issues? 12 derogatory towards the City and, well, it was an
13 A. Performance - performance, no.                    13 embarrassment for the City and derogatory towards
14 Q. So what was documented that you don't             14 the employee. So I shouldn't have done it.
15 consider performance but apparently might be         15 Q. When did you post that? Was that before you
16 considered negative, if anything?                    16 after the incident?
17 A. Negative. I was written up, which was just a      17   A. It was before.
18 verbal - basically a verbal warning, but it was in   18 Q. How long before?
19 writing. But it was a very minor - minor incident    19 A. A couple months.
20 they referred to it. And it was about making a       20 Q. So what did you say about a coworker that got
21 comment about a coworker. And I was suspended for a 21 some sort of verbal warning written up?
22 Facebook violation. Wrote something on Facebook I    22 A. One of my friends owns a ~ it was another
23 shouldn't have. For a day - suspended for one day.   23 police officer ~ he doesn't work here now. His
                                                    Page 130                                                         Page 132
  1 And~                                                        1 family owns a store here in Dothan, and this
  2   Q. Was that the same write-up or two different            2 employee's husband had written a bad check and I
  3 write-ups?                                                  3 mentioned it.
  4   A. Those were two different write-ups.                    4 Q. Okay. 1 can't keep that ~ so you mentioned
  5   Q. So I want to put aside write-ups. And they,            5 the bad check by the husband, to who?
  6 may be mentioned in your performance review but, I          6 A. To some staff in the jail.
  7 guess, do you recall anything negative being                7 Q. Was it, like, mentioned in a derogatory way
  8 documented in your performance evaluations, let's           8 about the person?
  9 just say, in the last decade, I don't know ~                9       A. Yes.
 10   A. No. No, I had ~ I had very good                       10       Q. Is that what you got in trouble for?
 11 evaluations.                                               11       A. Yeah. Yes, sir.
 12   Q. Nobody ever expressed any concern about your          12       Q. And it was about a co-worker's husband?
 13 physical ability to handle the job? For example,           13       A. Yes.
 14 related to some of these complaints you've made            14       Q. And to whom did you make this comment?
 15 about your various medical ailments?                       15       A. I can't remember who it was that was in the
 16   A. No.                                                   16 jail at the time.
 17   Q. You never communicated to anybody that you            17 Q. Was there a particular reason why you were,
 18 were concerned about your ability to do the job due        18 you know, motivated to say something about this
 19 to those medical conditions?                               19 co-worker's husband?
 20   A. No.                                                   20       A. 1 just didn't like him.
 21   Q. So would it be fair to say that your medical          21       Q. And who's the coworker?
 22 retirement was really because of the PTSD?                 22       A. Judge Rose Gordon.
 23   A. It was based on that and my other physical            23       Q. Is this person a judge?
[8/25/2017] Woodruff. Adrienne                                                                               Pages 129-132
          Case 1:16-cv-01003-ECM-DAB Document 44-3 Filed 10/27/17 Page 34 of 34
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 112 of 247
                                                      Page 133                                                    Page 135
  1   A. Yes, sir.                                                1 up withdrawing their suit.
  2   Q. This is the -                                            2 Q. What type of case?
  3   A. City judge.                                              3 A. Def- - some ~ defamation - wrongful
 4    Q. City judge?                                              4 arrest ~ wrongful arrest is what I think it was.
  5   A. Yes.                                                     5 Q. Were you accused of wrongfully arresting the
 6    Q. So this is the city judge's husband?                     6 person?
  7   A. Yes.                                                     7   A. Yes.
 8    Q. Any other negative items in your personnel               8   Q. And when was this lawsuit?
 9 history with the City other than the Facebook and              9   A. That again was sometime back -
10 the comment regarding Judge Rose Gordan's husband's 10             Q. Back how far?
 11 bad check?                                                   11   A. Oh, probably before 2000. Yes, it was
12    A. I can't remember if there's anything else.              12 before - it was before. No, it was between 2000
13 Q. So as far as you can recall you've never                   13 and 2003. I was working in GID.
14 received any kind of negative personnel action, even          14 Q. Do you know the name of the person who sued
15 a verbal, for anything related to your work as a              15 you?
16 police officer as opposed to personal conduct?                16   A. 1 can't remember his name.
17    A. Oh, no.                                                 17   Q. Any other lawsuits that you have been a party
18    Q. Have you shot anybody else?                             18 to?
19    A. No, sir.                                                19   A. No, sir.
20    Q. Have you ever drawn your weapon, your service           20 Q. Did you give depositions in any cases other
21 weapon before?                                                21 than the one you mentioned?
22    A. Yes, sir.                                               22 A. I gave depositions in both of those.
23    Q. Have you ever fired it?                                 23 Q. Any others?
                                                      Page 134                                                    Page 136
  1   A. No, sir.                                                 1   A. I've given depositions for traffic accidents.
  2   Q. Have you — strike that ~ so do you know if               2 Simple stuff.
  3 there was a shooting review board evaluation                  3 Q. Anything other than traffic accident-type
  4 conducted in this case?                                       4 situation and those two cases where you've given
  5   A. A review board?                                          5 depositions?
  6   Q. The policy, that I see, mentions some kind of            6   A. No, sir.
  7 shooting review board. I mean, I -- do you know if            7 Q. When was the last time you physically took
  8 there is such a thing?                                        8 somebody into custody?
  9   A. I don't know.                                            9   A. It was before I went to the shelter. When I
10    Q. Have you been involved in any other lawsuits?10 was still on the street. I went to the shelter in
 11   A. Yes, sir.                                               11 2010.
12   Q. What lawsuits have you been involved in?                 12 Q. Since you went to the shelter in 2010, have
13   A. I was sued by a deaf guy for not calling in              13 you been involved in any physical incidents of any
14 an interpreter.                                               14 kind as a police officer before Mr. Lawrence was -
15 Q. And what happened with that?                               15 you shot him?
16    A. I'm not sure what the outcome was. I think              16   A. No, sir.
17 it was dismissed.                                             17 Q. How common is it for you to have ~ was it
18    Q. And was this -- what's the timing of that               18 for you to have to call for somebody as backup at
19 incident?                                                     19 the animal control?
20   A. Oh my, it was early 90's, I think.          20   A. Never.
21   Q. Okay. Any other lawsuits that you have been 21   Q. So there have never been any other incidents
22 a party to?                                      22 like this one?
23 A. I gave deposition in a case that they ended   23   A. No, sir.
[8/25/2017] Woodruff, Adrienne                                                                            Pages 133-136
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 113 of 247




             TAB 44-4
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 1 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 114 of 247
                                                          Page 137                                                        Page 139
  1     Q. Not even a milder version of it?                           1   A. 1 started out carrying one when 1 went to the
  2   A. 1 mean, people get mad when their dogs get                   2 shelter, but then 1 stopped. Now, if 1 can ~ 1
  3 picked up but nothing like this. Nothing.                         3 have to back up here. 1 made an arrest off-duty and
  4   Q. Well have you ever called for backup for                     4 1 think that was after 2010.
  5 somebody to come arrest somebody?                                 5    Q. What were the circumstances of an off-duty
  6     A. No, sir.                                                   6 arrest?
  7   Q. So when did you receive training about                       7    A. 1 knew ~ 1 knew her and 1 knew that there
  8 sovereign citizens?                                               8 was a warrant for her arrest out of Dale County, and
  9     A. 1 can't remember the date, but it's been a                 9 1 saw her and 1 detained her until they could come
 10   number of years.                                               10 and pick her up. But 1 handcuffed her and sat her
 11     Q. Do you know who the training was by?                      11 down on the curb.
 12     A. No.                                                       12    Q. Do you carry your weapon now?
 13  Q. Have you looked at your personnel file?                      13    A. Some -
 14  A. Recently, no.                                                14    Q. Like on a ~
15   Q. When was the last time you looked at your                    15    A. Sometimes.
16 personnel file?                                                   16    Q. 1 mean, do you open carry?
17   A. From the personnel department or are you                     17    A. No.
18 talking about my training?                                        18    Q. Do you have a concealed permit?
19      Q. Either one.                                               19    A. No.
20   A. Before ~ long before - 1 don't think I've     20   Q. Are guns part of your hobbies?
21 ever looked at my personnel file in the personnel  21   A. No.
22 department. Training file we went through probably'22   Q. Like, have you shot your gun since you went
23 a couple years before 1 retired. They were trying  23 on medical retirement?

                                                          Page 138                                                        Page 140
  1   to clean out some of the junk that was in there.                1    A. No.
  2     Q. Do you know if this sovereign citizen                      2    Q. It is your personal gun though at your home 1
  3 training is reflected in your training file?                      3 assume?
  4     A. 1 don't think it is. 1 don't remember seeing              4     A. Yes.
  5 a piece of paper that was in there.   It was just a               5    Q. Do you own any other guns?
  6 class. We don't get certificates for all classes                  6    A. Yes.
  7 you attend.                                                       7    Q. What other guns do you own?
  8     Q. All right. 1 assume you have to qualify with               8    A. 1 have a 9-millimeter handgun.
  9 your weapon on a yearly basis?                                    9    Q. Any others?
 10     A. Twice a year.                                             10    A. No.
 11     Q. Twice a year. So when did you last qualify                11    Q. Did the off-duty arrest involve any kind of
 12 with your weapon before the incident?                            12   physical fight or confrontation?
 13     A. A few months. A couple months. They usually               13    A. No.
 14   do it in spring and fall. So it was probably around            14    Q. Before 2010 ~ let me ask this: Have you
 15 October.                                                         15 ever been injured on the job?
 16    0. So it was before 2010 the last time you drew               16    A. Yes.
 17   your weapon: right? In the line of duty?                       17    Q. How have you been injured on the job?
 18     A. Yes.                                                      18    A. 1 got in a big fight that ~ the lawsuit ~
 19     Q. It was before 2010 the last time you were in              19 the one lawsuit came out of with the deaf man. 1
 20 a physical arrest situation?                                     20   was injured there.
 21     A. Yes.                                                      21    Q. Injured by who?
 22     Q. It was before 2010 the last time you carried              22    A. Him.
 23 a Taser?                                                         23    Q. So what happened with the deaf man?
[8/25/2017] Woodruff, Adrienne                                                                                  Pages 137-140
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 2 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 115 of 247
                                                           Page 141                                                          Page 143
  1    A. Which part? Start to finish? Or--                            1 90's. So sure. I'm not afraid to get hurt. That's
  2    Q. I guess,just a brief summary.                                2 part of the job.
  3 A. They were actually -- both of them were deaf.                   3 Q. So you're sent to the hospital by Mr. McCray?
  4 The two men that had the dispute and I was called to               4   A. Yes.
  5 the restaurant. And when I got there the                           5   Q. You - were you sent to the hospital by the
  6 complainant told me that the other guy, that was                   6 woman who beat you up?
  7 Douglas McCray, that Mr. McCray pulled into the                    7   A. Yes.
  8 restaurant, and his kid opened the car door into his               8 Q. McCray City of Dothan. The decision is in
  9 antique Corvette and chipped the paint. That's what                9 2001 so the incident must have been in the 1990's,
 10 he had called the police for. And I went over and                 10 I'm guessing, the incident; is that right?
 11 tried to talk to him. Explain to him why we were-                 11 A. Probably. Yes, I was still on the street.
 12 why we were there, the other guy called us and he                 12 Probably in CID.
 13 went, like - and so 1 started writing notes and                   13 Q. 1997 it says.
 14 he'd write back. And he went - so he had his                      14 A. Okay.
 15 children with him, and his little girl said, "He can              15   Q. And, roughly, when were you beaten up by this
 16 talk". And I said, "Why won't he talk to me?" "I                  16 woman?
 17 don't know, but he can talk." I asked him if he                   17   A. It was in the early 90's.
 18 would stand up and come outside per my supervisor.                18   Q. And how did that happen?
 19 And as soon as I put my hand on him the fight was                 19   A. Domestic dispute between she and her mother.
 20 on.                                                               20   Q. I think I asked this, but I didn't listen to
 21    Q. You put your hand on him why?                               21 the answer. Did you go to the hospital when the
 22    A. My supervisor told me to bring him outside.                 22 woman beat you up?
 23    Q. Did that case result in a published opinion.                23   A. Yes.

                                                           Page 142                                                          Page 144
  1 like, I think there's a McCray City of Dothan case?                1 Q. And what were your injuries?
  2    A. I think.                                                     2 A. Contusions all over my face.
  3    Q. Is that a yes?                                               3 Q. Did you take the woman into custody?
  4    A. I believe so.                                                4 A. My backup ended up coming in the house and
  5    Q. I mean, you know, some of the facts ring a                   5 cuffing her.
  6 bell. I don't remember all the details. So what -                  6 Q. Did you take Mr. McCray into custody or did
  7 how were you injured in that fight?                                7 your backup?
  8    A. Douglas threw me on top of a table that I                    8 A. My backup. I went to the hospital.
  9 broke. He picked me up again and he threw me into                  9 Q. Any other incidents where you have been
 10 the salad bar. I was transported to the hospital in               10 injured?
 11 an ambulance.                                                     11 A. Like I said, police officers get -
 12    Q. Okay.                                                       12 Q. Any significant - memorable - I mean,
 13 A. Yes, I've been hurt - I mean, that's - you                     13 obviously, you get beaten up by a woman you go to
 14 know, you get hurt.                                               14 the hospital, memorable. Mr. McCray, you broke a
 15 Q. Any other incidents where you'd been hurt in,                  15 table, threw the salad bar and there's a lawsuit,
 16 you know, by a - somebody that you were dealing                   16 memorable. Anything significant like that?
 17 with, you know, as a police officer? Like, I'm not                17 A. I got in a fight when I was in plain clothes
 18 interested if you had a car wreck. I'm asking if                  18 when I was working in CID. I got in a fight with a
 19 you -                                                             19 shoplifter at CVS Pharmacy at the corner of Main and
 20 A. Yeah. You get bumped and banged up all the                     20 Park. I was with my partner, Joe Johnson.
 21 time when you're on the street and people resisting               21 Q. Did he take her into custody?
 22 and struggling and - you get hurt. But it's - I                   22   A. Him.
 23 was - I was beaten badly by one woman in the early                23   Q. Him into custody?
[8/25/2017] Woodruff, Adrienne                                                                                       Pages 141 -144
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 3 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 116 of 247
                                                   Page 145                                                          Page 147
  1     A. Yes.                                                1    A. The doctor that examined me physically and my
  2     Q. Were you hurt in that fight?                        2 psychiatrist.
  3     A. 1 went to the hospital, yes.                        3    Q. You didn't ~ 1 mean, did you want to go?
  4     Q. Just bruises and stuff again?                       4    A. 1 was ready, yes.
  5     A. Yes, 1 had recently had neck surgery.               5    Q. What doctor evaluated your physical
  6     Q. When did you have neck surgery?                     6 condition?
  7     A. I've had two. Had one in 2000 and one in            7    A. 1 can't remember his name. Social security
  8 2001.                                                      8 sent me there.
  9     Q. Since - did you have ~ was the neck surgery 9 Q. So this was after you applied for social
 10   related to what happened to you in the McCray    10 security?
 11 incident?                                                 11    A. Yes.
 12     A. 1 felt like it was but there was, you know.        12    Q. So you applied for social security before you
 13   no proof at the time.                                   13 applied for medical retirement ~ took medical
 14   Q. Would it be fair to say that since 2000 you          14 retirement with the City?
 15 really haven't been in a serious physical                 15    A. 1 kind of did them both at the same time. 1
 16 confrontation with anybody since your first neck          16 think it's Nathanael Medical Center something on
 17 surgery?                                                  17   Main Street. It's the one that social security
 18    A. 1 don't know if that's a fair assessment or         18   uses.

 19 not.                                                      19   Q. So who has been your treating physicians in
20      Q. Well, I'm asking - 1 don't mean to, you            20 the last five years?
21 know -                                                     21   A. Fiona Masters and Dr. Spedale, Tony Spedale.
22     A. I'm not sure.                                       22   Q. And what do they treat you for, those
23      Q. 1 was thinking that somebody might naturally       23 doctors?

                                                   Page 146                                                          Page 148
  1   try to avoid situations ~                                1    A. Just basic stuff. They're internists.
  2     A. I'm not ~ I'm not sure.                             2    Q. Are they in a practice together?
  3   Q. Was your - after your neck surgeries, were            3    A. No.
  4 you put into a position where you wouldn't have to         4    Q. So how do you know whether to go to one or
  5 work on the street?                                        5 the other?
  6     A. No, they fixed it.                                  6    A. 1 went to Dr. Spedale until he started a new
  7     Q. So when were you in CID?                            7 program that you had to pay so much per year just to
  8     A. 2000 until 2003.                                    8 retain him as a physician. So 1 looked for another
  9     Q. And why did you leave CID?                          9 doctor.
 10     A. Burned out.                                  10   Q. On December 30, 2014, were you on any
 11   Q. Why do you think you burned out in CID?        11 medications? That would be the date of the
 12   A. Too big a case load.                           12 incident.
 13   Q. Did your medical retirement, at 24 and a half 13 A. Yes. Yes.
 14 years, did that — would you have gotten more If yoL 14   Q. What medications were you taking?
 15 made it to 25 years?                                15   A. If 1 remember that far back. Toprol, been
 16     A. 1 don't know.                                      16 taking that for years.
 17  Q. Well, most people in my experience that are           17    Q. Anti-inflammatory?
 18on the State retirement pay attention to certain           18    A. No, it's a ~
19 years because you get Into another bracket of              19    Q. Blood pressure?
20 payment. Is that not the case in your retirement?          20    A. It's a beta blocker.
21   A. I'm not sure. 1 just know that they said 1            21   Q. Beta blocker, yeah.
22 needed ~ 1 needed to go. My doctors.                       22   A. Lipitor, aspirin, 1 take a baby aspirin every
23   Q. So you had ~                                          23 day. Mirapex, I've been taking that one for years.

[8/25/2017] Woodruff, Adrienne                                                                              Pages 145-148
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 4 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 117 of 247
                                                      Page 149                                                  Page 151
  1 That's for restless leg syndrome. I can't remember            1 hand strength for a woman?
  2 what the others — I may have been on one stomactji 2              A. Probably. I'm the one that gets to open the
  3 medicine or another. I have a lot of stomach                  3 pickle jars.
  4 issues.                                                       4 Q. That is what inevitably happens. I broke my
  5   Q. Did you consider yourself to be in good,                 5 right wrist. I'm off jar-opening duty.
  6 fair, poor, what health in December 2014?                     6   A. Yeah.
  7   A. Good. Despite my problems, I still felt                  7 Q. So other than the fight with the woman, the
  8 good.                                                         8 McCray fight, and the fight with the shoplifter,
  9 Q. You ever have any injuries to your wrists or               9 have you been in any other significant fights as a
 10 hands or anything?                                           10 police officer in the - you know, any others that
 11   A. Yes.                                                    11 you can recall?
 12   Q. When?                                                   12 A. I remember a pretty bad fight over at McCray
 13  A. 2008. Motorcycle wreck.                                  13 Homes, roiling around on the railroad tracks. A gu^
14   Q. What happened to your - what injuries did                14 was trying to shoot me.
15 you have?                                                     15 Q. And what happened with that?
16 A. Smashed my wrist.                                          16 A. I got him under control. When I stood him up
17    Q. Your left wrist?                                        17 the gun fell out of his sleeve.
 18   A. Yes.                                                    18 Q. So you never knew that he tried - that he
 19  Q. To your right hand - were you -- are you                 19 had a gun until afterward?
20 right-handed or left-handed?                                  20 A. Right.
21    A. Both.                                                   21   Q. And he didn't actually point the gun at you?
22    Q. So you're ambidextrous?                                 22   A. He kept trying to reach up his sleeve.
23    A. Sort of. I do different things with                     23   Q. Any others?
                                                      Page 150                                                  Page 152
  1 different hands.                                              1   A. No, sir. Not that I can think of.
  2   Q. Which hand did you use to fire the Taser?                2 Q. Would you agree that the most significant
  3   A. My right hand.                                           3 physical incidents that you participated in were the
  4   Q. So have you had any injuries to your right               4 McCray incident and the incident where the woman
  5 hand?                                                         5 beat you up?
  6   A. No.                                                      6   A. And Mr. Lawrence.
  7   Q. Any issues with your grip strength in your               7   Q. And Mr. Lawrence. But the two most
  8 right hand on December 30, 2014?                              8 significant incidents before Mr. Lawrence were
  9   A. No. I have had carpal tunnel on both ~                   9 Mr. McCray in 1997; right?
 10 carpal tunnel release on both hands.                         10 A. Right.
 11   Q. You have had that; right?                               11   Q. And the woman who beat you up was a little
 12   A. Yes.                                                    12 earlier or-
 13   Q. And that was effective; right?                          13   A. Yeah, it was earlier. Probably somewhere
 14   A. Oh, yes, sir.                                           14 around 1994. '93,'94.
 15 Q. So there were no problems with your grip                  15 Q. You went to ~ what led you to go into CID?
 16 strength or ~                                                16 A. I requested it.
 17   A. No.                                                     17 Q. What were you doing in the ~ so ~ you were
 18 Q. ~ with your right hand on December 30, 2014?              18 working patrol in 1997 when the McCray incident
 19 A. Right.                                                    19 happened?
 20 Q. In fact I would think that good hand strength             20   A. Yes.
 21 is required to work on motorcycle; is that correct?          21   Q. And did you return to patrol after that?
 22   A. It is.                                                  22   A. Not immediately, no.
 23   Q. Would you say that you have above average               23   Q. How long was it before you returned to
[8/25/2017] Woodruff, Adrienne                                                                          Pages 149-152
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 5 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 118 of 247
                                                          Page 153                                                           Page 155
  1   patrol?                                                         1   2000 to 2003. Came out, went to court liaison, and
  2    A. About a year.                                               2 then went back to the street.
  3   Q. Were you ~ was that because of how the                       3    Q. Okay. 1 was trying to go from the McCray
  4 incident impacted you?                                            4 incident in 1997 - between 1997 and CID in 2000 ~
  5    A. No.                                                         5    A. 1 was on the street.
  6   Q. Why ~ why did you ~ what was It ~ did it                     6    Q. So after McCray -
  7 take you a year to go back to your role on patrol?                7    A. 1 was still on the street.
  8    A. i had been transferred to the court liaison                 8    Q. You said it took a year. That's why 1 was
  9 and warrants. The workload was tremendous and 1 was               9 confused.
 10 answering to Judge Gordon, which didn't seem like a              10    A. 1 was in the traffic division. Traffic
 11   real good thing to do.                                         11   homicide investigator.
 12    Q. So what are your issues with Judge Gordon?                 12    Q. When?
 13    A. That was the check issue with her husband.                 13    A. During that period. 1 attended a class at
 14    Q. Right. So you didn't like her before that                  14 IPTM in Tampa.
 15 so ~                                                             15   Q. Was there any change in your duty assignment
 16    A. No, 1 just ~ personality conflict.                         16 related to the - sort of the trauma of the McCray
 17    Q. She mistreated you?                                        17 incident?
 18    A. No.                                                        18    A. No.
 19    Q. What didn't you like about her?                            19   Q. Okay. So what ~ what was your duty
 20    A. 1 don't ~ she just struck me wrong. 1 just                 20 assignment at the time of McCray? Was there a
 21 didn't like her.                                                 21 particular patrol assignment?
 22    Q. Did you ever have to - did she ever                        22   A. 1 was assigned to traffic.
 23 criticize your work as a police officer or question              23    Q. Day shift?
                                                          Page 154                                                           Page 156
  1   your integrity as a police officer when you were in             1     A. Nights - evenings.
  2 her court?                                                        2     Q. And then afterwards you stayed in the same
  3     A. Not mine.                                                  3 assignment?
  4     Q. Did she question other officers?                           4     A. 1 worked traffic for five years and was
  5    A. Yeah.                                                       5   promoted the sergeant.
  6     Q. Was that part of the -                                     6     Q. So when were you promoted to sergeant?
  7    A. Yes.                                                        7     A. January 2nd of 2000.
  8     Q. ~ reason that you had an issue with her?                   8     Q. Then ~
  9    A. Possibly.                                                   9     A. Immediately was transferred to CID.
 10   Q. You thought she didn't respect law                          10     Q. You weren't ~
 11 enforcement enough?                                              11     A. Because 1 wanted it.
 12    A. 1 don't know if that was it or not. I'm not                12     Q. Did you have a particular assignment in the
 13 sure.                                                            13 criminal investigation division?
 14     Q. So you asked for a transfer out of the court              14     A. 1 did.
 15 liaison?                                                         15     Q. What was that?
 16    A. Correct.                                                   16     A. White collar crime. Checks, fraud, that kind
 17     Q. Where did ~ did you request any particular                17 of thing.
 18 transfer?                                                        18   Q. And then you went to court liaison after
 19    A. 1 asked to go back to patrol. 1 missed it.                 19 that?
 20   Q. And you went back to patrol. And any changes                20     A. Yes.
 21 after you went back to patrol before you went to 01D             21   Q. And then you came out of court liaison and
 22 in 2000?                                                         22 back to regular patrol?
 23    A. No. That was after 2000. 1 went to CID in                  23   A. Yes, but the court liaison encompassed
[8/25/2017] Woodruff, Adrienne                                                                                         Pages 153-156
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 6 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 119 of 247
                                                        Page 157                                                    Page 159
  1 several duties. It encompassed the warrant                      1 hospital; right?
  2 division. It encompassed the records division. I                2 A. Correct. How many fights have I been in in
  3 did it all. A lot of work. Too much for me.                     3 the 23 and half years?
  4   Q. So what was your assignment when you went                  4 Q. But hasn't that shaken your confidence?
  5 back on patrol?                                                 5 A. Dozens. No. No. I get in fights all the
  6 A. I was patrol supervisor.                                     6 time. DUI's, drunks don't like being arrested.
  7 Q. So as patrol supervisor what were ~ was that                 7 Q. When was the last time you were arresting a
  8 primarily a desk job or ~                                       8 DUI drunk?
  9 A. No. No. On the street. Responding when                       9   A. Let's see -
 10 officers needed a supervisor.                                  10   Q. 'Cause I heard it - let me just tell you, I
 11 Q. You're not - you're basically maintaining --                11 heard it CID in 2000 to 2003, court liaison for a
 12 making yourself available to go when a supervisor is           12 year after that, patrol supervisor after that, and
 13 needed: right?                                                 13 then animal control after that. All positions where
 14   A. Correct.                                                  14 you don't have to do the physical part of the job.
 15   Q. And you stayed as a patrol supervisor on what             15 Do you know something - do you recall something
 16 shift?                                                         16 different?
 17   A. Day shift.                                                17 A. Yeah, the whole time I was working in patrol
 18   Q. Until you went to the animal shelter?                     18 as a patrol officer.
 19   A. Correct.                                                  19   Q. Inthe90's?
 20 Q. Were there any incidents - significant                      20 A. All through the 90's.
 21 Incidents while you were a patrol supervisor?                  21   Q. But since the 90's you haven't been involved
 22   A. Not that I remember, no.                                  22 in that part of job?
 23   Q. Were there any significant incidents while                23 A. It happens, yes. I have helped, yes. If I
                                                        Page 158                                                    Page 160
  1 you were a court liaison officer?                               1 am closer than a backup officer I will jump in every
  2   A. No.                                                        2 time.
  3 Q. Other than the fight with the shoplifter,                    3 Q. But you haven't had to jump in since the
  4 were there any significant incidents while you were             4 1990's; right?
  5 in CID?                                                         5 A. You're asking about bad ones. You're talking
  6   A. No.                                                        6 about major incidents.
  7   Q. Would it be fair to say that at least in the               7 Q. I'm now going - you know, taking it--I'm
  8 last 15, 20 years, that you have had to rely on                 8 going a step further. Since the 1990's have you
  9 others to do any physical confrontation with the                9 been required to do the physical part of taking
 10 suspects?                                                      10 somebody into custody?
 11        MR. WHITE: Object to the form.                          11   A. Yes.
 12   A. Did I have to have somebody else do my dirty              12   Q. When?
 13 work for me?                                                   13   A. I can't remember every one of them.
 14 Q. If I understand correctly, the shoplifter was               14   Q. Any of them?
 15 taken into custody by Doug Johnson, and you went to            15   A. I've arrested a lot of people.
 16 the hospital; right?                                           16   Q. But where there was a physical confrontation
 17   A. That's correct.                                           17 as part of it?
 18 Q. The backup officer with McCray took the                     18   A. That's a great deal --that's a great many of
 19 person into custody and you went to the hospital;              19 them.
 20 right?                                                         20   Q. Well, there were none while you were an
 21   A. Yes.                                                      21 animal control officer.
 22   Q. The woman that beat you up was taken into                 22   A. Well there were some ~
 23 custody by the backup officer and you went to the              23   Q. I just want to make sure we got our facts.
[8/25/2017] Woodruff, Adrienne                                                                              Pages 157-160
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 7 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 120 of 247
                                                            Page 161                                                           Page 163
  1   that's fine. So there were none while you were an                 1    A. I'm not sure.
  2 animal control officer; right?                                      2  Q. Have you ever used the Taser in cartridge
  3     A. You're not ~ you're not getting your facts.                  3 mode other than the one at the jail, as far as you
  4     Q. 1 want to make sure -                                        4 can recall?
  5     A. Go pull my arrest stats from the police                      5    A. I'm not sure.
  6 department ~                                                        6    Q. Have you ever carried pepper spray?
  7   Q. I'm asking you about animal control. You                       7    A. Yes.
  8 said you can't recall any time having to be                         8    Q. Have you ever used pepper spray on anyone?
  9 physically involved in an arrest as the animal                      9    A. Yes.
 10 control officer; right?                                            10   Q. Do you recall the last time you used pepper
 11     A. No, people don't act like ~ generally, act                  11 spray on somebody?
 12 like Mr. Lawrence did when they come into the animal               12    A. The last time, no.
 13 shelter.                                                           13    Q. Would it have been in the 90's?
 14     Q. And as the patrol supervisor, you're called                 14    A. 1 don't know. It was ~ after we got the
 15 after the fact, typically, when the supervisor is                  15 Tasers we didn't ~ pretty much didn't use the
 16   needed; right?                                                   16 pepper spray anymore.
 17     A. Generally.                                                  17         MR.SHERROD: Let's take a break.
 18     Q. And if to the extent you participated in                    18        (Brief recess taken.)
 19 the ~ in any physical confrontation with anyone                    19    Q. (By Mr. Sherrod) Ms. Woodruff, will there be
 20 since the 1990's, it's been rare; right?                           20 anything in your personnel records ~ are you aware
 21     A. 1 wouldn't say rare.                                        21 of anything in your personnel records that would
 22     Q. Well, you were working white collar in GID;                 22 indicate any concern about your fitness for duty
 23 right?                                                             23 before December 30, 2014, except due to, you know.

                                                            Page 162                                                           Page 164
  1     A. Correct.                                                     1   maybe some temporary medical restriction?
  2     Q. It was rare to have any physical                             2    A. No.
  3 confrontation with people anybody doing that; right?                3    Q. Any of your supervisors or folks in your
  4     A. Depends on if you had to run them down or not               4 chain of command express any concern about, you
  5 when you're trying to find them.                                    5 know, what happened in either McCray or the woman
  6     Q. Have you ever injured anybody in your work as               6 who beat you up?
  7 a police officer other than ~ you know, seriously                   7    A. No.
  8 injured anybody other than Mr. Lawrence?                            8  Q. Anybody ever question your ability to, you
  9     A. No.                                                          9 know, make good decisions regarding your safety?
 10     Q. Ever used a Taser on somebody?                              10    A. No.
 11     A. Yes.                                                        11    Q. Anybody ever criticize you for hesitating to
 12     Q. What circumstances can you recall using a                   12 act in any incident before December 30, 2014?
 13 Taser on somebody?                                                 13    A. No.
 14     A. The guy that was in jail and wouldn't comply                14    Q. How many women sergeants were there when you
 15   with the jailers. The jailers called the police in.              15   become a sergeant?
 16 and he was swinging at them, trying to hit them with               16    A. Trying to count. I'm thinking there was only
 17 his fists, and 1 tased him.                                        17 one other one.
 18     Q. And then the ~ they took him into custody?                  18    Q. Who was the other female sergeant?
 19     A. Correct.                                                    19    A. Delia Williamson.
 20     Q. Any other times other than the ~                            20    Q. Is she still with the department?
 21   Mr. Lawrence. Let me back up. Have you ever used                 21    A. No, sir, she's retired.
 22 the Taser in Drive Stun mode other than with                       22    Q. When did she retire?
 23 Mr. Lawrence?                                                      23    A. Before 1 did. 1 don't know.

[8/25/2017] Woodruff, Adrienne                                                                                      Pages 161-164
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 8 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 121 of 247
                                                      Page 165                                                         Page 167
  1  Q. So in the 90's when you were working patrol,              1   discrimination on the job?
  2 how many women patrol officers were there?                    2     A. Trying to think. You want the year?
  3     A. I'm not sure of the count.                             3    Q. Yup.
  4     Q. More or less than five?                          A. Oh, my goodness. 1 can't remember the year.
                                                                  4
  5     A. You talking about throughout the department? 5 1 was a sergeant. 1 know who was promoted off that
  6     Q. Yeah.                                                  6 list. But 1 can't -
  7     A. More, 1 would think. Yeah.                             7    Q. How long had you been seeking to become a
  8     Q. What position was - was it Delia Williamson?           8 sergeant before you were made one?
  9     A. Yes.                                                   9    A. That was my first test.
 10     Q. What position was she in when you were                10    Q. How long had Delia Williamson been a
 11   promoted to sergeant?                                      11   sergeant?
 12     A. She was also in CID and worked white collar           12    A. I'm not sure.
 13 crime.                                              Q. Had she been one very long before you were?
                                                                 13
 14   Q. So the two women supervisors worked white 14 A. Yeah, a pretty good time.
 15 collar crime in CID?                           15   Q. Do you know if there was any issue going on
 16   A. Yes.                                      16 in the late 90's, 2000 about, you know, women in the
 17   Q. Were there any woman sergeant, or above. 17 Dothan Police Department?
 18 other than the two of y'all?                   18         MR. WHITE: Object to the form.
 19     A. No.                                                   19    A. I'm not following, 1 don't think.

20      Q. Now, as of in December 2014 were there any 20 Q. 1 don't know, were there any complaints being
21    other female sergeants or above?                21 made or made about the failure to promote woman,for
22      A. Yes.                                                  22 example, prior to your getting your sergeant
23      Q. And who were they?                                    23 position?

                                                      Page 166                                                         Page 168
  1    A. Delia Williamson had been promoted to                   1          MR. WHITE: Object to the form.
  2 lieutenant.                                                   2    A. No.
  3    Q. Okay.                                                   3    Q. When did you complain of sex discrimination?
  4    A. 1 can't remember any other female sergeants.            4    A. 1 can't think of the year.
  5 Oh, Rachel David, she may have been a sergeant then.          5    Q. What position were you in?
  6 1 think she was.                                              6    A. Let's see, 1 think 1 was in court, but I'm
  7   Q. Any others? Talking about just without ~                 7 not positive.
  8 any others that you can recall ever being a sergeant          8    Q. And what was the complaint?
  9 or above other than ~                                         9    A. That a white male had been promoted over me.
 10    A. Not that 1 can remember.                               10    Q. To what position?
 11    Q. ~ you, Rachel David, and Delia Williamson,             11    A. Lieutenant.
 12 are those the only three?                                    12    Q. And did you file an EFG charge?
 13    A. Yes, that's the ones 1 can think of.                   13    A. 1 did.
 14    Q. So currently is there any lieutenant.                  14    Q. Did you hire a lawyer?
 15 captain ~                                                    15    A. No.
 16    A. 1 don't know what's over there now.                    16    Q. Did you get any relief related to that?
 17    Q. As of when you retired those are the only              17    A. No.
 18 three that you're aware of?                                  18    Q. Who was the white male?
 19    A. Yeah, the ones that 1 can think of.                    19    A. Skip Westberry.
20     Q. Have you ever complained about sex                     20    Q. What position was he promoted to?
21    discrimination on the job?                                 21    A. Lieutenant.
22     A. Yes.                                                   22    Q. Any particular lieutenant position?
23     Q. When did you complain about sex                        23    A. 1 can't remember.

[8/25/2017] Woodruff, Adrienne                                                                                  Pages 165-168
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 9 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 122 of 247
                                                          Page 169                                                         Page 171
  1     Q. What did you claim regarding that your                     1    A. No.
  2 qualifications compared to him?                                   2    Q. What did you ~ what was the rumor about Greg
  3     A. That over time my evaluations had been higher              3 Benton?
  4 than his. He had been in more trouble, a lot more.                4         MR. WHITE: Object to the form.
  5 And that prior to his promotion the majority of the               5    A. It was strictly rumor.
  6 department was saying that he was going to be                     6   Q. What was the strictly rumor?
  7 promoted regardless of where he came in on the list.              7        MR. WHITE: Same objection.
  8     Q. What was the reason he was being favored, if               8   A. That he got into a fight on the golf course
  9 any, other than his gender?       Like, did he have ~             9 with an old guy.
 10 was it a good 'ole boy situation or —                            10    Q. And that he hurt him?
 11     A. Well, Chief John Powell liked him a lot.                  11    A. Yeah, and that nothing was done.
 12     Q. What kind of trouble had he been in?                      12    Q. Did you believe the rumor?
 13     A. Well, a lot of things. It's just different                13        MR. WHITE: Object to the form.
 14 things. One of them was spending a ton of money on               14    A. It's a rumor.
 15 the ~                                                            15    Q. When did you hear the rumor?
 16          MR. WHITE: When he got shot ~                           16    A. Years ago. Greg was still, 1 think, a
 17     A. The Peanut Festival.                                      17 corporal at the time 1 heard it.
 18          MR. WHITE: ~ with his own gun?                          18   Q. And of course after that he got promoted up
 19     A. Yeah, he got shot with his own gun.                       19 to eventually become chief; right?
 20     Q. Did he ever get in trouble for mistreating a              20    A. Correct.
 21 citizen?                                                         21    Q. Anybody else - what about David Darby, what
 22     A. No.                                                       22 are you aware of?
 23     Q. Are you aware of any Dothan police officer                23    A. A traffic stop. And he did a leg sweep on
                                                          Page 170                                                         Page 172
  1   for getting in trouble for mistreating a citizen?               1   the guy, and the man hit the pavement face-first.
  2     A. Yes.                                                       2 He was fired.

  3     Q. What are you aware of in that regard?                      3   Q. Are you aware of any police officers that
  4     A. David Darby.                                               4 have ever been fired for anything like that other
  5     Q. Who?                                                       5 than Mr. Darby?
  6     A. David Darby.                                               6    A. No.
  7     Q. Anybody else? Let's get a list of names.                   7     Q. When was that with Mr. Darby?
  8 Are you aware of anybody else that got in trouble of              8     A. It was several years before 1 retired.
  9 any kind for mistreating a citizen?                               9    Q. Before or after you were at animal control?
 10     A. No.                                                       10    A. May have been during. It was while 1 was
 11     Q. Did they ~                                                11 there, 1 think. I'm not sure. I'm not sure.
 12     A. Greg Benton.                                              12    Q. Have you ever reported a fellow officer for
 13     Q. I'm sorry, what?                                          13 any possible misconduct?
 14     A. That was strictly rumor. That's not fact.                 14    A. No.
 15     Q. 1 want rumor. I'm going to investigate                    15   Q. Has anybody, to your knowledge, fellow
 16 these. Whatever was the rumor?                                   16 officer or otherwise, ever reported you for any
 17     A. Greg Benton.                                              17 misconduct?
 18     Q. Greg Benton, the police chief?                            18    A. No.
 19     A. Yup.                                                      19    Q. How big is the internal affairs division of
 20     Q. Anybody else?                                             20 the police department?
 21     A. Nope.                                                     21    A. Three people, 1 think.
 22     Q. You were speaking pretty quietly. So the two              22    Q. You work under the ~ you did work under the
 23   names are David Darby, Greg Benton, did 1 miss one?            23 lieutenant over in internal affairs?

[8/25/2017] Woodruff. Adrienne                                                                                   Pages 169-172
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 10 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 123 of 247
                                                        Page 173                                                          Page 175
  1    A. No.                                                       1   injury or death; the device used by the attacker to
  2    Q. 1 thought Lieutenant Eskess [sic] was ~                   2 cause great bodily injury or death; and the
  3    A. Etress?                                                   3 attacker's opportunity and ability to use the means
  4    Q. Etress was internal affairs?                              4 to cause great bodily injury or death.
  5    A. He may be now, but at the time he was over                5       And 1 corrected a couple of typos as 1 read
  6 docket and animal control.                                      6 it, but did 1 read that correctly, except for
  7   Q. Will's been kind enough to pull up an article              7 correcting the typos?
  8 from the Dothan Eagle online about Mr. Darby. It                8     A. Yes.
  9 says there were two ~ potentially, two traffic                  9     Q. We can agree, can't we, that a Taser in Drive
 10 stops involving excessive force. Did you hear about            10 Stun mode does not cause great bodily injury?
 11   anything other than the one?                                 11           MR. WHITE: Object to the form.
 12    A. No.                                                      12     A. Yes, it can.
 13    Q. Did you know David Darby?                                13     Q. How?
 14    A. Yes.                                                     14   A. It causes a great deal of pain.
 15   Q. Other than David Darby, are you aware of any              15   Q. Okay. Other than that - do you consider
 16 officer who has ever received any kind of                      16 great bodily injury to mean mere pain?
 17 discipline, of any kind, for excessive force?                  17         MR. WHITE: Object to the form.
 18   A. No. Let me think. No, 1 can't think of any.               18     A. No.
 19   Q. Did you ever receive any training about use               19   Q. That's what I'm asking. I'm just trying to
 20 of force policies or constitutional law about use of           20 focus on ~ do you contend that a Taser in Drive
 21 force?                                                         21 Stun mode causes great bodily injury?
 22    A. Yes.                                                     22   A. 1 think it can, yes.
 23    Q. When?                                                    23   Q. And that's because you say pain can be great
                                                        Page 174                                                          Page 176
  1    A. They trained ~ they changed the training                  1   bodily injury?
  2 over to computer and you had to read it, and then it            2   A. No. It can burn them. It can put their eye
  3 asked questions to make sure that you had read it.              3 out. It can fry anything that it's touching. It's
  4 And 1 probably did that, maybe, three months maybe.             4 a lot of electricity.
  5 at the most ~ maybe, probably - probably before                 5   Q. Okay. If it was applied to the eye it can
  6 the shooting.                                                   6 cause ~ maybe, it can cause great bodily injury;
  7   Q. What did it involve ~ were you trained on                  7 right?
  8 the City's use of force general order? That 1 will              8    A. So then it can cause great bodily injury.
  9 show you it's been marked as Plaintiffs Exhibit 4.              9    Q. Maybe.
 10 And if you will hand that to Lenn for me.                      10          MR. WHITE: Object to the form.
 11          (Plaintiffs Exhibit No.4 was marked for               11  Q. Other than applied to the eye, can we agree a
 12          identification.)                                      12 mere burn from a ~ let's go with this a different
 13    A. Yes.                                                     13 way. There's a term, non-lethal, less lethal force.
 14    Q. Would you turn in Plaintiffs Exhibit 4 with              14 you see that?
 15 me. We'll start on the first page. You certainly               15       (Reading) A use offeree option which is
 16 understand that deadly force includes firing a gun             16   highly unlikely to cause serious injury to a suspect
 17 into somebody; right?                                          17   when properly applied by a law enforcement officer.
 18    A. Oh, yes.                                                 18       Did 1 read that correctly?
 19    Q. Now - so let's turn to the second page. 1                19    A. You did.
 20 want you to look at eminent danger. So follow with             20     Q. Okay. Then going down to Advanced Taser MX
 21   me, it says:                                                 21   and X26, that's the device that issued ~ that you
 22       (Reading) Eminent danger includes the                    22   used in this case; right?
 23 attacker's apparent intent to cause great bodily               23    A. Correct.

[8/25/2017] Woodruff, Adrienne                                                                                   Pages 173-176
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 11 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 124 of 247
                                                         Page 177                                                     Page 179
  1    Q. And it describes it as a less lethal                       1 training.
 2 conductive energy weapon. Do you see that?         2   Q. Other than heart issues and direct
 3 A. Right, less lethal.                             3 application to the eye -
 4 Q. So would you agree that a laser is highly       4   A. Well--
 5 unlikely to cause death or serious injury?         5 Q. - are you aware of-
 6 A. I disagree with that statement.                 6 A. I'm not aware of any of that. I'm not a
 7         MR. WHITE: Object to the form.             7 doctor and I'm not one of those people. So I can't
 8 Q. How can a laser in Drive Stun mode, in your 8 answer that. I'm not qualified.
 9 view, other than a direct application to the eye,  9 Q. Okay. Let's turn to page 3. Section title,
10 cause great bodily injury or even serious injury? 10 Legal Responsibilities of a Peace Officer, and I
11         MR. WHITE: Object to the form.            11 want to direct your attention to No. 4.
12 A. I've heard about people with heart issues      12     (Reading) The deadly -- the use of deadly
13 that have died after being tased.                 13 force upon another person is justified by a law
14   Q. That is not with Drive Stun mode, is it?     14 enforcement officer when. A, it is necessary to
15   A. I don't know.                                15 defend themselves or a third party from what he/she
16 Q. I would tell you that it-                      16 believes to be the eminent use of deadly physical
17 A. How long--how long ~                           17 force.
18         MR. WHITE: Object to the ~ I'm going to   18      Did I read that correctly?
19 object to the -- no. And I move to strike any     19   A. You did.
20 statement regarding -- from Counsel offering      20   Q. Now there's also a B that makes a reference
21 scientific evidence of which he has no            21 to a Glass A felony. B is not applicable here;
22 qualifications to do.                             22 right?
23 Q. (By Mr. Sherrod) Ms. Woodruff other than a 23            MR. WHITE: Object to the form.
                                                         Page 178                                                     Page 180
  1 possible heart attack, will a Taser - are you aware              1 Q. And do you contend Mr. Lawrence committed a
  2 of any way that a Taser in Drive Stun mode can cause             2 Class A felony?
  3 serious bodily injury other than direct application              3        MR. WHITE: Object to the form.
  4 to the eye?                                                      4 A. I'm reading it. Standby. Did I feel like he
  5    A. (Reading) The Advanced Taser sends up                      5 was a dangerous person? Yes.
  6 short-duration high voltage electrical waves that                6 Q. So you felt under 4B if he escaped he
  7 overpowers a nominal electrical signals within the               7 would ~ his escape would have placed innocent lives
  8 nerve fibers, does not rely solely on pain to                    8 in danger?
  9 achieve compliance.                                              9 A. I'm saying his behavior was erratic and
 10    Q. In Drive Stun mode ~                                      10 unreasonable.
 11    A. You're skipping ~ you're skipping over half               11 Q. I'm just asking about the policy. 4B says,
 12 of it.                                                          12 first it's ~ you know, it's referring to deadly
 13    Q. I'm not trying to read over all that. I                   13 force. It talks about being necessary to effect a
 14 asked you ~                                                     14 Glass A felony arrest. So do you contend this was a
 15    A. I know, you're skipping over half of it.                  15 Class A felony arrest?
 16 Q. I'm not skipping over any of it, I'm just not                16 A. If he tased Alan, yes.
 17 asking a question about it. In Drive Stun mode,                 17 Q. Okay. Then the next sentence says,.
 18 other than by application to the ~ directly to the              18      (Reading) The officer must have a reasonable
 19 eye ~                                                           19 belief that the suspect's escape will place innocent
 20    A. I don't know. I'm not a doctor. I don't                   20 lives in danger.
 21 know which sensitive parts of the body that high                21       Do you claim that if Mr. Lawrence had escaped
 22 electricity will affect. I can tell you this; my                22 that innocent lives were in danger?
 23 heart doctor told me not to go through Taser                    23 A. I can't tell you what was going through his
[8/25/2017] Woodruff, Adrienne                                                                                Pages 177-180
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 12 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 125 of 247
                                                     Page 181                                                         Page 183
  1 head. But 1 do feel that anybody that would try to           1   application of a Taser to him, didn't he?
  2 harm a police officer like that is capable of doing          2    A. He resisted our trying to arrest him.
  3 a lot of other things.                                       3    Q. Correct.
  4     Q. Do you have any understanding whether your            4  A. Violently.
  5 feelings are relevant in a use of force situation?           5  Q. Violently. Okay. Let's see, so who did -
  6   A. I'm not going to answer that.                           6 how many times did he hit you?
  7   Q. 1 mean, do you think your feelings can                  7  A. How many times did 1 get knocked around?
  8 justify shooting somebody?                                   8  0. How many times did he hit you?
  9    A. No.                                                    9    A. He didn't.
10   Q. Okay. So 1 want to talk about the facts.                10    Q. How many times did he try to hit you?
11 Are there any facts that would have given you any            11    A. 1 don't know. His arms were bound.
12 kind of reasonable belief that Mr. Lawrence, if he           12    Q. How badly were you hurt?
13 got away, he would have placed innocent lives in             13    A. 1 was banged up a little bit.
14 danger?                                                      14    Q. You got bruised. Did you go to the hospital?
15     A. 1 don't know.                                         15    A. No.
16     Q. You're not aware of any facts; right?                 16    Q. Did you go see a doctor?
17     A. No, no facts.                                         17    A. No.
18     Q. He never threatened anybody; right?                   18    Q. Did you go get evaluated, medically, in any
19          MR. WHITE: Object to the form.                      19   way?
20     Q. Right. Ms. Woodruff?                                  20    A. Well, not for bruises, no.
21          MR. WHITE: You mean verbally?                       21    Q. You didn't get tased?
22     A. Verbally?                                             22    A. Me? No.
23     Q. Period. He didn't threaten anybody.                   23    Q. Didn't suffer any kind of wrist injury?
                                                     Page 182                                                         Page 184
  1    A. His fighting was threatening.                          1    A. No.
  2    Q. He didn't ~                                            2    Q. You didn't get your wrist sprained or even a
  3   A. His behavior towards me ~ are you - now          3 scratch?
  4 you're arguing. You asked me a question. Do you 4 A. 1 may have had some scratches.
  5 want an answer or do you want to argue with me?       5   Q. Not sure if you got any scratches?
  6   Q. I'll go either way.                              6   A. Not sure.
  7          MR. WHITE: 1 object.                         7   Q. Do you understand what the word "eminent"
  8   A. I'll just sit here.                              8 means?
  9          MR. SHERROD: She can fight. Listen,          9   A. 1 do.
 10 Lenn, obviously I'm not going to argue with her, but 10   Q. Can we agree that at most the only thing that
 11 you know she's not supposed to ~                     11 was eminent was the Taser in Drive Stun mode coming
 12          MR. WHITE: Well, it's not obvious to me.           12 in contact with Officer Rhodes?
 13         THE WITNESS: He just said he would.                 13    A. That's correct.
 14         MR. WHITE: You just admitted on record.             14    Q. Part B, safe alternatives, would you look at
 15     A. On record that you would argue with me.              15 that please.
 16         MR. WHITE: All day.                                 16      (Reading) If a safe alterative to use of
 17          MR. SHERROD: It was a rhetorical device. 17 deadly force is likely to achieve the purpose of
 181 was trying to make a point but maybe ineffective           18 averting an eminent danger, deadly force is not
19 in that regard.                                              19 necessary.
20         MR. WHITE: Out of line 1 would say.                  20      Did 1 read that correctly?
21      Q. Well, to the extent 1 was out of line 1              21    A. You did. He had been tased three times up to
22    apologize, but 1 want to stick to objective facts         22 that point and it had no effect.
23 and not mere feelings; okay?       He resisted your          23    Q. You're not saying that it didn't hurt him.
[8/25/2017] Woodruff, Adrienne                                                                               Pages 181-184
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 13 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 126 of 247
                                                   Page 185                                                          Page 187
  1   are you?                                                 1   page. You had ~
  2    A. No. I'm saying -                                     2    A. Let me see ~
  3    Q. No, excuse me, have you seen the autopsy             3    Q. At the bottom you had checked or X'd eminent
  4   report?                                                  4 threat of physical injury?
                                                                                          1 need you to say yes.
  5    A. No.                                                  5    A. Yes. I'm sorry.
  6    Q. 1 mean, do you know whether there were any           6    Q. Next page, you say there's a threat against
  7 burn marks on him?                                         7 another person and the officers. Who were the other
  8    A. No, 1 don't. 1 just said that 1 hadn't seen          8 persons?
  9 the report.                                          9   A. Whoever was standing on the sidewalk and my
 10   Q. Well, didn't you put in your use offeree       10 secretary inside.
 11 report that there were ~ didn't you do a diagram, 1 11   Q. So you considered them to be an eminent
 12 think it's Plaintiff's Exhibit 1, maybe not. It     12 threat of serious physical injury if you didn't kill
 13 shows that there were - you wrote laser and put - 13 Mr. ~
 14 marked it on the - his person, didn't you?          14   A. It says threat against. It doesn't say
 15   A. On which paper is that?                        15 eminent.
 16   Q. Plaintiff's Exhibit 1, page 4.                 16   Q. It's in the ~ right below the part where it
 17    A. Let me see. That's not correct.                     17 says eminent threat of serious physical injuries ~
 18    Q. What?                                               18    A. No, it's under the part that says "offender
 19          MR. MORRIS: She said it's not correct.           19 suspect, offender actions."
20     Q. The diagram isn't correct?                          20    Q. Who do you contend there was an eminent
21     A. No, sir.                                            21 threat of serious ~
22     Q. Who did the diagram?                                22         MR. WHITE: Objection.
23     A. 1 didn't. 1 don't know.                             23    Q. ~ physical injury against?
                                                   Page 186                                                          Page 188
  1    Q. You signed off on the diagram, didn't you?           1MR. WHITE: She's already answered.
  2    A. 1 did. 1 sure did.                               Q. Forget the report. So that was to you;
                                                               2
  3   Q. Are you saying that you shouldn't have signer 3 right?
  4 off on the diagram?                                4   A. 1 am the officer.
  5   A. Probably not.                                 5   Q. What?
  6   Q. So somebody else prepared your use of force 6 A. 1 am the officer.
  7 report?                                            7   Q. You thought there was an eminent threat of
  8    A. 1 don't know. It's been two and a half               8 serious bodily injury to you?
  9 years. 1 don't remember every detail.                      9    A. To anybody ~ yes, to me and to Officer
 10   Q. Well, 1 would just assume you wouldn't sign          10 Rhodes.
 11 off on a report you don't approve of.                     11   Q. Now, page 4, you say you were not injured;
 12   A. 1 don't ~ 1 usually don't.                           12 right?
 13   Q. You think you did here though?                       13   A. Yup. Yes.
 14   A. It's possible. Because it's showing tased ~          14   Q. So, 1 guess, you - do you still think you
 15 that 1 tased him three times and 1 didn't. 1 only         15 may have been scratched?
 16 tased him twice.                                          16   A. Bumps and bruises are nothing. They don't
 17    Q. Okay. Would it have been correct if they            17 mean anything to us. That's not considered ~ we
 18   only put two Taser marks?                               18 don't consider that an injury. You bump your head
 19    A. Then it would be correct.                           19 getting out of the car; that doesn't mean you're
20     Q. Okay.                                               20 injured.
21     A. But they're not in the right spots.                 21   Q. So according to you, in this statement at the
22      Q. Now, if you'll turn to, 1 guess, Plaintiff's       22 bottom, the justification you wrote.
23    Exhibit 2, the deadly force report, to the second       23     (Reading) The suspect armed himself with the
[8/25/2017] Woodruff, Adrienne                                                                             Pages 185-188
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 14 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 127 of 247
                                                   Page 189                                                        Page 191
  1 officer's laser and tried to use it on officers.           1    A. It is not. 1 don't see it.
  2       Is that correct?                                     2    Q. It uses the word "incapacitation"; right?
  3    A. That's what it says.                                 3    A. Yup.
 4     Q. That's what you're saying here today, isn't          4    Q. Incapacitation is a term that's used in
  5 it?                                                        5   connection with the Taser mode where you fire the
 6     A. Yes.                                                 6   prongs; right?
  7  Q. And then you say.                                      7     A. That's not necessarily so.
 8     (Reading) The incapacitation of the officer             8    Q. But that is the ~ 1 mean, that is the term,
 9 would have given the suspect opportunity to gain            9 neuromuscular incapacitation; right?
10 control of his firearm and escalate the situation to       10        MR. WHITE: Objection. She's answered
11 deadly force on the officers.                              11 the question plain as day.
12     Did 1 read that correctly?                             12   Q. That is a term that's used regarding Tasers;
13     A. Yes.                                                13 right? Neuromuscular incapacitation?
14     Q. Is that what you contend today?                     14    A. That is a term used to describe Tasers.
15     A. 1 do.                                               15    Q. That is not a term that is used with the
16   Q. Continuing,.                                          16 Taser in Drive Stun mode, is it?
17     (Reading) In order to prevent the suspect              17         MR. WHITE: Objection. She's answered
18 from rendering one or both of the officers                 18 that already.
19 incapacitated, it was necessary to neutralize the          19   A. It's not necessarily true. If 1 hold that
20 threat.                                                    20 Taser on you, it's going to continue to fire for
21        Is that correct?                                    21 five seconds. And whether it's got two prongs that
22     A. Yes.                                                22 are sticking in your skin or it's irking directly on

23     Q. That's what you contend today?                      23 you, it doesn't matter.

                                                   Page 190                                                        Page 192
  1    A. 1 do.                                                1    Q. So you're saying that Drive Stun mode
  2   Q. Now, incapacitation would seem to imply that          2 versus ~
  3 Mr. Lawrence was using the Taser with the prongs;          3   A. Drive Stun mode is generally used for just a
  4 right?                                                     4 second or two at a time. Can it be used longer?

  5        MR. WHITE; Object to the form.                      5 Absolutely. Because it's still willing to fire for
  6   Q. There's no mention in this report — is                6 five seconds, period.
  7 there? ~ that the Taser was in Drive Stun mode?            7    Q. But that doesn't turn it into a device for
  8    A. There is in my report.                               8 neuromuscular incapacitation?
  9    Q. What?                                                9   A. Yes, it does because it goes for five seconds
10     A. There is in my report.                              10 and if you make direct contact for five seconds it's
11     Q. Which report?                                       11 going to do that.
12     A. And it's on the video.                              12    Q. Where —
 13  Q. 1 know it's on the video. I'm talking in              13    A. More or less.
14 your written report.                                       14   Q. Where have you heard that?
15   A. It should be in my other report.                      15   A. Training.
16     Q. Your Plaintiff's Exhibit 1?                         16   Q. So you were taught in training that in Drive
17     A. 1 don't know.                                       17 Stun mode if you are able to keep it on their skin
18   Q. Well, I'm just - let's work on this one. On           18 for five seconds that you will ~ it will have the
19 this one, do you see it - it's not in the                  19 same affect as the prongs?
20 description, is it?                                        20    A. Pretty much, yup.
21     A. What ~ what isn't?                                  21    Q. So how ~
22     Q. That is Taser is in Drive Stun mode. It's           22    A. It's still a lot of voltage going through
23    not mentioned in this report, is it?                    23 there.

[8/25/2017] Woodruff, Adrienne                                                                           Pages 189-192
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 15 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 128 of 247
                                                         Page 193                                                          Page 195
  1    Q. And the ~ you were concerned then that                     1 effect."

 2 Mr. Lawrence, who had the laser gripped in his hand               2            MR. SHERROD: 1 don't know what the -

  3 with the finger on the trigger, was going to apply               3            MR. WHITE: Which is plain from the
 4 it for five seconds on someone?                                  4 video.

 5     A. Yes.                                                       5            MR. SHERROD: Lenn, thank you ~
 6     Q. And then that person. Officer Rhodes, would               6             MR. WHITE: She never said feel.
 7 have fallen out and then Mr. Lawrence could have                  7            MR. SHERROD: Thank you for your
 8 taken his gun; right?                                            8 testimony. She maybe used ~

  9    A. Correct.                                                   9            MR. WHITE: This is an remonstrance.
10     Q. And then you could have shot him; right?                  10 This is not a testimony.

 11          MR. WHITE: Object to the form.                         11            MR. SHERROD: This is improper, but
 12    A. Then he could have shot me.                               12 regardless.

 13    Q. If he had gone for the gun but ~                          13   Q. (By Mr. Sherrod) So, Ms. Woodruff, do you
 14          MR. WHITE: That's your question.                       14 agree then that he felt the sting, the pain, of the

 15     A. That's the question you just asked.                      15 Taser in Drive Stun mode that you applied to him?
 16     Q. But I'm just saying you ~ you shot him                   16    A. i don't know what he felt.
 17   before any of that - so we got, first, he has to              17     Q. You know that he did not suddeniy give up and
 18   incapacitate Officer Rhodes; right?                           18 allow himself to be cuffed; right?
 19     A. Would you rather me wait for him to shoot me             19    A. Correct.
20    before 1 try to shoot back?                                   20     Q. And when you say it wasn't effective, it
21      Q. Actually, I'd rather you wait until he                   21   wasn't effective in making him comply; right?
22 incapacitates someone or actually gets the Taser in              22    A. Correct.
23 his grip but ~                                                   23    Q. But that doesn't entitie you to kiii him;
                                                         Page 194                                                          Page 196
  1     A. It's a little late by then. I'd be late for               1   right?
  2 dinner, forever.                                                 2    A. When he tried to -
  3  0. So Mr.- first, he has to incapacitate                        3     Q. Non-compiiance is not a iicense ~
  4before he can go for the gun; right?                              4            MR. WHITE: Whoa. Whoa. Let her answer.
 5         MR. WHITE: Object to the form.                            5            MR. SHERROD: No, that's my question.
 6   A. No, if he's got that Taser against him he can                6            THE WiTNESS: He's doing it ~ he keeps
 7 pretty much do what he wants to do.                               7 doing it ~
 8   Q. Well, you had the Taser against him. Why                     8        MR. WHITE: You let her answer before you
 9 didn't you just do what you wanted to do?                         9 ask your next question.
10   A. 1 kept breaking contact. It had no effect on                10            THE WITNESS: I'll let him ask and
11    him.                                                          11 answer. I'll leave the room.
12      Q. Why did you keep breaking contact?                       12     Q. You understand his mere non-compiiance was
13      A. It had no effect on him.                                 13 not a basis for shooting; right?
14   Q. You can't say whether it did or didn't have 14   A. Yes.
15 any effect on him, can you?                      15   Q. You're supposed to be trying to cuff him;
16        MR. WHITE: Object. I'm going to object    16 right?
17 to you arguing with her and telling her what     17   A. i'm trying to get him under controi and keep
18 happened when you don't know.                    18 my backup officer from being injured.
19   Q. How can you say the Taser had no ~ he didn't19 Q. You're supposed to be keeping him ~ getting
20 feei the Taser?                                                  20   him in control; right?
21            MR. WHiTE: Now ~ whoa, whoa. Now we 21                              MR. WHITE: Let's go off the record for
22 need to read this back to see what she said? She                 22 just a second.
23 didn't say, "Didn't feel." She said, "It had no                  23            MR. SHERROD: I'm not going off the
[8/25/2017] Woodruff, Adrienne                                                                                    Pages 193-196
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 16 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 129 of 247
                                                  Page 197                                                         Page 199

 1    record.                                                 1  A. Now you've changed subjects.
 2        MR. WHITE: Okay. We don't -- I'll go               2   Q. No, I think you may have misunderstood me.
 3 back on the record and say I want you to stop             3 There may have been a miscommunication. Anytime
 4 badgering this witness.                                   4 somebody has hands on a suspect, a subject, that
 5   Q. (By Mr. Sherrod) Ms. Woodruff, you                   5 subject could go for the officer's gun; right?
 6 understand the goal is to take Mr. Lawrence into          6    A. Yes.

 7 custody; right?                                           7    Q. Now you don't shoot the person because you
 8     A. Yes.                                               8 think they might go for the officer's gun; right?
 9   Q. And the goal should be to take Mr. Lawrence 9 A. Right.
10 into custody without unnecessarily injuring him;   10 Q. Can we agree to that?
11 right?                                             11   A. Sure.
12   A. Yes.                                          12 Q. We only - there has to be an eminence;
13   Q. And that once you go to a gun then -- let's   13 right? There has to be an eminent threat of serious
14 go back. Nobody was seriously injured in this      14 bodily injury or death?
15 incident until you shot Mr. Lawrence; right?       15   A. An overt action.
16   A. I stopped it before it happened.              16   Q. An overreaction of what?
17   Q. And if you apply that principle to law        17   A. An overt action.
18 enforcement work, there may be a lot of people wh|318 Q. That presents-
19 die that don't need to --                          19 A. They do something that would show up.
20         MR. WHITE: Object to the form.             20 Q. Do you know if the video of this incident is
21   Q. -- right, Ms. Woodruff?                       21 being used to train Dothan police officers?
22   A. You're testifying -- what -- what's the       22   A. I have no idea.

23 question?                                          23 Q. As far as you know does everybody in the
                                                  Page 198                                                         Page 200
  1     Q. If you preemptively shoot people because yoi 1 department know what happened?
 2 are afraid of a chain of events that might happen,         2   A. I have no idea.
  3 then a lot more people will die; right?                   3 Q. None of your--in all of your therapy work,
 4            MR. WHITE: Object to the form.                  4 whatever, talking to your friends, have you never
 5      A. I think that's -- that question makes no           5 explored what you might have done differently,
 6 sense whatsoever. It's more rhetorical --                  6 Ms. Woodruff, other than shoot Mr. Lawrence?
  7     Q. No, seriously, if we go up and you say, you        7        MR. WHITE: Object to the form.
 8 know -- every time an officer is using force on            8   A. I would do exactly the same thing that I did
 9 somebody, mostly, they ~ they have their gun in            9 the first time.
10 their holster; right?                                     10 Q. Have you ever asked yourself that question
11      A. Correct.                                          11 what you could have done differently to avoid
12   Q. Theoretically, every time an officer                 12 shooting Mr. Lawrence?
13 physically uses force -- hands on somebody they           13 A. Sure, and it always comes back to the same
14 could grab for the gun; right?                            14 conclusion.
15      A. No.                                               15 Q. And that's premised on Mr. Lawrence having
16   Q. They can't? They couldn't theoretically?             16 the gun gripped in his hand and using it against
17 Possibly?                                                 17 officers; right?
18      A. No.                                               18    A. Correct.
19      Q. Why not?                                          19 Q. If Mr. Lawrence didn't have the gun in his
20   A. It's not policy.                                     20 hand gripped, trying to use it on the officers, then
21   Q. The suspect doesn't follow policy. I'm               21 there is no -- even in your version --
22 saying the suspect could grab for the gun. That           22    A. His violent tendencies.
23 could happen?                                             23   Q. But that -- would that -- his violent

[8/25/2017] Woodruff, Adrienne                                                                            Pages 197 - 200
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 17 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 130 of 247
                                                        Page 201                                                        Page 203
  1 tendencies would be a basis for killing?                        1 Q. You do now. I'm asking you. So you're
  2 A. Fighting - no, I didn't say that.                            2 saying - are you saying you shot him because he had
  3 Q. Let me finish my question and that is where I                3 an empty holster on his waist now?
  4 was headed.                                                     4   A. No.
  5   A. Well, you don't let me finish my answer.                   5 Q. Okay. I want to go with the facts - at
  6   Q. Ms. Woodruff, if Mr. Lawrence never had the                6 least working with the facts that -
  7 laser gripped in a way he could use it, can we agree            7    A. Well, I didn't know at the time.
  8 there was no basis for shooting him?                            8   Q. Does that entitle you to shoot him?
  9         MR. WHITE: Object to the form.                          9   A. I'm not going to answer that.
 10   A. It depends on the circumstances.                          10   Q. Well, you keep bringing it up. Do you think
 11 Q. Heonly had the laser gripped by the barrel.                 11 the death of Mr. Lawrence is justified because you
 12 If that's true, if a jury believes that is true,               12 were worried about his gun?
 13 would you agree that It was unlawful -                         13 A. No. Because he was trying to hurt my partner
 14   A. He didn't.                                                14 and God knows who else.
 15   Q. - it was wrong for you to shoot him?                      15 Q. Ms. Woodruff, I really need an answer to this
 16 A. He didn't have it gripped by the barrel.                    16 question. If Mr. Gantu - excuse me, Mr. Lawrence,
 17 Q. I believe there will be different testimony                 17 only had his hand gripping the barrel, can we agree
 18 so - that's why I'm asking you. If he only had the             18 that he would not have been - even in your version
 19 laser gripped by the barrel, can we agree ~                    19 of events - an eminent threat of serious bodily
 20 A. That's speculating.                                         20 harm to you or Officer Rhodes?
 21   Q. Not speculating; it's a fact we intend to                 21        MR. WHITE: Object to the form.
 22 prove at trial. If Mr. Lawrence only had the Taser             22   A. I can't answer that.
 23 gripped by the barrel, can we agree It would have              23   Q. Why can't you answer that?
                                                        Page 202                                                        Page 204
  1 been unnecessary to shoot him?                                  1   A. Because I don't know. I don't know what else
  2       MR. WHITE: Object to the form.                            2 he might have done.
  3   A. I can't answer that. Because I don't - I'm                 3 Q. No, I'm saying if that's - if when you shot
  4 telling you what happened.                                      4 him he was gripping the Taser by the barrel and let
  5   Q. If Mr. Lawrence was not using a Taser against              5 go of the Taser -
  6 you ~                                                           6   A. No, Renee took the Taser.
  7   A. And you're making up stories.                              7   Q. Then Renee was the one in danger of getting
  8   Q. The reason you say you were entitled to shoot              8 Tased, wasn't she?
  9 him is because you were gripping the Taser and using            9 A. You're asking me questions that I can't
 10 it against the officers; right?                                10 answer because you're speculating.
 11   A. Correct.                                                  11 Q. How can Mr. Lawrence be subject to deadly
 12   Q. You say he was about to use it on Officer                 12 force by you if he's only gripping the barrel of the
 13 Rhodes; right?                                                 13 Taser to get it away from himself?
 14 A. He did use it on Officer Rhodes. It just                    14 A. He wasn't gripping the barrel of the Taser.
 15 didn't make good contact, but you'll have to ask               15 Q. Right. According to you he gripped it, took
 16 Officer Rhodes about that.                                     16 it from your hand, and got it in his own hand all in
 17   Q. Certainly. If Mr. Lawrence didn't even have               17 one motion with one hand; right?
 18 the Taser with his finger on the trigger, I mean,              18 A. I didn't say all in one motion.
 19 how can you say that he would ~ it would have been             19   Q. With one hand.
20 justified to shoot him?                                         20   A. With one hand.
 21   A. Where was his gun?                                        21   Q. Can you demonstrate how that could be done?
 22   Q. In his glove department.                                  22   A. I can't.
 23   A. Did I know that?                                          23   Q. You know it's impossible; right?
[8/25/2017] Woodruff, Adrienne                                                                                 Pages 201 - 204
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 18 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 131 of 247
                                                  Page 205                                                         Page 207
  1    A. No.                                                 1 that he could have an opportunity to put his finger
  2    Q. Can you even explain somehow, you know,             2 in the Taser trigger would be if you let him?
  3 with ~ how that could be done? And that would be          3         MR. WHITE: Object to the form.
  4 shown clearly on the video; right?                        4   A. No.
  5    A. No.                                                 5   Q. Well, if you were fighting with him for
  6    Q. Well, that's the left hand; right?             6 control of the Taser after he ripped it out of your
  7    A. That's the left hand.                          7 hand, don't you think you could have kept him from
  8   Q. That's the side that was presented towards      8 getting it gripped -
  9 the video camera; right?                             9 A. I wasn't fighting for control; I was pushing
 10   A. Sort of. It's kind of at an angle.             10 his arm. I told you that.
 11   Q. Do you see anything on that -- the video       11 Q. Well why would you ~ why would you just push
 12 that's anything like what you just demonstrated for 12 his arm instead of fighting for control of this
 13 me?                                                      13 Taser?
 14    A. That's hard to tell. It's not a very good          14 A. Because he had it twisted around pointed
 15 video.                                                   15 towards Alan's groin. I was trying to push his arm
 16   Q. Was it that easy to get the Taser away from         16 away from Alan's groin. I didn't want him to grab
 17 you. Officer Woodruff?                                   17 the end of the Taser and then tase me. That would
 18    A. No.                                                18 have been stupid.
 19    Q. I mean, you got a guy with his arms -- upper       19   Q. You understand that a 40-caliber bullet fired
 20 arms --                                                  20 from close range will pass through a human body
 21    A. He twisted it.                                     21 unless it hits -- and possibly even if it hits a
 22   Q. Yeah, so he's got his upper arms being              22 bone?
 23 restrained by Officer Rhodes, and you've got the         23   A. I was not aware of that. I found that out -

                                                  Page 206                                                         Page 208
  1 Taser gripped in your uninjured                           1 I found out later that it had.
  2 above-average-strength right hand; right?                 2 O. But you certainly knew a 40-caliber bullet
  3    A. That's correct.                                     3 can go through a human body; right?
  4    Q. And he's able to not only get it out of your        4    A. Depends on the circumstances.
  5   hand without you doing anything about it. Was abl^ 5         O. Right. In general you know that a
  6 to do a maneuver on his stomach or some other             6 40-caliber ~
  7 maneuver to twist that around to where he has his         7 A. You're putting words in my mouth. You're
  8 finger on the trigger all without you doing               8 asking — tell me, you know that.
  9 anything; right?                                          9 O. You can disagree. Don't you know that
 10   A. He also jerked it away from Officer Skipper         10 40-caliber bullet passes through human beings?
 11 who had both hands on it.                                11   A. It can.
 12    Q. I don't think that's what the video shows          12   O. You knew that before this incident; right?
 13 but-                                                     13   A. Yes.
 14          MR. WHITE: Object. Whoa. Whoa. That's 14             O. And you knew that right behind Mr. Lawrence
 15 out of line.                                             15 were kids; right?
16 Q. So are you saying that you see him ~              16   A. Yes, in the car?
17        MR. WHITE: Object. She said that's what 17 O. Yeah, three kids and a girlfriend; right?
18 happened.                                            18 A. I wasn't sure where - where they all were at
19 O. No, he got it ~ he did this maneuver, not         19 that point.
20 only while you were there, but while Officer Skipper 20 O. You knew there were kids and a girlfriend -
21 was there too; right?                                21   A. I knew there were kids and a girlfriend that
22   A. Renee hadn't stepped in yet.                    22 were there with him.
23   O. Can we agree that the only way, you know. 23 O. Yeah. And you knew that by firing a gun that
[8/25/2017] Woodruff, Adrienne                                                                           Pages 205 - 208
         Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 19 of 33
      USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 132 of 247
                                                   Page 209                                                      Page 211
  1 could place them at risk as well.                          1 assuming Mr. Lawrence had the Taser in Drive Stun
  2 A. My concern was not to hit Officer Rhodes.               2 mode it would have been highly difficult for him to
  3 Q. Right. You weren't concerned about the kids             3 be able to hold it in place for five continuous
  4 or the girlfriend, were you?                               4 seconds with three officers surrounding him; right?
  5 A. If I fired the way I fired -- 1 fired it up             5        MR. WHITE: Object to the form.
  6 close, tight, in case it went through him it               6 A. There were only two offers that were on top
  7 wouldn't hit Officer Rhodes or anybody on that side        7 of him. One was me, one was Officer Rhodes.
  8 that backside.                                             8   Q. Officer Skipper was there too.
  9    Q. Officer Rhodes was on the front side.                9   A. She was back somewhere. I didn't even know
 10   A. No.                                                  10 where she was back there.
 11    Q. Towards the front of the car. He was on             11  Q. By the time the Taser was an issue, she had
12 Mr. Lawrence's right --                                    12 come to help though; right?
 13         MR. WHITE: I'm going to object to you             13   A. You will have to ask her that.
14 telling her--                                              14   Q. Well you saw her.
15         MR. SHERROD: It's a question. It's a               15   A. When she came - no, I didn't.
16 leading question. It's a leading question.                 16   Q. You felt her presence to your right.
17          MR. WHITE: It's not a question. You can           17         MR. WHITE: Object to the form.
18 lead all day long.                                         18   A. I feel my dead mother's presence in my house
19         MR. SHERROD: At the end I will say,                19 too.
20 right? If you would not interrupt.                         20   Q. You saw her hands on the Taser, didn't you?
21   Q. (By Mr. Sherrod) Officer Rhodes was on                21   A. I told you I don't know whose hands those
22 Mr. Lawrence's right side, wasn't he?                      22 were.
23    A. But he was behind him.                               23   Q. Okay. You saw somebody - somebody's hands
                                                   Page 210                                                      Page 212
  1    Q. Who was behind who?                                  1 there to help you; right?
  2   A. Officer Rhodes was behind Mr. Lawrence.               2 A. In hopes that they were there to help, yup.
  3   Q. Right. On Mr. Lawrence's -- behind him on             3 Q. So you had -- maybe you were ignorant. You
  4 his right side.                                            4 had two people you were aware of --
  5   A. Over towards his right side.                          5   A. Don't -
  6   Q. Yeah. And so you shot away from Officer               6   Q. Two officers --
  7 Rhodes -                                                   7 A. Don't call me ignorant. Don't call me names,
  8   A. And away from the car.                                8 please.
  9   Q. Do you know if the bullet struck the car?             9 Q. No, I mean, you may have been ignorant of
 10   A. It did not.                                          10 Officer - I'm not calling you ignorant. Forgive me
 11   Q. How do you know that?                                11 if it sounds like that. I'm just saying, even if
 12   A. Because they told me right afterwards it fell        12 you were ignorant of- unaware of Officer
 13 out of his jacket when they picked his jacket up.         13 Skipper's -- that it was her, specifically, you
 14 Q. Can we agree that incapacitation from the              14 generally were treating this person, whoever it was,
 15 Drive Stun was highly unlikely?                           15 as a third person on the scene to help you; right?
 16         MR. WHITE: Object to the form.                    16 A. Yeah, when 1 saw that--yes.
 17   A. No.                                                  17 Q. So there were three people available to deal
 18  Q. Your understanding was that if it went for     18 with Mr. Lawrence if - with this Taser if he
19 five continuous seconds that it could incapacitate; 19 actually got it; right?
20 right?                                              20 A. At the same split second, yeah.
21    A. Correct.                                             21   Q. And you chose instead of fighting for the
22   Q. Being able to hold a - the Drive Stun                 22 Taser to end it all with a gunshot.
23 against Officer Rhodes -- strike that -- even              23        MR. WHITE: Was that a question?
[8/25/2017] Woodruff, Adrienne                                                                           Pages 209 - 212
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 20 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 133 of 247
                                                         Page 213                                                            Page 215
  1     Q. Didn't you?                                               1   away from Mr. Lawrence; right? Stepped back to draw
  2     A. He pulled the laser away.                                 2 your gun?
  3     Q. You chose instead of continuing to fight for              3    A. Yes, 1 believe 1 did.
  4 the laser ~                                                      4    Q. You could have stepped back even further and
  5     A. From Officer Skipper.                                     5 trained your gun on Mr. Lawrence and told him that
  6     Q. You chose ~                                               6 if he did not stop it you were going to shoot him?
  7           MR. WHITE: Testimony was he had it and                 7    A. He already said -
  8 he wasn't fighting over it anymore; he got it.                   8    Q. You could have done that; right?
  9   Q. No, I'm saying, you chose not to fight                      9    A. I'm not going to answer anymore.
 10 Mr. Lawrence, assuming he had the Taser like you                10         MR. WHITE: Just go ahead and answer the
 11 say, you chose not to help Officer Skipper fight for            11 way you want to answer.
 12 the Taser, didn't you?                                          12    A. No.
 13   A. No, it was not something that came to mind,                13    Q. You could not have done that? If the concern
 14 that I'll fight ~ let's fight him some more.                    14 was that Mr. Lawrence might incapacitate Mr. Rhodes,
 15 That's not ~ it's not a thought that went through               15 you could have drawn your gun, stepped back, given
 16 my mind.                                                        16 warnings and waited to see if -
 17     Q. Your mind - what went through your mind was,             17   A. We gave him warnings to stop so we could
 18 1 can just end it all with a gunshot?                           18 handcuff him. We gave him warnings that he was
 19    A. No, it was. The man is not going to give up.              19 going to be Tased.
 20   He's made it very clear that he's not going to give           20    Q. He did not know ~
 21   up. He's too much for Officer Rhodes and 1 to                 21    A. We gave him warnings to stop struggling.
 22 handle. He's trying to hurt Officer Rhodes. He's                22    Q. He did not know those were ~
 23 not rational.   Everything is bad. He's going to                23    A. He failed to comply.
                                                         Page 214                                                            Page 216
  1   hurt somebody. No, I'm going to end the situation.             1    Q. He didn't know that if he didn't comply his
  2 When he pulled that Taser and tried to                           2 price was his life.
  3 tase Officer Rhodes, 1 stepped up my use offeree.                3    A. He didn't? What did he think the price was?
  4     Q. You killed him.                                           4    Q. Is that what you think the ~
  5     A. 1 killed him.                                             5    A. I'm asking you. You seem to have all the
  6     Q. But you ~                                                 6 answers.
  7     A. 1 shot him.                                               7    Q. Did you think he had any understanding that
  8   Q. But you did that instead of using your                      8 you were going to end his life if he didn't let you
  9 force ~ your hands, your physicality, your body                  9 cuff him?
 10 to ~                                                            10         MR. WHITE: Object to the form.
 11     A. Well, 1 could have also ~                                11    A. 1 don't know. 1 don't know what he was
 12     Q. ~ take the Taser.                                        12 thinking.
 13     A. ~ let him go and get in his car and drive                13    Q. How would we have ~ how would he have known
 14   off right then too, couldn't 1?                               14 that you were going to kill him if he didn't submit?
 15     Q. So the options were just let him go or kill              15    A. You ever watch COPS on TV?
 16   him, in your mind?                                            16    Q. Is that what cops on TV do?
 17     A. Stop twisting my words.                                  17    A. Do they? Do you ever watch it? Have you
 18   Q. You could have warned him that you were going              18 ever seen it?
 19 to shoot him if he didn't let go of the Taser;                  19   Q. 1 see police misconduct videos that show
 20 right?                                                          20 things like that, but not usually, you know, cop TV
 21  A. There was no time to say or do anything when                21 shows.
 22 somebody is doing what he was doing.                            22    A. You should know the law. Ignorance of the
 23   Q. You could have stepped away ~ you stepped                  23 law is not an excuse.

[8/25/2017] Woodruff, Adrienne                                                                                   Pages 213-216
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 21 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 134 of 247
                                                         Page 217                                                      Page 219
  1    Q. What is the law you think I'm ignorant of?                 1 time.
  2    A. 1 didn't say you were ignorant.                            2   Q. Is that - so you-
  3    Q. What do you think is the law that Mr.                      3   A. These things happen in milliseconds.
  4   Lawrence was ignorant of?                                      4   Q. Would you agree that it's important for a
  5    A. To obey the direct command of a police                     5 police officer to respect the ~ not only her own
  6 officer ~                                                        6 life and the lives of her fellow officers but also
  7    Q. Penalty ~                                                  7 the lives of citizens?
  8    A. Or bad things might happen.                                8     A. Absolutely.
  9    Q. Because that officer might be afraid about                 9     Q. And that includes the citizens who are due to
 10 doing something other than shooting; right?                     10 be arrested?
 11    A. What?                                                     11     A. Absolutely.
 12    Q. The safest thing for an officer to do in any              12     Q. Like ~ if you look at the ~ 1 mean, you're
 13 situation is just to kill the person; right?                    13 supposed to be out there, you know, protecting anc
 14    A. Wrong.                                                    14 serving the public; right?
 15    Q. If you killed the person ~ if you shoot the               15     A. That's correct.
 16   person, there is no - you don't have to risk what             16   Q. And if you go out doing the job where your
 17 else might happen; right? You might get hit by                  17 only primary concern is protecting yourself from an;^
 18   Mr. Lawrence; right?                                          18 possible danger, that could lead to bad things,
 19   A. He's a lot bigger guy than 1 was. 1 wasn't                 19 couldn't it?
 20 going to let him hit me. He kept getting up in my               20         MR. WHITE: Object to the form.
 21 face, again, and again, and again. He was very                  21   A. It depends on how the ~
 22 threatening. He was very scary. 1 was waiting for               22   Q. Can we agree that a fearful officer is
 23 my backup to get there. 1 mean, in my face. Do you              23 potentially a dangerous officer?

                                                         Page 218                                                      Page 220
  1   understand? You're ignoring me. He's up in my                  1          MR. WHITE: Object to the form.
  2 face.                                                            2     A. No.
  3    Q. And that is what ~                                         3     Q. And if the officer is always afraid of
  4    A. In my face.                                                4 something that is going to happen to her - him or
  5    Q. ~ how far, six inches?                                     5   her that they're a danger to act to protect their
  6    A. Yes, at times, six inches.                                 6 fear?
  7    Q. That's how it felt to you wasn't it ~                      7         MR. WHITE: Object to the form.
  8    A. That's how it was.                                         8   A. No. I'm not always ~
  9    Q. You felt like you didn't have any ~                        9   Q. You were afraid of ~ of what might happen
 10    A. 1 would back up and tell him to get out of my             10 with the Taser; right?
 11 face.                                                           11   A. What was happening with the Taser.
 12    Q. You were so afraid at the end that you                    12   Q. But what - but what might happen if it went
 13 couldn't think of anything to do other than to shoot            13 on further; right? 1 mean, you wrote in your
 14   Mr. Lawrence; right?                                          14 report - we've been through it ~ you're afraid
 15  A. Those are my only options left, 1 thought.                  15 that he could incapacitate Mr. Rhodes and get his
 16   Q. Options? That was just one option; right?                  16   gun; right?
 17  A. That was my only option left.                               17     A. That's correct.
 18   Q. Okay. So you say you couldn't have stepped                 18     Q. And because of your fears, you shot and
 19 back and issued a warning while you trained your gun            19   killed Mr. Lawrence; right?
 20 on Mr. Lawrence?                                                20     A. There were a lot ~ there were a lot of
 21    A. There was no time.                                        21   things in there ~
 22    Q. Why wasn't ~                                              22     Q. And because of your-
 23    A. He was trying to tase Alan. There was no                  23     A. - that 1 took in ~

[8/25/2017] Woodruff, Adrienne                                                                                 Pages 217-220
         Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 22 of 33
      USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 135 of 247
                                                   Page 221                                                        Page 223
  1    Q. Because of your fear-                                1 options, did you?
  2    A. No, because of my 23-and-a-half years'               2 A. To wait for my backup to get there.
  3 experience on the job as a law enforcement officer         3 Q. No, I'm talking about in the final moments of
  4   Q. Your 23 and a half years, most of which has           4 this incident?
  5 not been spent putting, you know, your life on the         5   A. By backup was there.
  6 line --                                                    6   Q. Right. And at that point you were afraid -
  7    A. That's not true.                                     7   A. And we were hands-on.
  8    Q. Right? Your primary experience in physical           8 Q. But you were afraid to go ~ your hands on
  9 conflicts has been that you get hurt; right?               9 Mr. Lawrence, get in the fight ~
 10   A. No. I've arrested hundreds of people and             10 A. I was in the fight.
 11 never had a problem.                                      11 Q. You were sticking a Taser in from the side
 12   Q. Right. But when there is physical                    12 weren't you?
 13 conflict ~                                                13 A. You're testifying - no, well ~ at the end.
 14 A. And mostly I don't have a problem.                     14   Q. Yeah. And then when the Taser didn't work
 15 Q. Right. But when there's a physical conflict            15 you didn't go any further hands-on, did you?
 16 you're afraid that you could see what happened in         16 A. There was no point. He was - how many times
 17 the past happen again; right?                             17 do we have to do this? He had control of the Taser.
 18   A. I'm not sure I understand that question.   18 Q. Right. So ~
 19   Q. When you see - saw Mr. Lawrence you saw 19 A. Would you want me to grab the Taser? You
 20 the — you see the woman who beat you up and Mr. 20 tell me.
 21 McCray, couldn't you?                           21 Q. Absolutely. Absolutely.
 22    A. No.                                                 22   A. Oh, I get tased and he doesn't?
 23    Q. You had two big incidents before this one;          23   Q. And you ~ and everybody lives. This way you
                                                   Page 222                                                        Page 224
  1 right? You said those two?                                 1 don't even have to get tased and he dies; right?
  2   A. Yeah, those were pretty big. Pretty big               2 A. I would get tased.
  3 fights.                                                    3 Q. Ch my gosh, and you'd rather have
  4   Q. And you got beat up in those two; right?              4 Mr. Lawrence die to keep you from possibly getting
  5   A. Well, I got beat up in the first one.                 5 tased; right?
  6   Q. And you got thrown into a table and against a         6 A. I'm not going to answer that. That's a
  7 salad bar in the second?                                   7 ridiculous question.
  8   A. Yes.                                                  8 Q. Isn't that what you just said? You might
  9   Q. Went to the hospital in both?                         9 have gotten tased If you grabbed the Taser; right?
 10   A. Correct.                                             10         THE WITNESS: You want to read It back?
 11   Q. And both ~ both times that happened when you         11   Q. Ms. Woodruff, If you had grabbed the Taser,
 12 went hands-on with somebody; right?                       12 you might have gotten tased; right?
 13   A. I've been hands-on a lot.                            13   A. Sure.
 14 Q. Both of those times happened when you went             14 Q. And In order - because you were afraid of
 15 hands-on with somebody ~                                  15 possibly getting tased yourself, you killed
 16   A. Correct.                                             16 Mr. Lawrence; right?
 17   Q. Right, Ms. Woodruff?                                 17   A. No.
 18   A. Correct.                                             18 Q. Is that not part of what you were afraid of?
 19 Q. And you were afraid to go hands-on with                19 Weren't you afraid to grab the Taser?
 20 Mr. Lawrence, weren't you?                                20 A. I'm not going to grab this end of the Taser.
 21   A. Absolutely.                                          21 Q. Right. So you were afraid that you might
 22   Q. And because you're afraid to go hands-on with        22 come Into contact with that end if you grabbed in
 23 Mr. Lawrence, you really didn't have very many            23 there; right?
[8/25/2017] Woodruff, Adrienne                                                                          Pages 221 - 224
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 23 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 136 of 247
                                                         Page 225                                                           Page 227
  1   A. And then i'm no good.                                       1 we don't take dogs'from out of county. Somebody
  2 Q. And the only way to protect yourself is -                     2 has to pay for the dogs upkeep and staff ~
  3 from having to do anything further is shoot                      3 staffing. Hoping that that would quiet him down
  4 Mr. Lawrence: right?                                             4 some. And he just got more agitated. So I said,
  5 A. Wrong. I can't help to say but you're                         5 "I'll tell you what, just sign the paper. Forget
  6 just - you're beating a dead horse here. You're                  6 the ID, just sign the paper and we'll take the dog."
  7 asking me the same questions over and over again in              7 It just seemed easier to just go on and get him out
  8 a different form. I don't know what you want from                8 of here. And he refused to even provide a
  9 me.                                                              9 signature. And that's when he said, "I'll do"- he
 10          MR. SHERROD: Let's take a break and                    10 was just going to dump the dog at the end - dump
 11 we'll wrap up when I get back.                                  11 the damn dog at the end of the road. And he reached
 12        (Brief recess taken.)                                    12 down and picked the dog up by the scruff of the neck
 13 Q. I don't think we covered a couple of things.                 13 and I said, "You don't do that either." I told him
 14 Now, I think there's - you contend - if I                       14 to dump the dog was illegal. When he picked the dog
 15 understand you, Ms. Woodruff, that there was two                15 up by the scruff of the neck I said,"We don't do
 16 times where you were at the back of the car getting             16 that either." And he said,"What?" And I said,
 17 the tag?                                                        17 "Pick dogs up by the scruff of the neck. It's a
 18    A. Yes.                                                      18 grown dog." And he turned to leave. And he said,
 19    Q. Okay. So tell me what happened inside the-                19 "I'm just going to dump the damn dog at the end of
 20    A. Inside of the shelter?                                    20 the road." Out he went. That's what happened
 21    Q. - animal control. Yup.                                    21 inside.
 22    A. I was back in my office working and I heard a             22   Q. Anything - anything else happen inside that
 23 male voice out front. It was a little bit - little              23 you heard or saw other than that?
                                                         Page 226                                                           Page 228
  1 bit loud sounding. A little angry. And about that                1   A. No.
  2 time, my secretary stuck her head in my door and                 2   Q. And on the way out he - you asked him if he
  3 said, "Got a guy out here from Geneva wanting to                 3 had a gun?
  4 turn a dog in, but he's saying - when I told him we              4   A. On the way out I reached for a piece of paper
  5 didn't take it he said he found it north side                    5 and a pen off the counter so that I could write his
  6 WalMart." And I said, "Well, just go ahead and take              6 tag number down. If he was going to dump the dog I
  7 it. It came from our city limits. We'll just take                7 would have a place to start looking. And when I got
  8 it." And she went back out there and I heard her                 8 immediately behind him going out the front door of
  9 tell him ~ we have a form we call an intake                      9 the shelter and when he raised his arm to open the
 10 sheet - and I heard her tell him, "I need your ID               10 door, that's when I saw the bottom of the holster
 11 and, you know,just fill out this." And he said he               11 and was asking him, as he was exiting, if he had a
 12 wasn't going to give an ID. He didn't have to give              12 gun. We have a sign on our front door that no
 13 an ID. And she said, "ID is required." And about                13 weapons are allowed. And he kept walking, he said,
 14 that - I think it was about that time I came out of             14 "It's in the car. I never carry it in. It's in the
 15 my office because his voice was raised even more and            15 car."
 16 I thought maybe I could quiet things down a bit.                16 Q. Which is what you would expect since all you
 17 And he said he didn't have an ID and he wasn't                  17 saw was a holster without a gun in it; right?
 18 filling out the piece of paper, that it was a                   18 A. I couldn't tell if there was a gun in it or
 19 violation of his privacy rights and he didn't have              19 not. All I saw was the bottom of the holster.
20 to fill it out.                                                  20 Q. But when you reported it - you never
21        And then he started quoting federal and state             21 reported him as being armed, did you?
22 statutes by number and that ~ that - that went on                22   A. No.
23 and I tried to explain to him why - why number one.              23   Q. In fact if you listen to the radio traffic
[8/25/2017] Woodruff, Adrienne                                                                                     Pages 225 - 228
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 24 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 137 of 247
                                                          Page 229                                                        Page 231
  1   there's nothing about any warning to any officers               1    Q. Well, you remember that - you told me
  2 that's he's armed; right?                                         2 that you took the phone from him to put up for the
  3     A. No, 1 don't think so. No.                                  3 girlfriend?
  4     Q. Which you would have done if you had any                   4   A. Yes, he had the phone. 1 didn't know if they
  5 concern that he was armed?                                        5 had two phones. Most people have their own cell
  6     A. If 1 had seen it for sure.                                 6 phone.
  7     Q. Or even believed that he was likely armed;                 7    Q. Now, you were using a mobile phone; right?
  8 right?                                                            8    A. Yes.
  9     A. 1 don't know. 1 don't know what 1 would have               9    Q. Your mobile phone's on what service?
 10 said.                                                            10    A. It was going through Verizon ~
 11     Q. Well, for the officers' safety, wouldn't you              11    Q. It was a Verizon cell phone; right?
 12 have let other officers know?                                    12    A. It - well, yeah, but - it was and it
 13     A. Yes, absolutely. Yeah, 1 would have. 1                    13 wasn't. It was -- trying to go through the City
 14 would would have.                                                14 system. IT had come out, 1 told you -
 15   Q. So the reason you didn't say anything to                    15    Q. Let me ask you, seriously -
 16 Officer Rhodes or anybody else is because you had no             16    A. You're interrupting.
 17 belief that Mr. Lawrence was armed; right?                       17    Q. Was it a Verizon cell phone? Did it use the
 18     A. Because he told me he left it in the car.                 18 Verizon -
 19 But 1 was going to get the tag number anyway.                    19    A. It wasn't - what 1 had was not a cell phone.
 20     Q. He went and sat in the passenger - in the                 20 It was a portable phone.
 21   driver's seat; right?                                          21    Q. So it was - you're saying you didn't have a
 22    A. Yes, the car was running.                                  22 cell phone? You were calling from a wireless phone
 23    0. And you followed him; right?                               23 that was connected back to, like, a base back

                                                          Page 230                                                        Page 232
  1     A. 1 followed him.                                            1 inside?
  2     Q. And he immediately told the girlfriend to                  2     A. It was connected at the sewage plant.
  3 start videoing; right?                                            3     Q. How?
  4  A. "This is going to be a good one."                             4     A. It had the little antenna back there at the
  5   Q. And then you saw her hold up the video, the                  5 sewage plant.
  6 phone; right?                                                     6     Q. So did you have a speed dial on there to
  7     A. 1 did not see her do that.                                 7 contact -
  8     Q. It would surprise you that that's what she                 8     A. No.
  9 did; right?                                                       9     Q. 1 mean, you had to dial the number?
 10     A. No, it wouldn't surprise me.                              10     A. Yes.
 11     Q. You watched the video that she took, at least             11     Q. And did you keep trying to dial the number
 12 in part she took; right?                                         12   until you were able to get through?
 13    A. Yes.                                                       13     A. Yes.
 14     Q. In fact she -- it started with her and then               14    Q. So there wasn't, like, a big break between
 15   he gets out of the car; right?                                 15   when you first starting dialing and when you
 16    A. Yes.                                                       16   actually got through; right?
 17     Q. And she hands him the - the phone; right?                 17     A. It was several minutes.
 18   Do you recall that?                                            18    Q. It took you several minutes of -
 19    A. 1 don't recall -                                           19    A. To get through.
 20  Q. But you remember he comes up to you with the                 20    Q. So did you - how did that work?
 21 phone after that; right?                                         21     A. How did what work?
 22  A. I'm not sure about that. That sounds right.                  22     Q. How did that happen? You know -- 1 don't
 23 I'm not sure.                                                    23   really understand, frankly, how, you know.
[8/25/2017] Woodruff, Adrienne                                                                                   Pages 229 - 232
         Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 25 of 33
      USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 138 of 247
                                                   Page 233                                                           Page 235
  1 mechanically this works with this particular phone         1    A. Backup.
  2 that 1 don't really understand. Like, you're,              2   Q. Going to call ~ when you had already -
  3 saying, like, you would enter numbers in and it just       3 hadn't you already - this is Call 1.
  4 wouldn't connect?                                          4         (Audiotape playing.)
  5    A. Correct.                                             5    Q. So you told somebody at the office to call
  6    Q. So explain to me - did you just keep                 6 for you a backup?
  7 redialing?                                                 7    A. Yes, that was Pat Holly, my secretary.
  8   A. I'd hang up and dial again.                           8    Q. I'm going back to Recording 3.
  9   Q. So how many times did you dial?                       9        (Audiotape playing.)
 10   A. 1 can't remember how many times.                     10    Q. So you're calling and Mr. Lawrence is out
 11    Q. 1 mean, more or less than ten?                      11   with you?
 12    A. Less.                                               12     A. That's him yelling in the background.
 13    Q. More or less than five?                             13   Q. That's him that says that you're unlawfully
 14  A. Possibly more or about. I'm not sure.                 14 detaining him?
 15  Q. Did you make any complaint about the ~ the            15    A. Correct.
 16 phone issue after this incident?                          16    Q. And that it's all on film?
 17    A. Yes.                                                17    A. Yes.
 18    Q. Okay. Who did you make a complaint to?              18   Q. So he had been filming you up into this point
 19    A. 1 can't remember. 1 made complaints before          19 where you call in; right?
20 and after.                                                 20    A. 1 don't know where he ~ 1 don't know.
21     Q. And you just didn't have, like, a regular old       21       (Audiotape playing.)
22 radio, walkie-talkie?                                      22   Q. So you learned that he was negative on
23     A. No.                                                 23 warrants; right?

                                                   Page 234                                                           Page 236
  1    Q. Like the type ~ there is a type that patrol          1   A. Correct. By that name.
  2 officers wear; right?                                      2       (Audiotape playing.)
  3   A. There is. Mine was in my pickup truck.                3   Q. So when you first came, you went to try and
  4   Q. Not something you used in your work?                  4 get Mr. Lawrence's tag after you first came out; is
  5   A. 1 rarely used it. When I'd go out                     5 that your recollection?
  6 occasionally on calls.                                     6    A. 1 may have asked for his driver's license,
  7   Q. So once you got through and you called in ~           7 too. As 1 went by 1 told him 1 wanted his driver's
  8 well what was ~ maybe we just need to listen to            8 license.   But, yes, my intent was to get his tag
  9 the -                                                      9 number.
 10    A. The county dug up our lines.                        10   Q. But I'm just recalling he got into the car
 11   Q. So this is identified as the third call, the         11 and then you went around to his tag and then he got
 12 file name, at least one version of it.
                                        So you        12 out; right?
 13 called - do you remember calling to see a warrant 13   A. That's right. That's right.
 14 check?                                            14   Q. And that's when you couldn't get through on
 15        (Audiotape playing.)                       15 the phone; right?
 16   Q. So when this call is going, does that mean   16   A. Yes.
 17 you have his papers?                              17   Q. So you couldn't call in the tag at that time
18    A. Yes.                                                 18 because the phone wasn't working; right?
 19   Q. I'm going to the call that's labeled Call            19  A. And 1 kept trying to. Right.
20 No. 2.                                                     20   Q. And so you stepped backed and kept trying to
21          (Audiotape playing.)                              21 call on the phone until you were eventually able to
22    Q. What does that mean, the second call, the            22 get them; right?
23 signal 41?                                                 23    A. Yes.

[8/25/2017] Woodruff, Adrienne                                                                             Pages 233 - 236
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 26 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 139 of 247
                                                        Page 237                                                            Page 239
  1    Q. And then -                                                1     A. That's ~ that's when he was getting the
  2    A. But 1 had also asked for his driver's license             2 paper.
  3 and that pause - in one of those pauses i had asked             3     Q. Is that at the beginning? Like, where does
  4 for his driver's - DL.                                          4 this fit in the timeline you recall?
  5    Q. Has he given his paperwork to you?                        5     A. Before 1 had the comm center on the phone and
  6    A. Not at first, no. Not when i asked for his                6 with an open line.    It was before that.
  7 driver's license.                                               7         (Videotape playing.)
  8   Q. When did he give you the paperwork?                        8     Q. Okay. Do you remember this language being on
  9   A. When he told me he was going to get in his                 9 the comm center? The language about -
 10 car and leave. And i told him he wasn't going                  10     A. No.
 11   anywhere without a driver's license. He told me              11     Q. - where he admitted that he in fact ~
 12 that was my law, not his, and he didn't need it.               12     A. Yes, because 1 asked him if he had lied.
 13 And he went to get in the car. He got in the car.              13   Q. Yup, and he basically admitted to you that he
 14   i thought he was leaving.                                    14 lied about Geneva County; right?
 15        (Videotape playing.)                                    15     A. He lied about where he lived.
 16   Q. Would you agree that we can, to some extent.              16     Q. But he essentially admitted that he lied to
 17 take the video from Mr. Lawrence's girlfriend's ceil           17 you about Geneva County and then told you that it
 18 phone and match it up with this recording by                   18 didn't matter; right?
 19 matching what you can hear each of you say?                    19     A. Right.
 20   A. I'm not - I'm not sure that they were done                20     Q. And that is caught on the recording that you
 21 at the same time. Because he gave me the paper ~               21   had; right?
 22   Q. if they match up though, like, identically.               22    A. Yes.
 23 we would be able to see where they overlap ~                   23     Q. And your recording, just to be clear.
                                                       Page 238                                                             Page 240
  1   A. Right.                                                     1   continues up until Officer Rhodes arrives; right?
  2   Q. if they do; right?                                         2    A. Correct.
  3   A. Yeah, if they do.                                          3    Q. But some part of it is harder to hear his
  4       (Videotape playing.)                                      4 part; right?
  5   Q. Now I'm playing the first of three videos                  5    A. 1 kept backing up from him.
  6 from his - her ceil phone, i say it was the first.              6    Q. Well, he's in his car - 1 could just pull
  7 I'm not sure it's the first but --                              7 the video -
  8     A. Oh, that. Yeah.                                          8    A. No. That's fine.
  9     Q. How many of the ceil phone videos did you                9    Q. Initially he's in his car; right?
 10 see?                                                           10    A. Right.
 11  A. There was something about a little kid that   11       (Videotape playing.)
 12 was playing on there and i thought that was odd. 12 Q. So to the extent - and 1 believe this
 13  Q. So you definitely saw the one with that sound 13 recording continues all the way through until it
 14 in it?                                                         14 gets handed to you and then it goes off. Do you
 15     A. Yeah.                                                   15 recall ~
16         (Videotape playing.)                                    16    A. The phone?
17   Q. Okay. Do you remember him talking about                    17   Q. - the phone recording.
18 that, getting the news crew out?                                18  A. He - 1 remember him holding it up in his
19   A. Vaguely.                                                   19 hand - one of his hands - and saying, "Watch my
20   Q. Your blue is visible. 1 think, it's your                   20 phone, watch my phone" and 1 took it out of his hand
21    blue ~                                                       21 and handed to the woman inside the car so it
22      A. Yeah, it's me standing there.                           22 wouldn't get broken.
23      Q. Okay. When is this recording from?                      23    Q. Yeah, but I'm saying this recording - this
[8/25/2017] Woodruff, Adrienne                                                                                    Pages 237 - 240
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 27 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 140 of 247
                                                       Page 241                                                          Page 243
  1   video recording of her and then him matches up with          1           MR. WHITE: He's not asking any
  2 your last call to the comm center?                             2 questions. 1 mean, if you want to ask a question
  3     A. To the comm center.                                     3 about what it is. Then -
  4     Q. Right?                                                  4        MR. SHERROD: I'm just letting her listen
  5     A. It sounds like it.                                      5 and then I'll - yeah, absolutely, I'm not going to
  6         (Videotape playing.)                                   6 ask a question about that, but she's welcome to hear
  7   Q. Now, and you can actually - if you look, you              7 it.
  8 can actually see you on - with the phone up to your            8           MR. WHITE: Okay.
  9 ear, do you know - 1 can show you this, do you                 9           (Videotape playing.)
 10 know - 1 don't think it's particularly material.              10       A. "Back with us"?
 11 but 1 just wanted you - what are the papers that              11   Q. Now, was there any further - at any time was
 12   you got in your hand in that - in that video there?         12 there any discussion of the dog?
 13     A. One of them is the piece of paper that 1 got           13   A. They called it by name.
 14 to write the tag number down and the other one is -           14   Q. Is that on any of the recording?
 15   what I'm looking at there is the one that he handed         15       A. No.
 16   me. The affidavit of identity.                              16   Q. When did they call it by name?
 17    Q. So how - did you get the affidavit of                   17   A. The woman called by name after he had been
 18 identity from him while he was sitting in the car?            18 shot and it was running around loose and she said.
 19    A. Yeah, he went to the car to get it.                     19 "Snoopy. Snoopy. Come here. Snoopy."
 20    Q. Is that what he was going to get when he left           20   Q. There were two dogs in the car, weren't
 21   the building?                                               21 there?
 22    A. Yeah, 1 didn't know - yeah, 1 didn't know -             22   A. No, that one, the other one was still in the
 23   1 thought he was leaving the premises.                      23 car. But that's the one she was calling.

                                                       Page 242                                                          Page 244
  1   Q. So basically what happened? He left, went                 1       Q. So the time you claim that she referred to it
  2 through the door, you followed, he got his affidavit           2 as Snoopy was after the shooting?
  3 of identity and handed it to you; right?                       3       A. Yes.
  4    A. Not immediately.                                         4  Q. Okay.
  5    Q. Did y'all discuss -                                      5   A. Because then, 1 think, both of the dogs ended
  6    A. Because we were at the back of the car                   6 up getting out of the car because she left the door
  7 trying - 1 was trying to get the tag and him                   7 open.
  8 stepping in front of the tag. That came first.
                                                He                 8   Q. So that's why 1 was confused. 1 thought you
  9 got out of the car and came back there and told me 1           9 just said that only one of them got out of the car?
 10 didn't have the right to get his tag.                         10   A. One got out originally and that's the one she
 11   Q. Was that before or after he had given you the            11 was hollering after.
 12 affidavit of identity?                                        12           (Videotape playing.)
 13    A. Before.                                                 13       Q. Was it unprofessionai for you to refer to the
 14    Q. And was there any reason you needed his tag             14 teeth in his mouth?
 15 at that point in the incident?                                15            MR. WHITE: Object to the form.
 16    A. Yes.                                                    16       A. Yes.
 17    Q. Why?                                                    17       Q. Would that indicate ~ how did he respond to
 18   A. Because he had threatened to dump the dog at             18 that?
 19 the end of the road, and 1 needed a place to start            19       A. He told me he made $1,600 an hour.
 20 tracking down. And tags were good.                            20       Q. Not then. He didn't do that just then.
 21        (Videotape playing.)                                   21           MR. WHITE: Objection.
 22    A. Wait a minute, what did she say? 1 didn't               22       A. After.
 23 quite catch it.                                               23            MR. WHITE: Whoa. Whoa. You wait for a

[8/25/2017] Woodruff, Adrienne                                                                                  Pages 241 - 244
         Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 28 of 33
      USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 141 of 247
                                                    Page 245                                                        Page 247
  1 question.                                                   1 regardless, you're saying that was a professional
  2 Q. Ms. Woodruff, he didn't say about the 16--               2 question to ask somebody?
  3 the whatever dollars an hour in response to the             3 A. It's asked a lot, yes.
  4 teeth, did he?                                              4 Q. To people that you've asked them about
  5   A. Not to the teeth.                                      5 their - demean them about their teeth and their
  6 Q. No, so I'm just talking about the teeth. So              6 income?
  7 he actually responded quite reasonably saying, you          7   A. I don't think I've ever asked that before.
  8 know, that's, you know ~ I don't remember his exact         8 Q. So why were you-
  9 words, but he was critical of you for having gone           9 A. I might have. I don't know.
 10 there; right?                                              10 Q. Why did you speak that way to Mr. Lawrence
 11   A. Yes.                                                  11 that day?
 12   Q. You didn't apologize, did you?                        12   A. 1 can't answer that. I don't know.
 13   A. No.                                                   13 Q. Were you having a bad day?
 14   Q. Would you agree that between the two of you,          14 A. No, I was having a good day.
 15 at that moment anyway, he was the one that was more        15 Q. I mean, is it ~ you saw Mr. Lawrence as less
 16 in the control of his emotions?                            16 than a regular person; right?
 17   A. No.                                                   17   A. No.
 18 Q. Would you agree that the ~ on multiple                  18 Q. He was a sovereign citizen; right?
 19 occasions demeaning somebody regarding their teeth         19 A. He was ~ that only clued me into him being
 20 and their wealth and then their psychiatric state          20 dangerous.
 21 would indicate that you were not in good control of        21   Q. He didn't deserve any respect from you is the
 22 your emotions?                                             22 way you took it; right?
 23        MR. WHITE: Object to the form.                      23 A. Wrong.
                                                    Page 246                                                        Page 248
  1   A. Try me one more time.                                  1   Q. Because of his crazy beliefs?
  2 Q. Yeah. It's unprofessional to ask somebody if             2 A. Wrong.
  3 they're off their meds; right?                              3 Q. Well you treated him in a demeaning manner ~
  4    A. No.                                                   4 unprofessional manner; right?
  5 Q. After you've asked them about ~ criticized               5   A. No.
  6 their teeth and their wealth, didn't you think it           6   Q. I thought you said that it was ~ would you
  7 might sound a little bit as an attack to ask them if        7 not agree that the teeth and the wealth comments
  8 they're off their meds?                            8 were demeaning?
  9 A. I deal with a lot of people —                   9 A. No, the wealth comment was in response to him
 10 Q. Are you ~                                      10 telling me that he makes $1,600 an hour talking to
 11   A. Do you want me to answer?                    11 people like me.
12 Q. 1 understand that theoretically people can be 12 Q. He didn't say that's what he made. He said
13 off their meds. My question is, are you claiming   13 that what his rates were.
14 that you were just concerned with asking about     14         MR. WHITE: Objection. Now you're not ~
15 whether he was not taking his regular prescription 15 now you're not ~ whoa,just hold on. You're not
16 medications?                                       16 asking questions and she's not going to answer
17   A. Yes.                                          17 something or respond to your statement.
18 Q. Okay. And is that why —                         18 Q. Ms. Woodruff, were ~
19 A. Or psychiatric medications.                     19   A. I need to use the ladies'room.
20 Q. Psychiatric medications are prescription        20 Q. Can we agree that you were not treating
21 medications, aren't they, Ms. Woodruff?            21 Mr. Lawrence with respect during the encounter?
22   A. Yes.                                          22 A. No, we can't agree to that.
23 Q. Okay. But you take ~ what ~ but                 23 Q. Can we agree that you did ~ if somebody said
[8/25/2017] Woodruff, Adrienne                                                                           Pages 245 - 248
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 29 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 142 of 247
                                                         Page 249                                                       Page 251
  1   something personal like that to you that you would             1 tag if you wanted to; right?
  2 consider - you know, it might be taken and                       2   A. Yeah, and 1 probably had. 1 was trying to
  3 understood as indicating lack of respect?                        3 keep my eyes on him. 1 don't know.
  4     A. As a police officer, I've listened to a lot               4         (Videotape playing.)
  5 and it doesn't bother me.                                        5   Q. Okay. There's a -- 1 guess there's a guy in
  6   Q. But you didn't listen to anything personally                6 a black sweatshirt that walks by like he's going in
  7 demeaning like that from Mr. Lawrence, did you?                  7 the animal shelter. Do you know who that was?
  8   A. That's not what I'm asking you.                             8    A. No.
  9   Q. Well, 1 didn't - I'm asking you a different                 9    Q. I'll show you. It may just be a random -
 10 question. You're - whatever other people have said              10   it's probably not important. 1 hadn't even noticed
 11   to you is not an excuse for how you get to treat              11 it before. So that's the guy, you don't really get
 12 Mr. Lawrence, is it?                                            12 a great look at him. Seems like a young guy.
 13     A. 1 try to treat everybody the same.                       13    A. 1 think that's just a customer.
 14   Q. So have you treated other people like you                  14    Q. Just a customer? 1 figured. Okay.
 15 treated Mr. Lawrence, don't you?                                15   A. 1 don't recognize him.
 16     A. Depends on the circumstances.                            16        (Videotape playing.)
 17     Q. If you are - if they get you -                           17   A. That's where 1 was running the tag.
 18     A. I've never had circumstances like these                  18   Q. You hear him. That's when he said, "That's
 19 before.                                                         19 private property"?
 20     Q. If somebody makes you angry, you will use                20   A. That's when 1 was running the tag.
 21   your wit and your words to demean them, won't you?            21   Q. Right. And that's when he comes back and
 22     A. No.                                                      22 stands in your way; right?
 23            MR. WHITE: Object to the form.                       23    A. It appears that way.
                                                         Page 250                                                       Page 252
  1   Q. 1 thought you said you treated him like you                 1    Q. Yeah and this is at - on the cell phone
  2 treated everybody. 1 mean, was this an exception or              2 video at 4:39.
  3 was this the rule is what I'm asking?                            3    A. Well, everybody's clocks are different.
  4   A. It was - 1 told you I've never had a                        4    Q. A time, not the time. At 4:39 Into the
  5 situation like this before.                                      5 video.  He's standing there, you're on the phone -
  6     Q. You've never had a situation where somebody               6 you've been the phone the whole time; right?    We can
  7 didn't obey your commands?                                       7 go back to the audio, but we can hear you call in
  8    A. The totality of the circumstances. 1 have                  8 the tag; right?
  9 never run into anybody that behaved like this or                 9   A. Yes, 1 called the tag in. 1 think that was
 10 just - behaved like this. And if you don't mind, 1              10 the second call, wasn't it?
 11   need a quick bathroom break.                                  11    Q. He mentions private property; right? And he
 12            MR. SHERROD: Sure.                                   12 goes back there between you and the tag; right?  1
 13         (Brief recess taken.)                                   13 need you to answer out loud.
 14     Q. (By Mr. Sherrod) Now, 1 could show you but               14    A. Yes. I'm sorry.
 15   he's in his car during -                                      15    Q. It's okay.
 16    A. That part.                                                16        (Videotape playing.)
 17    Q. - this entire part of the conversation:                   17    Q. And then he walks back; right?
 18   right?                                                        18    A. Right.
 19    A. Okay.                                                     19    Q. Now, who is that standing with you right
 20    Q. 1 can show you he's still in the car ~                    20 there?
 21    A. Still in the car.                                         21   A. Officer Skipper.
 22    Q. - at four minutes. 1 think, is that - now.                22   Q. And you knew that Officer Skipper was out
 23 you've had an opportunity at this point to get his              23 there the entire time. Didn't you?

[8/25/2017] Woodruff, Adrienne                                                                                  Pages 249 - 252
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 30 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 143 of 247
                                                        Page 253                                                           Page 255
  1    A. No.                                                       1   is in my face.
  2    Q. Did you not see her when you're walking and               2    Q. Do you contend that he was in your face on
  3 you're right there within a few feet of her?                    3 this moment in this video at time 5 minutes and
  4   A. My back is to her. 1 may have noticed her                  4 29 seconds?

  5 then. 1 don't remember now. You're asking if 1                  5   A. Play it all. Not just his hand.
  6 remember somebody standing behind me two and a half             6   Q. No, I'm just asking at this second. 1 am
  7 years ago.   1 don't remember.                                  7 going to play it all; I'm just asking, do you
  8    Q. I'm actually - you were trying claim that                 8 contend that this was in your face?
  9 wasn't Officer Skipper helping you with the gun, so             9    A. 1 can't say.
 10 I'm just -                                                     10   Q. Okay. 1 want to ask you if anything in
 11    A. That's right.                                            11 here - at any time - you tell me stop, if you say.
 12    0. And I'm going to tell you she's in some other            12 "That's when he was in my face" like you discussed
 13 video footage I'm just saying, do you claim you                13 earlier.
 14 didn't even know she was out there with you?                   14        (Videotape playing.)
 15    A. Well, 1 knew she was out there at different              15    Q. Now, did you answer yes to that question when
 16   points.                                                      16 he asked if he had committed a crime?
 17    Q. You knew she was out there with you during               17    A. 1 did not.
 18 the incident: right?                                           18    Q. Okay. When you told him to -
 19    A. She wasn't there the whole time.                         19    A. He started toward me.
20     Q. So you're saying she went inside?                        20    Q. But was he in your face when you said that?
21     A. She went inside at one point to get a                    21    A. At that point?
22 different phone because that one she had wasn't                 22    Q. Yeah.
23 working.                                                        23    A. You can't tell, no. It doesn't appear to be.
                                                        Page 254                                                           Page 256
  1     Q. Okay. But at this point she's out there for              1   Q. Was he in your face when you said, "Get out
  2 the rest of the incident. Isn't she?                            2 of my face" that time?
  3     A. 1 don't know. 1 wasn't looking at Officer                3     A. 1 can't tell.
  4   Skipper.                                            Q. You were saying -
                                                                    4
 5   0. You didn't need to look at Officer Skipper    5   A. If you're in my reactionary space 1 can't get
 6 because you knew she was there; right? You see     6 away from you.
 7 y'all are standing -- she's there with you. She's  7   Q. You didn't try to get away from him, did you?
 8 in your peripheral vision; right?                  8   A. 1 backed up. Watch, 1 moved. 1 kept moving
 9   A.   Correct.                                    9 away from him. Keep watching.
10         (Videotape playing.)                      10   Q. You said he was in your face for the
11   Q. So he asked for his paperwork back; right?   11 recording; right?
12   A. He's screaming for it, yup.                  12   A. I'm moving away. I'm moving away.
13   Q. Okay. He's got his hand in the video; right? 13        (Videotape playing.)
14   A. Yup.                                         14   Q. Now you stepped towards him.
15   Q. You're holding the paperwork behind your     15   A. 1 did.
16 back; right?                                      16   Q. Yeah, you made -
17   A. I'm just holding it. It's the way I'm        17   A. You're making my point, yes.
18 standing, yeah.                                   18   Q. You got in his face, didn't you?
19   Q. But paperwork is behind your back?           19   A. No. You don't consider it in your face when
20      A. Correct.                                                20 he's that close to me.
21      Q. And do you contend that this distance is in             21     Q. Well--
22    your face?                                                   22     A. But it is when I'm that close to him?
23      A. It's hard to tell what distance ~ no, this              23     Q. 1 mean, the closest that anybody came to
[8/25/2017] Woodruff, Adrienne                                                                                  Pages 253 - 256
          Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 31 of 33
       USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 144 of 247
                                                      Page 257                                                          Page 259
  1 getting in anybody's face is when you stepped                 1 Does that suit you?
  2 forward as shown in this video; right?                        2    Q. And he wouldn't be dead; right? That day.
  3        (Videotape playing.)                                   3    A. He had ample opportunities to do exactly
  4 A. Keep going. He's following me. He's                        4 that.
  5 following me. He was very, very close. I wasn't               5    Q. And his kids wouldn't have to witness their
  6 talking to him.                                               6 father shot right in front of them; right?
  7    Q. Yeah, you said that -                                   7    A. Oh,the kids that he used the F word in front
  8    A. I was talking to the comm center.               8 of?
  9 Q. Exactly. You weren't asking him if he was          9 Q. Do you compare the kids having - that was
 10 off his meds; you were making a comment about him to 10 the girlfriend by the way - but the kids -
 11 the comm center; right?                              11    A. No, it wasn't. It was him.
 12 A. That he might be off his meds. I don't know       12 Q. Well, maybe I misheard - but whether - do
 13 if he's off his meds or what.                        13 you consider using the F word to mean, you know, as
 14 Q. Did you also call him crazy?                      14 it doesn't matter if you shoot a guy in front of his
 15    A. I don't know, did I?                                   15 kids?
 16 Q. I'm not sure. 1 had a note on my piece of                 16    A. Now that's ridiculous. That's a ridiculous
 17 paper, but I'm not going to represent -                      17 question.
 18 A. Nuts. I may have said that.                               18 Q. Why would you bring that up, Ms. Woodruff, as
 19 Q. I don't - it may have been in one of your                 19 a defense of killing this man in front of his kids?
 20 video interviews and not in the comm.                        20 Like he didn't deserve the life to be a father
 21         (Videotape playing.)                                 21 because, you know, he supposedly cursed in front of
 22   A. Yeah, he's back out of his car again. He got            22 his kids? I mean, surely you don't mean that;
 23 in his car and back out of his car again.                    23 right? I mean, you can't mean that. You don't
                                                   Page 258                                                             Page 260
  1    Q. Did he ever get in your face?                           1 think somebody loses their -- the fact that they
  2    A. Yeah, he was too close to me.                           2 said the F word is relevant to the trauma that is
  3    Q. Okay. You're saying he's in your face as                3 inflicted when you kill somebody in front of
  4   long as he's too close -                                    4 their -
  5    A. Too close. Too close. That's in my face.                5    A. No.
  6 Too close.                                         6 Q. Somebody's parents --
  7   Q. So anytime you think it's too close, you      7   A. No.
 8 consider that to be in your face?                   8 Q. - right in front of them. I mean, you
 9 A. No, that's through our training. You have to     9 didn't form the opinion that these kids were better
10 leave a reactionary space, a gap, so that we can   10 off without daddy, did you?
11 react If they do something.                        11   A. That's a ridiculous question.
12    Q. Ms. Woodruff, what do you think would have 12 Q. I mean, I assume you didn't. So it just
13 happened if you would have given Mr. Lawrence hi 513 isn't relevant whether a curse word was said; right?
14 paperwork and let him leave?                       14         MR. WHITE: Relevant to what?
15    A. That wasn't going to happen.                 15   Q. To-
16    Q. What do you think would have happened if ~ 16           MR. WHITE: Whether she did or didn't?
17          MR. WHITE; Object to the form.            17 Yes it is.
18    A. You're asking me to speculate on the future. 18         MR. SHERROD: How it relevant, Lenn?
19 I don't know.                                      19         MR. WHITE: If the question is whether
20    Q. But weren't you - you were willing to        20 she did or she didn't, it's relevant to whether she
21 speculate on the future if you didn't shoot        21 did or didn't.
22 Mr. Lawrence; right?                               22 Q. (By Mr. Sherrod) Who have you talked to in
23     A. I think he would have driven off, how's that?          23 detail about the incident other than your attorney
[8/25/2017] Woodruff, Adrienne                                                                                   Pages 257 - 260
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 32 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 145 of 247
                                                      Page 261                                                          Page 263
  1   and of course the two recorded - your attorneys and         1 Mr. Lawrence?
  2 the two recorded statements?                                  2    A. Yes, 1 do.
  3    A. A friend.                                               3    Q. Do you have flashbacks to his kids coming out
  4    Q. Which friend?                                           4 of the car?
  5    A. And my therapist.                                       5    A. No.
  6    Q. Which friend? Laurie?                                   6   Q. Any flashbacks that involve his children?
  7    A. Yes.                                                    7   A. 1 remember them crying.
  8    Q. Any friends other than Laurie that you have             8   Q. And excluding your lawyers, have you ever
  9 talked to?                                                    9 expressed remorse or regret for shooting - killing
 10    A. Not in detail, no.                                     10 Mr. Lawrence?
 11    Q. Who have you told that you have PTSD because           11    A. To my psychologist that did the testing.
 12   you shot and killed Mr. Lawrence?                          12 right off the bat. It's not easy to take a human
 13    A. Several.                                               13 life. And it's sad that 1 was forced into it.
 14          MR. WHITE: Object to the form.                      14    Q. It would be even sadder if you weren't.
 15    A. Several people.                                        15 wouldn't it?
 16    Q. Again other than lawyers what - who have ~             16         MR. WHITE: Object to the form.
 17 who are those several people that you have told that         17    A. I'm not going to answer that. It's a
 18   you now have PTSD as a result of shooting and              18 ridiculous question.
 19   killing - shooting and kill Mr. Lawrence?                  19    Q. Regardless of fault, it's normal to be sad
 20          MR. WHITE: Same objection.                          20 that - to take a human life; right?
 21    A. My doctor - doctors.                                   21    A. 1 wouldn't be human if 1 didn't feel
 22    Q. Which doctors?                                         22 something.
 23    A. All of them. 1 have many doctors.                      23    Q. Something might hit somebody a lot harder if
                                                      Page 262                                                          Page 264
  1   Q. Okay. 1 guess I'm going to -- so who are all             1   they knew deep in their heart that the person didn't
  2 your many doctors since this incident?                        2 need to die.
  3   A. Well they were there before the incident.                3         MR. WHITE: 1 object to this form. These
  4   Q. But who have you seen - who are the many                 4 insinuations are totally out of line and
  5 doctors that you have seen since this incident?               5 unprofessional. And 1 just object on the grounds
  6   A. Raji Talk.                                               6 that she's already said she had no choice and for
  7   Q. And who's that? What type of doctor is he or             7 you to imply otherwise is pointless.
  8 she?                                                          8         MR. SHERROD: This whole case ~ it may
  9     A. He's an neurosurgeon.                                  9 be pointless, but it is the premise of this case.
 10     Q. Who else?                                             10   Q. So I'm going to ask you one time -- one more
 11     A. Saeeda Malik.                                         11 time, a question 1 don't ever got a straight answer
 12     Q. Okay. What kind of doctor?                            12 to, 1 don't think. If Mr. Cantu - excuse me -- if
 13     A. She's a neurologist. Then Spedale.                    13 Mr. Lawrence never wielded the Taser, never had i
 14     Q. Who?                                                  14 except by the barrel, can we agree that you had an
 15   A. Tony Spedale, you have him.                             15 option other than shooting him?
 16  0. Okay. Yup.                                               16     A. 1 don't know what his other actions would
 17   A. Let me think. The social security doctor. 1             17 have been.
 18 guess that's it.                                             18   Q. Based solely on that, that being the -- at
 19     Q. Friends other than -                                  19 that point you ~ can we agree that it is not
20      A. Oh no. Dr. Jackson.                                   20 appropriate to use deadly force?
21      Q. Who's Dr. Jackson?                                    21         MR. WHITE: If you can address a
22      A. Daniel Jackson. He is my gastro doctor.               22 hypothetical.
23      Q. Do you have flashbacks to shooting                    23         THE WITNESS: A hypothetical question.
[8/25/2017] Woodruff, Adrienne                                                                                   Pages 261 - 264
           Case 1:16-cv-01003-ECM-DAB Document 44-4 Filed 10/27/17 Page 33 of 33
        USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 146 of 247
                                                            Page 265
  1      Q. Hypothetically, absolutely, yes; right? Is
  2 what you said?
  3      A. Hypothetically?
  4      Q. Yes.
  5      A. Yeah.
  6      Q. And your defense to deadly force in this case
  7 is that he had the laser and could wield it to
  8 incapacitate; right?
  9             MR. SHERROD: That's all. Thank you. I
 10 want to say I want to reserve -- I hope I won't need
 11 to because I got a lot of background, but I am
 12 reserving after I get the personnei records and
 13 review -- eventually, I hope -- to coming back. But
 14 I certainly -
 15         MR. WHITE: We'll reserve our objection.
 16         MR. SHERROD: I assumed you would.
 17         (Deposition concluded at 4:45 p.m.)
 18
 19
20
21
22
23

                                                            Page 266
  1              REPORTER'S CERTIFICATE
  2 STATE OF ALABAMA
      DALE COUNTY
  3
  4     I, Kathryn Mills, Certified Court Reporter,
  5 Commissioner for the State of Alabama at Large,
  6 hereby certify that on Friday, August 25, 2017, I
  7 reported the deposition of ADRIANNE WOODRUFF, who
  8 was first duly sworn or affirmed to speak the truth
  9 in the matter of the foregoing cause and that pages
 10 4 through 265 contain a true and accurate
 11   transcription of the examination of said witness by
 12 counsel for the parties set out herein.
 13     I further certify that I am neither of kin nor of
 14   counsel to any of the parties to said cause, nor in
 15 any manner interested in the results thereof.
 16
 17
 18            /s/Kathryn Mills
               KATHRYN MILLS,
 19            Certified Court Reporter
                Commissioner for the
 20             State of Alabama at Large
                ABCR# 644, Expires 09/30/18
 21             MY COMMISSION EXPIRES: 10/31/2020
 22
 23

[8/25/2017] Woodruff, Adrienne                                              Pages 265 - 266
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 147 of 247




                  TAB 65
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 1 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 148 of 247


           UNITED STATES DISTRICT COURT FOR THE MIDDLE
                       DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

CHRISTOPHER CANTU,                         )
                                           )
              PLAINTIFF,                   )
                                           )
v.                                         ) CIVIL ACTION NO.: 1:16-cv-1003
                                           )
CITY OF DOTHAN, ALABAMA,                   )
et al.,                                    )
                                           )
              DEFENDANT.                   )

            DEFENDANTS’ NARRATIVE SUMMARY OF FACTS

      Come Now the Defendants, City of Dothan, Alabama, Greg Benton, Chris

Summerlin and Adrianne Woodruff, by and through the undersigned attorney of

record, and submit this Narrative Summary of Undisputed Facts in support of their

contemporaneously filed Motion for Summary Judgement.



The Parties

      1.      Plaintiff Christopher Cantu is the personal representative of the estate

of Robert Earl Lawrence. (Doc. 28, p. 1, paragraph 1). According to the autopsy

report, Robert Earl Lawrence at the time of his death on December 30, 2014 was 6

feet, 1 inch tall and weighed 200 pounds. The cause of death was a “gunshot

wound to the abdomen according to the report. (Affidavit of Benton, Defendants’
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 2 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 149 of 247


Exh. D-6).

      2.     Defendant Greg Benton (“Chief Benton”) is now retired from his

duties as of May 1, 2015 as City of Dothan Police Chief. Chief Benton worked for

the Dothan Police Department for 26 years. (Id.).

      3.     Defendant Chris Summerlin (“Officer Summerlin”) is a police officer

with the City of Dothan Police Department where he has been employed for five

years. (Affidavit of Summerlin, Defendants’ Exh. F).

      4.     Defendant Adrianne Woodruff (“Sgt. Woodruff”) is a retired sergeant

from the Dothan Police Department. She retired on November 1, 2015 after 24

years of service. (Affidavit of Woodruff, Defendants’ Exh. A).

      5.     Defendant City of Dothan (“the City”) was the Employer of

Defendants, Benton, Summerlin & Woodruff in the City of Dothan Police

Department. (Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of Benton,

Defendants’ Exh. D; Affidavit of Summerlin, Defendants’ Exh. F).

      6.     Sgt. Woodruff, at all times during her career with the Dothan Police

Department, maintained her Alabama Peace Officers Training Commission

(APOST) certification as a police officer. Sgt. Woodruff received extensive

training following graduation from the police academy in the Dothan Police

Department Field Training Program. (Affidavit of Woodruff, Defendants’ Exh. A;

Affidavit of Penn, Defendants’ Exh. G). Dothan Police Officers, including Sgt.


                                         2
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 3 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 150 of 247


Woodruff, are required to receive 32 hours of continuing law enforcement

education annually compared to the 12 hour requirement of APOST. (Affidvit of

Penn, Defendants’ Exh. G). This training includes use of force, sidearms and

Tasers. (Id.). Sgt. Woodruff completed qualifications for sidearms and Tasers for

each year of her employment with the Dothan Police Department. (Id.). All

Dothan police officers, including Sgt. Woodruff attend in-service training twice a

year and complete annual firearms qualification. (Id.) Sgt. Woodruff, as well as all

Dothan police officers, received training in conducting Terry stops, probable cause,

use of force, state and federal law. (Id.).



Events Inside the Dothan Animal Shelter

       7.     On December 30, 2014 Lt. Adrianne Woodruff was on duty as

supervisor at the Dothan Animal Shelter, 295 Jerry Drive, Dothan, Alabama.

(Affidavit of Woodruff, Defendants’ Exh. A).

       8.     Also working at the shelter that day were Patricia Holley, the

receptionist and Renee Skipper, Chief Animal Services Officer. (Affidavit of

Woodruff, Defendants’ Exh. A).

       9.     At approximately 12:20 p.m., Robert Lawrence entered the animal

shelter reception area with a dog he wanted to leave there. (Inside animal shelter




                                              3
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 4 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 151 of 247


video, Defendants’ Exh. J).1

           10.      The majority of the sequence of events from Lawrence’s arrival

through his shooting are video recorded on four different recordings. The first is

the closed circuit camera recording without sound inside the office. (Id.). The

second and third video recordings are from Lawrence’s girlfriend, Priscilla

Grissett’s cell phone camera. (Grissett’s video, no. 1, Defendants’ Exh. K; Grissett

video no. 2, Defendants’ Exh. L). The fourth video is from Officer Alan Rhodes’

dash mounted camera. (Rhodes’ video, Defendants’ Exh. M). There are also audio

recordings of three telephone calls from the animal shelter to Dothan Police

dispatch. (Dothan Police Department phone call no. 1, Defendants’ Exh. N; Police

Department phone call no. 2, Defendants’ Exh. O; Police Department phone call

no. 3, Defendants’ Exh. P; Police radio traffic recording, Defendants’ Exh. Q).

           11.      When Lawrence told Holley that he was from Geneva County, Holley

advised the shelter only took dogs from Houston County, but Holley agreed to

proceed when Lawrence said he found the dog at Wal-Mart in Dothan. (Affidavit

of Woodruff, Defendants’ Exh. A).

           12.      Sgt. Adrianne Woodruff came in from an adjoining office when she

heard Lawrence become upset and loud when he was asked for identification. She



1
    The closed circuit video inside the animal shelter did not record audio.


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    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 5 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 152 of 247


was wearing a City of Dothan Class C police uniform with the Dothan Police badge

in gold embroidery on the chest. (Affidavit of Woodruff, Defendants’ Exh. A;

Inside animal shelter video, Defendants’ Exh. J).

      13.    Lawrence became agitated and began quoting federal law that asking

for his name, address and identification was an invasion of privacy. (Affidavit of

Woodruff, Defendants’ Exh. A).

      14.    In order to de-escalate the situation, Sgt. Woodruff agreed to take the

dog if Lawrence would sign a routine animal intake form. (Affidavit of Woodruff,

Defendants’ Exh. A).

      15.    Lawrence angrily refused and threatened to dump the dog at the end

of the road. (Affidavit of Woodruff, Defendants’ Exh. A).

      16.    When Sgt. Woodruff told him that would be a crime, Lawrence

demanded she show him that law in a loud voice. (Affidavit of Woodruff,

Defendants’ Exh. A).

      17.    Lawrence cited federal law that his rights were being violated and

jerked the dog off the floor by the nape of the neck. (Affidavit of Woodruff,

Defendants’ Exh. A).

      18.    Sgt. Woodruff told Lawrence not to mistreat the dog and asked to see

his identification. (Affidavit of Woodruff, Defendants’ Exh. A).

      19.    Lawrence refused and again responded to her request by saying that


                                          5
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 6 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 153 of 247


was a violation of his rights. He continued quoting federal law as he left the office.

(Affidavit of Woodruff, Defendants’ Exh. A).

       20.   Based upon her training, Sgt. Woodruff believed Lawrence’s behavior

was consistent with the actions and beliefs of the anti-government extremist group

known as Sovereign Citizens. (Affidavit of Woodruff, Defendants’ Exh. A).

       21.   When Lawrence turned to exit the building with the dog, Sgt.

Woodruff asked again for identification because of his threat of what he would do

with the dog. (Affidavit of Woodruff, Defendants’ Exh. A).

      22.    As Lawrence pushed the door open to leave, Sgt. Woodruff saw the

bottom part of a pistol holster on Lawrence’s hip. (Affidavit of Woodruff,

Defendants’ Exh. A; Grissett video no. 1, Defendants’ Exh. K).

      23.    When she asked if he had a gun, he replied that it was in the car.

Before she followed Lawrence outside, Sgt. Woodruff had Holley call police

communications to send back-up. (Dothan Police Department call no. 1 at 00:02,

Defendants’ Exh. N; Affidavit of Woodruff, Defendants’ Exh. A).



Lawrence’s Refusals of Sgt. Woodruff’s Requests for Driver’s License and
Woodruff’s Calls for Backup Officer

      24.    Lawrence became louder when Sgt. Woodruff asked for his driver’s

license as he walked to the driver’s door of a silver Lexus sedan. (Affidavit of



                                           6
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 7 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 154 of 247


Woodruff, Defendants’ Exh. A).

      25.    Lawrence shouted to a female in the front passenger seat to get the

video camera because this was going to be a good one. (Affidavit of Woodruff,

Defendants’ Exh. A).

      26.    Lawrence sat in the driver’s seat and Sgt. Woodruff asked him for his

identification which he refused. Woodruff went to the rear of the vehicle and began

copying his vehicle tag number. (Affidavit of Woodruff, Defendants’ Exh. A).

      27.    Copying his tag number caused Lawrence to become more infuriated

and he exited his vehicle. He approached Sgt. Woodruff in a belligerent and

threatening manner demanding she had no right to do so. He then stood in front of

his license tag to block it from her view. (Affidavit of Woodruff, Defendants’ Exh.

A).

      28.    Sgt. Woodruff called police dispatch to request her back-up “ASAP”

because she feared a physical confrontation with the much larger and stronger

Lawrence. Lawrence was 6’1”, 200lbs and approximately 30 years younger than

Woodruff who was 5’3” and 120lbs. (Dothan Police Department telephone call no.

2, Defendants’ Exh. O; Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of

Benton, Defendants’ Exh. D-7).

      29.    Lawrence told Sgt. Woodruff he was leaving and got back into the

driver’s seat. (Affidavit of Woodruff, Defendants’ Exh. A; Grissett video no. 1, at


                                          7
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 8 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 155 of 247


00:01, Defendants’ Exh. K).

      30.    Sgt. Woodruff told Lawrence he could not leave without showing her

a driver’s license. (Affidavit of Woodruff, Defendants’ Exh. A; Grissett video no.

2, at 00:42, Defendants’ Exh. L).

      31.    Lawrence produced a piece of paper from his notebook purporting to

be an, “AFFIDAVIT OF IDENTITY.” (Affidavit of Woodruff, Defendants’ Exh.

A-1; Grissett video no. 1 at 00:18, Defendants’ Exh. K).

      32.    This document purportedly, “duly affirmed upon oath and full

commercial liability” Lawrence’s name, his “current post” and “Date of origin.” It

also purported him “to be the Flesh and blood living Man” along with his thumb

print and photograph. (Affidavit of Woodruff, Defendants’ Exh. A-1).

      33.    Lawrence soon demanded his identification paper back. (Grissett

video no. 1 at 00.28, Defendants’ Exh. A-5).

       34.   Sgt. Woodruff said she would first call police dispatch to request a

warrant check for Lawrence. (Telephone call no. 3 at 00:04, Defendants’ Exh. P;

Affidavit of Woodruff, Defendants’ Exh. A; Grissett video no. 1 at 00:35,

Defendants’ Exh. K).

      35.    Lawrence told Woodruff “no,” that she had no right or authority. (Id.,

at 00:38).

      36.    Skipper brought Woodruff a portable telephone. (Affidavit of


                                          8
    Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 9 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 156 of 247


Woodruff, Defendants’ Exh. A; Grissett video no. 1 at 00:46, Defendants’ Exh. K).

       37.        Sgt. Woodruff again asked for a driver’s license. Lawrence responded

that he did not need a driver’s license. Woodruff explained that in order to drive in

the State of Alabama he must have a driver’s license. (Id., at 00:44).

       38.        The warrant check was negative for Lawrence and no information was

provided for his extensive violent criminal history, including making a terrorist

threat. (Telephone call no. 3 at 01:01, Defendants’ Exh. P; Affidavit of Woodruff,

Defendants’ Exh. A; ABI Report, Defendants’ Exh. D-3).

       39.        Sgt. Woodruff requested dispatch to record the call and to leave the

line open because of Lawrence’s belligerent conduct. (Telephone call no. 3 at

01:15, Defendants’ Exh. P; Affidavit of Woodruff, Defendants’ Exh. A).

       40.        Sgt. Woodruff asked the dispatcher if she could hear Lawrence and if

she understood what he was, an implied reference to Sovereign Citizens. (Id).

       41.        Lawrence continued to demand his paper back because he was

leaving. He also argued that “under the rights of the Supreme Court” he had the

right to walk away. (Telephone call no. 3 at 2:56, Defendants’ Exh. P).

       42.        Sgt. Woodruff told him he did not have the right to drive without a

driver’s license. (Id., at 3:02).

       43.        Sgt. Woodruff again told the dispatcher that she really needed backup.

(Id., at 3:12).


                                              9
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 10 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 157 of 247


      44.    Lawrence told Woodruff that he knew his legal rights and he knew her

“legal parameters” and she was “well outside her legal parameters.” (Id., at 3:42;

Grissett Video no. 2 at 01:56, Defendants’ Exh. L).

      45.    Lawrence stated, “This is unlawful detainer.” (Dothan dispatch phone

call no. 3 at 04:13, Defendants’ Exh. P; Grissett Video no. 2 at 02:25, Defendants’

Exh. L).

      46.    Sgt. Woodruff responded that, “The unlawful part sir was when you

told me you were going to drive down the road and dump it.” (Phone call no. 3 at

04:35, Defendants’ Exh. P; Grissett Video no. 2 at 02:47, Defendants’ Exh. L).

      47.    Lawrence admitted to Grissett on camera that he told Sgt. Woodruff

that he would take him (the dog) down the road and drop him off and that

Woodruff told him that would be against the law. (Grissett Video no. 2 at 02:35,

Defendants’ Exh. L).

      48.    Lawrence asked Sgt. Woodruff, “Are you talking about the statutory

and corporate code that you are supposed to abide by?” (Grissett Video no. 2 at

03:02:41, Defendants’ Exh. L; Dispatch phone call no. 3 at 04:46, Defendants’ Exh.

P).

      49.    Sgt. Woodruff continued to wait before arresting Lawrence until

arrival of a back-up officer. (Telephone call no. 3 at 01:25 – 10:25, Defendants’

Exh. P; Affidavit of Woodruff, Defendants’ Exh. A).


                                         10
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 11 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 158 of 247


        50.      Lawrence repeatedly said Woodruff had no right to detain him and

that he was leaving. (Telephone call no. 3 at 01:05 – 03:50, Defendants’ Exh. P;

Affidavit of Woodruff, Defendants’ Exh. A).

        51.      Sgt. Woodruff told Lawrence that she was waiting for him to produce

a driver’s license and told him four more times he could not drive without a driver’s

license. (Telephone call no. 3, Defendants’ Exh. P; Affidavit of Woodruff,

Defendants’ Exh. A).

        52.      Lawrence repeatedly denied that he needed a driver’s license to drive

and said he had a constitutional right to travel. (Telephone call no. 3, Defendants’

Exh. P; Affidavit of Woodruff, Defendants’ Exh. A; Grissett video no. 1,

Defendants’ Exh. K).

        53.      Sgt. Woodruff returned to the rear of the vehicle and requested

dispatch to run the vehicle’s license number. (Telephone call no. 3 at 06:10,

Defendants’ Exh. P; Affidavit of Woodruff, Defendants’ Exh. A).2

        54.      This angered Lawrence further, causing him to exit his vehicle and

approach Woodruff again, insisting she had no right to his license tag number

because it was private property. (Grissett video no. 2 at 04:33, Defendants’ Exh. L;

Affidavit of Woodruff, Defendants’ Exh. A).



2
 Grissett Video 2 (Defendants’ Exh. L) and phone call 3 (Defendants’ Exh. P) begin to overlap at 02:00 of phone
call 3.


                                                       11
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 12 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 159 of 247


       55.   Lawrence went back to the open driver’s door and took Grissett’s cell

phone. He continued to record as he returned to Sgt. Woodruff and repeated his

demands. (Id).

       56.   Sgt. Woodruff ordered Lawrence back into his car at least seven times

and gave him numerous other commands to either “back off” or “get out of my

face.” (Id., at 6:25-9:45; Affidavit of Woodruff, Defendants’ Exh. A).

       57.   Lawrence angrily protested, “this is unlawful detainer” and demanded

Sgt. Woodruff produce the law that said he needed a driver’s license. (Telephone

call no. 3 at 8:00, Defendants’ Exh. P).

       58.   Sgt. Woodruff repeated to dispatch her need for back-up while

Lawrence angrily insisted that he did not need a driver’s license. (Id., at 8:30).

       59.   Lawrence told Woodruff it didn’t matter who they sent because he

would charge them with a federal offense if they violated their oath of office. (Id.,

at 8:32).

       60.   Lawrence’s aggressive behavior, dazed look, loud and irrational

speech caused Woodruff to ask if he had been drinking. Subsequent lab tests

indicated Lawrence was positive for Tetrahydrocannabinol (THC). (Affidavit of

Woodruff, Defendants’ Exh. A; Telephone call no. 3 at 08:36, Defendants’ Exh. P;

Affidavit of Benton, Defendants’ Exh. D-6).

       61.   Lawrence told Sgt. Woodruff, “Don’t even try me.” Lawrence


                                           12
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 13 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 160 of 247


became angrier after he heard Woodruff telling dispatch he was “off his meds.”

(Telephone call no. 3, at 8:35-10:35, Defendants’ Exh. P).

       62.   Lawrence repeatedly demanded his paperwork so he could leave. (Id.,

at 9:00).

       63.   The dispatcher advised Sgt. Woodruff that her back-up, Officer

Rhodes was pulling up. (Id., at 10:25).



Arrival of Officer Rhodes and Lawrence’s Active Resistance to Arrest

       64.   Officer Alan Rhodes (806) had been dispatched to the Dothan Animal

Shelter at 295 Jerry Drive, Dothan as back-up to a disorderly conduct (Signal 26)

call from the receptionist, Patricia Holley. (Telephone call no. 1, Defendants’ Exh.

K; Affidavit of Rhodes, Defendants’ Exh. B; Radio traffic at 00:31, Defendants’

Exh. Q).

       65.   Officer Rhodes was and continues to be, an APOST certified police

officer with the Dothan Police Department. Officer Rhodes received extensive

training at the police academy and the Dothan Police Department, including use of

force, firearms and Taser. (Affidavit of Rhodes, Defendants’ Exh. B). Rhodes is

an was then qualified for sidearms and Tasers. (Affidavit of Penn, Defendants’

Exh. G). Officer Rhodes also received training in Terry stops, probable cause, state

and federal law.


                                          13
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 14 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 161 of 247


      66.    Rhodes was advised by dispatch in route that the Signal 26 call

(disorderly person) had been elevated to an extremely disorderly person. (Radio

traffic at 11:00, Defendants’ Exh. Q).

      67.    Dispatch further advised him Sgt. Woodruff (372) had requested

dispatch stay on the telephone with her until back-up arrived on the scene.

(Affidavit of Rhodes, Defendants’ Exh. B; Radio traffic at 11:00, Defendants’ Exh.

Q).

       68.   Upon Rhodes’ arrival he parked behind Lawrence’s vehicle and got

out to speak with Sgt. Woodruff. (Rhodes’ dash-cam video at 00:20, Defendants’

Exh. M; Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of Rhodes,

Defendants’ Exh. B).

      69.    Lawrence was standing by the driver’s door and Woodruff was

approximately fifteen feet behind his vehicle. (Rhodes’ dash-cam video at 00:20,

Defendants’ Exh. M).

      70.    As Rhodes went to Sgt. Woodruff, Lawrence approached complaining

what “this woman” had done. (Rhodes’ dash cam video at 00:30, Defendants’ Exh.

M; Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of Rhodes, Defendants’

Exh. B).

      71.    Officer Rhodes told Lawrence to go back to his car and Rhodes could

be with him in a second. (Rhodes’ dash-cam video at 00:32, Defendants’ Exh. M;


                                         14
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 15 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 162 of 247


Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of Rhodes, Defendants’ Exh.

B).

      72.    Rhodes saw a pistol holster on Lawrence’s hip. (Affidavit of Rhodes,

Defendants’ Exh. B).

       73.   When Lawrence retreated, Sgt. Woodruff advised Rhodes that

Lawrence had not obeyed her like that. (Rhodes’ dash cam video at 00:37,

Defendants’ Exh. M; Affidavit of Woodruff, Defendants’ Exh. A).

      74.    Lawrence soon approached the officers again and Rhodes asked if he

had been told to stay back. (Rhodes’ dash cam video at 00:48, Defendants’ Exh.

M; Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of Rhodes, Defendants’

Exh. B).

      75.    Lawrence argued that he was utilizing his rights and questioned

Rhodes’ authority to tell him where to stand. Lawrence continued to argue with

Rhodes after Rhodes told him he could utilize his rights where Rhodes told him to

stand or he would go to jail. (Rhodes’ dash-cam at 00:51, Defendants’ Exh. M;

Affidavit of Woodruff, Defendants’ Exh. A; Affidavit of Rhodes, Defendants’ Exh.

B).

       76.   Officer Rhodes was faced with a disorderly suspect who was possibly

armed and did not recognize his authority as a police officer. For safety reasons

Rhodes approached Lawrence and ordered him to turn around to be handcuffed.


                                         15
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 16 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 163 of 247


(Rhodes’ dash-cam at 01:05, Defendants’ Exh. M; Affidavit of Woodruff,

Defendants’ Exh. A; Affidavit of Rhodes, Defendants’ Exh. B).

       77.    Officer Rhodes took Lawrence’s arm and Lawrence began yelling,

“Don’t touch me” and pulling away from Rhodes back toward the open driver’s

door. (Rhodes’ dash cam video at 01:19, Defendants’ Exh. M).

       78.    Officer Rhodes then grabbed both of Lawrence’s arms and repeatedly

told him to turn around but Lawrence refused. (Id., at 1:12).

       79.    Officer Rhodes pushed Lawrence against the rear passenger door.

Sgt. Woodruff tried to assist in controlling him while Lawrence violently struggled

against them. (Id., at 1:13).

       80.    Officer Rhodes keyed his radio mic and called “Signal 37.” (Officer

in distress). (Id., at 02:00).

       81.    Sgt. Woodruff was not wearing a Taser and unsuccessfully tried to

pull Rhodes’ Taser off his utility belt while Rhodes fought with Lawrence. (Id., at

02:08.).

       82.    Lawrence struggled violently to break away from Officer Rhodes until

he managed to do so and ran around the front of the car. (Id., at 02:18.).



Officer Rhodes’ and Sgt. Woodruff’s Tasing of Lawrence

       83.    Officer Rhodes pulled his Taser as he pursued Lawrence. (Id., at


                                          16
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 17 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 164 of 247


02:20.).

       84.    Officer Rhodes fired his Taser hitting Lawrence as he went back to

the open driver’s door but the Taser had no effect due to his coat. (Id., 02:25;

Affidavit of Rhodes, Defendants’ Exh. B; Affidavit of Benton, Defendants’ Exh. D-

5).

       85.    Lawrence then asked Rhodes, “Is that all you got?” (Affidavit of

Woodruff, Defendants’ Exh. A).

       86.    Lawrence retreated around the front of the vehicle as Rhodes again

tried to grab him. (Rhodes’ dash-cam video at 02:31, Defendants’ Exh. M).

       87.    Officer Rhodes told Woodruff to take his Taser while he struggled to

subdue Lawrence. (Id., at 02:40).

       88.    Sgt. Woodruff took the Taser from Officer Rhodes and removed the

spent cartridge. (Id., at 02:47).

       89.    Lawrence got away from Rhodes again and headed back to the open

driver’s door. (Id., at 02:45).

       90.    Officer Rhodes again caught Lawrence who furiously resisted

Rhodes’ efforts to control him. (Id.).

       91.    Officer Rhodes got behind him and put his arm across Lawrence’s

right shoulder but left Lawrence’s right arm free. (Id., at 02:50.).

       92.    For approximately the next 20 seconds, while Rhodes and Lawrence


                                           17
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 18 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 165 of 247


grappled standing next to the driver’s door, Sgt. Woodruff attempted to find an

opening to drive stun Lawrence with the Taser while he tried to block it. (Id.).

      93.     Sgt. Woodruff successfully tased Lawrence twice in his abdomen area

with no visible effect. (Id., at 02:54-03:06.).

      94.     Officer Rhodes asked Lawrence if he was ready to comply but

Lawrence said “no.” (Id., at 02:56; Affidavit of Rhodes, Defendants’ Exh. B).



Lawrence’s Taking the Taser Away From Sgt. Woodruff and Her Use of
Deadly Force in Response to the Threat

      95.     Officer Rhodes was tiring as Lawrence kept resisting him and fighting

off Sgt. Woodruff’s Taser with his right hand. (Affidavit of Rhodes, Defendants’

Exh. B; Rhodes’ dash cam video at 02:58, Defendants’ Exh. M).

      96.     With his right hand, Lawrence grabbed Woodruff’s right hand, then

the Taser when she tried to use it again against him. (Rhodes’ dash cam at 03:10-

03:12, Defendants’ Exh. M; Affidavit of Woodruff, Defendants’ Exh. A).

      97.     Lawrence pulled the Taser toward Rhodes’ leg until he pulled it out of

Woodruff’s right hand. (Rhodes dash-cam video at 03:09-03:13, Defendants’ Exh.

M; Affidavit of Skipper, Defendants’ Exh. C; Affidavit of Woodruff, Defendants’

Exh. A).

      98.     Skipper reached into the fray to grab the Taser from Lawrence but



                                           18
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 19 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 166 of 247


could not control it. (Rhodes’ dash-cam video at 03:14, Defendant’s Exh. M;

Affidavit of Skipper, Defendants’ Exh. C).

      99.    Within three to five seconds after Lawrence took her Taser, Sgt.

Woodruff pulled her handgun with her right hand, placed it close to Lawrence’s

abdomen and fired once, causing him to fall to the ground. (Rhodes’ dash-cam

video at 03:14, Defendants’ Exh. M).



Training of City of Dothan Police Officers and Policies on Use of Force, Tasers
and Firearms

      100. The Dothan Police Department maintains procedural General Orders

for its sworn police officers. (Affidavit of Benton, Defendants’ Exh. D). Each

officer is issued a copy of these General Orders and are expected to be

knowledgeable about them. These General Orders are strictly enforced. (Id.).

      101. On November 30, 2014 the City of Dothan Police Department was

certified by the Commission on Accreditation for Law Enforcement Agencies

(CALEA).

      102. City of Dothan Police Department officers who are issued Tasers are

required to maintain annual qualification. (Affidavit of Penn, Defendants’ Exh.

G). All Dothan police officers who carry a firearm are required to be proficient

and qualified for its use according to APOST requirements. (Id.).



                                         19
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 20 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 167 of 247


      103. The Dothan Police Department Procedural General Orders do not

prohibit the use of a Taser to aid in the arrest of a person who resists arrest or when

it is deemed appropriate by the arresting officers based upon the suspect’s

behavior. (Affidavit of Penn, p. 11, Defendants’ Exh. G-1). Officers are advised

that improper use of less lethal force, including Tasers, could cause death or

serious injury and may be interpreted as unauthorized use of lethal force.

(Affidavit of Penn, p. 13, Defendants’ Exh. G).

      104. The General Orders authorize a Dothan police officer’s use of deadly

force when it is necessary to defend themselves or a third party from what he or

she reasonably believes to be the use of deadly physical force. (Id.).

      105. The Dothan Police Department Procedural General Orders require the

Dothan Police Department to investigate all citizen complaints. (Affidavit of

Benton, Defendants’ Exh. D-1). The incident involving the shooting of Mr.

Lawrence was investigated by both the Alabama Bureau of Investigation and the

Dothan Police Department Professional Standards Division (Internal Affairs).

(Affidavit of Benton, Defendants’ Exh. D). The completed ABI investigation was

given to the Houston County District Attorney who presented the case to a grand

jury which declined to indict any Dothan police officer involved in the incident.

(Id.). Pursuant to Dothan Police Procedural General Orders a Deadly Force

Review Board was convened to evaluate the facts surrounding the shooting of


                                          20
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 21 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 168 of 247


Robert Earl Lawrence by Sgt. Adrianne Woodruff. (Affidavit of Parrish,

Defendants’ Exh. E-2). The Board members unanimously found the shooting to be

within Dothan Police Department policy. (Id.). Chief Steve Parrish then reviewed

the evidence in the case and determined that Sgt. Woodruff’s actions were within

Dothan Police Department policy. (Affidavit of Parrish, Defendants’ Exh. E).

      106. The Dothan Police Department training exceeds the minimum

standards of 12 hours continuing education annually required by the Alabama

Peace Officers’ Standards and Training Commission (APOST), which by statute

sets the minimum standards applicable to law enforcement officers in the State of

Alabama, including the training required for those officers. (Affidavit of Penn,

Defendants’ Exh. G). The Dothan Police Department requires 32 hours of annual

continuing education. (Id.). Sgt. Woodruff and Officer Summerlin were both

APOST certified police officers on the date of this incident (Id.). Both officers

were qualified, including Officer Rhodes for both Taser and sidearms. (Id.).

      107. Dothan Police officers also receive training on criminal, motor

vehicles and traffic laws of the State of Alabama and provisions of the Constitution

of the United States related to law enforcement. (Affidavit of Penn, Defendants’

Exh. G). Officers receive both hands-on and classroom training in the use of force,

and in dealing with persons resisting arrest. (Id.).

      Dated this the 19th day of April, 2018.


                                          21
   Case 1:16-cv-01003-ECM-DAB Document 65 Filed 04/19/18 Page 22 of 22
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 169 of 247


                                               s/F. Lenton White
                                               F. LENTON WHITE (WHI035)
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 19th day of April, 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF System and by placing

the same in the U.S. Mail postage prepaid to the following:

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                                          22
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 170 of 247




                    TAB 73
    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 1 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 171 of 247


                IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

CHRISTOPHER CANTU, as the)
Administrator of the Estate of
                         )
Robert Earl Lawrence,    )
                         )
        Plaintiff,       )
                         )
v.                       )                    Case No. 1:16-cv-1003-MHT-DAB
                         )
CITY OF DOTHAN, ALABAMA, )
et al.,                  )
                         )
        Defendants.      )

                     REPORT AND RECOMMENDATION

      Plaintiff, Christopher Cantu, as Administrator of the Estate of Robert Earl

Lawrence, alleges constitutional violations due to the use of excessive force and state

law claims of assault and battery against Defendants, City of Dothan, Alabama; Greg

Benton, Chris Summerlin, and Adrienne Woodruff, arising out of the fatal shooting

of Robert Earl Lawrence. (Doc. 28).

      Before the Court are the parties’ cross motions for summary judgment:

Plaintiff’s Motion for Partial Summary Judgment and Brief in Support (Doc. 43) and

Defendants’ City of Dothan, Alabama, Benton, Summerlin, and Woodruff’s Motion

for Summary Judgment (Doc. 63). The parties have been afforded an opportunity

to fully brief the matters, and the court heard argument on January 25 and May 24,

2018. For the reasons stated herein, it is the RECOMMENDATION of the
    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 2 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 172 of 247


undersigned that the Plaintiff’s Motion for Partial Summary Judgment (Doc. 43) be

denied; and Defendants’ Motion for Summary Judgment (Doc. 63) be granted in

part and denied in part as set forth below.

I.    JURISDICTION

      Subject matter jurisdiction is conferred by 28 U.S.C. § 1343(a)(3) as to

Plaintiff’s § 1983 federal cause of action, and the court has supplemental jurisdiction

over the state law claims pursuant to 28 U.S.C. § 1367(a). The parties do not contest

personal jurisdiction or venue, and the court finds sufficient information of record

to support both. See 28 U.S.C. § 1391. On January 3, 2017, this matter was referred

to the undersigned by the Honorable Myron H. Thompson for disposition or

recommendation on all pretrial matters. (Doc. 4); see also 28 U.S.C. § 636(b); Rule

72, Fed. R. Civ. P.; United States v. Raddatz, 447 U.S. 667 (1980); Jeffrey S. v. State

Bd. of Educ. of State of Georgia, 896 F.2d 507 (11th Cir. 1990).

II.   STANDARD OF REVIEW

      “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). In ruling on a motion for summary judgment,

the Court construes the facts and all reasonable inferences therefrom in the light most

favorable to the nonmoving party. Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 150 (2000). However, when faced with a “properly supported motion for


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    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 3 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 173 of 247


summary judgment, [the nonmoving party] must come forward with specific factual

evidence, presenting more than mere allegations.” Gargiulo v. G.M. Sales, Inc., 131

F.3d 995, 999 (11th Cir. 1997).

       Summary judgment is mandated “against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and

on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett,

477 U.S. 317, 322 (1986). “Summary judgment may be granted if the non-moving

party’s evidence is merely colorable or is not significantly probative.” Sawyer v.

Southwest Airlines Co., 243 F. Supp. 2d 1257, 1262 (D. Kan. 2003) (citing Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 250–51 (1986)).

       “[A]t the summary judgment stage the judge’s function is not himself to weigh

the evidence and determine the truth of the matter but to determine whether there is

a genuine issue for trial.” Anderson, 477 U.S. at 249. “Essentially, the inquiry is

‘whether the evidence presents a sufficient disagreement to require submission to

the jury or whether it is so one-sided that one party must prevail as a matter of law.’”

Sawyer, 243 F. Supp. 2d at 1263 (quoting Anderson, 477 U.S. at 251–52).

III.   PROCEDURAL AND FACTUAL BACKGROUND

       Plaintiff Christopher Cantu is the personal representative of the Estate of

Robert Earl Lawrence who was fatally shot by Defendant Adrianne Woodruff, a

Dothan Police Department sergeant. (Doc. 29 at 1–3). The parties agree the facts


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    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 4 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 174 of 247


are mostly undisputed as the shooting and the events leading up to it are captured on

multiple video and/or audio recordings.1 (Docs. 43 at 7; 64 at 10; 70 at 9, 12). The

first is the closed circuit camera recording (without sound) inside the office of the

Dothan County Animal Shelter. The second and third video recordings are from

Lawrence’s girlfriend, Priscilla Grissett’s cell phone camera. The fourth video is

from Officer Alan Rhodes’ dash-mounted camera. There are also audio recordings

of three telephone calls from the animal shelter to Dothan Police dispatch. See Docs.

43 at 7; 64 at 10.

       The incident began when Lawrence tried to turn a dog in at the Dothan Animal

Shelter. (Doc. 69-3 at 74). Midday on December 30, 2014, Lawrence entered the

Dothan County Animal Shelter reception area with a dog he wanted to drop off.

(Docs. 65, ¶ 9; 64-25).2 Woodruff was the sergeant on duty assigned to supervise

the animal shelter. (Doc. 64-1 at 3). Receptionist Patricia Holley and Chief Animal

Services Officer Renee Skipper were also working at the shelter that day. Id. at 3–

4. Lawrence told Holley he was from Geneva County, and she advised that they

only take dogs from Houston County. Id. at 3. Lawrence told her he found the dog




       1
          Of course, audio and video recordings, however instructive, are often not definitive.
Cameras and microphones are subject to many limitations, e.g., duration, angles and perspectives,
quality and clarity, synchronicity, framing. In addition, some potentially legally significant items,
such as purpose, motive and intent, intensity of action and dissimulation, generally are not apparent
in recordings.
        2
          Defendants cite to the animal shelter video to support this fact. Plaintiff does not dispute
it. See Doc. 70 at 12.
                                                  4
    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 5 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 175 of 247


at a Dothan Wal-Mart. Id. Woodruff came in from the adjoining office when she

heard Lawrence getting upset about being asked for identification. Id. Lawrence

refused to produce identification, citing federal law and claiming invasion of

privacy. Id. Woodruff agreed to take the dog without his producing identification as

long as he would sign a routine intake form. Id. Lawrence refused to sign the form

and threatened to dump the dog at the end of the road. Id. Woodruff told him that

would be a crime. Id. In her deposition, Woodruff acknowledged that Lawrence’s

threat to dump the dog at some point in the future was not a basis to arrest him. (Doc.

69-3 at 77). Lawrence complained his rights were being violated, and he picked the

dog up to leave. (Doc. 64-1 at 3). Woodruff asked him for identification, which

Lawrence again refused, stating it was a violation of his rights. Id.

      Skipper testified that people threaten to leave a dog off at the road two to three

times per month. (Doc. 69-7 at 32). When such a threat is made, the procedure is

to go out and write down the tag number of the person’s vehicle in the event the dog

is later found. Id. at 32–34.

      As Lawrence was leaving the shelter with the dog, Woodruff followed him

with the intention to write down the tag number of Lawrence’s vehicle. (Doc. 69-4

at 228). As Woodruff followed Lawrence, she observed a holster on his hip. Id. She

asked Lawrence about the gun, and he told her it was in his car. Id. Woodruff asked

her assistant to call for back-up. (Doc. 69-3 at 65).


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    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 6 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 176 of 247


       Lawrence walked toward his car and called out to his girlfriend in the car:

“Get the video. This is going to be a good one.” Id. at 64; Doc. 69-4 at 230.

Lawrence sat in the driver’s seat of the car which was still running. (Doc. 69-3 at

66, 68; Doc. 69-4 at 229). Woodruff thought he was intending to leave, but he was

getting his “affidavit of identity”. (Doc. 69-4 at 241). Woodruff went to the rear of

the vehicle to copy the tag number, but Lawrence got out of his car and attempted to

block her view of the tag; she ultimately got the tag number. (Doc. 69-3 at 68–71).3

Woodruff called police dispatch to request her back-up. (Doc. 69-4 at 234–35).

Lawrence told Woodruff he was leaving, but she told Lawrence he could not leave

without showing her a driver’s license. Id. at 237. Lawrence produced a piece of

paper titled an “AFFIDAVIT OF IDENTITY.” Id. at 241. See Doc. 48-2. The

document, “duly affirmed upon oath and full commercial liability” Lawrence’s

name, his “current post” and “Date of origin.” (Doc. 48-2). The Affidavit purported

to be proof of his description, picture, right thumb print, and signature. Id. Based on

her training, Woodruff believed Lawrence to be a Sovereign Citizen.4 (Doc. 64-1 at

3–4; Doc. 70, ¶ 20).


       3
           Woodruff also testified that she could not communicate the tag number initially to
dispatch because she could not get through on the telephone. (Doc. 69-4 at 233–36).
        4
          “The sovereign citizens are a loosely affiliated group who believe that the state and federal
governments lack constitutional legitimacy and therefore have no authority to regulate their
behavior.” United States v. Ulloa, 511 F. App’x 105, 107, n.1 (2d Cir. 2013). The hallmark of the
sovereign citizen movement is the belief that even though an individual was born and resides in
the United States, he is his own sovereign and is therefore not a United States citizen. Gravatt v.
United States, 100 Fed. Cl. 279, 282 (2011). The Eleventh Circuit has noted that individuals who
refer to themselves as “sovereign citizens” believe they are not subject to the jurisdiction of the
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    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 7 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 177 of 247


       Lawrence demanded his identification paper back.                 (Doc. 48-6; Grissett

video). Woodruff said she would first call police dispatch to request a warrant check

for Lawrence. Id. Lawrence told Woodruff that she had no right or authority. Id.

Lawrence requested his paperwork back several times, but Woodruff refused. (Doc.

69-3 at 87). Skipper brought Woodruff a portable telephone, and Woodruff called

to verify there were no warrants for Lawrence. (Doc. 48-6). The warrant check was

negative. (Doc. 70, ¶¶ 15, 17; Doc. 64-31). After confirming there were no warrants,

Woodruff stayed on the call with dispatch and the exchange between Lawrence and

Woodruff was recorded. (Doc. 64-31). After Woodruff ran the tag for his vehicle,

the tag came back registered to a silver Lexus which was the color and model car

Lawrence was in. Id. Lawrence repeatedly requested for his paperwork back so he

could leave, asserting that his rights were being violated. Id.

       Back-up officer Alan Rhodes arrived and parked his vehicle behind

Lawrence’s car. (Doc. 70, ¶ 24). Rhodes is 5’10” and weighs 275 pounds. (Doc.

69-5 at 5). When Rhodes arrived, he did not observe any confrontation going on.

Id. at 34. Woodruff began explaining to Rhodes what was going on, and Lawrence

approached Rhodes. Id. at 34–35. Rhodes requested Lawrence to step back while

Rhodes figured out what was happening. Id. at 35. Lawrence continued to step

toward Rhodes. Id. at 37–40. After Lawrence refused to remain by his vehicle as


courts. United States v. Sterling, 738 F.3d 228, 233 n.1 (11th Cir.2013), cert. denied, 134 S.Ct.
2682 (2014).
                                               7
    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 8 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 178 of 247


instructed by Rhodes, Rhodes tried to detain Lawrence by handcuffing him. Id. at

43. According to Rhodes, what ensued was a “wrestling match” between Rhodes

and Lawrence. Id. at 44. Skipper described it as a “struggle.” (Doc. 69-7 at 41).

Woodruff, Rhodes, and Skipper testified that, during the struggle, no punches were

thrown and no abusive language was used. (Docs. 69-3 at 104; 69-6 at 45; 69-7 at

42). Because no punches were thrown, Rhodes “was doing everything non-lethal at

that point in time.” (Doc. 69-6 at 45). Lawrence refused to put his hands behind his

back. (Docs. 70, ¶33; 64-28). Rhodes was attempting to turn Lawrence around to

handcuff him. Id.

       Lawrence eventually escaped Rhodes’ grasp and ran around his car. (Doc.

69-6 at 47). Rhodes followed, drew his Taser, and shot it at Lawrence. Id. The Taser

was not effective. Id. at 49. Rhodes continued to pursue Lawrence, and the two

wrestled again. Id. at 47. Rhodes handed Woodruff the Taser to drive stun5

Lawrence. Id. at 51–52. While Rhodes tried to hold Lawrence against the car,

Woodruff removed the cartridge off the Taser and attempted to drive stun Lawrence.




       5
         “Tasers can be used in two modes, one is dart or prong mode in which a barbed point
makes contact with the skin and the other is drive or dry stun mode in which the electrified tips of
the Taser are touched to the skin directly.” Callwood v. Phenix City, Ala., No. 2:15CV182-WHA,
2016 WL 6661158, at *2 n.3 (M.D. Ala. Nov. 10, 2016), aff’d sub nom. Callwood v. Jones, 727
F. App’x 552 (11th Cir. 2018) (citing Hoyt v. Cooks, 672 F.3d 972, 980 (11th Cir. 2012)). “Drive-
stun mode causes pain to a subject, but it generally leaves little lasting damage beyond a burn
mark. In this way, it is a less serious use of force than the Taser” in probe or prong mode. Andrews
v. Williams, No. 2:13CV136-MHT, 2015 WL 5735652, at *6 (M.D. Ala. Sept. 30, 2015).

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    Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 9 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 179 of 247


Id. at 55–56. Initially, Lawrence used his free hand and attempted to push the Taser

away from his body. (Docs. 70, ¶ 38; 64-28).

      At this point factual disputes arise. According to Defendants, Lawrence took

the Taser out of Woodruff’s hand. (Doc. 65, ¶¶ 96, 97, 99). Plaintiff contends that

Lawrence grabbed the barrel of the Taser but did not pull the Taser out of Woodruff’s

hand. (Doc. 70, ¶ 40). Skipper grabbed the Taser too and pulled it toward her. Id.

Plaintiff claims Woodruff let go of the Taser in order to access her service weapon.

Id., ¶ 41. Defendant states Skipper could not control the Taser. (Doc. 65, ¶ 98).

Plaintiff disagrees, stating Skipper still had hold of Lawrence’s arm when Woodruff

shot Lawrence. (Doc. 70, ¶ 41).

      Woodruff shot Lawrence in the abdomen with her service weapon while

Skipper was still holding Lawrence’s arm. (Doc. 70, ¶ 41). Woodruff did not

verbally warn Lawrence that she was going to shoot him. (Doc. 69-3 at 90–91).

According to the autopsy report, Lawrence was 6 feet, 1 inch tall and weighed 200

pounds at the time of his death. (Doc. 63-12). The cause of death on the report was

listed as a “gunshot wound to the abdomen.” Id.

      Defendant Adrianne Woodruff is now a retired sergeant from the Dothan

County Police Department. (Doc. 65, ¶ 4). She retired on November 1, 2015 after

24 years of service. Id., see also Doc. 64-1 at 2. At all material times, Defendant




                                         9
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 10 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 180 of 247


City of Dothan was the employer of Defendants, Benton, Summerlin, and Woodruff

in the City of Dothan Police Department. (Docs. 63-1; 63-5; 63-16).

      In December 2016, Plaintiff filed suit against Defendants. (Doc. 1). In a two-

count amended complaint, Plaintiff sued the City of Dothan, Greg Benton, Chris

Summerlin, and Adrienne Woodruff for alleged violation of Lawrence’s Fourth

Amendment rights pursuant to 42 U.S.C. § 1983. (Doc. 28). In count two, he alleged

Alabama state law claims of assault and battery against the City, Summerlin, and

Woodruff. Id. Plaintiff has moved for partial summary judgment on the excessive

force claims against Woodruff arguing no reasonable jury could find Woodruff’s

decision to use deadly force to be a reasonable one and Woodruff had fair warning

that her use of deadly force was unconstitutional. (Doc. 43). Defendants filed a

motion for summary judgment against Plaintiff on the basis that there was no

constitutional violation against Lawrence, and even if there was, Defendants are

entitled to qualified immunity for their actions. (Doc. 63). On the state law claims

of assault and battery, Defendants assert that officers may lawfully use the degree of

force reasonably necessary to defend themselves, and in any event, Woodruff would

be entitled to peace officer immunity under Alabama law. Id.

IV.   ANALYSIS

      A.     Defendants’ City of Dothan, Greg Benton, and Chris Summerlin’s
             Motion for Summary Judgment (Doc. 63)



                                         10
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 11 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 181 of 247


      In his response to Defendants’ motion for summary judgment, Plaintiff states

he “does not oppose the dismissal of Benton, Summerlin, and the City of Dothan.”

(Doc. 70 at 11). Accordingly, Defendants’ motion for summary judgment (Doc.

63) is due to be granted in part as to Defendants Greg Benton, Chris

Summerlin, and the City of Dothan.

      B.     Defendant Woodruff’s Motion for Summary Judgment (Doc. 63)

             1.     Section 1983 Claim

      Woodruff moves for summary judgment on Count I arguing there was no

constitutional violation of Lawrence’s rights. She submits that requesting to see

Lawrence’s driver’s license was lawful, probable cause existed to support

Lawrence’s arrest, and the force used by Woodruff was objectively reasonable.

(Doc. 64). Therefore, she claims she is entitled to summary judgment on Plaintiff’s

§ 1983 claim against her. Id. Even if Plaintiff is able to demonstrate a constitutional

violation, Woodruff argues she is entitled to qualified immunity. Id.

      Qualified immunity completely “protects government officials performing

discretionary functions from suits in their individual capacities unless their conduct

violates ‘clearly established statutory or constitutional rights of which a reasonable

person would have known.’” Dalrymple v. Reno, 334 F.3d 991, 994 (11th Cir. 2003)

(quoting Hope v. Pelzer, 536 U.S. 730, 739 (2002)). The essence of a qualified

immunity analysis is an officer’s objective reasonableness. See Harlow v.


                                          11
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 12 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 182 of 247


Fitzgerald, 457 U.S. 800, 819 (1962); Lee v. Ferraro, 284 F.3d 1188, 1195 (11th

Cir. 2002). If reasonable officers could differ on the lawfulness of the defendant’s

actions, the defendant is entitled to immunity. Storck v. City of Coral Springs, 354

F.3d 1307, 1314 (11th Cir. 2003). Qualified immunity gives ample room for

mistaken judgments but does not protect “the plainly incompetent or those who

knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341, 343 (1986).

      “The qualified immunity inquiry involves three steps: (1) the alleged conduct

must fall within the scope of the discretionary authority of the actor; (2) if it does,

we must then determine whether that conduct violates a constitutional right; (3) if

so, we must inquire whether the asserted right was clearly established at the time of

the alleged violation.” Tinker v. Beasley, 429 F.3d 1324, 1326 (11th Cir. 2005).

      The qualified immunity analysis first requires an officer “prove that ‘[s]he

was acting within the scope of [her] discretionary authority when the allegedly

wrongful acts occurred.’” Lee, 284 F.3d at 1194 (quoting Courson v. McMillian,

939 F.2d 1479, 1487 (11th Cir. 1991) (quoting Rich v. Dollar, 841 F.2d 1558, 1563

(11th Cir. 1988)). In determining whether an official is acting within the scope of

her discretionary authority, courts consider “whether the acts the official undertook

‘are of a type that fell within the employee’s job responsibilities.’” Crosby v.

Monroe County, 394 F.3d 1328, 1332 (11th Cir. 2004) (citations omitted). Here,

Sergeant Woodruff was on duty assigned to supervise the Dothan Animal Shelter


                                          12
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 13 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 183 of 247


when she encountered Lawrence who was threatening to abandon a dog at the end

of the road. Woodruff’s questioning of Lawrence about the dog would certainly be

a duty that fell within her job responsibilities as Animal Services Supervisor, and

therefore she was acting within her discretionary authority. Plaintiff does not appear

to dispute this. (Doc. 70 at 29).

      Once a defendant officer successfully shows that she was acting within her

discretionary authority, courts use a two-part test to determine whether qualified

immunity applies. In Saucier v. Katz, the Supreme Court directed courts to first

determine whether there was a constitutional violation and to second determine

whether the constitutional right in question was clearly established. 533 U.S. 194,

201 (2001). The Court subsequently held, however, that courts need not adhere to

Saucier’s rigid two-step inquiry, and courts can decide the second question without

reaching the first. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

         On reconsidering the procedure required in Saucier, we conclude
         that, while the sequence set forth there is often appropriate, it should
         no longer be regarded as mandatory. The judges of the district
         courts and the courts of appeals should be permitted to exercise
         their sound discretion in deciding which of the two prongs of the
         qualified immunity analysis should be addressed first in light of the
         circumstances in the particular case at hand.
Id.

             a.     Terry Stop

      Plaintiff argues that Woodruff violated the Constitution and clearly

established law in seizing Lawrence in order to force him to produce his driver’s
                                          13
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 14 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 184 of 247


license. (Doc. 70 at 36–39). Defendants claim that Woodruff had reasonable

suspicion to conduct an investigatory stop because of Lawrence’s threats to abandon

the dog on the road. (Doc. 64 at 31). Alabama law authorizes an officer to stop a

person “whom he reasonably suspects is committing, has committed or is about to

commit a felony or other public offense and may demand of him his name, address,

and an explanation of his actions.” ALA. CODE § 15-5-30. As pointed out by

Plaintiff, however, a vague threat to commit a crime at some point in the future does

not constitute an imminent threat that a crime is about to be committed. Even

Woodruff testified that Lawrence’s threat to dump the dog at some point in the future

was not a basis to arrest him. Shelter personnel acknowledged that such threats are

made monthly, but no one has abandoned a dog after leaving the shelter.

      As explained by Skipper, the standard practice at the Dothan Animal Shelter

is to record the tag number of the person’s vehicle so the person can be located in

the unlikely event a dog is abandoned. Woodruff wrote down Lawrence’s tag

number. Considering Woodruff’s subsequent actions and the totality of the

circumstances, the court finds questions of fact preclude a finding that the continued

seizure of Lawrence after that point was reasonable. As explained by the Supreme

Court, “[t]he scope of the search must be ‘strictly tied to and justified by’ the

circumstance which rendered its initiation permissible.” Terry v. Ohio, 392 U.S. 1,

19 (1968) (citations omitted). “[A]n investigative detention must be temporary and


                                         14
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 15 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 185 of 247


last no longer than is necessary to effectuate the purpose of the stop,” Florida v.

Royer, 460 U.S. 491, 500 (1983), and the seizure must “cease once … suspicions

[have been] allayed,” Croom v. Balkwill, 645 F.3d 1240, 1251 n.15 (11th Cir. 2011)

(citing Royer, 460 U.S. at 500). Although Woodruff makes reference to Lawrence

blocking the view of the license tag number, she was able to successfully obtain the

information and call it in. Once Woodruff’s initial purpose or mission was complete,

continued detention beyond that must be supported by reasonable suspicion. See

United States v. Hernandez, 418 F.3d 1206, 1209, n.3 (11th Cir. 2005). The tag

number matched the vehicle. She had the information she needed in the event the

dog was “dumped” on the road at some point later. Reasonable suspicion may have

supported this initial investigatory stop, but the court finds that questions of fact exist

as to whether Woodruff had objective legal grounds to continue to detain Lawrence

after obtaining the tag number.

       While it is true that Lawrence subsequently refused to provide his driver’s

license, Lawrence was not driving at the time. See ALA. CODE § 32-6-9 (“Every

licensee shall have his or her license in his or her immediate possession at all times

when driving a motor vehicle and shall display the same, upon demand of … a peace

officer.”) (emphasis added). And it is undisputed, Lawrence identified himself,

albeit not by providing any official documentation. Lawrence’s refusal to produce

a driver’s license in the face of an unlawful detention cannot form the basis of a


                                            15
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 16 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 186 of 247


reasonable suspicion that he did not possess a valid driver’s license in an effort to

create a basis to detain him. “[A] refusal to cooperate, without more, does not

furnish the minimal level of objective justification needed for a detention or seizure.”

Fla. v. Bostick, 501 U.S. 429, 437 (1991).

      An officer is entitled to qualified immunity if he has “arguable” reasonable

suspicion for a Terry seizure. Jackson v. Sauls, 206 F.3d 1156, 1166 (11th Cir.

2000). Viewing the facts and all reasonable inferences in a light most favorable to

Plaintiff, there was no reasonable basis for the continued seizure of Lawrence after

Woodruff had obtained Lawrence’s tag number. Accordingly, a jury could conclude

that a constitutional violation occurred in Woodruff’s continued seizure of

Lawrence, and therefore qualified immunity would not preclude Plaintiff’s claim.

             b.     Excessive Force

      “The Fourth Amendment’s freedom from unreasonable searches and seizures

encompasses the plain right to be free from the use of excessive force in the course

of an arrest.” Lee, 284 F.3d at 1197 (citing Graham v. Connor, 490 U.S. 386, 394–

95 (1989)). The Supreme Court has held that “all claims that law enforcement

officers have used excessive force—deadly or not—in the course of an arrest,

investigatory stop, or other ‘seizure’ of a free citizen should be analyzed under” a

reasonableness standard. Graham, 490 U.S. at 395. As a general rule, an officer has

the power to use a reasonable amount of force, or threat thereof, in making an arrest


                                          16
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 17 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 187 of 247


or investigatory stop. Id. at 396 (citing Terry, 392 U.S. at 22–27). When a plaintiff

claims an officer used excessive force, courts utilize an objective test to determine

the reasonableness of the officer’s actions in light of the totality of the circumstances.

Id.

      Courts will find an officer’s use of force to be excessive under the Fourth

Amendment, and therefore a constitutional violation, if the use of force was

“objectively [un]reasonable in light of the facts and circumstances confronting” the

officer. Graham, 490 U.S. at 397 (quotation omitted). The amount of force used will

be found reasonable only if it was “necessary in the situation at hand.” Lee, 284 F.3d

at 1197 (quotation omitted). The Supreme Court has identified several factors courts

should consider in evaluating whether force was constitutionally necessary: “[1] the

severity of the crime at issue, [2] whether the suspect poses an immediate threat to

the safety of the officers or others, and [3] whether [the suspect] is actively resisting

arrest or attempting to evade arrest by flight.” Graham, 490 U.S. at 396; see also

Vinyard v. Wilson, 311 F.3d 1340, 1347 (11th Cir. 2002) (“To balance the necessity

of the use of force used against the arrestee’s constitutional rights, a court must

evaluate [the Graham] factors.”).

      In considering these factors, Defendants argue no constitutional violation

occurred. (Doc. 64 at 42–43). On the first factor, Defendants acknowledge the crime

was not severe, but contend that Lawrence’s resistance had the potential to escalate


                                           17
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 18 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 188 of 247


into a serious crime. Id. On the second factor, Defendants argue Lawrence posed

an immediate threat of serious bodily harm because he took the Taser from

Woodruff’s hand. However, the facts are disputed on this point. Plaintiff argues

that Woodruff released the Taser to access her gun, and her subjective belief that she

or the other officers were in danger is irrelevant. Plaintiff submits under the

applicable objective standard, no objective reasonable officer would have perceived

that deadly force was warranted. On the third factor, although Lawrence attempted

to evade Rhodes’ grasp, there is no evidence Lawrence was attempting to flee the

scene.

         Plaintiff relies on Tennessee v. Garner, 471 U.S. 1, 11 (1985), for the clearly

established right at the time of the alleged violation that a fleeing felon should be

given some warning about the possibility that deadly force will be used. It is

undisputed that Woodruff gave no warning before shooting Lawrence. “Garner

clearly established that [the decedent] had a right to be free from deadly force when

he was not threatening the officers, was merely suspected of misdemeanor offenses,

and was attempting to escape.”6 Smith v. LePage, 834 F.3d 1285, 1297 (11th Cir.

2016). The alleged offenses here were certainly minor (or non-existent). Woodruff

acknowledges that Lawrence did not verbally or physically threaten her, but his



         6
         Plaintiff notes the Supreme Court recently held that the general rules set forth in Garner
and Graham can constitute clearly established law, but only in obvious cases, which Plaintiff urges
is present here. (Doc. 70 at 44) (citing Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018)).
                                                18
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 19 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 189 of 247


mannerisms of “getting in her face” and coming too close to her made her

uncomfortable.    Plaintiff argues that Woodruff released the Taser.           Woodruff

acknowledged that a Taser in stun gun mode will cause extreme pain, but not

incapacitation. (Doc. 69-3 at 95). Defendants’ expert agrees generally that a Taser

in drive stun mode does not ordinarily justify deadly force because it only causes

pain and is not likely to cause serious injury. (Doc. 69-13 at 102–04). In a light

most favorable to Plaintiff, a jury could conclude that Lawrence did not pose a

serious threat of harm to the officers to warrant the use of deadly force by Woodruff.

     With regard to Woodruff’s claim of qualified immunity, the Eleventh Circuit

has recently provided additional guidance.

     In an excessive-force case, where qualified immunity has been pled,
     “[o]ur circuit uses two methods to determine whether a reasonable officer
     would know that his conduct is unconstitutional” under the Fourth
     Amendment. Fils v. City of Aventura, 647 F.3d 1288, 1291 (11th Cir.
     1991). The first considers “the relevant case law at the time of the
     violation; the right is clearly established if a concrete factual context exists
     so as to make it obvious to a reasonable government actor that his actions
     violate federal law.” Id. (citation, internal quotation marks, and alteration
     omitted). “This method does not require that the case law be ‘materially
     similar’ to the officer’s conduct;” “[b]ut, where the law is stated in broad
     propositions, ‘a very high degree of prior factual particularity may be
     necessary.’” Id. (quoting Hope v. Pelzer, 536 U.S. 730, 740-41, 122 S. Ct.
     2508, 2516, 153 L.Ed.2d 666 (2002)).

     The second method looks “not at case law, but at the officer’s conduct,
     and inquires whether that conduct ‘lies so obviously at the very core of
     what the Fourth Amendment prohibits that the unlawfulness of the
     conduct was readily apparent to the officer, notwithstanding the lack of
     fact-specific case law.’” Id. (quoting Vinyard v. Wilson, 311 F.3d 1340,
     1355 (11th Cir. 2002)) (alteration omitted) (emphasis added). The cases

                                           19
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 20 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 190 of 247


     fitting this method are known as “obvious clarity,” id. (quoting Vinyard,
     311 F.3d at 1355), “a ‘narrow exception’ to the normal rule that only case
     law and specific factual scenarios can clearly establish a violation,” id.
     (quoting Lee, 284 F.3d at 1198–99).

     In considering an excessive-force case, a court should determine whether
     an officer’s conduct in making an arrest is objectively reasonable or if it
     is an over-reactive, disproportionate action for the situation relative to the
     response of the apprehended person. The latter is the sort of
     unconstitutional conduct that deprives an officer of qualified-immunity
     protection in an obvious-clarity case.

Stephens v. DeGiovanni, 852 F.3d 1298, 1315–16 (11th Cir. 2017).

      Plaintiff argues that viewing the facts in a light most favorable to him, the

evidence shows Lawrence grabbed the Taser as an act of self-protection, that he

never possessed the Taser, and that he never came close to having the ability to use

the Taser as a weapon. Lawrence was restrained the entire time by Rhodes who was

as big, if not bigger, than Lawrence. Woodruff had the assistance of Skipper who

had hold of Lawrence’s arm. Nothing about the situation warranted the use of deadly

force, and Woodruff should have given some type of warning before shooting

Lawrence. Rhodes and Skipper did not even realize initially it was Woodruff who

had fired the gun.

      The Eleventh Circuit explains,

         Even at the summary judgment stage, not all defendants entitled
         to the protection of the qualified immunity defense will get it. The
         ones who should be given that protection at the summary
         judgment stage are those who establish that there is no genuine
         issue of material fact preventing them from being entitled to
         qualified immunity. And that will include defendants in a case

                                          20
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 21 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 191 of 247


           where there is some dispute about the facts, but even viewing the
           evidence most favorably to the plaintiff the law applicable to that
           set of facts was not already clearly enough settled to make the
           defendants’ conduct clearly unlawful. But if the evidence at the
           summary judgment stage, viewed in the light most favorable to the
           plaintiff, shows there are facts that are inconsistent with qualified
           immunity being granted, the case and the qualified immunity issue
           along with it will proceed to trial.

Johnson v. Breeden, 280 F.3d 1308, 1317 (11th Cir. 2002). Because the court finds

disputed issues of material fact are inconsistent with qualified immunity being

granted, Woodruff’s motion for summary judgment is due to be denied.

               2.      State Law Claims of Assault and Battery

       In response to the state law claims of assault and battery asserted against her

in Count II, Woodruff seeks summary judgment in her favor on the basis of peace

officer/state agent immunity under ALA. CODE § 6-5-338(a).7 Under § 6-5-338(a), a

state agent “shall have immunity from tort liability arising out of his or her conduct




       7
          “Every peace officer and tactical medic, except constables, who is employed or appointed
pursuant to the Constitution or statutes of this state, whether appointed or employed as a peace
officer or tactical medic by the state or a county or municipality thereof, or by an agency or
institution, corporate or otherwise, created pursuant to the Constitution or laws of this state and
authorized by the Constitution or laws to appoint or employ police officers or other peace officers
or tactical medics, and whose duties prescribed by law, or by the lawful terms of their employment
or appointment, include the enforcement of, or the investigation and reporting of violations of, the
criminal laws of this state, and who is empowered by the laws of this state to execute warrants, to
arrest and to take into custody persons who violate, or who are lawfully charged by warrant,
indictment, or other lawful process, with violations of, the criminal laws of this state, shall at all
times be deemed to be officers of this state, and as such shall have immunity from tort liability
arising out of his or her conduct in performance of any discretionary function within the line and
scope of his or her law enforcement duties.”

Ala. Code § 6-5-338(a).
                                                 21
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 22 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 192 of 247


in performance of any discretionary function within the line and scope of his or her

law enforcement duties.” ALA. CODE § 6-5-338(a).

      Woodruff asserts that her decision to use deadly force to stop Lawrence in

these circumstances was authorized by ALA. CODE §13A-3-27, which provides in

pertinent part that “a sworn officer is justified in using force upon another person

when and to the extent that [s]he reasonably believes is necessary … [t]o defend

themselves or a third party from what he/she reasonably believe to be the use or

imminent use of physical force while attempting to effect an arrest or while

attempting to prevent an escape.” The statute further provides that the use of deadly

force is justified by a law enforcement officer when “[i]t is necessary to defend

themselves or a third party from what he/she reasonably believes to be the use or

imminent use of deadly physical force.” Id. (Doc. 64 at 52).

      “Whether a qualified peace officer is due § 6–5–338(a) immunity is now

judged by the restatement of State-agent immunity articulated by Ex parte Cranman,

792 So.2d 392 (Ala. 2000).” Hollis v. City of Brighton, 950 So. 2d 300, 308 (Ala.

2006) (citations omitted).

         By enacting [§ 6–5–338], the Legislature intended to afford
         municipal law-enforcement officials the immunity enjoyed by their
         state counterparts. Sheth v. Webster, 145 F.3d 1231, 1237 (11th Cir.
         1998). Indeed, “[t]his statute, by its terms, extends state-agent
         immunity to peace officers performing discretionary functions
         within the line and scope of their law-enforcement duties.” Moore
         v. Crocker, 852 So.2d 89, 90 (Ala. 2002) (emphasis added).


                                         22
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 23 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 193 of 247


         In Ex parte Cranman, supra, this Court “restated the law of state-
         agent immunity in Alabama.” Moore, 852 So.2d at 90. Since
         Cranman, we analyze immunity issues in terms of “State-agent”
         immunity, rather than “under the dichotomy of ministerial versus
         discretionary functions.” Ex parte Hudson, 866 So.2d 1115, 1117
         (Ala. 2003). See also Giambrone v. Douglas, 874 So.2d 1046, 1052
         (Ala. 2003); Ex parte Turner, 840 So.2d 132, 134 n. 1 (Ala. 2002).
         Thus, we will address the applicability of peace-officer immunity
         under the principles set forth in Cranman. See Moore, supra; Ex
         parte Duvall, 782 So.2d 244 (Ala. 2000).

Id. (quoting Howard v. City of Atmore, 887 So.2d 201, 203 (Ala. 2003)).

      The party claiming immunity bears the initial burden of “demonstrating that

the plaintiff’s claims arise from a function that would entitle the state agent to

immunity.” Hollis, 950 So. 2d at 309. If the required showing is made by the

defendant, the burden shifts to the plaintiff to show that the state agent “acted

willfully, maliciously, fraudulent, in bad faith, or beyond his or her authority.” Id.

      As discussed above, questions of material fact exist as to why Woodruff used

deadly force in this situation which appeared to be a non-deadly force situation.

There is adequate evidence to suggest that Woodruff’s frustration with Lawrence’s

attitude of confrontation and non-cooperation (including her knowledge that he

espoused “sovereign citizen” rhetoric) impaired her judgment as a law enforcement

officer, to the point that a jury could find she was then acting maliciously or in bad

faith. These factual disputes preclude a finding that qualified immunity applies, and

therefore it is recommended that Woodruff’s motion for summary judgment as to

Plaintiff’s state law claims be denied.

                                          23
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 24 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 194 of 247


        C.    Plaintiff’s Motion for Partial Summary Judgment (Doc. 43)

        Plaintiff seeks partial summary judgment against Woodruff on the excessive

force claims pursuant to 42 U.S.C. § 1983. (Doc. 43). As discussed above, material

factual disputes exist regarding Woodruff’s entitlement to qualified immunity. In a

light favorable to Woodruff, these factual disputes preclude summary judgment in

Plaintiff’s favor because Plaintiff is unable to satisfy his burden of proof—as it

relates to Woodruff—whether there was a constitutional violation and whether the

constitutional right in question was clearly established at the time of the alleged

conduct. Accordingly, Plaintiff’s Motion for Partial Summary Judgment (Doc. 43)

is due to be denied.

V.      RECOMMENDATION

        Accordingly, for the reasons as stated, it is respectfully RECOMMENDED

that:

        1. Plaintiff’s Motion for Partial Summary Judgment (Doc. 43) be denied;

and

        2. Defendants’ Motion for Summary Judgment on behalf of the City of

Dothan, Alabama; Greg Benton, and Chris Summerlin (Doc. 63) be granted and

final summary judgment be entered in these Defendants’ favor, and Defendants’

Motion for Summary Judgment as to Adrienne Woodruff (Doc. 63) be denied.

VI.     NOTICE TO PARTIES


                                        24
   Case 1:16-cv-01003-ECM-DAB Document 73 Filed 07/25/18 Page 25 of 25
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 195 of 247


      A party has fourteen days from this date to file written objections to the Report

and Recommendation’s factual findings and legal conclusions. Accordingly, it is

hereby ORDERED that any objections to the Report and Recommendation shall be

filed on or before August 8, 2018. A party’s failure to file written objections waives

that party’s right to challenge on appeal any unobjected-to factual finding or legal

conclusion the district judge adopts from the Report and Recommendation. See 11th

Cir. R. 3-1; see also 28 U.S.C. § 636(b)(1).

      Respectfully recommended this 25th day of July, 2018.



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                                       __________________________________
                                                 DAVID A. BAKER
                                       UNITED STATES MAGISTRATE JUDGE




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USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 196 of 247




                  TAB 82
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 1 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 197 of 247



               IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

CHRISTOPHER CANTU, as the)
Administrator of the Estate of
                         )
Robert Earl Lawrence,    )
                         )
        Plaintiff,       )
                         )
v.                       )                 Case No. 1:16-cv-1003-ECM-DAB
                         )
CITY OF DOTHAN, ALABAMA, )
et al.,                  )
                         )
        Defendants.      )

                MEMORDANDUM OPINION AND ORDER

      This cause comes before the Court on the parties’ cross motions for summary

judgment: Plaintiff’s Motion for Partial Summary Judgment (Doc. 43) and

Defendants’ City of Dothan, Alabama, Benton, Summerlin, and Woodruff’s Motion

for Summary Judgment (Doc. 63). The Magistrate Judge, after considering these

motions, submitted a Report and Recommendation (Doc. 73) recommending

Plaintiff’s Motion for Partial Summary Judgment (Doc. 43) be denied; and

Defendants’ Motion for Summary Judgment on behalf of the City of Dothan,

Alabama; Greg Benton, and Chris Summerlin (Doc. 63) be granted and final

summary judgment be entered in these Defendants’ favor, and Defendants’ Motion

for Summary Judgment as to Adrienne Woodruff (Doc. 63) be denied. Based on an

independent review of the record and for the reasons discussed below, the Report
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    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 2 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 198 of 247


and Recommendation will be ADOPTED IN PART and REJECTED IN PART. It

will be ADOPTED as to the Magistrate Judge’s recommendation that summary

judgment is due to be granted as to Defendants Greg Benton, Chris Summerlin, and

the City of Dothan.      However, the Court will reject the Magistrate Judge's

recommendation on summary judgment to deny Woodruff qualified immunity.


I.     JURISDICTION AND VENUE

       The court has subject-matter jurisdiction over this action under 28 U.S.C. §

1331. The parties do not contest personal jurisdiction or venue.


II.    STANDARD OF REVIEW

       A district court judge “may accept, reject, or modify, in whole or in part, the

findings or recommendations made by the magistrate judge.” 18 U.S.C. § 636(b)(1).

The court reviews the Recommendation using the same summary judgment standard

applied by the Magistrate Judge. (See Doc. # 209, at 4–6.) Summary judgment is

appropriate when the “movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a).


III.   BACKGROUND




                                          2
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 3 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 199 of 247


      Plaintiff Christopher Cantu is the personal representative of the Estate of

Robert Earl Lawrence who was fatally shot by Defendant Adrianne Woodruff, a

Dothan Police Department sergeant. The material facts are largely undisputed. The

shooting and the events leading up to it are captured on multiple video and audio

recordings, including a video from inside the office of the Dothan County Animal

Shelter, a cell-phone video recorded by Lawrence’s girlfriend and himself, and the

dash-mounted camera in Officer Alan Rhodes’ patrol car. There are also audio

recordings of three telephone calls from the animal shelter to Dothan Police dispatch.

      On December 30, 2014, Lawrence entered the Dothan County Animal Shelter

reception area with a dog he wanted to surrender. Woodruff was the sergeant on

duty assigned to supervise the animal shelter. Receptionist Patricia Holley and Chief

Animal Services Officer Renee Skipper were also working at the shelter that day.

Lawrence told Holley he was from Geneva County, and she advised that the shelter

only accepted animals from Houston County. Lawrence stated that he found the dog

at a Wal-Mart in Dothan, Alabama. Woodruff walked in from the adjoining office

after she heard Lawrence getting upset about being asked for identification.

Lawrence refused to produce identification, purporting to cite federal law and

claiming invasion of privacy. Woodruff agreed to accept the dog without Lawrence

producing identification if he would sign a routine intake form. Lawrence refused

to sign the form and threatened to abandon the dog at the end of the road. Woodruff

                                          3
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 4 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 200 of 247


told him that abandoning the animal would be a crime. Lawrence complained that

his rights were being violated and picked the dog up to leave. Woodruff asked him

for identification, which Lawrence again refused, stating it was a violation of his

rights.

          Skipper testified that when people threaten to abandon a dog outside the

shelter, the procedure is to write down the tag number of the person’s vehicle in the

event the dog is later found. As Lawrence was leaving the shelter with the dog,

Woodruff followed him to write down the tag number of Lawrence’s vehicle. As

Woodruff followed Lawrence, she observed an empty gun holster on his hip. She

asked Lawrence about the gun, and he told her that it was in his car. Woodruff asked

her assistant to call for back-up.

          Lawrence walked toward his car and called out to his girlfriend in the car:

“Get the video. This is going to be a good one.” Lawrence sat in the driver’s seat of

the car which was still running. Woodruff went to the rear of the vehicle to copy the

tag number, but Lawrence got out of his car and attempted to block her view of the

tag; she ultimately got the tag number. Woodruff also testified that she could not

communicate the tag number initially to dispatch because she could not get through

on the telephone. Woodruff called police dispatch to request her back-up. Lawrence

told Woodruff he was leaving, but she told Lawrence he could not leave without

showing her a driver’s license. Lawrence argued with Woodruff, stating that he did

                                           4
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 5 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 201 of 247


not have a drivers license or need one because she had not seen him driving and

further demanded that Woodruff tell him the statutory definition of “driving.”

Lawrence produced a piece of paper titled an “AFFIDAVIT OF IDENTITY.” The

document stated that it was “duly affirmed upon oath and full commercial liability”

and included Lawrence’s name, his “current post” and “Date of origin.” The

Affidavit purported to be proof of his description, picture, right thumb print, and

signature. Based on her training, Woodruff believed Lawrence to be a “Sovereign

Citizen.”

      Lawrence demanded that Woodruff return his identification paper. Woodruff

said she would first call police dispatch to request a warrant check for Lawrence.

Lawrence told Woodruff that she had “no right or authority” and repeatedly

demanded that Woodruff return his paper. Skipper brought Woodruff a portable

telephone, and Woodruff called to verify that there were no warrants for Lawrence.

After confirming that Lawrence had no outstanding warrants, Woodruff stayed on

the call with dispatch, and the exchange between Lawrence and Woodruff was

recorded. After Woodruff ran the tag for his vehicle, the tag came back registered

to a silver Lexus, which was the color and model of the car that Lawrence was in.

      The dashboard camera in Rhodes’s patrol car shows that he arrived at shelter

and parked his patrol car behind Lawrence’s car at 12:41:13 PM. The video shows

Woodruff on a telephone and holding papers behind and to the driver’s side of the

                                        5
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 6 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 202 of 247


silver Lexus, and Lawrence standing beside the open driver’s door of the car while

lighting a cigarette and holding a cell phone to record the incident. At 12:41:20 PM,

the video shows Woodruff hang up the phone and Lawrence begin to approach

Rhodes’s patrol car, holding a cell phone in his right hand recording the incident. At

12:41:24 PM, Rhodes comes into the left frame of the video, and as he points to the

silver Lexus he can be heard telling Lawrence, “Hey, don’t even start. Stand over

there with the car, and I’ll be with you in a second.” Lawrence backs up and stands

at the bumper of the silver Lexus at 12:41:33 PM. Woodruff begins to explain the

events to Rhodes. Less than ten seconds after backing up to the silver Lexus,

Lawrence again begins to walk toward Woodruff and Rhodes. Rhodes points at

Lawrence and says, “Did I tell you to stand over there? You need to stand by the car

where I tell you to or you’re going to jail now!” Lawrence can be heard in the

background arguing with Rhodes saying “Yes sir, I’m utilizing my First Amendment

right for free speech.” Rhodes responded, “You can stand by the car where I tell you

to or you can go to jail now.” Lawrence backed up but continued to argue with

Rhodes about “utilizing his rights,” and Rhodes responded that “You can utilize it

where I tell you to stand.” Lawrence responds “Ok, where’s that … can you tell me

where you … I’m not arguing with you sir, I’m trying to figure out the back side of

this.” Lawrence and Rhodes continued to speak over each other, and at 12:41:53




                                          6
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 7 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 203 of 247


PM in the video, Rhodes approaches Lawrence as he says, “Do you want to argue

with me more? Turn around. Turn around.”

      Rhodes and Woodruff both pinned Lawrence against the Silver Lexus as he

repeated “Oh, no no no no … Don’t touch me!” and resisted their efforts. Lawrence

waved the cellphone in his right hand away from the officers as he yelled for his

girlfriend to “get this … get this … look at this … look at this” and continued to

resist arrest as he shouted “I’m a peaceful man … stop! Get off me, get off me.”

Rhodes asks Lawrence, “Are you going to turn around for me?” and Lawrence yells

back, “No, I’m not!” The three continued to struggle, and Lawrence continued to

yell and demand that the officers stop as he protested that his arrest was an “unlawful

detainer.” After physically resisting arrest for over a minute, Lawrence breaks away

from the officers’ grasp at 12:43:12 PM on the video and begins to run around the

car fleeing from the officers. Rhodes deploys his Taser at Lawrence at 12:43:19 PM

on the video, but Lawrence, who was wearing a thick jacket, shows no signs that the

Taser had any effect on him. Rhodes continued to attempt to physically restrain

Lawrence, and Lawrence continued to physically resist while yelling, “Stop!”

repeatedly. Neither the video nor audio indicate that Lawrence ever stopped actively

resisting arrest, and he continued to wrestle with the officers. At 12:44:02 PM, the

video shows Woodruff attempting to use the Taser in drive stun mode as Rhodes

repeatedly tells Lawrence to “Turn around!” Four seconds later, Lawrence can be

                                          7
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 8 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 204 of 247


heard yelling, “Don’t do it! Stop!” as he reaches and grabs the Taser. Plaintiff admits

that “Woodruff held the Taser with her finger on the trigger” and that “Lawrence

grabbed Woodruff’s Taser.” (Doc. 43 at ¶¶ 26-27).1 The Taser can be heard briefly

firing, and then Skipper reached in and pulled Lawrence’s arm away from the scrum

while both he and Woodruff were holding the Taser. One second later, Woodruff

can be seen removing her pistol from the holster on her belt and discharging it by

Lawrence’s side. Woodruff shot Lawrence in the abdomen with her service weapon

while Lawrence continued to hold the Taser and struggle against Skipper and

Rhodes. Lawrence did not release his grasp on the Taser until after Woodruff

discharged her gun. Woodruff did not verbally warn Lawrence that she was going

to shoot him. Lawrence died as a result of the gunshot wound.

       At all material times, Defendant City of Dothan was the employer of

Defendants Benton, Summerlin, and Woodruff in the City of Dothan Police

Department. (Docs. 63-1; 63-5; 63-16).

       In December 2016, Plaintiff filed suit against Defendants. (Doc. 1). In a two-

count amended complaint, Plaintiff sued the City of Dothan, Greg Benton, Chris

Summerlin, and Adrienne Woodruff for alleged violation of Lawrence’s Fourth


1
  Plaintiff further alleges that during this altercation in which Rhodes and Woodruff were trying to
subdue Lawrence, “Officer Skipper grabbed Lawrence’s arm and pulled it toward her (with
Woodruff still holding the Taser and Lawrence holding it as well but not by the grip).” Id. at ¶ 28.
However, after thoroughly and repeatedly viewing all available video of the incident that has been
submitted as exhibits in support of the parties’ respective motions, this Court finds that there is
insufficient clarity in any view to determine which part of the Taser Lawrence was grasping.
                                                 8
    Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 9 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 205 of 247


Amendment rights pursuant to 42 U.S.C. § 1983. (Doc. 28). In Count II, Plaintiff

alleged Alabama state law claims of assault and battery against the City, Summerlin,

and Woodruff. Id. Plaintiff has moved for partial summary judgment on the

excessive force claims against Woodruff, arguing that no reasonable jury could find

Woodruff’s decision to use deadly force to be a reasonable one and that Woodruff

had fair warning that her use of deadly force was unconstitutional. (Doc. 43).

Defendants filed a motion for summary judgment against Plaintiff on the basis that

there was no constitutional violation against Lawrence, and even if there was,

Defendants are entitled to qualified immunity for their actions. (Doc. 63). On the

state law claims of assault and battery/excessive force in Count II, Defendants assert

that officers may lawfully use the degree of force reasonably necessary to defend

themselves, and in any event, Woodruff would be entitled to peace officer immunity

under Alabama law. Id.

IV.   DISCUSSION

      A. Defendants City of Dothan, Greg Benton, and Chris Summerlin

      Plaintiff did “not oppose the dismissal of Benton, Summerlin, and the City of

Dothan” in his briefs to this Court (Doc. 70 at 11) and did not object to the Magistrate

Judge’s recommendation to grant summary judgment in favor of those parties. (Doc.

78). Accordingly, the recommendation is adopted in part to the extent that the

Magistrate Judge recommended that “Defendants’ motion for summary judgment

                                           9
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 10 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 206 of 247


(Doc. 63) is due to be granted in part as to Defendants Greg Benton, Chris

Summerlin, and the City of Dothan.” (Doc. 73 at 11).

      B. Defendant Woodruff

             1. Count I – Excessive Force

      Plaintiff’s first claim is that “Woodruff, acting under color of law within the

meaning of 42 U.S.C. § 1983, used deadly force on Lawrence, thereby depriving

Lawrence of his rights under the Fourth and Fourteenth Amendments to the

Constitution of the United States in violation of 42 U.S.C. § 1983. Specifically, she

violated Lawrence’s right to be free from excessive force.” (Doc. 28 at ¶ 65).

      “[T]he question we ask is whether, under [the plaintiff's] version of the facts,

[the officer] behaved reasonably in the light of the circumstances before him.”

Galvez v. Bruce, 552 F.3d 1238, 1243 (11th Cir. 2008)(citation and internal

quotation marks omitted). The excessive-force “area is one in which the result

depends very much on the facts of each case.” Brosseau v. Haugen, 543 U.S. 194,

201, 125 S. Ct. 596, 600, 160 L. Ed. 2d 583 (2004). Excessive-force claims are fact-

specific; whether the force an officer uses is reasonable “requires careful attention

to the facts and circumstances of each particular case.” Graham v. Connor, 490 U.S.

386, 396, 109 S.Ct. 1865, 1872, 104 L.Ed. 2d 443 (1989).

       “The calculus of reasonableness must embody allowance for the fact
      that police officers are often forced to make split-second judgments—
      in circumstances that are tense, uncertain, and rapidly evolving—about
      the amount of force that is necessary in a particular situation.” Graham,
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   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 11 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 207 of 247


      490 U.S. at 396–97, 109 S.Ct. 1865. We make this inquiry without
      regard to the officer's underlying intent or motivation. Id. at 397, 109
      S.Ct. 1865.

Wate v. Kubler, 839 F.3d 1012, 1019–20 (11th Cir. 2016).

      Courts must examine “the fact pattern from the perspective of a
      reasonable officer on the scene with knowledge of the attendant
      circumstances and facts, and balance the risk of bodily [or
      psychological] harm to the suspect against the gravity of the threat the
      officer sought to eliminate.” McCullough v. Antolini, 559 F.3d 1201,
      1206 (11th Cir. 2009) (citing Scott v. Harris, 550 U.S. 372, 383, 127
      S.Ct. 1769, 1778, 167 L.Ed.2d 686 (2007)).

Stephens v. DeGiovanni, 852 F.3d 1298, 1318 (11th Cir. 2017). The Eleventh

Circuit has further held that

      “The Fourth Amendment's freedom from unreasonable searches and
      seizures encompasses the plain right to be free from the use of excessive
      force in the course of an arrest.” Lee, 284 F.3d at 1197 (emphasis
      added). The Graham objective-reasonableness standard governs
      judicial determination of claims of official use of excessive force. “[T]o
      determine whether the amount of force used by a police officer was
      proper, a court must ask whether a reasonable officer would believe that
      this level of force is necessary in the situation at hand.” Id. (citation and
      internal quotation marks omitted). In deciding whether an officer is
      entitled to summary judgment based on qualified immunity, the
      question of whether the force used by the officer in the course of an
      arrest is excessive is a “‘pure question of law,’” decided by the court.
      Myers v. Bowman, 713 F.3d 1319, 1328 (11th Cir. 2013) (quoting Scott,
      550 U.S. at 381 n.8, 127 S.Ct. at 1776 n.8).

             To determine “whether the force used to effect a particular
      seizure is ‘reasonable,’ ” the Graham Court noted three nonexclusive
      factors for evaluating an officer's necessity for using force against an
      arrestee's Fourth Amendment rights: (1) “the severity of the crime at
      issue,” (2) “whether the suspect poses an immediate threat to the safety
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   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 12 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 208 of 247


      of the officers or others,” and (3) “whether [the suspect] is actively
      resisting arrest or attempting to evade arrest by flight.”

Stephens, 852 F.3d at 1321 (emphasis in original).

                   a. Probable Cause

      Plaintiff initially conceded in his motion for summary judgment that

“[Lawrence] at most had committed a minor crime and was resisting an arrest he

believed was unlawful.” (Doc. 43 at 23). Plaintiff confirmed this position in his

reply brief in support of his motion: “Defendant spends most of her brief arguing

that Woodruff and Rhodes were justified in detaining and arresting Lawrence and

justified in using the Taser on Lawrence, matters not disputed by plaintiff for the

purposes of his motion.” (Doc. 52 at 1). Woodruff argues that her “request to see

Lawrence’s driver’s license was lawful because he had just threatened to commit a

crime, then sat behind the wheel of a car to drive away. Furthermore, probable cause

existed to support his arrest for obstructing government operations, refusing a lawful

order to present a driver’s license, refusing a lawful order to back away, resisting

arrest, disorderly conduct, harassment of a police officer, menacing, attempted

assault of a police officer with a dangerous instrument and taking a police officer’s

weapon.” (Doc. 64 at 28). However, Plaintiff changed course in responding to

Defendants’ motion for summary judgment, newly arguing that “Woodruff’s

admonishment to Lawrence not to dump the dog and writing down his tag should

have been the limit of her assertion of authority.” (Doc. 70 at 36).
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   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 13 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 209 of 247


      Plaintiff appears to argue that Woodruff lacked reasonable suspicion to detain

Lawrence after he exited the shelter. Plaintiff does not dispute that Lawrence

threatened “to abandon the dog down the road” (Doc. 70 at 36) or that doing so

would have been a criminal offense. See § 13A-11-14(a)(2), Ala. Code 1975 (“A

person commits the crime of cruelty to animals if, except at otherwise authorized by

law, he or she recklessly or with criminal negligence … subjects any animal in his

or her custody to cruel neglect....”). Moreover, Plaintiff acknowledges that under

Alabama law, Woodruff, as a law enforcement officer, was authorized to “stop any

person abroad in a public place whom [s]he reasonably suspects is committing, has

committed or is about to commit a felony or other public offense and may demand

of him his name, address and an explanation of his actions.” § 15-5-30. Plaintiff

argues, however, that “[a] threat to commit a crime in the future is far from being

caught “about to commit” a crime.” (Doc. 70 at 36).

      This Court must view “the fact pattern from the perspective of a reasonable

officer on the scene with knowledge of the attendant circumstances and facts….”

McCullough v. Antolini, 559 F.3d 1201, 1206 (11th Cir. 2009). In this case,

Lawrence attempted to leave the dog with the shelter but refused to cooperate with

the most basic of protocols for doing so and left with the dog while threatening to

abandon the dog at the end of the road. In the cellphone video recorded by

Lawrence’s girlfriend, his girlfriend can be heard saying, “Just take the damned dog

                                        13
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 14 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 210 of 247


back with us.” Lawrence can be seen and heard replying to her “Well, that’s what I

said; I’ll just take him down the damn road and drop him off.” The question is not,

as Plaintiff suggests, whether “persons regularly make such statements” or whether

“no one has ever been found to have dumped a dog after leaving the shelter,” (Doc.

70 at 36) or even whether “Lawrence’s threat to dump the dog at some point in the

future was … a basis to arrest him,” (Doc. 73 at 14), but whether a reasonable officer

having witnessed Lawrence’s demeanor, behavior, and threats had probable cause

to detain Lawrence and at the minimum write down the tag number on his car, which

she did. It would be far less reasonable for an officer to suspect that Lawrence would

make a return trip to the same shelter from another county at some distant point in

the future for the sole purpose of abandoning an animal to avoid producing

identification. There is no evidence before the Court to suggest that Woodruff or

Rhodes initiated the arrest of Lawrence due to his threat to abandon the dog.

      Moreover, in the cellphone video recorded by Lawrence’s girlfriend,

Lawrence exited the silver Lexus and said to Woodruff, “That’s private property.

You have no right to copy down…” and then stood between her and the rear of the

vehicle in an attempt to block her view of the license plate on the car. On that same

video, Lawrence argued with Woodruff, repeatedly asserting that she was interfering

with his “right to travel,” that he did not need a driver’s license, and that she had not

seen him driving. However, he was clearly in the driver’s seat of the silver Lexus

                                           14
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 15 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 211 of 247


with the key in the ignition demanding return of his identification paperwork so he

could “leave.” The situation was not simply, as Plaintiff has suggested, that once

Woodruff had written down the license plate number from the silver Lexus that

probable cause ceased to exist.         On the contrary, the video evidence is

incontrovertible that Lawrence was the only person seen in the driver’s seat of the

silver Lexus, the key was in the ignition, three small children were seated in the back

of the car, Lawrence was increasingly agitated and argumentative toward Woodruff,

and he was clearly stating that he intended to “leave” and “travel” and refused to

show her a driver’s license.

      Plaintiff argues that Woodruff’s demand for Lawrence to produce his driver’s

license “was beyond her authority” (Doc. 70 at 36) and cites United States v. Brown,

731 F.2d 1491, 1494 (11th Cir.), on reh'g, 743 F.2d 1505 (11th Cir. 1984), for the

proposition “that persons can lawfully refuse to provide a driver’s license in this

situation.” (Doc. 70 at 37-38). However, the relevant holding in Brown was that a

Georgia statute prohibited

      only actual lies in order to avoid an unconstitutional construction. The
      defendants' refusal to furnish identification—which they were entitled
      to do if indeed this was a Terry stop, as the government must contend—
      may have created suspicion that they had actually used false names, but
      falls far short of probable cause.




                                          15
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 16 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 212 of 247


Brown, 731 F.2d 1494. Brown did not involve a traffic stop, and the opinion does

not reference or involve driver’s licenses.2

       Alabama law defines a “driver” as “[e]very person who drives or is in actual

physical control of a vehicle.” § 32-1-1.1(14), Ala. Code, 1975. Alabama law

provides that:

       Every licensee shall have his or her license in his or her immediate
       possession at all times when driving a motor vehicle and shall display
       the same, upon demand of a judge of any court, a peace officer, or a
       state trooper. However, no person charged with violating this section
       shall be convicted if he or she produces in court or the office of the
       arresting officer a driver's license theretofore issued to him or her and
       valid at the time of his or her arrest.

Section 32-6-9(a), Ala. Code, 1975. Concerning the production of a license upon

demand, the Alabama Court of Criminal Appeals has held:

              Observing a violation of the state traffic and vehicle safety
       regulations, the State Trooper had a statutory right to request and
       inspect the driver's operating license. See Delaware v. Prouse, 440 U.S.
       648, 99 S.Ct. 1391, 1398, 59 L.Ed.2d 660 (1979). The trooper had a
       right to “request” or “demand” the defendant's driver's license. The
       driver had a statutory duty to “display the same.” Alabama Code 1975,
       Section 32-6-9.




2
 In fact, Brown only mentions automobiles once, and that is used in contrast to the search of an
actual person. “Consensual access to another's body as a place of concealment is so unlikely to be
casual, unlike access to a car or house, that a more particularized examination of the defendant's
dominion and efforts to guarantee privacy, of the kind undertaken in cases involving cars or
houses, would not be helpful.” Brown, 731 F.2d at 1496.

                                               16
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 17 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 213 of 247


Sly v. State, 387 So. 2d 913, 916 (Ala. Crim. App.), writ denied sub nom. Ex parte

Sly, 387 So. 2d 917 (Ala. 1980). As to probable cause “if the person was not

observed actually driving,” the Alabama Court of Criminal Appeals has stated “that

circumstantial evidence may be used to show that the defendant was driving.”

McLaney v. City of Montgomery, 570 So. 2d 881, 882 (Ala. 1990).

      It is beyond dispute that Lawrence was “in actual physical control of a

vehicle,” and therefore met the statutory definition of a driver. Moreover, the cell

phone video clearly indicates that Lawrence told Woodruff no fewer than four times

that he was leaving while she was attempting to verify his identity and before she

appears in the video behind the silver Lexus copying the license plate number.

      During his protestations, Lawrence leaned out of the window of the silver

Lexus and said to Woodruff: “Ok, you’re enforcing a statutory code. Do you know

the legal definition of that statutory code? Do you know what the definition of

‘driving’ is under Black’s Law Dictionary which is the statutory writing for that

code?” As Woodruff walked behind the silver Lexus, Lawrence got out of the car

and stated, “This officer is withholding us. She is blocking our vehicle from

leaving.” Based on the video evidence in this case, it is clear that while Woodruff

was lawfully detaining Lawrence for the purpose of copying the license plate

information from the silver Lexus, Lawrence repeatedly protested that he was

leaving and had no intent of producing a driver’s license. Lawrence’s agitated,

                                        17
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 18 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 214 of 247


obstructive behavior regarding whether he had a driver’s license and whether

Woodruff knew the legal definition of “driving” gave rise to probable cause for

Woodruff to reasonably suspect that Lawrence did not have a driver’s license and

was about to drive without a license. See § 15-5-30. Accordingly, Woodruff had

statutory authority to demand that Lawrence produce a driver’s license, and he had

a statutory duty to comply. See § 32-6-9(a).

                   b. The Arrest

      Plaintiff argues that “Lawrence’s arrest was a direct result of Woodruff’s

unlawful detention. Of course, because the detention was unlawful, Lawrence’s

arrest was also unlawful.” (Doc. 70 at 40). The Eleventh Circuit has held:

             Plainly, an arrest without probable cause violates the right to be
      free from an unreasonable search under the Fourth Amendment. See
      Redd v. City of Enterprise, 140 F.3d 1378, 1382 (11th Cir. 1998) (“[A]n
      arrest made without probable cause violates the Fourth Amendment.”).
      Under federal law, probable cause to arrest exists “when an arrest is
      ‘objectively reasonable based on the totality of the circumstances.’”
      McCormick v. City of Fort Lauderdale, 333 F.3d 1234, 1243 (11th Cir.
      2003) (quoting Ferraro, 284 F.3d at 1195). “This standard is met when
      the facts and circumstances within the officer's knowledge, of which he
      or she has reasonably trustworthy information, would cause a prudent
      person to believe, under the circumstances shown, that the suspect has
      committed, is committing, or is about to commit an offense.” Id.
      (internal citation and quotation marks omitted). “Although probable
      cause requires more than suspicion, it ‘does not require convincing
      proof,’ and ‘need not reach the [same] standard of conclusiveness and
      probability as the facts necessary to support a conviction.’” Ferraro,
      284 F.3d at 1195 (internal citations omitted).

Durruthy v. Pastor, 351 F.3d 1080, 1088 (11th Cir. 2003)(emphasis in original).

                                         18
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 19 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 215 of 247


       Upon Lawrence’s agitated, confrontational refusal to produce a driver’s

license, Woodruff had reasonably trustworthy information that would lead a prudent

officer to believe that Lawrence was about to commit an offense, i.e., driving without

a license. Accordingly, she was authorized to execute a lawful arrest of Lawrence.

The United States Supreme Court as well as the Alabama Court of Criminal Appeals

have allowed the collective knowledge of the investigating officers to be imputed to

each participating officer. See United States v. Hensley, 469 U.S. 221, 232, 105 S.Ct.

675, 83 L.Ed.2d 604 (1985); Shute v. State, 469 So. 2d 670, 673 (Ala. Crim. App.

1984)(“The knowledge of all the officers involved in a police situation may be

evaluated collectively in assessing whether that knowledge constituted probable

cause as is constitutionally required.”). Accordingly, Woodruff’s knowledge of

Lawrence’s refusal to produce a driver’s license upon demand while he was in actual

physical control of a vehicle may also be imputed to Rhodes in his subsequent arrest

of Lawrence.3

                     b. Deadly Force During the Arrest

            In the context of deadly force, the Supreme Court has set out
       examples of factors that justify the use of such force:

              “Where the officer has probable cause to believe that the
              suspect poses a threat of serious physical harm, either to

3
  Additionally, Lawrence’s refusal to remain at a safe distance by his car while Rhodes and
Woodruff spoke after Rhodes arrived on the scene would have been probable cause for an arrest
based on violation of Alabama’s statute prohibiting obstruction of governmental operations. §
13A-10-2, Ala. Code, 1975.
                                             19
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 20 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 216 of 247


            the officer or to others, it is not constitutionally
            unreasonable to prevent escape by using deadly force.
            Thus, if the suspect threatens the officer with a weapon ...
            deadly force may be used if necessary to prevent escape,
            and if, where feasible, some warning has been given.”

      Tennessee v. Garner, 471 U.S. 1, 105 S.Ct. 1694, 1701, 85 L.Ed. 2d 1
      (1985). Garner says something about deadly force but not everything,
      especially when facts vastly different from Garner are presented. The
      Supreme Court has cautioned that “Garner did not establish a magical
      on/off switch that triggers rigid preconditions whenever an officer's
      actions constitute ‘deadly force.’ ” Scott v. Harris, 550 U.S. 372, 127
      S.Ct. 1769, 1777, 167 L.Ed. 2d 686 (2007).

             Because “[t]he test of reasonableness under the Fourth
      Amendment is not capable of precise definition or mechanical
      application,” Graham, 109 S.Ct. at 1872 (quoting Bell v. Wolfish, 441
      U.S. 520, 99 S.Ct. 1861, 60 L.Ed. 2d 447 (1979)) (alteration in
      original), we must “slosh our way through the factbound morass of
      ‘reasonableness.’ ” Scott, 127 S.Ct. at 1778. Therefore, determining
      whether “the use of a particular type of force in a particular situation”
      is “reasonable” in the constitutional sense requires a court to “balance
      the nature and quality of the intrusion on the individual's Fourth
      Amendment interests against the importance of the governmental
      interests alleged to justify the intrusion.” Scott, 127 S.Ct. at 1777, 1778
      (quoting United States v. Place, 462 U.S. 696, 103 S.Ct. 2637, 2642,
      77 L.Ed. 2d 110 (1983)).

             In examining whether an officer's use of deadly force is
      reasonable, we recognize that “police officers are often forced to make
      split-second judgments—in circumstances that are tense, uncertain, and
      rapidly evolving—about the amount of force that is necessary in a
      particular situation.” Graham, 109 S.Ct. at 1872. So “[w]e are loath to
      second-guess the decisions made by police officers in the field.”
      Vaughan v. Cox, 343 F.3d 1323, 1331 (11th Cir.2003).

Long v. Slaton, 508 F.3d 576, 580–81 (11th Cir. 2007) (footnote omitted).




                                          20
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 21 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 217 of 247


      Turning to the undisputed facts and video evidence in this case, Lawrence was

consistently confrontational, uncooperative, and at times belligerent during his

encounter with Woodruff and Rhodes. Aside from producing a homemade affidavit

of identity and admitting that he was from Geneva County, Lawrence was

antagonistic or actively resistant to every request and command Woodruff and

Rhodes directed to him. Lawrence did not merely resist arrest. He actively resisted

despite three officers simultaneously attempting to apprehend him. The deployment

of a Taser in both prong and drive stun modes had no apparent effect on Lawrence.

Lawrence continued to physically struggle, escaped from Rhodes, and led officers

on a chase around the silver Lexus in which his girlfriend and three small children

were present. He continued his struggle despite the threat his actions posed to the

arresting officers and to his own loved ones, who can be heard throughout the

struggle.

      Plaintiff does not specifically argue that the use of the Taser against Lawrence

was excessive force, but Plaintiff argues that the arrest was unlawful and “he was

legally entitled to [resist]…” (Doc. 70 at 49). As to Lawrence’s behavior leading up

to Rhodes’s use of the Taser against him, the Eleventh Circuit has found the use of

a Taser reasonable under closely similar circumstances. In Hoyt v. Cooks, 672 F.3d

972, 979 (11th Cir. 2012), the decedent “resisted during the entire time that [two

officers] tried to handcuff him. He spread his arms apart to prevent being handcuffed,

                                         21
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 22 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 218 of 247


and he rolled around to keep his arms from being pulled behind his back. Even after

repeatedly using their Tasers, [the two officers] had considerable difficulty in

effecting the arrest.” The Eleventh Circuit held that the two defendant officers

“could not wait indefinitely for Allen to stop resisting or for his strange behavior to

subside. Allen could not be safely transported until he was restrained. We cannot

conclude that clearly established law prevented [the officers] from using their Tasers

in the manner used here. Other alternatives, e.g. brute physical force, also presented

dangers both to Allen and the officers.” Hoyt, 672 F.3d at 980. Similarly, Lawrence

can be clearly seen on video resisting arrest, stretching out his arms, shouting at the

officers, attempting to escape, running away, and showing no visible effect from the

Taser bring deployed against him. Brute force and a nonlethal Taser showed no

signs of subduing Lawrence or dissuading him from continuing this struggle inches

from his small children. Woodruff and Rhodes could not wait indefinitely for

Lawrence to stop resisting arrest or merely hope that Lawrence would tire out before

they did. See Callwood v. Jones, 727 F. App'x 552, 560–61 (11th Cir. 2018), cert.

denied, No. 17-1569, 2018 WL 2303441 (U.S. Oct. 1, 2018)(“Throughout the

incident, Illidge resisted all of the officers’ attempts to subdue him and ignored their

repeated requests to calm down. A reasonable officer could have believed that Illidge

continued to resist arrest and that he posed a danger to the officers and himself by

resisting.”).

                                          22
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 23 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 219 of 247


      The Eleventh Circuit has recognized that when dealing with a traffic stop in

which the arrestee failed to comply with documentary requests, “acted in a

confrontational and agitated manner,” and repeatedly refused to comply with

reasonable instructions, even a simple “verbal arrest command accompanied by

attempted physical handcuffing” can escalate “a tense and difficult situation into a

serious physical struggle in which either [officer or arrestee] would be seriously

hurt.” Draper v. Reynolds, 369 F.3d 1270, 1276-78 (11th Cir. 2004).              Even

construing the evidence in this case in the light most favorable to Plaintiff, it is

beyond dispute that Lawrence refused to comply with requests, was confrontational,

agitated, resistant to verbal commands, and that this tense and difficult situation

devolved into a serious physical struggle specifically because Lawrence resisted an

attempted physical handcuffing.

      Plaintiff argues that “Lawrence was not a threat of serious physical harm to

the officers at the time he was shot, and no warning was given despite an ample

opportunity to give one.” (Doc. 70 at 49). Plaintiff’s argument that “Lawrence was

not a threat of serious physical harm to the officers at the time he was shot” fails on

several grounds. Plaintiff’s argument assumes that “Lawrence [was trying] to keep

Woodruff from hurting him with the Taser,” but that Lawrence being in possession

of the Taser “was not a threat of serious physical harm to the officers…” (Doc. 70

at 49). How the Taser could be so seriously painful to Lawrence that he would risk

                                          23
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 24 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 220 of 247


unlawfully taking the weapon away from a law enforcement officer, yet that same

Taser be “not a threat” to the officers with whom he was wrestling is simply

untenable. Plaintiff argues that “Lawrence grabbed the Taser by the body as an act

of self protection, that he never possessed the Taser, and that he was not even close

to having the ability to use the Taser as a weapon.” (Doc. 70 at 45). In light of the

video evidence from Rhodes’s patrol vehicle camera, Plaintiff’s argument is

speculative at best and illogical at worst, i.e. that Lawrence could somehow “grab”

the Taser yet not “possess” it. The video is not clear enough to determine what

specific part of the Taser was in Lawrence’s hand, but it is clear that he possessed

the Taser and continued to possess it until Woodruff shot him, at which point he can

be seen dropping the Taser. By Plaintiff’s own argument, it is impossible that

anyone else had possession of the Taser when he was shot, because Woodruff had

reached for her gun, Skipper was holding “Lawrence’s arm out from his body,” and

Rhodes was using his body to restrain Lawrence. (Doc. 70 at 45-46). Moreover, the

standard is not whether Lawrence “was not a threat of serious physical harm to the

officers…” (Doc. 70 at 49), but whether Woodruff had “probable cause to believe

that the suspect poses a threat of serious physical harm, either to the officer or to

others…” Smith, 834 F.3d at 1295. It is not Lawrence’s subjective intent imposed

by hindsight, but the officer’s objective probable cause to believe a threat of serious

physical harm is present in the split-second situation that guides the Court’s decision.

                                          24
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 25 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 221 of 247


      Whether Lawrence was holding the Taser by the “body” or had the ability to

pull the trigger is not discernible in the video evidence, nor is it the standard by

which deadly force cases are analyzed. “Although we view the facts in the light

most favorable to the non-moving party,” the court must view that evidence as “it

would appear to a reasonable officer at the scene.” Zivojinovich v. Barner, 525 F.3d

1059, 1073 (11th Cir. 2008). “In analyzing whether excessive force was used, courts

must look at the totality of the circumstances: not just a small slice of the acts that

happened at the tail of the story.” Garrett v. Athens-Clarke Cty., Ga., 378 F.3d 1274,

1280 (11th Cir. 2004). “And an officer need not wait until he is attacked physically

before determining reasonably that he is in imminent danger of serious injury. Cf.

Long v. Slaton, 508 F.3d 576, 583 (11th Cir. 2007) (concluding the use of deadly

force was reasonable, even though other less-lethal means of preventing the suspect's

escape may have existed, because ‘the police need not have taken that chance and

hoped for the best.’).” Wilson v. Miller, 650 F. App'x 676, 680 (11th Cir. 2016).

      The Eleventh Circuit recently affirmed summary judgment in favor of an

officer who shot a suspect who “charged at [the officer] while holding a stick that

was five and one-half feet long,” even though the suspect had not raised or swung

the stick because “‘[t]he law does not require officers in a tense and dangerous

situation to wait until the moment a suspect uses a deadly weapon to act to stop the

suspect.’” Wilson v. Parker, No. 17-15294, 2018 WL 3954222, at *3 (11th Cir. Aug.

                                          25
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 26 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 222 of 247


17, 2018)(quoting Jean-Baptiste v. Gutierrez, 627 F.3d 816, 821 (11th Cir. 2010)

(alteration omitted)(quoting in turn Long v. Slaton, 508 F.3d 576, 581 (11th Cir.

2007) ). Lawrence had already shown himself willing and powerful enough to

escape from at least two officers attempting to effect an arrest. The law did not

require Woodruff to “hope for the best” after Lawrence took possession of the Taser

or even that she hope that Skipper would be able to restrain Lawrence’s arm after

having seen him escape from Rhodes moments earlier. See also Wells for Chambers

v. Talton, 695 F. App'x 439, 445 n.2 (11th Cir. 2017)(“The fact that [the police

officer] was later found to be mistaken about [the suspect] having the gun as he ran

away does not defeat qualified immunity. See Penley [v. Eslinger], 605 F.3d [843,]

854[, (11th Cir. 2010)] (finding that officer's use of deadly force was reasonable

where suspect held a toy gun modified to look like a real gun).”).

      As to Woodruff’s failure to give a warning to Lawrence prior to the use of

deadly force, the Eleventh Circuit has stated that

      The mere failure to give a warning, however, does not preclude
      summary judgment where the facts otherwise indicate that the officer's
      use of force was reasonable. See Penley v. Eslinger, 605 F.3d 843, 854
      n.6 (11th Cir. 2010); see also Scott v. Harris, 550 U.S. 372, 382, 127
      S.Ct. 1769, 1777, 167 L.Ed.2d 686 (2007) (“Garner did not establish a
      magical on/off switch that triggers rigid preconditions whenever an
      officer's actions constitute ‘deadly force.’”).

Talton, 695 F. App'x at 444. Video evidence from Rhodes’s patrol vehicle camera

further shows several instances in which Woodruff approached Lawrence to apply

                                         26
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 27 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 223 of 247


the Taser in drive stun mode, and Lawrence can be seen reaching toward the Taser.

Even in the less intense “drive stun” mode, the Taser is a weapon capable of

inflicting sufficient pain to impose compliance over another during a struggle. In

the moments that Lawrence reached for and ultimately gained possession of the

Taser from Woodruff, any reasonable officer could believe that Lawrence intended

to use the Taser against officers to cause them severe pain in order to effect an

escape. Specifically in this case, a reasonable office would know that after a

prolonged and physical resistance to arrest and continuous efforts to escape,

Lawrence continued to struggle for over two minutes despite three persons being

involved in an increasingly futile effort to restrain him. Lawrence was seemingly

unaffected by commands and Taser shocks, and had somehow managed to take the

Taser away from one of the arresting officers, all within feet and even inches from

the arrestee’s girlfriend and three small children. Although the offense that triggered

the arrest was relatively minor, Lawrence’s belligerent, defiant behavior needlessly

escalated the severity of the encounter. The Eleventh Circuit has held that “a person

acting unpredictably could present an increased threat to others” such that pausing

to give a warning that an officer intends to use deadly force is not feasible. Wilson,

2018 WL 3954222, at *3. Wrestling the Taser away from Woodruff presented an

immediate threat to the arresting officers, obviating the opportunity for Woodruff to

issue a warning prior to using deadly force.         Lawrence had shown himself

                                          27
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 28 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 224 of 247


impervious to verbal and physical restraint and showed no signs of being subdued

by use of the Taser. Having armed himself with the Taser, Lawrence presented an

immediate threat to all the officers such that it was reasonable for Woodruff to use

deadly force without further warning, all the more so in the face of Lawrence’s

demonstrated imperviousness to all verbal commands, physical restraint, or repeated

application of the Taser.

      Lawrence actively resisted arrest and attempted to escape and evade arrest

throughout the encounter. Lawrence’s shooting death is a tragedy. However, it was

not objectively unreasonable under the Fourth Amendment. See Martinez v. City of

Pembroke Pines, 648 F. App'x 888, 893 (11th Cir. 2016)(“Plaintiff was unresponsive

to all commands and gestures, impervious to the taser, and otherwise unable to be

restrained.”). “[T]he question is whether the officers' actions are ‘objectively

reasonable’ in light of the facts and circumstances confronting them, without regard

to their underlying intent or motivation.” Graham, 490 U.S. at 397. Because

Woodruff was faced with the split-second decision regarding the force necessary to

prevent a physically resistant arrestee from turning a weapon on the officers

attempting to secure his arrest, her actions were not objectively unreasonable.

                   c. Qualified Immunity

      Even if Woodruff’s use of deadly force was excessive under the Fourth

Amendment, she is alternatively entitled to qualified immunity because she violated

                                         28
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 29 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 225 of 247


no clearly established right. See Long, 508 F.3d at 583-4. Qualified immunity

protects government officials from suit if they are “performing discretionary

functions” and “their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). Qualified

immunity is an entitlement not to stand trial or face the other burdens of litigation.

Mitchell v. Forsyth, 472 U.S. 511, 525–26, 105 S. Ct. 2806, 2815, 86 L. Ed. 2d 411

(1985). It balances the need to hold the government accountable with the need to

protect officers from the distractions of litigation. Pearson v. Callahan, 555 U.S.

223, 231, 129 S.Ct. 808, 172 L.Ed.2d 565 (2009).

      “We have said many times that if case law, in factual terms, has not
      staked out a bright line, qualified immunity almost always protects the
      defendant.” Priester v. City of Riviera Beach, 208 F.3d 919, 926 (11th
      Cir. 2000) (quotations omitted). In determining whether a right is
      clearly established, we look to the precedent of the Supreme Court of
      the United States, of this Court, and of the relevant state's highest court.
      McClish v. Nugent, 483 F.3d 1231, 1237 (11th Cir. 2007).

Hoyt, 672 F.3d at 977.

             In resolving questions of qualified immunity at summary
      judgment, courts engage in a two-pronged inquiry. The first asks
      whether the facts, “[t]aken in the light most favorable to the party
      asserting the injury, ... show the officer's conduct violated a [federal]
      right [.]” Saucier v. Katz, 533 U.S. 194, 201, 121 S.Ct. 2151, 150
      L.Ed.2d 272 (2001). When a plaintiff alleges excessive force during an
      investigation or arrest, the federal right at issue is the Fourth
      Amendment right against unreasonable seizures. Graham v. Connor,
      490 U.S. 386, 394, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989). The
      inquiry into whether this right was violated requires a balancing of “‘the
                                          29
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 30 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 226 of 247


      nature and quality of the intrusion on the individual's Fourth
      Amendment interests against the importance of the governmental
      interests alleged to justify the intrusion.’” Tennessee v. Garner, 471
      U.S. 1, 8, 105 S.Ct. 1694, 85 L.Ed.2d 1 (1985); see Graham, supra, at
      396, 109 S.Ct. 1865.

             The second prong of the qualified-immunity analysis asks
      whether the right in question was “clearly established” at the time of
      the violation. Hope v. Pelzer, 536 U.S. 730, 739, 122 S.Ct. 2508, 153
      L.Ed.2d 666 (2002). Governmental actors are “shielded from liability
      for civil damages if their actions did not violate ‘clearly established
      statutory or constitutional rights of which a reasonable person would
      have known.’ ” Ibid. “[T]he salient question ... is whether the state of
      the law” at the time of an incident provided “fair warning” to the
      defendants “that their alleged [conduct] was unconstitutional.” Id., at
      741, 122 S.Ct. 2508.

Tolan v. Cotton, 572 U.S. 650, 134 S. Ct. 1861, 1865–66, 188 L. Ed. 2d 895

(2014)(footnote omitted).

      Plaintiff does not dispute that Woodruff was performing a discretionary

function when she encountered Lawrence. (Doc. 43 at 21). Thus, the burden is on

Plaintiff to prove that Woodruff is not entitled to qualified immunity. Dalrymple v.

Reno, 334 F.3d 991, 995 (11th Cir. 2003) (“Once the government official has

established that she was acting within her discretionary authority, the burden shifts

to the plaintiffs to show that qualified immunity is not appropriate”).

      “The salient question” is whether the law gave Defendant “fair
      warning” that his conduct was unconstitutional. Hope v. Pelzer, 536
      U.S. 730, 740–41, 122 S.Ct. 2508, 153 L.Ed.2d 666 (2002). There are
      three ways for Plaintiff to prove that a right is clearly established: “(1)
      case law with indistinguishable facts clearly establishing the
      constitutional right; (2) a broad statement of principle within the
      Constitution, statute, or case law that clearly establishes a constitutional
                                          30
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 31 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 227 of 247


      right; or (3) conduct so egregious that a constitutional right was clearly
      violated, even in the total absence of case law.” Lewis v. City of West
      Palm Beach, 561 F.3d 1288, 1291–92 (11th Cir. 2009) (citations
      omitted).

Mighty v. Miami-Dade Cty., 728 F. App'x 974, 978 (11th Cir. 2018). Plaintiff does

not clearly designate which of the three methods he intends to invoke to establish

that Woodruff violated a clearly established constitutional right enjoyed by

Lawrence. However, Plaintiff relies on two cases for the proposition that Woodruff

was on notice: Tennessee v. Garner, 471 U.S. 1, 11–12, 105 S. Ct. 1694, 1701, 85

L. Ed. 2d 1 (1985)( “if the suspect threatens the officer with a weapon or there is

probable cause to believe that he has committed a crime involving the infliction or

threatened infliction of serious physical harm, deadly force may be used if necessary

to prevent escape, and if, where feasible, some warning has been given.”); and

Mercado v. City of Orlando, 407 F.3d 1152, 1159–60 (11th Cir. 2005) (“Mercado,

however, relies on the principle that deadly force cannot be employed in a situation

that requires less-than-lethal force.”). Specifically, Plaintiff argues that “Garner

makes clear that even fleeing felons have a right not to be seized by deadly force and

that deadly force is only intended to be used to stop dangerous persons who refuse

to submit to arrest. Certainly, Lawrence’s rights are greater than such persons.”

(Doc. 43 at 20).

      In Mercado, the Eleventh Circuit held:



                                         31
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 32 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 228 of 247


                  Officer Padilla should not have needed case law to know that by
         intentionally shooting Mercado in the head, he was violating Mercado's
         Fourth Amendment rights. When the officers entered the apartment,
         they found Mercado crying on the floor of his kitchen with a loose cord
         around his neck and a kitchen knife placed up to, but not poking into,
         his chest. From a distance of about six feet away, Padilla twice shouted
         for Mercado to drop his knife, and then discharged the Sage Launcher,
         [ 4] hitting Mercado in the head from short range. Assuming that Padilla
         was aiming at Mercado's head intentionally, his use of force was clearly
         excessive.

Mercado, 407 F.3d at 1160–61. The facts of Mercado are materially distinguishable

from this case. Mercado was not physically struggling with officers, resisting arrest,

or attempting to take control of a weapon being held by a law enforcement officer.

Further, no broad statement of principle from Mercado is readily applicable to this

case, specifically because that holding was based on the third method of determining

“fair warning” of a constitutional violation:

         this is one of the cases that lie “so obviously at the very core of what
         the Fourth Amendment prohibits that the unlawfulness of the conduct
         was readily apparent to the official, notwithstanding the lack of case
         law.” Ferraro, 284 F.3d at 1199 (internal quotation and citation
         omitted). The facts in this case are also “so far beyond the hazy border

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    The Eleventh Circuit noted that:

         The Sage Launcher is a “less lethal” munition that fires a polyurethane baton that
         is 1.5 inches wide, travels approximately 240 feet per second, and delivers a force
         of 154 foot/pounds of energy-approximately the energy of a professionally-thrown
         baseball. The Sage Launcher was designed to be used to protect persons from self-
         inflicted injury, especially when using a night stick or baton would be unsafe or
         impractical. The projectile is not designed to penetrate the body, but only to leave
         bruises.

Mercado, 407 F.3d at 1155.

                                                 32
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 33 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 229 of 247


        between excessive and acceptable force that [the official] had to know
        he was violating the Constitution even without caselaw on point.”
        Willingham, 321 F.3d at 1303.

Mercado, 407 F.3d at 1160.

        Turning to the facts in Garner, Edward Garner was a burglary suspect fleeing

from officers in Memphis, Tennessee.

        Garner, stopped at a 6-feet-high chain link fence at the edge of [a] yard.
        With the aid of a flashlight, [police officer] Hymon was able to see
        Garner's face and hands. He saw no sign of a weapon, and, though not
        certain, was “reasonably sure” and “figured” that Garner was unarmed.
        App. 41, 56; Record 219. He thought Garner was 17 or 18 years old and
        about 5′5″ or 5′7″ tall. While Garner was crouched at the base of the
        fence, Hymon called out “police, halt” and took a few steps toward him.
        Garner then began to climb over the fence. Convinced that if Garner
        made it over the fence he would elude capture, Hymon shot him. The
        bullet hit Garner in the back of the head. Garner was taken by
        ambulance to a hospital, where he died on the operating table.

Garner, 471 U.S. at 3–4 (footnotes omitted). On those facts, the Supreme Court

held:

        Where the suspect poses no immediate threat to the officer and no threat
        to others, the harm resulting from failing to apprehend him does not
        justify the use of deadly force to do so. It is no doubt unfortunate when
        a suspect who is in sight escapes, but the fact that the police arrive a
        little late or are a little slower afoot does not always justify killing the
        suspect. A police officer may not seize an unarmed, nondangerous
        suspect by shooting him dead. The Tennessee statute is unconstitutional
        insofar as it authorizes the use of deadly force against such fleeing
        suspects.

              It is not, however, unconstitutional on its face. Where the officer
        has probable cause to believe that the suspect poses a threat of serious
        physical harm, either to the officer or to others, it is not constitutionally
        unreasonable to prevent escape by using deadly force. Thus, if the
                                             33
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 34 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 230 of 247


       suspect threatens the officer with a weapon or there is probable cause
       to believe that he has committed a crime involving the infliction or
       threatened infliction of serious physical harm, deadly force may be used
       if necessary to prevent escape, and if, where feasible, some warning has
       been given.

Garner, 471 U.S. at 11–12. Again, as in Mercado, Garner was not physically

struggling with officers, actively resisting arrest, or attempting to and/or taking

control of a weapon being held by a law enforcement officer. Further, Woodruff did

not aim for or shoot Lawrence in the head as officers did in both Garner and

Mercado.

       Mercado and Garner are both factually distinguishable,5 and the broad

general principles announced in those cases are inapposite to this case. See Garner,

471 U.S. at 11 (1985) (“Where the officer has probable cause to believe that the

suspect poses a threat of serious physical harm, either to the officer or to others, it is

not constitutionally unreasonable to prevent escape by using deadly force.”);

Mercado, 407 F.3d at 1160 (“Officer Padilla should not have needed case law to



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  Plaintiff appears to concede that Garner is factually distinguishable. “Though this is not a fleeing
felon case, the law established in Garner provides an important frame of reference for
consideration of plaintiff’s claim.” (Doc. 43 at 19). The Supreme Court has declined to expand
the application of Garner beyond the fact-specific constraints of that decision. See Scott v. Harris,
550 U.S. 372, 382–83, 127 S. Ct. 1769, 1777, 167 L. Ed. 2d 686 (2007) (“Garner was simply an
application of the Fourth Amendment's ‘reasonableness’ test, Graham, supra, at 388, 109 S.Ct.
1865, to the use of a particular type of force in a particular situation. Garner held that it was
unreasonable to kill a ‘young, slight, and unarmed burglary suspect, 471 U.S., at 21, 105 S.Ct.
1694, by shooting him ‘in the back of the head’ while he was running away on foot, id., at 4, 105
S.Ct. 1694, and when the officer ‘could not reasonably have believed that [the suspect] ... posed
any threat,’ and ‘never attempted to justify his actions on any basis other than the need to prevent
an escape,’ id., at 21, 105 S.Ct. 1694.”).
                                                 34
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 35 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 231 of 247


know that by intentionally shooting Mercado in the head, he was violating Mercado's

Fourth Amendment rights.”).      Although the facts of this case are tragic and

disturbing, they are not so egregious as to present a violation of constitutional law

in the absence of precedent. Lawrence was visibly and vocally resistant throughout

the incident. His refusal to abide by the most basic of lawful commands from

Woodward and Rhodes needlessly escalated the encounter from detention to arrest

to a struggle that lasted longer than two minutes culminating in Lawrence having

possession of the very weapon law enforcement had ineffectually used in the effort

to subdue him and take him into custody without resort to deadly force. Even

construing the evidence in the light most favorable to the Plaintiff, the video

evidence inescapably demonstrates that Woodruff had probable cause to believe that

Lawrence, in possession of the Taser, posed a serious threat of physical harm to

herself, Rhodes, and Skipper.

      Again, we must look at the situation not with hindsight, but with the
      eye of the objectively reasonable officer on the scene. From the scene,
      we have a man who for a considerable time has consistently put his life
      and the lives of others in danger and who has shown that he has every
      intention of fighting and forcibly escaping arrest if possible. We cannot
      say the defendants' acts were beyond the outside borders of objective
      reasonableness given all the circumstances.

Garrett v. Athens-Clarke Cty., Ga., 378 F.3d 1274, 1281 (11th Cir. 2004).

      The Supreme Court recently held in favor of qualified immunity for a police

officer a case in which a suspect who had engaged in erratic behavior “was armed

                                         35
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 36 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 232 of 247


with a large knife; was within striking distance of [a bystander]; ignored the officers'

orders to drop the weapon; and the situation unfolded in less than a minute. Kisela

v. Hughes, 138 S. Ct. 1148, 1154, 200 L. Ed. 2d 449 (2018). In this case, Lawrence

displayed agitated, confrontational behavior, armed himself by taking possession of

an officer’s weapon, was within striking distance to two officers, had ignored almost

every command leading up to that moment, and the situation unfolded in a very brief

period of time. Woodruff reasonably believed, even if perhaps mistakenly, that

Lawrence was an immediate threat to others.

      Where constitutional guidelines seem inapplicable or too remote, it
      does not suffice for a court simply to state that an officer may not use
      unreasonable and excessive force, deny qualified immunity, and then
      remit the case for a trial on the question of reasonableness. An officer
      “cannot be said to have violated a clearly established right unless the
      right's contours were sufficiently definite that any reasonable official in
      the defendant's shoes would have understood that he was violating it.”
      Plumhoff v. Rickard, 572 U.S. ––––, ––––, 134 S.Ct. 2012, 2023, 188
      L.Ed.2d 1056 (2014).

Kisela, 138 S. Ct. at 1153, 200 L. Ed. 2d 449 (2018). In this case, a reasonable

officer, confronted with a physically and verbally resistant arrestee who had

managed to take control over an officer’s weapon in the course of an ongoing

struggle with those officers, could have reasonably believed that Lawrence presented

an immediate threat of serious physical harm to her and the other officers present.

There is no sufficiently definite existing precedent that squarely governs the specific

facts at issue. Accordingly, Woodruff is entitled to qualified immunity.

                                          36
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 37 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 233 of 247



              2. Count II – State Law Claims

      In the Complaint, Plaintiff alleged a state law claim of “Assault and

Battery/Excessive Force,” specifically arguing that “Woodruff shot and killed

Lawrence … in violation of clear City policy regarding when deadly force is

permissible.” (Doc. 1 at ¶¶ 71-72). In her motion for summary judgment, Woodruff

argues that she is “entitled to peace officer/state agent immunity under § 6-5-338(a),

Ala. Code 1975 and Ex parte Cranman, 792 So. 2d 392 (Ala. 2000).” (Doc. 64 at

53). Plaintiff also moved for summary judgment as to Count II of the Complaint.

(Doc. 43 at 28)(“[T]his Court should grant plaintiff’s motion and enter judgment for

plaintiff as to liability regarding plaintiff’s excessive force claim against defendant

Woodruff.”). In response to Woodruff’s invocation of state agent and peace officer

immunity, Plaintiff argues that Woodruff is not entitled to immunity because “a

reasonable jury can conclude that Woodruff lacked arguable reasonable suspicion

for a Terry stop and that Woodruff used excessive force on Lawrence, in violation

of U.S. Constitution and § 1983. A reasonable jury can also conclude, therefore, that

Woodruff acted contrary to the Constitution and also willfully, maliciously, in bad

faith, and beyond her authority.” (Doc. 70 at 50). Plaintiff raised no other argument

in reference to peace officer or state agent immunity in any brief or objection before

this Court.

           Under Alabama law, “[s]tate-agent immunity protects state
      employees, as agents of the State, in the exercise of their judgment in
                                          37
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 38 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 234 of 247


      executing their work responsibilities.” Ex parte Hayles, 852 So.2d 117,
      122 (Ala.2002). In Ex parte Cranman, 792 So.2d 392 (Ala.2000), a
      plurality of the Alabama Supreme Court restated and clarified the scope
      of Alabama's state-agent immunity doctrine, which bars suit against law
      enforcement officers effecting arrests, except to the extent the officer
      acted willfully, maliciously, fraudulently, in bad faith, beyond his legal
      authority, or under a mistaken interpretation of law, or if the
      Constitution or laws of the United States or Alabama require otherwise.
      Id. at 405.

             There is also statutory, discretionary-function immunity in
      Alabama. Specifically, § 6–5–338 of the Alabama Code contains a
      provision immunizing law enforcement officers from tort liability for
      conduct within the scope of their discretionary law enforcement duties.
      Ala. Code § 6–5–338(a) (1994) (“Every peace officer ... shall have
      immunity from tort liability arising out of his or her conduct in
      performance of any discretionary function within the line and scope of
      his or her law enforcement duties.”). Cranman's test for state-agent
      immunity governs whether law enforcement officers are entitled to
      statutory, discretionary-function immunity under § 6–5–338(a). Ex
      parte City of Tuskegee, 932 So. 2d 895, 904 (Ala. 2005) (“The
      restatement of State-agent immunity as set out in Cranman, 792 So. 2d
      at 405, now governs the determination of whether a peace officer is
      entitled to immunity under § 6–5–338(a).”). So for our purposes, the
      question of whether … police officers … receive immunity for
      Plaintiffs' state-law claims depends on application of Cranman's state-
      agent immunity test.

              The Alabama Supreme Court established a burden-shifting
      framework for application of the state-agent immunity test. A defendant
      initially bears the burden of demonstrating that he was acting in a
      function that would entitle the agent to immunity. Ex parte Estate of
      Reynolds, 946 So.2d 450, 452 (Ala. 2006). “If the State agent makes
      such a showing, the burden then shifts to the plaintiff to show that the
      State agent acted willfully, maliciously, fraudulently, in bad faith, or
      beyond his or her authority.” Id.


                                         38
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 39 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 235 of 247


Brown v. City of Huntsville, Ala., 608 F.3d 724, 740–41 (11th Cir. 2010).

      Turning to Plaintiff’s claim against Woodruff, Plaintiff appears to dispute that

Woodruff was acting within the scope of her discretionary functions as law

enforcement officer because, he argues, “a reasonable jury can conclude that

Woodruff lacked arguable reasonable suspicion for a Terry stop and that Woodruff

used excessive force on Lawrence, in violation of U.S. Constitution and § 1983.”

(Doc. 70 at 50). However, Plaintiff’s argument is inconsistent with his earlier

statement in his Motion for Partial Summary Judgment that “[i]n qualified immunity

analysis, once a public official has shown he or she was acting within the scope of

his or his discretionary authority, which defendant has here, the burden shifts to the

plaintiff to show the official’s conduct violated clearly established law.” (Doc. 43 at

21)(emphasis added).

      The Alabama Supreme Court has applied the same “arguable probable
      cause” standard utilized in this Court's federal qualified immunity cases
      for determining whether a city police officer receives state-agent
      immunity for his role in an arrest. Borders v. City of Huntsville, 875
      So.2d 1168, 1180 (Ala.2003) (“If ... a jury question exists as to whether
      [the officer] acted with arguable probable cause, [then] the summary
      judgment [to the officer] must be reversed.”).

Brown, 608 F.3d at 741. Regardless of Plaintiff’s conflicting arguments regarding

discretionary function, as discussed above Woodruff is entitled to receive qualified

immunity for her conduct in arresting Lawrence because the facts, construed in the

light most favorable to the Plaintiff, show that Woodruff had probable cause to arrest

                                          39
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 40 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 236 of 247


Lawrence. That same analysis applies to determining whether Woodruff receives

state-agent immunity for her role in the arrest. Plaintiff thus bears the burden of

showing that Woodruff acted willfully, maliciously, fraudulently, in bad faith,

beyond her legal authority, or under a mistaken interpretation of the law.

        As to Plaintiff’s state law claim of assault and battery/excessive force, he has

not carried his burden to show facts supporting willful, malicious, fraudulent, bad

faith, or legally unauthorized actions by Woodruff against Lawrence. As noted

above, Plaintiff’s entire argument as to this issue is that “a reasonable jury can also

conclude, therefore, that Woodruff acted contrary to the Constitution and also

willfully, maliciously, in bad faith, and beyond her authority.” (Doc. 70 at 50).

Plaintiff has argued a bare, unadorned legal conclusion that is simply insufficient to

meet this burden. Woodruff’s “use of force against [Lawrence] does not constitute

a constitutional violation, and neither does it show the required willfulness,

maliciousness, fraud, or bad faith necessary to deny [Woodruff] state-agent and

statutory, discretionary-function immunity.” Brown, 608 F.3d at 742. Accordingly,

Woodruff’s motion for summary judgment as to Count II of the Complaint is due to

be granted.

   V.      CONCLUSION




                                           40
   Case 1:16-cv-01003-ECM-DAB Document 82 Filed 11/08/18 Page 41 of 41
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 237 of 247


      After an independent and de novo review of the record, the court concludes

that the magistrate judge’s recommendation should be adopted in part and rejected

in part. Accordingly and for the reasons herein stated, it is

      ORDERED that Plaintiff’s Motion for Partial Summary Judgment (Doc. 43)

be and is DENIED. It is further

      ORDERED that Defendants’ City of Dothan, Alabama, Benton, and

Summerlin’s Motion for Summary Judgment (Doc. 63) be and is GRANTED. It is

further

      ORDERED that Defendant Woodruff’s objection (Doc. 77) is SUSTAINED

and that her Motion for Summary Judgment (Doc. 63) be and is GRANTED.

      A final judgment will be entered separately.

      DONE and ORDERED this 8th day of November 2018.


                                               /s/ Emily C. Marks
                                              EMILY C. MARKS
                                        UNITED STATES DISTRICT JUDGE




                                          41
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 238 of 247




                   TAB 83
    Case 1:16-cv-01003-ECM-DAB Document 83 Filed 11/08/18 Page 1 of 1
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 239 of 247

               IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

CHRISTOPHER CANTU, as the)
Administrator of the Estate of
                         )
Robert Earl Lawrence,    )
                         )
        Plaintiff,       )
                         )
v.                       )                   Case No. 1:16-cv-1003-ECM-DAB
                         )
CITY OF DOTHAN, ALABAMA, )
et al.,                  )
                         )
        Defendants.      )

                              FINAL JUDGMENT

      In accordance with the order entered on this date adopting in part and rejecting

in part the Report and Recommendation of the Magistrate Judge, it is the ORDER,

JUDGMENT and DECREE of the Court that this case is DISMISSED with

prejudice.

      The Clerk is DIRECTED to enter this document on the civil docket as a Final

Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.

      Done this 8th day of November, 2018.


                                     /s/Emily C. Marks
                                EMILY C. MARKS
                                UNITED STATES DISTRICT JUDGE
     Case 1:16-cv-01003-ECM-DAB Document 83-1 Filed 11/08/18 Page 1 of 3
A copy of this
USCA11         checklist
           Case:         is available
                  18-15071            at the website
                                  Document:     16 for the USCA,
                                                     Date         11th Circuit at www.ca11.uscourts.gov
                                                           Filed: 02/15/2019      Page: 240 of 247
               Effective on December 1, 2013, the fee to file an appeal is $505.00

                       CIVIL APPEALS JURISDICTION CHECKLIST


1.      Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited
        by statute:

        (a)     Appeals from final orders pursuant to 28 U.S.C. § 1291: Final orders and
                judgments of district courts, or final orders of bankruptcy courts which have been
                appealed to and fully resolved by a district court under 28 U.S.C. § 158, generally
                are appealable. A final decision is one that “ends the litigation on the merits and
                leaves nothing for the court to do but execute the judgment.” Pitney Bowes, Inc.
                v. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983) (citing Catlin v. United States,
                324 U.S. 229, 233, 65 S.Ct. 631, 633, 89 L.Ed. 911 (1945)). A magistrate judge’s
                report and recommendation is not final and appealable until judgment thereon is
                entered by a district court judge. 28 U.S.C. § 636(b); Perez-Priego v. Alachua
                County Clerk of Court, 148 F.3d 1272 (11th Cir. 1998). However, under 28
                U.S.C. § 636(c)(3), the Courts of Appeals have jurisdiction over an appeal from a
                final judgment entered by a magistrate judge, but only if the parties consented to
                the magistrate’s jurisdiction. McNab v. J & J Marine, Inc., 240 F.3d 1326, 1327-
                28 (11th Cir. 2001).

        (b)     In cases involving multiple parties or multiple claims, a judgment as to fewer
                than all parties or all claims is not a final, appealable decision unless the district
                court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b).
                Williams v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which
                resolves all issues except matters, such as attorneys’ fees and costs, that are
                collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson
                & Co., 486 U.S. 196, 201, 108 S.Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988);
                LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

        (c)       Appeals pursuant to 28 U.S.C. § 1292(a): Under this section, appeals are
                  permitted from the following types of orders:
                i. Orders granting, continuing, modifying, refusing or dissolving injunctions, or
                     refusing to dissolve or modify injunctions; However, interlocutory appeals
                     from orders denying temporary restraining orders are not permitted.
                     McDougald v. Jenson, 786 F.2d 1465, 1472-73 (11th Cir. 1986);
               ii. Orders appointing receivers or refusing to wind up receiverships; and
              iii. Orders determining the rights and liabilities of parties in admiralty cases.

        (d)     Appeals pursuant to 28 U.S.C. § 1292(b) and Fed.R.App.P. 5: The
                certification specified in 28 U.S.C. § 1292(b) must be obtained before a petition
                for permission to appeal is filed in the Court of Appeals. The district court’s
                denial of a motion for certification is not itself appealable.

        (e)     Appeals pursuant to judicially created exceptions to the finality rule: Limited
                exceptions are discussed in cases including, but not limited to: Cohen v.
                Beneficial Indus. Loan Corp., 337 U.S. 541, 546, 69 S.Ct. 1221, 1225-26, 93
   Case 1:16-cv-01003-ECM-DAB Document 83-1 Filed 11/08/18 Page 2 of 3
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 241 of 247


             L.Ed. 1528 (1949); Atlantic Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine
             Webber, Inc., 890 F.2d 371, 376 (11th Cir. 1989); Gillespie v. United States Steel
             Corp., 379 U.S. 148, 157, 85 S.Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.    Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional.
      Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir. 2001). In civil cases, Fed.R.App.P.
      4(a) and (c) set the following time limits:
      (a)    Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements
             set forth in Fed.R.App.P. 3 must be filed in the district court within 30 days after
             the order or judgment appealed from is entered. However, if the United States or
             an officer or agency thereof is a party, the notice of appeal must be filed in the
             district court within 60 days after such entry. THE NOTICE MUST BE
             RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN
             THE LAST DAY OF THE APPEAL PERIOD – no additional days are
             provided for mailing. Special filing provisions for inmates are discussed below.

      (b)    Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other
             party may file a notice of appeal within 14 days after the date when the first notice
             was filed, or within the time otherwise prescribed by this Rule 4(a), whichever
             period ends later.”

      (c)    Fed.R.App.P. 4(a)(4): If any party makes a timely motion in the district court
             under the Federal Rules of Civil Procedure of a type specified in this rule, the
             time for appeal for all parties runs from the date of entry of the order disposing of
             the last such timely filed motion.

      (d)    Fed.R.App.P. 4(a)(5) and 4(a)(6): Under certain limited circumstances, the
             district court may extend or reopen the time to file a notice of appeal. Under Rule
             4(a)(5), the time may be extended if a motion for an extension is filed within 30
             days after expiration of the time otherwise provided to file a notice of appeal,
             upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the time
             to file an appeal may be reopened if the district court finds, upon motion, that the
             following conditions are satisfied: the moving party did not receive notice of the
             entry of the judgment or order within 21 days after entry; the motion is filed
             within 180 days after the judgment or order is entered or within 14 days after the
             moving party receives notice, whichever is earlier; and no party would be
             prejudiced by the reopening.

      (e)    Fed.R.App.P. 4(c): If an inmate confined to an institution files a notice of appeal
             in either a civil case or a criminal case, the notice of appeal is timely if it is
             deposited in the institution’s internal mail system on or before the last day for
             filing. Timely filing may be shown by a declaration in compliance with 28 U.S.C.
             § 1746 or a notarized statement, either of which must set forth the date of deposit
             and state that first-class postage has been prepaid.




                                                                                     Rev.: 3/2011
   Case 1:16-cv-01003-ECM-DAB Document 83-1 Filed 11/08/18 Page 3 of 3
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 242 of 247


3.    Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of
      Appellate Procedure, is a suitable format. See also Fed.R.App.P. 3(c). A pro se notice of
      appeal must be signed by the appellant.

4.    Effect of a notice of appeal: A district court lacks jurisdiction, i.e., authority, to act after
      the filing of a timely notice of appeal, except for actions in aid of appellate jurisdiction or
      to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




                                                                                         Rev.: 3/2011
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 243 of 247




                 TAB 84
    Case 1:16-cv-01003-ECM-DAB Document 84 Filed 12/07/18 Page 1 of 2
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 244 of 247



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

CHRISTOPHER CANTU, as the
Administrator of the Estate of
Robert Earl Lawrence,                     )
                                          )
      Plaintiff                           )
                                          )
v.                                            ) CASE NO. 1:16-CV-1003-ECM-DAB
                                              )
CITY OF DOTHAN, ALABAMA;                      )
et al.,                                   )
                                          )
      Defendants.                         )

                              NOTICE OF APPEAL

      Notice is hereby given that plaintiff hereby appeals to the United States Court

of Appeals for the Eleventh Circuit from the final judgments entered in this action on

the 8th day of November, 2018, in favor of defendants.



                                       s/ Henry F. (Hank) Sherrod III
                                       Henry F. (Hank) Sherrod III
                                       No. ASB-1200-D63H
                                       HENRY F. SHERROD III, P.C.
                                       119 South Court Street
                                       Florence, Alabama 35630
                                       Phone: 256-764-4141
                                       Fax: 877-684-0802
                                       Email: hank@alcivilrights.com

                                       Attorney for Plaintiff
    Case 1:16-cv-01003-ECM-DAB Document 84 Filed 12/07/18 Page 2 of 2
USCA11 Case: 18-15071 Document: 16 Date Filed: 02/15/2019 Page: 245 of 247



                         CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to counsel of record.



                                       s/ Henry F. (Hank) Sherrod III




                                          2
USCA11 Case: 18-15071   Document: 16   Date Filed: 02/15/2019   Page: 246 of 247




                   TAB B
USCA11 Case: 18-15071     Document: 16    Date Filed: 02/15/2019    Page: 247 of 247


                        CERTIFICATE OF SERVICE

      I certify that on February 15, 2019, the Appellant’s Appendix was served on

all parties or their counsel of record through the CM/ECF system.


                                            /s/ Tillman J. Breckenridge
                                            Tillman J. Breckenridge
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